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                            Lake Superior Court,              4-1
                                                 Civil Division 4 filed 11/02/20 page 1 ofLake
                                                                                            243County, Indiana




                                                                      EXHIBIT A
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                                     SUBCONTRACT AGREEMENT

        THIS SUBCONTRACT AGREEMENT, is made as of January 4, 2019, by and between Figg
 Bridge Builders, LLC, 424 N. Calhoun Street, Tallahassee, Florida, 32301 (“Contractor”), and McLean
 Contracting Company, 6700 McLean Way, Glen Burnie, Maryland 21060 (“Subcontractor”).

         WHEREAS, the Contractor has entered into an Engineering, Procurement, and Construction
 Agreement with Cline Avenue Bridge, LLC (“Owner”), for construction of the Cline Avenue Bridge (the
 “Project”) as attached as Exhibit G, as may be amended from time to time (the “Prime Agreement”).

         WHEREAS, Subcontractor has been furnished a copy of said Prime Agreement, including
 amendments, and all applicable contract documents, for its information and is aware of its terms and
 provisions, and

        WHEREAS, Contractor desires to retain Subcontractor for the purpose of performing the
 Subcontract Work (defined herein).

         WHEREAS, Subcontractor is agreeable to undertaking the Subcontract Work under the terms and
 conditions set forth herein.

         NOW, THEREFORE, for and in consideration of the mutual covenants hereinafter stipulated to be
 kept and performed, it is agreed between the parties hereto as follows:


 ARTICLE 1 - SCOPE OF WORK.

 1.1 MUTUAL UNDERSTANDING. Contractor and Subcontractor have reviewed the preliminary details
     of the design and construction of the Project together. The Subcontract pricing and terms were mutually
     agreed to in order to properly complete the needs of the Project and the Prime Agreement. This effort
     was accomplished to obtain a firm fixed lump sum price and agreed schedule subject to any agreed to
     Change Orders per Article 6. If a changed condition occurs, it is agreed by Subcontractor and Contractor
     that both parties will work together to resolve the item to minimize costs and impacts to the project
     schedule to the greatest extent possible. Notwithstanding references to changes in price and schedule
     or Subcontract Change Orders the only times that such provisions apply are in the following conditions:

     1.1.1 Force Majeure as defined in, and when applicable and relief is granted under, the Prime
           Agreement, in which an equivalent time extension will be granted.

     1.1.2 Contractor directed new scope of services for which a mutually equitable time extension and/or
           mutually equitable increase in the Subcontract Amount should be granted.

     1.1.3 Delay resulting from Contractor’s direction to Subcontractor to perform work out of sequence on
           the CPM Schedule or issuance of the “for construction drawings” beyond the time provided in
           the CPM Schedule, in which a mutually equitable time extension and/or mutually equitable
           increase in the Subcontract Amount shall occur.

           Contractor and Subcontractor will work together with a focus on cost and schedule while
           achieving the standards of quality as provided in the plans and specifications. In the event of a
           conflict or ambiguity between the terms of this Section 1.1 and other terms of this Agreement,
           the terms of this Section 1.1 shall control and take precedence.




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     1.1.4 Discovery of unforeseen conditions, or differing site conditions, affecting the scope and timing
           of the Work.

     1.1.5 Adjustments to the Scope of Work as provided for under Additional Terms and Assumptions of
           Exhibit A.

     1.1.6 Contractor-directed Suspensions of work.

     1.1.7 Delays to the project critical path caused by third parties, and which are beyond the control of and
           without the fault of Subcontractor and which delay Subcontract Work.

 1.2 SUBCONTRACT WORK. Contractor contracts with Subcontractor as an independent contractor to
     provide all labor, materials, equipment, and services necessary to complete the Subcontract Work as
     described in Exhibit A and consistent with the CPM Schedule, as may change from time to time in
     accordance with this Agreement. Subcontractor shall perform the Subcontract Work under Contractor’s
     general direction and in accordance with the Subcontract Documents which are incorporated herein and
     made a part of this Agreement.

 1.3 CONTRACTOR’S WORK. Contractor’s Work is the construction and services required of Contractor
     to fulfill its obligations pursuant to the Prime Agreement with Owner (the “Work”). The “Subcontract
     Work” is a portion of Contractor’s Work.

 1.4 SUBCONTRACT DOCUMENTS. “Subcontract Documents” means this Agreement and its Exhibits,
     the Prime Agreement, the Development Agreement, the Exchange Agreement, amendments to this
     Agreement entered into in accordance with this Agreement, and Change Orders and Interim Directives
     issued in accordance with this Agreement. Only those portions of the such documents that have been
     previously provided to Subcontractor by Contractor shall be considered Subcontract Documents.
     Subcontractor shall provide copies of applicable portions of the Subcontract Documents to its proposed
     Subcontractors and suppliers. Subcontractor may request copies of the Subcontract Documents from
     Contractor at any time after this Agreement is executed provided that Contractor may redact
     information not applicable to the Subcontract Work.

 1.5 CONFLICTS. In the event of a conflict between this Agreement and the other Subcontract Documents,
     this Agreement shall govern.

 1.6 DEFINITIONS. Any capitalized terms used herein and not defined herein shall have the meaning in
     the Prime Agreement.

     1.6.1 “Agreement” means this Agreement by and between Contractor and Subcontractor, as modified
           in written and signed by both Parties in accordance with this Agreement, and the Exhibits attached
           hereto which are incorporated herein by this reference. The Exhibits are as follows:

                   Exhibit A:   The Subcontract Scope of Work
                   Exhibit B:   Subcontract Worksite
                   Exhibit C:   CPM Schedule
                   Exhibit D:   Schedule of Values
                   Exhibit E:   Insurance Provisions
                   Exhibit F:   Bond Provisions
                   Exhibit G:   Prime Agreement
                   Exhibit H:   Permits



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    1.6.2 “Business Day” means all Days, except weekends and official federal or state holidays where the
          Project is located.

     1.6.3 “CPM Schedule” means the schedule for the Subcontract Work dated December 1, 2018 as set
           forth on Exhibit C.

     1.6.4 “Day” means a calendar day.

     1.6.5 “Design Professional” means Figg Bridge Engineers, Inc. and its subconsultants.

     1.6.6 “Interim Directive” means a written order containing Work instructions or directing the
           Subcontractor to proceed with the Subcontract work in question. An Interim Directive may also
           be referenced in the Contract Documents as a Change Directive or other equivalent directive, and
           shall be treated as an Interim Directive.

     1.6.7 “Parties” means collectively Contractor and Subcontractor.

     1.6.8 “Permanent Materials” means concrete, reinforcing, and post tensioning materials.

     1.6.9 “Prime Agreement” means that certain Engineering, Procurement, and Construction Agreement
           dated as of June 8, 2017, by and between Contractor and Owner, and attachments, exhibits and
           schedules thereto, as such agreement may be amended from time to time.

     1.6.10 “Subcontract Change Order” is a written order signed by the Parties after execution of this
           Agreement, indicating changes in the scope of the Subcontract Work, the Subcontract Amount or
           Subcontract Time, including substitutions proposed by Subcontractor and accepted by Contractor.

     1.6.11 “Subcontract Substantial Completion” means the final completion of all Subcontract Work
           including the final punch list items.

     1.6.12 “Subcontract Substantial Completion Date” means the date shown as the Subcontract
           Substantial Completion Date on the CPM Schedule.

     1.6.13 “Subcontract Time” means the time period on the CPM Schedule between commencing and
           completing the Subcontract Work.

     1.6.14 “Subcontract Work” means the work described on Exhibit A.

     1.6.15 “Subcontract Worksite” means the geographical area of the Project location where the
           Subcontract Work is to be performed as more particularly described on Exhibit B.


 ARTICLE 2 SUBCONTRACTOR’S RESPONSIBILITIES.

 2.1 OBLIGATIONS. To the extent the terms of the Prime Agreement apply to the Subcontract Work, (a)
     Contractor assumes toward Subcontractor all the obligations, rights, duties, and redress that Owner
     under the Prime Agreement assumes toward Contractor except to the extent modified by this
     Agreement, and (b) Subcontractor will perform the Subcontract Work in accordance with the provisions
     of the Prime Agreement applicable to the Subcontract Work. In the event of an inconsistency among
     the documents, the specific terms of this Agreement shall govern.



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 2.2 RESPONSIBILITIES. Subcontractor shall furnish its diligent efforts to perform the Subcontract Work
     in an expeditious manner and to cooperate with Contractor so that Contractor may fulfill its obligations
     to Owner. Subcontractor shall furnish all of the labor, materials, equipment, and services, including but
     not limited to competent supervision, shop drawings, samples, tools, and scaffolding as are necessary
     for the proper performance of the Subcontract Work, all of which shall be provided in full accord with
     and reasonably inferable from the Subcontract Documents. Notwithstanding the generality of the
     foregoing, with respect to Permanent Materials, Contractor shall contract for and pay for the Permanent
     Materials, and Subcontractor shall order and coordinate the delivery of the Permanent Materials
     consistent with the terms of Contractor’s selected suppliers. Notwithstanding anything to the contrary
     herein, Subcontractor shall not be responsible for the quality of the Permanent Materials received from
     Contractor and the quality of the Permanent Materials received from Contractor shall be excluded from
     all warranties by Subcontractor.

 2.3 SUBCONTRACTORS. Subcontractor shall provide Contractor a list of its proposed subcontractors and
     suppliers and obtain approval of same to extent required by the Prime Agreement.

 2.4 INCONSISTENCIES, OMISSIONS, AND INCREASED QUANTITIES IN THE ISSUED FOR
     CONSTRUCTION DRAWINGS. Subcontractor shall examine and compare the drawings,
     specifications, other Subcontract Documents, the final issued for construction drawings and
     information furnished by Contractor relative to the Subcontract Work (collectively, the “Design
     Documents”). Should Subcontractor discover any errors, inconsistencies, or omissions in the issued for
     construction Subcontract Documents or changes in the quantities of materials compared to the final
     Design Documents provided to Subcontractor prior execution of this Subcontract Agreement,
     Subcontractor shall promptly report such discoveries to Contractor in writing. Following receipt of
     written notice, Contractor shall promptly instruct Subcontractor as to the measures to be taken, and
     Subcontractor shall comply with Contractor’s instructions. Subcontractor shall be entitled to additional
     costs and time because of clarifications or instructions arising out of Subcontractor’s reports described
     in this section, but only to the extent Contractor is provided additional costs or time by Owner under
     the Prime Agreement for the Subcontract Work. Nothing in this section shall relieve Subcontractor of
     responsibility for its own errors, inconsistencies, and omissions.

 2.5 SUBCONTRACT WORKSITE VISITATION. Before commencing the Subcontract Work,
     Subcontractor shall examine and compare the Subcontract Documents pertaining to its Work, relevant
     field measurements made by Subcontractor or shared by Contractor, and any visible conditions at the
     Subcontract Worksite affecting the Subcontract Work. If Subcontractor discover any errors, omissions,
     or inconsistencies in the Subcontract Documents or between its Subcontract Worksite observations and
     the Subcontract Documents, such discrepancies shall be promptly reported to Contractor as provided
     in Section 2.4.

 2.6 NOT USED.

 2.7 COMMUNICATIONS. Except as otherwise provided in the Subcontract Documents or for
     emergencies, Contractor shall direct communications to Owner.

 2.8 SUBMITTALS.

     2.8.1 Submittals shall be submitted in electronic form if Submittals are required. Subcontractor shall
           be responsible to Contractor for the accuracy and conformity of its submittals to the Subcontract
           Documents. Subcontractor shall prepare and deliver its submittals to Contractor in a manner
           consistent with the CPM Schedule and in such time and sequence so as not to delay Contractor
           or others in the performance of the Work. Subcontractor’s submittals shall identify in writing for
           each submittal all changes, deviations, or substitutions from the requirements of the Subcontract

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           Documents. The approval of any Subcontractor submittal shall not be deemed to authorize
           changes, deviations, or substitutions in the requirements of the Subcontract Documents unless
           express written approval is obtained from Contractor and Owner authorizing such change,
           deviation, or substitution. Such approval shall be promptly memorialized in a Subcontract Change
           Order within seven (7) Days following approval by Contractor. If the Subcontract Documents do
           not contain submittal requirements pertaining to the Subcontract Work, Subcontractor agrees
           upon request to submit in a timely fashion to Contractor for approval any shop drawings, samples,
           product data, manufacturers’ literature, or similar submittals as may reasonably be required by
           Contractor or Owner.

     2.8.2 Contractor, Design Professional, and Owner are entitled to rely on the adequacy, accuracy, and
           completeness of any professional certifications required by the Subcontract Documents
           concerning the performance criteria of systems, equipment, or materials, including all relevant
           calculations and any governing performance requirements.

     2.8.3 Subcontractor is entitled to rely on the adequacy, accuracy, and completeness of any professional
           certifications provided by Contractor or its designers and/or engineers concerning the
           performance criteria of systems, equipment, or materials, including all relevant calculations and
           any governing performance requirements.

 2.9 COORDINATION. Subcontractor shall: (a) cooperate with Contractor and others whose work may
     interface with the Subcontract Work, (b) specifically note and immediately advise Contractor of any
     such interface with the Subcontract Work, and (c) participate in preparing coordination drawings and
     work schedules in congested areas.

 2.10 SUBCONTRACTOR’S REPRESENTATIVE/KEY PERSONNEL. Subcontractor’s authorized
     representatives are Joseph Hoffmann, Project Manager (off-site), and Jason Hall, Erection
     Superintendent (on-site). Each person shall possess full authority to receive and act upon instructions,
     orders, or directions. These persons shall be approved by Owner, deemed Key Personnel under the
     Prime Agreement, and will be dedicated to the Project for the duration of the Subcontract Work. If
     Subcontractor desires to change its representatives, or the representatives’ authority, Subcontractor
     shall immediately notify Contractor in writing and obtain Contractor’s approval which approval will
     not be unreasonably withheld but shall be contingent upon Contractor receiving Owner’s approval
     under the Prime Agreement.

 2.11 TESTS AND INSPECTIONS. Subcontractor shall schedule and cooperate with Contractor’s
     performance of all required tests, approvals, and inspections of the Subcontract Work at appropriate
     times so as not to delay the progress of the Work or other work related to the Project and consistent
     with the Prime Agreement. Subcontractor shall give reasonable prior written notice to Contractor of the
     need for scheduled tests and inspections so Contractor can perform the tests and inspections. In addition
     to the foregoing, Subcontractor shall give all notices required by and consistent with the Prime
     Agreement.

 2.12 WARRANTIES. Subcontractor hereby provides the warranties of the Subcontract Work to
     Contractor as Contractor warrants to Owner in the Prime Agreement for the Subcontract Work. In
     addition to the foregoing, Subcontractor warrants that all materials and equipment that it provides (not
     including Contractor-provided materials and equipment) shall be new unless otherwise agreed to in
     writing by Contractor and Owner, of good quality, in conformance with the Subcontract Documents.
     Subcontractor further warrants that the Subcontract Work shall be free from defects in workmanship
     and free from defects in materials provided by Subcontractor, and fit for use for the intended function.
     Upon request by Contractor, Subcontractor shall furnish satisfactory evidence of the quality and type
     of materials and equipment furnished by Subcontractor. Subcontractor further warrants that it will

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     perform the Subcontract Work in accordance with good business practices associated with constructing
     facilities similar to the Project and the Subcontract Work shall meet the requirements of the Subcontract
     Documents.

 2.13 CLEANUP. Subcontractor shall at all times during its performance of the Subcontract Work keep
     the Subcontract Worksite clean and free from debris resulting from the Subcontract Work. Before
     discontinuing the Subcontract Work in an area, Subcontractor shall clean the area and remove all of its
     rubbish and its construction equipment, tools, machinery, waste, and surplus materials. Surplus
     Permanent Materials shall be returned to Contractor or disposed of as instructed by Contractor.
     Subcontractor shall make provisions to minimize and confine dust and debris resulting from its
     construction activities. Subcontractor shall not be held responsible for unclean conditions caused by
     others. If Subcontractor fails to commence compliance with cleanup duties within two (2) Business
     Days after written notification from Contractor of non-compliance, Contractor may implement
     appropriate cleanup measures without further notice and shall deduct the reasonable costs from any
     amounts due or to become due Subcontractor in the next payment period.

 2.14 SAFETY PROGRAMS. Subcontractor is required to perform the Subcontract Work in a safe and
     reasonable manner. Subcontractor shall prevent against injury, loss, or damage to persons or property
     by taking reasonable steps to protect: (a) employees and other persons at the Subcontract Worksite; (b)
     materials and equipment stored on or off the Subcontract Worksite for performing the Subcontract
     Work; and (c) all property and structures located at the Subcontract Worksite and adjacent.

     2.14.1       Subcontractor shall give all required notices and comply with all applicable rules,
          regulations, orders, and other lawful requirements established to prevent injury, loss, or damage
          to persons or property.

     2.14.2      Subcontractor shall implement appropriate safety programs pertaining to the Subcontract
          Work and the Project, including establishing safety rules, posting appropriate warnings and
          notices, erecting safety barriers, and establishing proper notice procedures to protect persons and
          property at the Subcontract Worksite and adjacent to the Subcontract Worksite from injury, loss,
          or damage, each in accordance with the Subcontract Documents.

     2.14.3       Subcontractor shall exercise care in carrying out any of the Subcontract Work which
          involves dangerous methods of construction or hazardous procedures, materials, or equipment.
          Subcontractor shall use properly qualified individuals or entities to carry out the Subcontract Work
          in a safe and reasonable manner so as to reduce the risk of bodily injury or property damage.

     2.14.4       Damage or loss not insured under property insurance and to the extent caused by the
          negligent or intentionally wrongful acts or omissions of Subcontractor, or anyone for whose acts
          Subcontractor may be liable, shall be promptly remedied by Subcontractor. Damage or loss to the
          extent caused by the negligent or intentionally wrongful acts or omissions of Contractor, or anyone
          for whose acts Contractor may be liable, shall be promptly remedied by Contractor.

     2.14.5      Subcontractor is required to designate an individual at the Subcontract Worksite in the
          employ of Subcontractor who shall act as Subcontractor’s designated safety representative with a
          duty to prevent accidents. Unless otherwise identified by Subcontractor in writing to Contractor,
          the designated safety representative shall be Subcontractor’s authorized representative designated
          in accordance with Section 2.10. Such safety representative shall attend Subcontract Worksite
          safety meetings as requested by Contractor.

     2.14.6     Subcontractor has an affirmative duty not to overload the structures or conditions at the
          Subcontract Worksite and shall take reasonable steps not to load any part of the structures or

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          Subcontract Worksite so as to give rise to an unsafe condition or create an unreasonable risk of
          bodily injury or property damage. Subcontractor shall have the right to request, in writing, from
          Contractor loading information concerning the structures at the Subcontract Worksite.

     2.14.7      Subcontractor shall give prompt written notice to Contractor of any accident involving
          bodily injury requiring a physician’s care, any property damage exceeding five hundred dollars
          ($500.00) in value, or any failure that could have resulted in serious bodily injury, whether or not
          such an injury was sustained.

     2.14.8       Prevention of accidents at the Subcontract Worksite is the responsibility of Subcontractor,
          and all other Subcontractors, persons, and entities at the Subcontract Worksite. Establishment of
          a safety program by Contractor shall not relieve Subcontractor or other parties of their safety
          responsibilities. Subcontractor shall establish its own safety program implementing safety
          measures, policies, and standards conforming to those required or recommended by governmental
          and quasi-governmental authorities having jurisdiction and by Contractor and Owner, including,
          but not limited to, a Traffic Control Plan, Safety Plan, and Security Plan, each in accordance with
          the requirements imposed by the Prime Agreement as it relates to the Subcontract Work and the
          Subcontract Worksite. Subcontractor shall comply with the reasonable recommendations of
          insurance companies having an interest in the Project and shall stop any part of the Subcontract
          Work that Contractor deems unsafe until corrective measures satisfactory to Contractor shall have
          been taken. Contractor’s failure to stop Subcontractor’s unsafe practices does not relieve
          Subcontractor of its responsibility. Subcontractor shall notify Contractor immediately following a
          reportable incident under applicable rules, regulations, orders, and other lawful requirements, and
          promptly confirm the notice in writing. A detailed written report shall be furnished if requested by
          Contractor. To the fullest extent permitted by Law, each Party to this Agreement shall indemnify
          the other Party from and against fines or penalties imposed as a result of safety violations, but only
          to the extent that such fines or penalties are caused by its failure to comply with applicable safety
          requirements.

 2.15 PROTECTION OF THE WORK. Subcontractor shall take necessary precautions to properly
     protect the Subcontract Work and the work of others from damage caused by Subcontractor’s
     operations. Should Subcontractor cause damage to the Subcontract Work or property of Owner,
     Contractor, or others, Subcontractor shall promptly remedy such damage to the satisfaction of
     Contractor, or Contractor may, after forty-eight (48) hours’ written notice to Subcontractor, remedy the
     damage and deduct its cost from any amounts due or to become due Subcontractor, unless such costs
     are recovered under applicable property insurance.

 2.16 EMERGENCIES. In an emergency affecting the safety of persons or property, Subcontractor shall
     act to prevent threatened damage, injury, or loss.

 2.17 PERMITS AND TAXES. Subcontractor shall give timely notices required by Law pertaining to
     the Subcontract Work, and is responsible for all licenses and paying taxes on labor, incidentals and
     equipment rentals necessary to complete the Subcontract Work in accordance with the Subcontract
     Documents. The permits listed on Exhibit H are the permits Contractor has identified are necessary for
     the Subcontract Work. Contractor shall be responsible for obtaining the permits on Exhibit H; provided
     that, Subcontractor agrees to provide in a timely manner the information needed by Contractor for any
     applications being prepared by Contractor. Subcontractor shall be responsible for obtaining any permits
     required for its means and methods, other than the FAA permit for Subcontractor’s crane, which shall
     be obtained by Contractor after Subcontractor advises Contractor of the model crane that Subcontractor
     intends to utilize.



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 2.18 HAZARDOUS MATERIALS. Subcontractor shall have the same rights and obligations as
     Contractor does under the Prime Agreement or Law regarding hazardous materials, to the extent the
     hazardous materials are brought onto the Subcontract Worksite by Subcontractor. Notwithstanding
     anything to the contrary herein, Subcontractor shall not be responsible for removal, disposal or
     remediating hazardous materials not brought onto the Subcontract Worksite by Subcontractor or its
     subcontractors or suppliers. In the event that Subcontractor encounters hazardous materials other than
     contaminated ground water that may be safely and legally be discharged onto the ground through a
     standard sediment filter bag or excavated soils that may be safely and legally used for backfill,
     Subcontractor shall immediately give notice to Contractor and discontinue work in the affected area
     until such hazardous materials are removed, disposed, or remediated by Contractor. Subcontractor shall
     not be required to execute any hazardous waste manifests. Subcontractor shall not be required to
     excavate any area of the Site other than as specifically shown in the plans and specifications for its
     Subcontract Work as of the execution of this Subcontract, and Subcontractor shall not be required to
     accept any change orders requiring such excavation. Contractor shall indemnify, defend and hold
     Subcontractor harmless for all losses, costs or damages resulting from the presence of hazardous
     materials on the Worksite not brought onto the Worksite by Subcontractor, or its subcontractors or
     suppliers, including, without limitation, all attorneys’ fees, court costs, and litigation expenses.

 2.19 SAFETY DATA SHEETS (SDS). Subcontractor shall submit to Contractor all SDS required by
     Law for materials or substances necessary for the performance of the Subcontract Work. SDS sheets
     obtained by Contractor from other Subcontractors or sources shall be made available to Subcontractor
     by Contractor.

 2.20 LAYOUT RESPONSIBILITY AND LEVELS. Contractor shall establish principal axis lines of the
     structure and Subcontract Worksite, and benchmarks, and provide survey layout for the Subcontract
     Work. Subcontractor shall be responsible for the conformance of the Subcontract Work to the
     Contractor’s survey layout and for any loss or damage to Contractor or others by reason of
     Subcontractor’s failure to conform to the survey layout or perform Subcontract Work correctly.
     Subcontractor shall exercise prudence so that the actual final conditions and details shall result in
     alignment of finish surfaces.

 2.21    CORRECTION OF SUBCONTRACT WORK.

     2.21.1       If the Design Professional or Contractor rejects the Subcontract Work or the Subcontract
          Work is not in conformance with the Subcontract Documents, Subcontractor shall promptly
          correct the Subcontract Work whether it had been installed, or completed. Subcontractor shall be
          responsible for the costs of correcting such Subcontract Work, any additional testing, inspections,
          and compensation for services and expenses made necessary by the defective Subcontract Work.

     2.21.2       In addition to Subcontractor’s obligations under this Agreement, Subcontractor agrees to
          promptly correct, after receipt of a written notice from Contractor, all Subcontract Work which
          proves to be defective in workmanship or defective in materials provided by Subcontractor within
          a period of two years after the Final Completion Date or for a longer period of time as may be
          required by warranties in the Prime Agreement. If Subcontractor fails to correct defective or
          nonconforming Subcontract Work within a reasonable time after receipt of notice from Contractor,
          but in any event within the period allowed under the Prime Agreement, Contractor may correct
          such Subcontract Work.

     2.21.3       If Subcontractor’s correction or removal of Subcontract Work destroys or damages other
          completed or partially completed work or existing buildings, Subcontractor shall be responsible
          for destroyed or damaged work correction costs.


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     2.21.4     If portions of Subcontract Work which do not conform with the requirements of the
          Subcontract Documents are neither corrected by Subcontractor nor accepted by Contractor,
          Subcontractor shall remove such Subcontract Work from the Project Worksite if so directed by
          Contractor.

 2.22 MATERIALS OR EQUIPMENT; CONSTRUCTION AND STORAGE LOCATION. If the scope
     of the Subcontract Work includes installation of materials or equipment furnished by others,
     Subcontractor is responsible for exercising proper care in handling and installing such items. Prior to
     or during erection, Subcontractor shall examine the items provided and report to Contractor in writing
     any items it may discover that do not conform to requirements of the Subcontract Documents.
     Subcontractor shall not proceed to install nonconforming items without further instructions from
     Contractor. Loss or damage due to acts or omissions of Subcontractor shall, upon two (2) Business
     Days’ written notice to Subcontractor, be deducted from any amounts due or to become due
     Subcontractor. Subcontractor shall confine construction activities and storage primarily to the
     Subcontract Worksite. Any offsite storage of materials dedicated to the Project requires Contractor’s
     prior approval and such materials must be clearly marked for the Project and shall be owned by Owner
     upon payment for such material, regardless of location.

 2.23 SUBSTITUTIONS. No substitutions shall be made in the Subcontract Work unless permitted in
     the Prime Agreement, and only upon Subcontractor first receiving written approval from Contractor
     and all approvals required under the Prime Agreement for substitutions.

 2.24 WORK FOR OTHERS. Until final completion of the Subcontract Work, Subcontractor agrees not
     to perform any work directly for Owner or deal directly with Owner’s representatives in connection
     with the Subcontract Work, unless otherwise approved in writing by Contractor.

 2.25 COMPLIANCE WITH LAWS. Subcontractor agrees to comply with the Law at its own cost.
     Subcontractor shall be liable to Contractor and Owner for all loss, cost, and expense attributable to any
     acts or omissions by Subcontractor, its employees, subcontractors, suppliers, and agents resulting from
     the failure to comply with the Law, including any fines, penalties, or corrective measures. To the extent
     Contractor receives reimbursement or additional time from Owner under the Prime Agreement, the
     Subcontract Amount or CPM Schedule shall be equitably adjusted for Change in Law affecting the
     performance of the Subcontract Work.

 2.26 CONFIDENTIALITY. To the extent the Prime Agreement provides for the confidentiality of any
     of Owner’s or Contractor’s proprietary or otherwise confidential information disclosed in connection
     with the performance of this Agreement, Subcontractor is equally bound by Owner’s or Contractor’s
     respective confidentiality requirements.

 2.27 ROYALTIES, PATENTS, AND COPYRIGHTS. Subcontractor shall pay all royalties and license
     fees which may be due on the inclusion of any patented or copyrighted materials, methods, or systems
     selected by Subcontractor and incorporated in the Subcontract Work.


 ARTICLE 3 CONTRACTOR’S RESPONSIBILITIES.

 3.1 CONTRACTOR’S REPRESENTATIVE. Contractor’s authorized representatives are Jay Rohleder and
    Tom Jenkins. Contractor’s representatives shall be the only person Subcontractor shall look to for
    instructions, orders, or directions, except in an emergency. If Contractor changes its representatives,
    Contractor shall promptly notify Subcontractor in writing.



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 3.2 APPLICATION FOR PAYMENT. Upon request, Contractor shall give Subcontractor a copy of the
     most current Contractor application for payment reflecting the amounts approved or paid by Owner for
     the Subcontract Work performed to date.

 3.3 STORAGE AREAS. Contractor shall allocate adequate storage areas, if available, for Subcontractor’s
     materials and equipment during the course of the Subcontract Work.

 3.4 TIMELY COMMUNICATIONS. Contractor shall transmit to Subcontractor, with reasonable
     promptness, all submittals, transmittals, and written approvals relative to the Subcontract Work. Unless
     otherwise specified in the Subcontract Documents, if communications are not through Subcontractor,
     Contractor shall inform Subcontractor of the communications Contractor has with Subcontractor’s
     subcontractors and suppliers.

 3.5 USE OF SUBCONTRACTOR’S EQUIPMENT. Contractor, its agents, employees, other
     Subcontractors, or suppliers shall use Subcontractor’s equipment only with the express written
     permission of Subcontractor’s designated representative and in accordance with Subcontractor’s terms
     and conditions for such use.


 ARTICLE 4 CPM SCHEDULE.

 4.1 TIME IS OF THE ESSENCE. Time is of the essence with regard to the obligations of the Subcontract
     Documents.

 4.2 SCHEDULE. Subcontractor shall use every reasonable effort to manage the Subcontract Work (Exhibit
     A) to achieve Substantial Completion in accordance with the CPM Schedule and Subcontract Amount
     in Article 5.1. All subsequent changes and additional details concerning the CPM Schedule shall be
     submitted to Subcontractor promptly and reasonably in advance of the required performance.
     Contractor shall have the right to determine and, if necessary, make reasonable changes to the time,
     order, and priority in which the various portions of the Work shall be performed and all other matters
     relative to the Subcontract Work.

 4.3 CLAIMS FOR DELAYS. Subcontractor shall give Contractor written notice of all claims within five
     (5) Business Days of Subcontractor’s knowledge of the facts giving rise to the claim; provided that,
     only claims allowed under the Prime Agreement and claims allowed under Sections 1.1 and 2.4.
     Thereafter, Subcontractor shall submit written documentation of its claim, including appropriate
     supporting documentation, within thirty (30) Days after giving notice, unless the Parties agree upon a
     longer period of time. If such documentation is not received by Contractor within thirty (30) Days
     Contractor may send a notice providing for more time to submit the documentation and if it is not
     submitted within such time the failure shall be a waiver of its rights to claim a change. Contractor shall
     respond in writing denying or approving, in whole or in part, Subcontractor’s claim no later than fifteen
     (15) Business Days after receipt of Subcontractor’s documentation. Contractor’s failure to respond shall
     be deemed a denial of Subcontractor’s claim. All unresolved claims, disputes, and other matters in
     question between the Parties shall be resolved as provided for in Article 10. Notwithstanding any
     provision herein, the CPM Schedule and the Subcontract Amount will be equitably adjusted in a
     Subcontract Change Order only to the extent an adjustment is obtained by Contractor under the Prime
     Agreement relating thereto, except that such condition shall not apply for claims pursuant to Sections
     1.1 and 2.4.

 4.4 LIMITED MUTUAL WAIVER OF CONSEQUENTIAL DAMAGES. Except for any (a) liquidated
     damages that Owner is entitled to recover against Contractor under the Prime Agreement (which are
     limited as to Subcontractor as provided in Section 4.5), the Parties mutually waive all claims against

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     each other for consequential damages, including but not limited to, damages for loss of business, loss
     of financing, loss of profits not related to this Project, loss of bonding capacity, loss of reputation, or
     insolvency. Similarly, Subcontractor shall obtain in contracts with its Subcontractors mutual waivers
     of consequential damages that correspond to Subcontractor’s waiver of consequential damages. The
     provisions of this subsection shall also apply to and survive this Agreement.

 4.5 LIQUIDATED DAMAGES. If Liquidated Damages are assessed by Owner under Section 12.3 of the
     Prime Agreement, Subcontractor shall be assessed a share of the damages in proportion to
     Subcontractor’s share of the responsibility for the causation of the delay to Substantial Completion (as
     defined in the Prime Agreement), not to exceed $5,000 per calendar day; provided, however, such
     damages shall only be assessed if Subcontractor fails to perform the Subcontract Work in accordance
     with Article 4.2. The amount of such assessment shall not exceed the amount assessed against
     Contractor.


 ARTICLE 5 SUBCONTRACT AMOUNT.

 5.1 As full compensation for performance of this Agreement, Contractor agrees to pay Subcontractor for
     the satisfactory performance of the Subcontract Work the fixed-price of twelve million, nine hundred
     twenty nine thousand and five hundred dollars ($12,929,500.00) (the “Subcontract Amount”).

 5.2 In the event Contractor receives an early completion payment pursuant to Section 12.3.3 of the Prime
     Agreement and Subcontractor achieved Subcontract Substantial Completion on or before the
     Subcontract Substantial Completion Date, Contractor will pay to Subcontractor within thirty (30) days
     of receiving the early completion payment (the “Early Completion Bonus”) from Owner an amount
     equal to the product of the Early Completion Bonus Contractor received multiplied by a fraction the
     numerator of which is the Subcontract Amount and the denominator is Cost of the Work. Nothing
     herein entitles Subcontractor to the right to receive an early completion payment if Contractor does not
     receive the early completion payment from Owner regardless of the reason Contractor does not receive
     such payment.


 ARTICLE 6 CHANGES.

 6.1 SUBCONTRACT CHANGE ORDERS. Subcontractor may request or Contractor may order changes
     in the Subcontract Work or the timing or sequencing of the Subcontract Work. A change in the
     Subcontract Work shall be formalized in a Subcontract Change Order and processed in accordance with
     this article. For changes in the Subcontract Work as contemplated in Section 1.1.1, 1.1.2, 1.1.3, 1.1.4,
     1.1.6 or 1.1.7, the Parties shall negotiate in good faith an appropriate adjustment to the Subcontract
     Amount, if applicable or the CPM Schedule, and shall conclude these negotiations as expeditiously as
     possible. For changes in the Subcontract Work as contemplated in Section 1.1.5, appropriate
     adjustment to the Subcontract Amount, if applicable, or the CPM Schedule, if applicable, shall be
     included in a Subcontract Change Order as stipulated in Exhibit A. Notwithstanding anything herein,
     Subcontract Change Orders will be approved only to the extent the change is approved by the Owner
     under the Prime Agreement or to the extent allowed under Sections 1.1 and 2.4.

 6.2 CHANGE DIRECTIVES. Contractor may issue a written Interim Directive directing Subcontractor to
     proceed with changes in the Subcontract Work. If such Interim Directive is issued as a result of Owner’s
     issuance of a Change Directive, then the applicable provisions of the Prime Agreement shall govern.
     Otherwise, Subcontractor shall separately submit its costs for the resulting change consistent with
     Section 1.1.1, 1.1.2, 1.1.3, 1.1.4, 1.1.6 or 1.1.7, beginning with its next regularly scheduled application
     for payment submitted after the issuance of the Interim Directive. If there is a cost dispute, the payment

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     and resolution shall be determined pursuant to the Prime Agreement. Undisputed amounts may be
     included in applications for payment and shall be paid in accordance with the Subcontract Documents.

 6.3 ADJUSTMENTS IN SUBCONTRACT AMOUNT. An adjustment in the Subcontract Amount
     resulting from a Subcontract Change Order shall be determined by one of the following methods:

     6.3.1 mutual acceptance of an itemized lump sum;

     6.3.2 unit prices as indicated in the Subcontract Documents or as subsequently agreed to by the Parties;
           or

     6.3.3 costs as determined in the Subcontract Documents or in a manner otherwise acceptable to the
           Parties, and a mutually acceptable fixed or percentage fee.

 6.4 SUBSTANTIATION OF ADJUSTMENT. If Subcontractor does not respond promptly or disputes the
     method of adjustment, the method and the adjustment shall be determined by Contractor on the basis
     of reasonable expenditures and savings of those performing the Work attributable to the change,
     including, in the case of an increase in the Subcontract Amount, an allowance for overhead and profit
     of the percentage provided in Section 9.6 of the Prime Agreement. Subcontractor shall maintain for
     Contractor’s review and approval an appropriately itemized and substantiated accounting of the
     following items attributable to the Subcontract Change Order:

     6.4.1 labor costs, including Social Security, health, welfare, retirement, and other fringe benefits as
           normally required, and state workers’ compensation insurance;

     6.4.2 costs of materials, supplies, and equipment, whether incorporated in the Subcontract Work or
           consumed, including transportation costs;

     6.4.3 costs of renting machinery and equipment other than hand tools;

     6.4.4 costs of bond and insurance premiums, permit fees, and taxes attributable to the change; and

     6.4.5 costs of additional supervision and field office personnel services necessitated by the change.

 6.5 NO OBLIGATION TO PERFORM. Subcontractor shall not be obligated to perform changes in the
     Subcontract Work until a Subcontract Change Order has been executed or written instructions have
     been issued in accordance with this Article 6.

 6.6 CONTRACTOR’S AUDIT RIGHTS. The Subcontractor shall keep full and detailed records and
     accounts related to the actual costs of erection labor and crane rental that may be the subject of any
     Change Order under Article 1.1.5 and exercise such controls as may be necessary for proper financial
     management under this Subcontract and to substantiate all such costs incurred. The accounting and
     control systems shall be satisfactory to the Contractor. The Contractor or its representatives shall,
     during regular business hours and upon reasonable notice, be afforded access to, and shall be permitted
     to audit and copy, the Subcontractor’s records and accounts related to such costs, including complete
     documentation supporting accounting entries, books, correspondence, instructions, drawings, receipts,
     subcontracts, Subcontractor’s proposals, purchase orders, vouchers, memoranda and other data relating
     to this Subcontract.




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 ARTICLE 7 PAYMENT.

 7.1 SCHEDULE OF VALUES. The schedule of values for the Subcontract Work is set forth on Exhibit D
     (the “Schedule of Values”).

 7.2 PROGRESS PAYMENTS.

   7.2.1        APPLICATIONS. Subcontractor’s applications for payment shall be itemized and
       supported by substantiating data as required by the Subcontract Documents. Subcontractor’s
       application for payment shall be notarized and if allowed under the Subcontract Documents may
       include a properly authorized Interim Directive. Subcontractor’s application for payment for the
       Subcontract Work performed in the preceding payment period shall be submitted for approval by
       Contractor in accordance with the Schedule of Values no later than the 5th Day of each payment
       period for the Subcontract Work indicating work completed during the preceding payment period
       together with the Monthly Deliverables required under the Prime Agreement. Contractor shall
       incorporate the approved amount of Subcontractor’s application for payment into Contractor’s
       application for payment to Owner for the same period and submit it to Owner in a timely fashion.
       Contractor shall promptly notify Subcontractor of any changes in the amount requested on behalf
       of Subcontractor.

   7.2.2        RETAINAGE. The rate of retainage shall be five percent (5%). Retainage under this
       Agreement will be released to Subcontractor within thirty (30) days of Contractor’s receipt of the
       corresponding payment from Owner of such retained amount for Subcontract Work; provided that
       if the Subcontract Work has been completed consistent with the CPM Schedule, upon Subcontract
       Substantial Completion Contractor agrees to submit a request consistent with Section 10.1.7.1 of
       the Prime Agreement for release of retainage for the Subcontract Work.

   7.2.3        TIME OF PAYMENT. Progress payments to Subcontractor for satisfactory performance
       of the Subcontract Work shall be made no later than thirty (30) Days after receipt by Contractor of
       payment from Owner for the Subcontract Work.

   7.2.4       PAYMENTS WITHHELD. Contractor may reject a Subcontractor application for payment
       in whole or in part or withhold amounts from a previously approved Subcontractor application for
       payment, as may reasonably be necessary to protect Contractor from loss or damage for which
       Contractor may be liable and without incurring an obligation for late payment interest based upon:

        7.2.4.1 Subcontractor’s repeated failure to perform the Subcontract Work as required by this
                Agreement;

        7.2.4.2 except as accepted by the insurer providing Builders Risk or other property insurance
                covering the Project, loss or damage arising out of or relating to this Agreement and caused
                by Subcontractor to Owner, Contractor, or others to whom Contractor may be liable;

        7.2.4.3 Subcontractor’s failure to properly pay for either labor, materials, equipment, or supplies
                furnished in connection with the Subcontract Work, provided that Contractor is making
                payments to Subcontractor for that portion of the Subcontract Work in accordance with
                this Agreement;

        7.2.4.4 rejected or defective Subcontract Work which has not been corrected in a timely fashion;

        7.2.4.5 reasonable evidence of delay in performance of the Subcontract Work such that the
                Subcontract Work will not be completed within the Subcontract Time, and that the unpaid

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                balance of the Subcontract Amount is not sufficient to offset the liquidated damages or
                actual damages that may be sustained by Contractor as a result of the anticipated delay
                caused by Subcontractor;

        7.2.4.6 reasonable evidence demonstrating that the unpaid balance of the Subcontract Amount is
                insufficient to cover the cost to complete the Subcontract Work; and

        7.2.4.7 uninsured third-party claims involving Subcontractor or reasonable evidence
                demonstrating that third-party claims are likely to be filed unless and until Subcontractor
                furnishes Contractor with adequate security in the form of a surety bond, letter of credit, or
                other collateral or commitment sufficient to discharge such claims if established.

        No later than ten (10) Days after receipt of an application for payment, Contractor shall give written
        notice to Subcontractor, at the time of disapproving or nullifying all or part of an application for
        payment, stating its specific reasons for such disapproval or nullification, and the remedial actions
        to be taken by Subcontractor in order to receive payment. When the above reasons for disapproving
        or nullifying an application for payment are removed, payment will be promptly made for the
        amount previously withheld.

   7.2.5        SUBSTANTIAL COMPLETION.

        7.2.5.1 Upon Subcontract Substantial Completion, Contractor shall assume responsibility for
                security and protection of the Subcontract Work pending the achievement of Substantial
                Completion of the Project.

        7.2.5.2 The warranty period applicable to the Subcontract Work shall commence upon the
                achievement of Subcontract Substantial Completion and continue until the end of the
                warranty period provided under the terms of the Prime Agreement.

 7.3 FINAL PAYMENT.

    7.3.1   APPLICATION. Upon acceptance of the Subcontract Work by Owner and Contractor and
            receipt from Subcontractor of evidence of fulfillment of Subcontractor’s obligations in
            accordance with the Subcontract Documents and the subsection below, Contractor shall
            incorporate Subcontractor’s application for final payment into Contractor’s next application
            for payment to Owner without delay, or notify Subcontractor if there is a delay and the reasons
            for the delay.

    7.3.2   REQUIREMENTS. Before Contractor shall be required to incorporate Subcontractor’s
            application for final payment into Contractor’s next application for payment, Subcontractor
            shall submit to Contractor:

            (a) An affidavit that all payrolls, bills for materials and equipment, and other indebtedness
            connected with the Subcontract Work have been paid, satisfied, or are to be paid with the
            proceeds of final payment, so as not to encumber Owner’s property, Contractor, or Contractor’s
            surety;

            (b) As-built drawings, manuals, copies of warranties, startup and testing, and all close-out
            documents and satisfaction of close-out procedures if required by the Subcontract Documents.

            (c) Release of any liens, conditioned on final payment being received, and in such form as may
            be required by the Subcontract Documents;

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             (d) Consent of surety to final payment, if required;

             (e) A report of any outstanding known and unreported accidents or injuries experienced by
             Subcontractor at the Subcontract Worksite;

             (f) Other data, if required, such as receipts and releases.

     7.3.3   TIME OF PAYMENT. Final payment of the balance due of the Subcontract Amount shall be
             made to Subcontractor within thirty (30) Days after receipt by Contractor of final payment from
             Owner for such Subcontract Work.

     7.3.4   WAIVER OF CLAIMS. Final payment shall constitute a waiver of all claims by Subcontractor
             relating to payment for the Subcontract Work, but shall in no way relieve Subcontractor of
             liability for the obligations, or for faulty or defective work or services discovered after final
             payment, nor relieve Contractor for claims made in writing by Subcontractor as required by the
             Subcontract Documents before its application for final payment as unsettled at the time of such
             payment.

 7.4 CONTINUING OBLIGATIONS. Provided Contractor is making payments in accordance with this
     Agreement, Subcontractor shall reimburse Contractor for costs and expenses for any claim, obligation,
     or lien asserted before or after final payment is made that arises from the performance of the Subcontract
     Work. Subcontractor shall reimburse Contractor for costs and expenses including attorneys’ fees and
     costs and expenses incurred by Contractor in satisfying, discharging, or defending against any such
     claims, obligation, or lien, including any action brought or judgment recovered.

 7.5 PAYMENT USE RESTRICTION. Payments received by Subcontractor shall be used to satisfy the
     indebtedness owed by Subcontractor to any person furnishing labor or materials, or both, for use in
     performing the Subcontract Work through the most current period applicable to progress payments
     received from Contractor before it is used for any other purpose. This applies to this Agreement only,
     and is not for the benefit of third parties. Moreover, this section does not restrict commingling funds
     nor require separate accounts for deposits.

 7.6 PAYMENT VERIFICATION. If Contractor has reason to believe that Subcontractor is not complying
     with payment terms in this Agreement, Contractor may contact Subcontractor’s subcontractors and
     suppliers to ascertain whether they are being paid by Subcontractor in accordance with this Agreement.

 7.7 PARTIAL LIEN WAIVERS AND AFFIDAVITS. As a prerequisite for payments, Subcontractor shall
     provide, in a form satisfactory to Owner and Contractor and consistent with the Prime Agreement,
     partial lien and claim waivers in the amount of the application for payment and affidavits covering its
     Subcontractors and suppliers for completed Subcontract Work. Such waivers shall be conditional upon
     payment. In no event shall Subcontractor be required to provide an unconditional waiver of lien or
     claim, before receiving payment or in an amount in excess of what it has been paid.

 7.8 SUBCONTRACTOR PAYMENT FAILURE. Upon payment by Contractor, Subcontractor shall
     promptly pay its Subcontractors and suppliers the amounts to which they are entitled. If Contractor has
     reason to believe that labor, material, or other obligations incurred in the performance of the
     Subcontract Work are not being paid, Contractor may give written notice of a potential claim or lien to
     Subcontractor and may take any steps deemed necessary to assure that progress payments are utilized
     to pay such obligations, including but not limited to the issuance of joint checks. If upon receipt of
     notice, Subcontractor does not (a) supply evidence to the satisfaction of Contractor that payment owed
     has been paid; or (b) post a bond indemnifying Owner, Contractor, Contractor’s surety, if any, and the

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    premises from a claim or lien, Contractor shall have the right to withhold from any payments due or to
    become due to Subcontractor a reasonable amount to protect Contractor from any and all loss, damage,
    or expense including attorneys’ fees that may arise out of or relate to any such claim or lien.

 7.9 SUBCONTRACTOR ASSIGNMENT OF PAYMENTS. Subcontractor shall not assign any payment
     due or to become due under this Agreement, without the written consent of Contractor.

 7.10 PAYMENT NOT ACCEPTANCE. Payment to Subcontractor does not constitute or imply
     acceptance of any portion of the Subcontract Work.

 7.11    TANGIBLE NET WORTH CRITERIA. If requested by Contractor, Subcontractor shall provide
     financial information to Contractor to support the Tangible Net Worth Criteria under the Prime
     Agreement, including quarterly financial information.


 ARTICLE 8 INDEMNITY, INSURANCE, BONDS, AND GUARANTY

 8.1 INDEMNITY.

    8.1.1        SUBCONTRACTOR’S INDEMNITY. To the fullest extent permitted by law,
        Subcontractor shall indemnify, defend, and hold harmless Contractor, Design Professional, Owner,
        and their respective directors, employees, officers, managers, members, shareholders, agents,
        contractors, and affiliates (the “Indemnitees”) under the same conditions as Contractor provides an
        indemnification pursuant to Section 14.9.1 of the Prime Agreement, but only for such portion of
        loss or damages incurred by Indemnitees as is caused by Subcontractor’s negligence, omission, or
        breach of this Subcontract. Indemnification claims shall be administered in accordance with the
        terms of the Prime Agreement.

    8.1.2        CONTRACTOR’S INDEMNITY. To the fullest extent permitted by law, Contractor shall
        indemnify, defend, and hold harmless Subcontractor, and its directors, employees, officers,
        managers, members, shareholders, agents, contractors, and affiliates (the “Subcontractor
        Indemnitees”) under the same conditions as Owner provides an indemnification pursuant to Section
        14.9.4 of the Prime Agreement. Indemnification claims shall be administered in accordance with
        the terms of the Prime Agreement.

    8.1.3        NO LIMITATION ON LIABILITY. In any claim against the Indemnitees by any employee
        of Subcontractor, anyone directly or indirectly employed by Subcontractor or anyone for whose acts
        Subcontractor may be liable, the indemnification obligation shall not be limited in any way by any
        limitation on the amount or type of damages, compensation, or benefits payable by or for
        Subcontractor under workers’ compensation acts, disability benefit acts or other employee benefit
        acts.

 8.2 INSURANCE.

    8.2.1         SUBCONTRACTOR’S INSURANCE. Before commencing the Subcontract Work, and as
        a condition precedent to payment, Subcontractor shall purchase and maintain insurance that will
        protect it from the claims arising out of its operations under this Agreement, whether the operations
        are by Subcontractor, or any of its consultants or Subcontractors or anyone directly or indirectly
        employed by any of them for whose acts Subcontractor may be liable.

    8.2.2       MINIMUM INSURANCE. Subcontractor shall procure and maintain in force at all times
        insurance set forth in Exhibit E and shall ensure that Contractor and Owner are listed as loss payee

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       and/or additional insured with respect to all such insurance at all times and deliver insurance
       certificates and endorsements, as applicable, to that effect.

   8.2.3        BUILDER’S RISK INSURANCE. Contractor shall provide to Subcontractor a copy of
       the Builder’s Risk policy of insurance for the Project procured by Contractor in which Subcontractor
       is an insured party. Such Builder’s Risk policy shall name Subcontractor as an additional insured
       and be endorsed to waive all rights of subrogation against Subcontractor.

 8.3 BONDS.

   8.3.1         Subcontractor shall provide to Contractor Subcontractor’s payment and performance bond
       prior to the Subcontract Work commencing, consistent with the terms in Exhibit F

   8.3.2        If Subcontractor shall fail to promptly provide any required bonds, Contractor may
       terminate this Agreement and enter into a subcontract for the balance of the Subcontract Work with
       another Subcontractor. All Contractor costs and expenses incurred by Contractor as a result of said
       termination shall be paid by Subcontractor.


 ARTICLE 9 SUSPENSION, NOTICE TO CURE, AND TERMINATION

 9.1 FAILURE OF PERFORMANCE AND TERMINATION.

   9.1.1        NOTICE TO CURE A DEFAULT. If Subcontractor persistently fails to supply enough
       qualified workers, proper materials, or equipment to maintain the CPM Schedule, or fails to make
       prompt payment to its workers, subcontractors, or suppliers, or disregards a Law or orders of any
       public authority having jurisdiction, failure of any of the conditions set forth in Section 14.1 of the
       Prime Agreement, or otherwise is guilty of a material breach of a provision of this Agreement,
       Subcontractor shall be deemed in default of this Agreement. If Subcontractor fails within three (3)
       Business Days after written notification to commence and continue satisfactory correction of the
       default with diligence and promptness, then Contractor shall give a second notice to Subcontractor
       and surety, if any, to correct the default within a two (2) Business Day period. If Subcontractor fails
       to promptly commence and continue satisfactory correction of the default following receipt of such
       second notice, Contractor without prejudice to any other rights or remedies, shall have the right to
       any or all of the following remedies:

        9.1.1.1 supply workers, materials, equipment, and facilities as Contractor deems necessary for the
                completion of the Subcontract Work or any part which Subcontractor has failed to complete
                or perform after written notification, and charge Subcontractor costs and expenses,
                including reasonable overhead, profit, and attorneys’ fees that are due or to become due.
                Subcontractor shall be liable for the payment of any amount by which such expense may
                exceed the unpaid balance of the Subcontract Amount. At Subcontractor’s request,
                Contractor shall provide a detailed accounting of the costs to finish the Subcontract Work;

        9.1.1.2 contract with one or more additional contractors to perform such part of the Subcontract
                Work as Contractor determines will provide the most expeditious completion of the Work,
                and charge the cost to Subcontractor as provided under the subsection above;

        9.1.1.3 withhold any payments due or to become due Subcontractor pending corrective action in
                amounts sufficient to cover losses and compel performance to the extent required by and
                to the satisfaction of Contractor. In the event of an emergency affecting the safety of


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                 persons or property, Contractor may proceed as above without notice, but Contractor shall
                 give Subcontractor notice promptly after the fact as a precondition of cost recovery; or

         9.1.1.4 terminate the Agreement by written notice.

    9.1.2        USE OF SUBCONTRACTOR’S MATERIALS/SUPPLIES. If Contractor performs work
        under this article, either directly or through other subcontractors, Contractor or other subcontractors
        shall have the right to take and use any materials or supplies for which Contractor or other
        subcontractors have paid and located at the Subcontract Worksite for the purpose of completing any
        remaining Subcontract Work.

 9.2 BANKRUPTCY.

    9.2.1        TERMINATION ABSENT CURE. If Subcontractor files a petition under the Bankruptcy
        Code, this Agreement shall terminate if: (a) Subcontractor or Subcontractor’s trustee rejects the
        Agreement, (b) a default has occurred, and Subcontractor is unable to give adequate assurance of
        required performance; or (c) Subcontractor is otherwise unable to comply with the requirements for
        assuming this Agreement under the applicable provisions of the Bankruptcy Code.

    9.2.2         INTERIM REMEDIES. If Subcontractor is not performing in accordance with the CPM
        Schedule at the time a petition in bankruptcy is filed, or at any subsequent time, Contractor, while
        awaiting the decision of Subcontractor or its trustee to reject or to assume this Agreement and
        provide adequate assurance of its ability to perform, may avail itself of such remedies under this
        article as are reasonably necessary to maintain the CPM Schedule. Contractor may offset against
        any sums due or to become due Subcontractor all costs incurred in pursuing any of the remedies
        provided including, but not limited to, reasonable overhead, profit, and attorneys’ fees.
        Subcontractor shall be liable for the payment of any amount by which costs incurred may exceed
        the unpaid balance of the Subcontract Amount.

 9.3 SUSPENSION BY OWNER FOR CONVENIENCE. Should Owner suspend the Work or any part
     which includes the Subcontract Work for the convenience of Owner and such suspension is not due to
     any act or omission of Contractor, or any other person or entity for whose acts or omissions Contractor
     may be liable, Contractor shall notify Subcontractor in writing and, upon receiving notification,
     Subcontractor shall immediately suspend the Subcontract Work. To the extent provided for under the
     Prime Agreement and to the extent Contractor recovers such on Subcontractor’s behalf, the Subcontract
     Amount and the Subcontract Time shall be equitably adjusted by Subcontract Change Order for the
     cost and delay resulting from any such suspension. Contractor agrees to cooperate with Subcontractor,
     at Subcontractor’s expense, in the prosecution of any Subcontractor claim arising out of an Owner
     suspension and to permit Subcontractor to prosecute the claim, in the name of Contractor, for the use
     and benefit of Subcontractor.

 9.4 TERMINATION BY OWNER. Should Owner terminate its contract with Contractor or any part which
     includes the Subcontract Work, Contractor shall notify Subcontractor in writing within three (3)
     Business Days of the termination and, upon written notification, this Agreement shall be terminated
     and Subcontractor shall immediately stop the Subcontract Work, follow all of Contractor’s instructions,
     and mitigate all costs. In the event of Owner termination, Contractor’s liability to Subcontractor shall
     be limited to the extent of Contractor’s recovery on Subcontractor’s behalf under the Subcontract
     Documents. Contractor agrees to cooperate with Subcontractor, at Subcontractor’s expense, in the
     prosecution of any Subcontractor claim arising out of Owner termination and to permit Subcontractor
     to prosecute the claim, in the name of Contractor, for the use and benefit of Subcontractor, or assign
     the claim to Subcontractor. If Owner terminates Contractor for cause, through no fault of Subcontractor,


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     Subcontractor shall be entitled to recover from Contractor its reasonable costs arising from the
     termination of this Agreement, including reasonable overhead and profit on Work not performed.

 9.5 CONTINGENT ASSIGNMENT OF THIS AGREEMENT. Contractor’s contingent assignment of this
     Agreement to Owner, as provided in the Prime Agreement, is effective when Owner has terminated the
     Prime Agreement for cause and has accepted the assignment by notifying Subcontractor in writing.
     This contingent assignment is subject to the prior rights of a surety that may be obligated under
     Contractor’s bond, if any. Subcontractor consents to such assignment and agrees to be bound to the
     assignee by the terms of this Agreement, provided that the assignee fulfills the obligations of
     Contractor.

 9.6 SUSPENSION BY CONTRACTOR. Contractor may order Subcontractor in writing to suspend all or
     any part of the Subcontract Work for such period of time as may be determined to be appropriate for
     the convenience of Contractor. Phased Work or interruptions of the Subcontract Work for short periods
     of time shall not be considered a suspension. Subcontractor, after receipt of Contractor’s order, shall
     notify Contractor in writing in sufficient time to permit Contractor to provide timely notice to Owner
     in accordance with the Prime Agreement of the effect of such order upon the Subcontract Work. The
     Subcontract Amount or Subcontract Time shall be adjusted by Subcontract Change Order for any
     increase in the time or cost of performance of this Agreement caused by such suspension. No claim
     under this section shall be allowed for any costs incurred more than fourteen (14) Days before
     Subcontractor’s notice to Contractor. Neither the Subcontract Amount nor the CPM Schedule shall be
     adjusted for any suspension, to the extent that performance would have been suspended, due in whole
     or in part to the fault or negligence of Subcontractor or by a cause for which Subcontractor would have
     been responsible. The Subcontract Amount shall not be adjusted for any suspension to the extent that
     performance would have been suspended by a cause for which Subcontractor would have been entitled
     only to a time extension under this Agreement.

 9.7 WRONGFUL EXERCISE. If Contractor wrongfully exercises any option under this article, Contractor
     shall be liable to Subcontractor solely for the reasonable value of Subcontract Work performed by
     Subcontractor (in accordance with the schedule of values) before Contractor’s wrongful action,
     including reasonable overhead and profit on the Subcontract Work performed, less prior payments
     made, together with reasonable overhead and profit on the Subcontract Work not executed, and other
     reasonable costs incurred by such action, including reasonable attorneys’ fees.

 9.8 TERMINATION BY SUBCONTRACTOR. If the Subcontract Work has been abandoned or suspended
     for an unreasonable period of time not due to the fault or neglect of Subcontractor, then Subcontractor
     may terminate this Agreement upon giving Contractor seven (7) Days’ written notice. Upon such
     termination, Subcontractor shall be entitled to recover from Contractor payment for all Subcontract
     Work satisfactorily performed and payment for any Permanent Materials purchased by Subcontractor
     which have been incorporated into the Project but not yet paid for, including reasonable overhead,
     profit, and attorneys’ fees related to termination, costs, and expenses.


 ARTICLE 10 DISPUTE RESOLUTION.

 10.1 DISPUTE RESOLUTION. Any dispute, claim or controversy arising out of or in connection with this
     Agreement, including any dispute regarding the existence, validity or termination of this Agreement
     (the “Dispute”), shall be resolved in accordance with the following procedures:

         (a)     Direct Negotiations. The Parties shall consult in good faith in an attempt to reach an
                 amicable settlement in relation to the Dispute. The Party alleging the existence of a Dispute
                 shall give to the other Party written notice setting out the particulars of the Dispute (the

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                 “Notice of Dispute”). If the Dispute is not settled amicably between the Parties within thirty
                 (30) calendar days from the receipt of the Notice of Dispute (or within such longer period
                 of time as the Parties may mutually agree in writing), such Dispute shall be finally settled
                 by arbitration.

         (b)     Arbitration. (i) Any Dispute that is not amicably settled under Section 10.1(a) shall be
                 finally resolved through arbitration under the Construction Industry Arbitration Rules of
                 the American Arbitration Association (the “AAA”) then in effect, including the Procedures
                 for Large, Complex Construction Disputes, as applicable, except for Rule L-5(d), which
                 shall have no application (the “Arbitration Rules”).

                         (ii)      If the amount in dispute is less than or equal to $1,000,000.00, the Dispute
                 shall be resolved by a single arbitrator, chosen by mutual agreement of the Parties to the
                 Arbitration. If the amount in dispute exceeds $1,000,000.00, the Dispute shall be resolved
                 by three (3) arbitrators (the “Arbitral Tribunal”) selected in accordance with the Arbitration
                 Rules.

                          (iii) The Arbitral Tribunal shall resolve the Dispute in accordance with the laws
                 of the State of Indiana.

                         (iv)     The place or seat of arbitration shall be Indianapolis, Indiana. The
                 Parties may agree to hold hearings in another location. The arbitration shall be conducted
                 in the English language.

                         (v)     The award issued by the Arbitral Tribunal (the “Award”) shall be final and
                 binding upon the Parties and shall be subject to appeal in accordance with applicable law
                 and the applicable Arbitration Rules.

                          (vi)    The Parties irrevocably submit to the jurisdiction of any court with
                 jurisdiction over the Parties or their assets for purposes of recognizing and enforcing the
                 Award.

                        (vii) The Parties shall have the right to seek the consolidation of arbitration
                 proceedings and the joinder of parties to an arbitration proceeding

 10.2    QUALIFIED TO ACT. The arbitrators selected as the Arbitral Tribunal shall have at least fifteen
     (15) years’ experience in complex construction, engineering or toll facility disputes.

 10.3 CONFIDENTIALITY. Save and except as may be necessary in the course of the enforcement of
     arbitration awards, the Arbitral Tribunal and all Persons participating therein shall be responsible for
     ensuring the confidentiality of each Party’s proprietary and confidential information.

 10.4 PROVISIONAL REMEDIES. No Party shall be precluded from initiating a proceeding in a court of
     competent jurisdiction for the purpose of obtaining any emergency, equitable or provisional remedy to
     protect its rights which may be necessary and which is not otherwise available under this Agreement,
     including temporary and preliminary injunctive relief and restraining orders. Venue for any provisional
     remedies action arising out of the Governing Documents shall lie in U.S. District Court for the Northern
     District of Indiana or the United States Court of Appeals for the Seventh Circuit.

 10.5 CONTINUING PERFORMANCE. At all times during the Term, notwithstanding the existence of any
     Dispute, Contractor and Subcontractor shall continue to perform their respective obligations in a
     diligent manner and without delay in accordance with the provisions of this Agreement without


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     prejudice to the right to contest, dispute and challenge the relevant matter in accordance with the
     provisions of this Agreement.

 10.6 PARTICIPATION IN OTHER PROCEEDINGS. Subcontractor agrees that at Owner’s request,
     Subcontractor will allow itself to be joined as a participant in any arbitration or other proceeding that
     involves Owner, any of its officers, directors, employees or agents and any other participant in the
     Work. This provision is for the benefit of Owner and its officers, directors, employees and agents and
     not for the benefit of any other Party.

 10.7 CLAIMS FOLLOWING TERMINATION. Notwithstanding anything contained in this Agreement,
     the dispute resolution procedure set forth in this Article 10 shall no longer apply to disputes between
     the Parties after the expiration of the warranty period or other termination of this Agreement which
     have not been resolved on a final and binding basis prior to such expiration or other termination and
     save as aforesaid, the Parties shall be entitled after the expiration of the EPC Contractor’s warranty
     period or other termination of this Agreement to commence legal proceedings seeking any recourse
     available to it or them at law or in equity.

 10.8 WAIVER OF LIEN RIGHTS. So long as Contractor is not in default under the terms of this
     Agreement, except to the extent prohibited by Law, Subcontractor hereby waives and relinquishes the
     right and ability to impose, file, attach or enact a lien against the Site, the Project or the Work.


 ARTICLE 11 – GENERAL PROVISIONS.

 11.1 HEADINGS. All section headings herein are for convenience of reference only and are not part of this
     Agreement, and no construction or inference shall be derived therefrom.

 11.2 SURVIVAL. Termination of this Agreement for any reason whatsoever shall not affect any right or
     obligation of any party which is accrued or vested prior to such termination, and any provision of this
     Agreement relating to any such right or obligation shall be deemed to survive the termination of this
     Agreement. The indemnities, confidentiality obligations, and insurance requirements provisions set
     forth herein shall survive termination or expiration of this Agreement, in addition to any other
     provisions which by their nature should, or by their express terms do, survive or extend beyond
     termination or expiration of this Agreement.

 11.3 GOVERNING LAW. This Agreement shall be construed and governed in accordance with the laws
     of the Prime Agreement, without regard to conflict of law principles.

 11.4 ENTIRE AGREEMENT AND AMENDMENTS. This Agreement, including the recitals hereto and
     the Exhibits referred to herein each of which is incorporated herein, constitutes the entire Agreement
     between the parties relating to the transaction described herein and supersedes any and all prior oral or
     written understandings. No amendment of any provision hereof shall be binding upon the parties, and
     neither party shall be deemed to have waived any provision or any remedy available to it unless such
     amendment or waiver is in writing and signed by a duly authorized officer of each party.

 11.5 COUNTERPARTS; DELIVERY. This Agreement may be signed in counterparts and delivered via
     electronic mail which together will have the same effect as a single original copy signed by all of the
     parties.


                                          [Signature Page Follows]


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                                           EXHIBIT A

                            THE SUBCONTRACT SCOPE OF WORK


 GENERAL

 The Contractor, Figg Bridge Builders, LLC, is responsible for design and construction of a new
 two-lane, fixed span, precast concrete segmental toll bridge In East Chicago, Indiana (Figure
 1). The new facility, the Cline Avenue Bridge (CAB), will carry State Road 912 (SR 912) over
 Riley Road, the Indiana Harbor Canal, several railroad tracks and Dickey Road along the same
 alignment as the previous structure, which was demolished in 2012.




                                    Figure 1 – Location Map


 The Subcontractor, McLean Contracting Company, will erect the precast concrete segmental
 superstructure for the new 6,236 feet long bridge (Figure 2). This consists of Spans 1 through
 28 with lengths varying from 103 feet to 316 feet, and end Span 29 which is 26 feet long. There
 are 685 precast superstructure segments to be erected. Clearances over the Indiana Harbor
 Canal are 230 foot horizontal and 100 foot vertical. The erection work includes stressing and
 grouting the longitudinal post-tensioning. Certain items, such as precast segments, post-
 tensioning materials, erection towers, lifting frames and closure pour construction will be
 provided by the Contractor, as detailed below.




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                          Figure 2 – New Bridge Key Plan and Elevation


 SUBCONTRACTOR RESPONSIBILITIES

 Subcontractor will construct the items included in the project scope of work as described
 herein. The construction will be performed in accordance with the project documents including
 the project permits, plans, specifications, project special provisions, the Construction Quality
 Control Plan, and applicable portions of the INDOT Standard Construction Specifications.
 Construction of the project will only utilize plans, specifications and erection procedures that
 have been Released For Construction (RFC) by the Contractor. Copies of the project
 documents are available on the project ftp site that Subcontractor will have access to.

 Subcontractor will provide and be responsible for the following items:

    •   Safety of Subcontractor’s work in accordance with the Subcontract Agreement
    •   Provide four (4) supervisory staff members with past experience for superstructure
        balanced cantilever erection, including all related living expenses for a ten (10) month
        period
    •   Moving superstructure erection towers (including disassemble, lowering, relocating, and
        reassembly), applying epoxy to the segment joints, lifting and installing (erecting)
        balanced cantilever segments that are delivered by Contractor to each span, and
        performing initial removal of epoxy squeezed from joints
    •   Participating in superstructure closure pour tasks that include: providing support crane
        assistance, installing forms with temporary closure beams, jacking apart cantilevers and
        removing temporary support works at closure pours


                                           Exhibit A - 2
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      •    Setting end span segments on abutment falsework to complete erection of Span 1
      •    Installing bearings, including moving from on-site storage to pier location, setting on the
           pier/abutment seat, making final adjustments, setting bearing offsets, and forming and
           grouting connections
      •    Provide cranes and related operators
      •    Managing subcontractors that provide the erection labor
      •    Installing, stressing and grouting longitudinal superstructure post-tensioning bars and
           tendons
      •    Installing post-tensioning anchorage protection per Special Provisions

 Prior to starting construction work, a copy of Subcontractor’s job-specific Health and Safety
 Manual to be utilized on the project will be provided to Contractor as part of the overall project
 Health and Safety Manual.

 Quality control and quality assurance (QC/QA) during construction of the project will be
 performed by Contractor. Subcontractor will cooperate with the QC/QA process, including
 allowing reasonable time and access for quality sampling, testing, inspections and any
 corrections necessary.


 CONTRACTOR RESPONSIBILITIES

 Contractor will provide and be responsible for the following items:

 1.       Precast segments, ready for installation
 2.       Delivery of precast segments to erection locations
 3.       Permanent materials suitable for incorporation into the project as follows:
           •     Concrete for closure joints and expansion joint installation
           •     Reinforcing steel (pre-bent) at closure and expansion joints
           •     Expansion joints at ends and mid-span joint locations (5 joints total)
           •     Mid-span expansion joint beams
           •     Longitudinal post-tensioning materials
           •     Post-tensioning tendon grout
           •     Epoxy for segment joining
           •     Bearings

          Materials for the work will be ordered by Contractor from suppliers pre-arranged by
          Contractor to provide the materials. Subcontractor will be responsible for coordinating
          material procurement with Contractor to ensure timely availability of needed materials.

 4.       Temporary support towers for segment erection




                                              Exhibit A - 3
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 5.    General equipment for post-tensioning strand installation and grouting, including post-
       tensioning bar and multi-strand stressing jacks with pumps and calibrated pressure
       gages
 6.    Alignment beams and forms for cast-in-place span closures
 7.    Segment lifting frames / manipulator and stressing platforms
 8.    General equipment to consist of manlifts, generators, air compressors, fork lifts and
       temporary lighting
 9.    Preassembly of longitudinal tendons
 10.   Sealing of segment joints at top deck if needed after spans have been erected
 11.   Labor for the following superstructure closure pour tasks (With McLean support crane
       assistance as needed): pre-tying reinforcement cages, performing adjustments to cages
       after installation in the forms, placing and finishing the cast-in-place concrete pour
 12.   Patching and finishing clean-up of segments as needed after erection
 13.   Erection geometry control (erection geometry, monitoring and direction on pier table
       setting, direction on shimming, mid-span closure alignment and other corrective actions if
       needed)
 14.   Maintenance of traffic at Riley Road
 15.   Railroad flagging and insurance
 16.   Construction Quality Control and Quality Assurance
 17.   Cleanup and general housekeeping


 ADDITIONAL TERMS AND ASSUMPTIONS

 A.    The labor crew workforce for erection and prestressing operations will be subcontracted
       and managed by Subcontractor.

 B.    The budgeted labor crew for the first month of erection operations includes two (2)
       ironworker foremen, ten (10) ironworkers, three (3) laborers, two (2) crane operators and
       two (2) oilers.

 C.    The budgeted labor crew for full erection production over the remaining projected eight
       (8) months after the initial month includes three (3) ironworker foremen, twenty (20)
       ironworkers, six (6) laborers, three (3) crane operators and three (3) oilers.

 D.    Subcontractor shall use best efforts to obtain the lowest rates for the labor and cranes to
       be utilized in performing this Agreement.

 E.    A change order will be executed at the end of each month to reconcile the actual erection
       labor and crane costs incurred by McLean that are less or more than the budgeted
       amounts shown in Attachment A to this Exhibit for the labor crews described above and
       the cranes listed in Attachment A. The amount of any Change Order increasing the total
       cost for that month shall not exceed ten (10) percent of the total monthly budget for that
       month as shown in Attachment 1 to this Exhibit, unless approved in writing by the


                                              Exhibit A - 4
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      Contractor’s Project Manager prior to Subcontractor incurring the expenditure for labor
      and/or equipment.

 F.   A Change Order for any additional months of erection labor beyond the originally
      projected nine months (one month single heading plus eight dual heading) will be
      negotiated on a similar cost component basis to that shown in Attachment 1 to this
      Exhibit using the anticipated crew numbers and sizes for the additional services.

 G.   The cost for any additional or reduced months of crane rental beyond the originally
      projected nine months (one month single heading plus eight dual heading) will be
      negotiated on a similar cost component basis to that shown in Attachment 1 to this
      Exhibit.

 H.   If more than ten (10) months are needed for the four (4) supervisory staff members,
      additional services will be added by Change Order. The rate for such additional services
      for the four (4) staff will be based on the rate shown in Exhibit D, Schedule of Values,
      prorated for the number of days the staff are actually on-site for that month. Any change
      Orders for fewer than the four staff will be negotiated on a similar cost component basis
      to that used for rate for the four staff members.


 EXCLUSIONS

 The following items are expressly excluded from this Scope of Work:

      1. Crane trestle materials

      2. Barge rental, if needed, for erection of the main span over the Harbor Canal




                                          Exhibit A - 5
                USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20Attachment
                                                                                    page 32 1ofto243
                                                                                                  Exhibit A
                                                                                                                                                          12/17/2018



                        Cline Avenue Bridge Project Segment Erection Cost Breakdown ‐ Attachment "B" REV 2
                                      Item 20 Monthly Costs: Start Up and Single Heading Erection
                                     Duration =   1       Mo

                                                                Hrs /                                       MCC MU
            Resource Description               Supplied By       Mo     Ave Hrly Cost       Total Cost       (10%)        Price/Mo      Months         Grand Total
            Ironworker Foreman                 Risch             500    $     106.25    $     53,125.00   $ 5,312.50    $ 58,437.50        1       $       58,437.50
            Crane Operator                     LaGrange          500    $     172.25    $     86,125.00   $ 8,612.50    $ 94,737.50        1       $       94,737.50
LABOR




            Oiler / Fireman                    LaGrange          500    $       73.50   $     36,750.00   $ 3,675.00    $ 40,425.00        1       $       40,425.00
            Ironworker                         Risch           2,450    $       99.10   $    242,795.00   $ 24,279.50   $ 267,074.50       1       $      267,074.50
            Skilled Laborer                    Mid States        725    $       75.50   $     54,737.50   $ 5,473.75    $ 60,211.25        1       $       60,211.25
            100 Ton Crane                      LaGrange          250    $       98.50   $     24,625.00   $ 2,462.50    $ 27,087.50        1       $       27,087.50
            300 Ton Crane                      LaGrange          250    $     296.50    $     74,125.00   $ 7,412.50    $ 81,537.50        1       $       81,537.50
EQUIPMENT




            Crane Move In Est Cost             LaGrange         1.00    $ 52,500.00     $     52,500.00   $ 5,250.00    $ 57,750.00        1       $       57,750.00
            185 CFM Compressor                 By Others           0    $       11.00   $           ‐     $        ‐    $         ‐        1       $             ‐
            50 kW Generator                    By Others           0    $       26.50   $           ‐     $        ‐    $         ‐        1       $             ‐
            120 ft Man‐lift                    By Others           0    $       87.00   $           ‐     $        ‐    $         ‐        1       $             ‐
            Fork Lift ‐ 15 Ton Capacity        By Others           0    $       50.00   $           ‐     $        ‐    $         ‐        1       $             ‐
            Small Tools / Consumables          Various         4,675    $        5.00   $     23,375.00   $ 2,337.50    $ 25,712.50        1       $       25,712.50
                                                                                                                                Item Subtotal      $      712,973.25
                                                                                                                                 Cost / Month      $      712,973.25
                                                                                                                                          Call     $      713,000.00




                                      Item 30 Monthly Costs: Additional Mob, Two Heading Erection, Demobilization
                                     Duration =   8       Mo

                                                                Hrs /                                       MCC MU
            Resource Description               Supplied By       Mo     Ave Hrly Cost       Total Cost       (10%)          Price/Mo      Months       Grand Total
            Ironworker Foreman                 Risch             740    $     106.25    $     78,625.00   $ 7,862.50    $     86,487.50      8     $      691,900.00
            Crane Operator                     LaGrange          740    $     172.25    $    127,465.00   $ 12,746.50   $   140,211.50       8     $    1,121,692.00
LABOR




            Oiler / Fireman                    LaGrange          740    $       73.50   $     54,390.00   $ 5,439.00    $     59,829.00      8     $      478,632.00
            Ironworker                         Risch           4,900    $       99.10   $    485,590.00   $ 48,559.00   $   534,149.00       8     $    4,273,192.00
            Skilled Laborer                    Mid States      1,450    $       75.50   $    109,475.00   $ 10,947.50   $   120,422.50       8     $      963,380.00
            100 Ton Crane                      LaGrange          232    $       98.50   $     22,852.00   $ 2,285.20    $     25,137.20      8     $      201,097.60
            300 Ton Crane                      LaGrange          465    $     296.50    $    137,872.50   $ 13,787.25   $   151,659.75       8     $    1,213,278.00
EQUIPMENT




            Crane Move In‐Out Est Cost         LaGrange         1.00    $ 154,000.00    $    154,000.00   $ 15,400.00   $   169,400.00       1     $      169,400.00
            185 CFM Compressor                 By Others            0   $       11.00   $           ‐     $        ‐    $           ‐        8     $             ‐
            50 kW Generator                    By Others            0   $       26.50   $           ‐     $        ‐    $           ‐        8     $             ‐
            120 ft Man‐lift                    By Others            0   $       87.00   $           ‐     $        ‐    $           ‐        8     $             ‐
            Fork Lift ‐ 15 Ton Capacity        By Others            0   $       50.00   $           ‐     $        ‐    $           ‐        8     $             ‐
            Small Tools / Consumables          Various         8,570    $        5.00   $     42,850.00   $ 4,285.00    $     47,135.00      8     $      377,080.00
                                                                                                                                  Item Subtotal    $    9,489,651.60
                                                                                                                                   Cost / Month    $    1,186,206.45
                                                                                                                                            Call   $    1,190,000.00



                                                                        SUMMARY
              Line   Description                                                            Qty   U/M Unit Price    Total
               10    Supervision supplied by McLean                                          10   Mo $ 260,000.00 $ 2,600,000.00
               20    Start Up and Single Heading Erection                                     1   Mo $ 713,000.00 $       713,000.00
               30    Additional Mob, Two Heading Erection, Demobilization                     8   Mo $ 1,190,000.00 $ 9,520,000.00
                                                                                                                     $ 12,833,000.00
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                                         EXHIBIT B

                                 SUBCONTRACT WORKSITE


 The attached description of the worksite corresponds to the property owned by Cline Avenue
 Bridge, LLC. Except for site access through adjacent property and locations where easements
 for the permanent bridge exist, the Subcontract Work will be performed within this area.




                                         Exhibit B - 1
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                                           EXHIBIT A

                                         PROPERTIES

 CAB Property

 A Part of the Southeast quarter of Section 11 and a part of the Southwest quarter of Section 12,
 Township 5 North, Range 4 East, Jackson County, Indiana and intended to be a more accurate
 and corrective surveyed description of that land described in Instrument #200704028 in the
 records of the Jackson County Recorder's Office, described as follows:

 Commencing at an Iron Pipe at the Southwest corner of said Section 12; thence North 00 degrees
 29 minutes 28 seconds East with the West line of the Southwest quarter of said Section 12,
  1285.71 feet to a 5/8" rebar set with orange cap inscribed "Daniel S. Blann, PLS #20300053" on
 the Northerly Right of Way of Highway 50 and the Point of Beginning; thence with said
 Northerly right of way line along a curve to the right having a radius of 1954.86 feet an arc
 length of 66.26 feet and bearing a chord of North 49 degrees 35 minutes 06 seconds East, 66.25
 feet to a right of way marker; thence North 49 degrees 18 minutes 23 seconds East with said
 Right of Way line, 156.45 feet to a 5/8" rebar with "J. Isaacs" cap: thence North 33 degrees 18
 minutes 03 seconds West, 318.87 feet to a 5/8" rebar with "J. Isaacs" cap; thence South 73
 degrees 28 minutes 25 seconds West, 158.66 feet to a found iron pin, in the Brownstown
 Honeytown Rood; thence South 13 degrees 00 minutes 39 seconds West along said rood, 185.22
 feet to a mag nail set with washer with said inscription; thence South 04 degrees 18 minutes 21
 seconds West along said rood, 62.32 feet to a mag nail set with said washer; thence South 35
 degrees 52 minutes 16 seconds East (passing through a 5/8" rebar set at 25.00 feet), 231.25 feet
 to a 5/8" Rebar set with said cap on the Northerly Right of Way of Highway 50; thence with said
 Right of Way line along a curve to the right having a radius of 1954.86 feet an arc length of
 93.89 feet and bearing chord of North 47 degrees 14 minutes 17 seconds East, 93.88 feet to the
 Point of Beginning, containing 2.43 Acres, more or less, and subject to all rights of way, and
 easements of record.




                                               A-1
 INDS01 KEG 1375172v2
                                           Exhibit B - 2
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                         PARCEL SUMMARY COMPRISING TIF AREA

      Parcel 2 (see Parcel 17)
      Parcel 2 is a duplicate of Parcel 17 and was acquired as Parcel 3 under Proj MM-850(22)

      Parcel 3
      Right-of-way conveyed to the State of Indiana by Fothas Buildings Corporation, via
      Warranty Deed (with no Reversionary Rights) dated June 9, 1978.
      Parcel 3: 0.587 ac               Sta 87+00

      Parcel 4
      Right-of-way conveyed to the State of Indiana by Inland Steel Company, via Warranty Deed
      (with no Reversionary Rights) dated July 15, 1980.
      Parcel 4: 0.063 ac                 Sta 100+50
      Parcel 4A: 2.173 ac                Sta 120+OQ
      Parcel 4B: 16.906 ac               Sta 150+00

      Parcel 5
      Right-of-way conveyed to the State of Indiana by Amsted Industries Incorporated, via
      Warranty Deed (with no Reversionary Rights) dated August 1, 1978.
      Parcel 6: 4.978 ac               Sta 130+00

      Parcel 6
      Right-of-way•conveyed to the State of Indiana by Youngstown Sheet and Tube Company, via
      Warranty Deed (with no Reversionary Rights) dated May 28,1980.
      Parcel 6: 3.959 ac                 Sta 160+00

      Parcel 7
     Right-of-way conveyed to the State of Indiana by Inland Steel Company, by Warranty Deed
     (with no Reversionary Rights) dated July 3, 1984.
     Parcel 7: 0.114 ac                 Sta 42+00 (Line S-1-E/Riley Road)
     Parcel 7A: 0.020 ac                Sta 40+00 (Line S-1-E/Riley Road)
     Parcel 7B: 3.843 ac                Sta 175+00

     Parcel 14
     Easement for Road conveyed to the State of Indiana by the Department of the Army
     (Indiana Harbor Canal) via Easement for Road or Street dated March 10, 1978
     Parcel 14: 1.214 ac               Sta 139+50

     Parcel 15
     Right-of-way conveyed to the State of Indiana by Amoco Oil Company, by Warranty Deed
     (with no Reversionary Rights) dated April 20, 1981.
     Parcel 15B: 0.578 ac               Sta 174+00




                                            Exhibit B - 3
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      Parcel 16
      Right-of-way conveyed to the State of Indiana by Indiana Harbor Belt Railroad, via Agreed
      Finding and Judgment filed November 5, 1982.
      Parcel 16: 1.532 ac                Sta 159+00
      Parcel 16 Excess land: 0.637 ac   Sta 56+00 (Line S-1-E/Riley Road)
      Parcel 16A: 1.350 ac              Sta 166+00
      Parcel 16B: 1.156 ac              Sta 165+00
      Parcel 16C: 0.124 ac              Sta 42+00 (Line S-1-E/Riley Road)
      Parcel 160: 0.352 ac              Sta 171+00
      Parcel 16E: 0.056 ac              Sta 169+00
      Parcel 16F: 0.074 ac              Sta 170+00

     Parcel 17
     Right-of-way conveyed to the State of Indiana by Consolidated Rail Corporation, via Agreed
     Finding and Judgment filed January 4,1982 (Cause C82-5345)
     Parcel 17: 1.894 ac                Sta 160+00
     Parcel 17 Excess Land: 0.247 ac    Sta 56+00 (Line S-1-E/Riley Road)
     Parcel 17A: 0.057 ac               Sta 63+00 (Line S-1-E/Riley Road)
     Parcel 17B: 0.546 ac               Sta 165+00
     Parcel 17C: 0.248 ac               Sta 172+00
     Parcel 170: 0.073 ac               Sta 60+00 (Line S-1-E/Riley Road)
     Parcel 17E: 0.012 ac               Sta 171+00

     Parcel 19
     Right-of-way conveyed to the State of Indiana by Penn Central Corporation, via Agreed
     Finding and Judgment filed January 22,1983 (Cause CP-82-366)
     Parcel 19: 2.050 ac                Sta 95+00
     Parcel 19A: 0.038 ac               Sta 100+00
     Parcel 19B: 0.866 ac               Sta 107+00
     Parcel 19B Excess Land: 1.017 ac Sta 118+00
     2 easements described for as Railroad R/W purpose

     The Parties acknowledge that Parcel 7B contains real property that is not necessary to
     construct the New Bridge and should be retained by INDOT as public right of way. The
     Parties agree to use good faith efforts to mutually determine which portion of Parcel 7B will
     be retained by INDOT as public right of way on or before the Closing Date.




                                            Exhibit B - 4
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                          Bridge Abutment
                               86+50




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                                                                                                           0     500    1000'
                           173+25               0
                                                                                                           SCALE: 1"=1000'

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I-
b
W

                               RIGHT-OF-WAY EXHIBIT
                                                                                                 DATE: 06.04.2012       SHEET NO.
o           AMERICAN                             7260 SHADELAND STATION
                                               INDIANAPOLIS,
0
of
          STRUCTUREPOINT          INC.
                                         TEL 317.547.5 0 FAX 31.543,0270
                                                     www.structurepointcom
                                                                                                 DRAWN BY: NDH           1
                                                                                                                             of
                                                                                                 JOB NO. 2011.01681

                                                                                                 DESC. nLE .

                                                Exhibit B - 5
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 Steel Structure as an Improvement to the INDOT Property

        A portion of the INDOT Property consisting of the Steel Structure to which INDOT has
 assigned the number XXX-XX-XXXX.




                                             A-3
INDSO1 KEG 1375172v2
                                          Exhibit B - 6
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                                   EXHIBIT C

                                CPM SCHEDULE

                                  [See Attached]




                                   Exhibit C - 1
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  Print Date/Time: 13-Dec-18 15:48               Data Date: 01-Dec-18                                                   Cline Avenue Bridge - Contract Schedule - December 1, 2018 Data Date                                                                                                                             1 of 15
Activity ID                  Activity Name                                                  Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                      2018                       2019                         2020              21
                                                                                            Duration   Duration   Duration Complete                                                                                     Float A S O N D F         A
                                                                                                                                                                                                                              J        J              J J A SO NDJ F        A     J J A SO NDJ F          A    J J A SO NDJ
        Project Wide
                Wid
              Major Milestones
                    Mil        / Mobilization
                A1000        Notice to Proceed                                                    0          0          0       100% 10-Jul-17 A                  10-Jul-17               10-Jul-17                           Notice to Proceed
                A1111        Mobilize Key FBB Site Staff / Equipment                             40          0         42       100% 11-Jul-17 A    21-Aug-17 A   11-Jul-17   19-Aug-17 11-Jul-17       21-Aug-17                Mobilize Key FBB Site Staff / Equipment
                A1112        Subcontractor NTP (Kenny)                                            0          0          0       100% 05-Sep-17 A                  05-Sep-17               05-Sep-17                               Subcontractor NTP (Kenny)
                A4000        All Columns & Caps Substantially Complete (Kenny)                    0          0          0         0%                14-Mar-19                 12-Dec-18                                 292                                                  All Columns & Caps Substantially Complete (Kenn
                M9000        Bridge Construction Complete                                         0          0          0         0%                07-Nov-19                 08-Nov-19                                   0                                                                     Bridge Construction Complete
                M9900        Initial Punchlist                                                   31         31          0         0% 09-Dec-19      08-Jan-20     10-Dec-19   09-Jan-20                                   0                                                                          Initial Punchlist
                M9910        Substantial Completion / Open to Traffic                             0          0          0         0%                08-Jan-20                 09-Jan-20                                   0                                                                          Substantial Completion / Op
                M9950        Final Punchlist                                                    122        122          0         0% 09-Jan-20      09-May-20     10-Jan-20   10-May-20                                   0                                                                                    Final Punchlist
                M9999        Project Complete                                                     0          0          0         0%                09-May-20                 10-May-20                                   0                                                                                    Project Complete
              Contract Milestones
                MS001        Start Pier Construction / First Lift of Pier Concrete Poured         0          0          0       100% 29-Dec-17 A                  04-Jan-18               29-Dec-17                                       Start Pier Construction / First Lift of Pier Concrete Poured
                MS002        Cast First Precast Superstructure Segment                            0          0          0       100% 25-Jan-18 A                  16-Feb-18               25-Jan-18                                         Cast First Precast Superstructure Segment
                MS003        Start Superstructure Erection / First Pier Segments Set              0          0          0         0% 01-Mar-19                    15-Apr-19                                             436                                                Start Superstructure Erection / First Pier Segments S
                MS004        Complete Casting 50% of Pier Columns                                 0          0          0       100% 16-May-18 A                  01-Jun-18               16-May-18                                                   Complete Casting 50% of Pier Columns
                MS005        Completion of Foundations /All Pier Footings Cast                    0          0          0         0% 15-Jan-19                    17-Jul-18                                             481                                             Completion of Foundations /All Pier Footings Cast
                MS006        Complete Precasting 50% of Superstructure Segments (342)             0          0          0         0% 09-Jan-19                    01-Nov-18                                             487                                             Complete Precasting 50% of Superstructure Segments
                MS007        Begin New Overlay on Steel Bridge Deck / First Overlay               0          0          0         0% 03-Apr-19                    13-May-19                                             403                                                     Begin New Overlay on Steel Bridge Deck / First O
                MS008        Pier Construction Complete /All Pier Columns and Caps Cast           0          0          0         0% 01-Apr-19                    21-Nov-18                                             405                                                     Pier Construction Complete /All Pier Columns an
                MS010        Superstructure Erection Complete                                     0          0          0         0% 12-Sep-19*                   08-Oct-19                                              26                                                                 Superstructure Erection Complete
              Non-EPC Decision Milestones
                MS101        Steel Bridge Rehabilitation - ContractAward Deadline                 0          0          0       100% 17-Aug-18 A                  23-Nov-18               17-Aug-18                                                          Steel Bridge Rehabilitation - ContractAward Deadline
                MS102        WestApp Roadway Modifications - ContractAward Deadline               0          0          0         0% 02-Apr-19*                   02-Apr-19                                             133                                                     WestApp Roadway Modifications - ContractAwa
                MS103        EastApp Roadway Modifications - Contract Award Deadline              0          0          0         0% 10-May-19*                   10-May-19                                             135                                                       EastApp Roadway Modifications - Contract Aw
                MS104        Electronic Toll Collection System - ContractAward Deadline           0          0          0       100% 31-May-18 A                  01-Apr-18               31-May-18                                                    Electronic Toll Collection System - ContractAward Deadline
                MS105        Access Ramps @ Indianapolis Blvd - ContractAward Deadline            0          0          0         0% 01-Jan-19*                   26-Oct-18                                              10                                            Access Ramps @ Indianapolis Blvd - ContractAward De
              Winter Segment
                     Se      Erection Shutdown
                A2222        PC Segment Erection Shutdown - Winter 2017/2018                    120          0        119       100% 01-Nov-17 A    28-Feb-18 A   01-Jan-18   30-Apr-18   01-Nov-17     28-Feb-18                              PC Segment Erection Shutdown - Winter 2017/2018
                A3333        PC Segment Erection Shutdown - Winter 2018/2019                    120         90         30        25% 01-Nov-18 A    28-Feb-19     01-Nov-18   28-Feb-19   01-Nov-18                       0                                                PC Segment Erection Shutdown - Winter 2018/201
              Bridge Plans
                     Pl
                A1250        Finalize Concrete Superstructure Outline                            20          0         37       100% 10-Jul-17 A    15-Aug-17 A   10-Jul-17   04-Aug-17 10-Jul-17       15-Aug-17               Finalize Concrete Superstructure Outline
                A1252        Final Design Drawings                                               85         31        456     63.53% 01-Sep-17 A    31-Dec-18     01-Sep-17 04-Jan-18     01-Sep-17                     164                                            Final Design Drawings
                IFC1100      IFC Drawings - Piling                                               60          0         60       100% 10-Jul-17 A    07-Sep-17 A   01-Sep-17 30-Oct-17     10-Jul-17     07-Sep-17                 IFC Drawings - Piling
                IFC1200      IFC Drawings - Abutment 1                                           68          0          9       100% 10-Sep-17 A    18-Sep-17 A   01-Sep-17 07-Nov-17     10-Sep-17     18-Sep-17                  IFC Drawings - Abutment 1
                IFC1300      IFC Drawings - Footings 2-10                                        82          0         82       100% 10-Jul-17 A    29-Sep-17 A   01-Sep-17 21-Nov-17     10-Jul-17     29-Sep-17                  IFC Drawings - Footings 2-10
                IFC1400      IFC Drawings - Piers 2-10                                          113          0        113       100% 10-Jul-17 A    30-Oct-17 A   01-Sep-17 22-Dec-17     10-Jul-17     30-Oct-17                     IFC Drawings - Piers 2-10
                IFC1500      IFC Drawings - Footings 11-16                                      141          0        159       100% 10-Jul-17 A    15-Dec-17 A   01-Sep-17 19-Jan-18     10-Jul-17     15-Dec-17                        IFC Drawings - Footings 11-16
                IFC1600      IFC Drawings - Piers 11-16                                         166          0        159       100% 10-Jul-17 A    15-Dec-17 A   01-Sep-17 13-Feb-18     10-Jul-17     15-Dec-17                        IFC Drawings - Piers 11-16
                IFC1800      IFC Drawings - Pile Layout 19-29                                    83          0        165       100% 10-Jul-17 A    22-Dec-17 A   10-Jul-17   30-Sep-17 10-Jul-17       22-Dec-17                         IFC Drawings - Pile Layout 19-29
                IFC2000      IFC Drawings - Pier 19-23 Footings/Cols                             60          0        235       100% 10-Jul-17 A    02-Mar-18 A   10-Jul-17   07-Sep-17 10-Jul-17       02-Mar-18                              IFC Drawings - Pier 19-23 Footings/Cols
                IFC2100      IFC Drawings - Pier 24-27 Footings/Cols                             60          0        249       100% 10-Jul-17 A    16-Mar-18 A   10-Jul-17   07-Sep-17 10-Jul-17       16-Mar-18                                 IFC Drawings - Pier 24-27 Footings/Cols
                IFC2200      IFC Drawings - Pier 17 & 18 Footings/Cols                           60          0        421       100% 10-Jul-17 A    04-Sep-18 A   10-Jul-17   07-Sep-17 10-Jul-17       04-Sep-18                                             IFC Drawings - Pier 17 & 18 Footings/Cols

               Actual Work
                                                                                                                                CLINE AVENUE BRIDGE
               Remaining Work
               Critical Remaining Work                                                                                        CONSTRUCTION SCHEDULE
               Milestone                                                                                                       NOVEMBER 2018 UPDATE




                                                                                                                                                      Page C- 2
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  Print Date/Time: 13-Dec-18 15:48         Data Date: 01-Dec-18                                                   Cline Avenue Bridge - Contract Schedule - December 1, 2018 Data Date                                                                                                                        2 of 15
Activity ID               Activity Name                                               Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                    2018                        2019                         2020          21
                                                                                      Duration   Duration   Duration Complete                                                                                     Float A S O N D F      A
                                                                                                                                                                                                                        J        J             J J A SO NDJ F         A    J J A SO NDJ F          A   J J A SO NDJ
                IFC2300   IFC Drawings - Pier 28 & 29 Straddle Bents                       60          0        445       100% 10-Jul-17 A    28-Sep-18 A   10-Jul-17   07-Sep-17 10-Jul-17       28-Sep-18                                               IFC Drawings - Pier 28 & 29 Straddle Bents
              Construc
              Construction Access
                A1005     Site Security Setup (Barriers, Signage, Fencing)                 10          0         10       100% 10-Jul-17 A    24-Jul-17 A   01-Sep-17 18-Sep-17 10-Jul-17         24-Jul-17             Site Security Setup (Barriers, Signage, Fencing)
                A1007     Utility Relocations - NIPSCO (Casting Yard)                      42          0        160       100% 10-Jul-17 A    30-Mar-18 A   01-Sep-17 06-Nov-17     10-Jul-17     30-Mar-18                               Utility Relocations - NIPSCO (Casting Yard)
                A1170     Prep/Submit Temporary Water Access Design and Permit             20          0         19       100% 23-Aug-17 A    20-Sep-17 A   01-Sep-17 29-Sep-17 23-Aug-17         20-Sep-17                 Prep/Submit Temporary Water Access Design and Permit
                A1175     Review/Approve Temporary Water Access Design and Permit          38         32         92     15.79% 31-Aug-18 A    01-Jan-19     02-Apr-18   01-May-18 31-Aug-18                       135                                            Review/Approve Temporary Water Access Design and
                A1190     Procure Temporary Water Access Material                          14         14          0         0% 02-Jan-19      15-Jan-19     02-May-18 30-Jul-18                                   135                                             Procure Temporary Water Access Material
                A1200     Install Temporary Erection Water Access @ Pier 17                10         10          0         0% 17-Jan-19      01-Feb-19     31-Jul-18   21-Aug-18                                  83                                              Install Temporary Erection Water Access @ Pier 17
                A1210     Install Temporary Erection Water Access @ Pier 18                10         10          0         0% 04-Feb-19      19-Feb-19     22-Aug-18 13-Sep-18                                    83                                               Install Temporary Erection Water Access @ Pier 18
                A1600     Sheeting Design/Procurement                                      30          0         32       100% 05-Sep-17 A    18-Oct-17 A   02-Oct-17   10-Nov-17   05-Sep-17     18-Oct-17                   Sheeting Design/Procurement
                RR1000    RR Right of Entry West                                           40          0        119       100% 05-Sep-17 A    02-Jan-18 A   01-Sep-17 10-Oct-17     05-Sep-17     02-Jan-18                         RR Right of Entry West
                RR1100    RR Right of Entry East                                           60          0        249       100% 19-Jan-18 A    25-Sep-18 A   10-Jan-18   10-Mar-18   19-Jan-18     25-Sep-18                                               RR Right of Entry East

        Precast Yard
                Ya
              Major Milestones
                    Mil        / Mobilization
                A1025     Order / Fab / Deliver Segment Forms                              80          0        185       100% 14-Sep-17 A    07-Jun-18 A   01-Sep-17 27-Dec-17     14-Sep-17     07-Jun-18                                      Order / Fab / Deliver Segment Forms
                A1026     Develop & Setup Precast Yard Building                            65          0        168       100% 21-Aug-17 A    19-Apr-18 A   01-Sep-17 05-Dec-17     21-Aug-17     19-Apr-18                                  Develop & Setup Precast Yard Building
                A1240     Demob Precast Yard Operation                                     20         20          0         0% 03-Jul-19      29-Jul-19     05-Sep-19 02-Oct-19                                   123                                                              Demob Precast Yard Operation
              Procurem
              Procurement / Assembly
                A1030     Assemble Casting Bed #1 (Pier Segments)                          15          0         21       100% 14-Dec-17 A    15-Jan-18 A   15-Dec-17   08-Jan-18   14-Dec-17     15-Jan-18                          Assemble Casting Bed #1 (Pier Segments)
                A1040     Assemble Casting Bed #2 (Variable Depth Typical Segments)        12          0         19       100% 26-Mar-18 A    20-Apr-18 A   02-Apr-18   17-Apr-18   26-Mar-18     20-Apr-18                                  Assemble Casting Bed #2 (Variable Depth Typical Segments)
                A1050     Assemble Casting Bed #3 (Variable Depth Typical Segments)         5          0         14       100% 10-Apr-18 A    30-Apr-18 A   16-Apr-18   20-Apr-18   10-Apr-18     30-Apr-18                                   Assemble Casting Bed #3 (Variable Depth Typical Segments)
                A1060     Assemble Casting Bed #4 (Expansion Segments)                     13          0         35       100% 20-Apr-18 A    08-Jun-18 A   23-Apr-18   09-May-18 20-Apr-18       08-Jun-18                                      Assemble Casting Bed #4 (Expansion Segments)
              Pier Segment
                   Segm    Casting
                A1070     Pier 2 - Cast First Segment (Pier Segment)                       10          0          5       100% 19-Jan-18 A    25-Jan-18 A   16-Jan-18   29-Jan-18   19-Jan-18     25-Jan-18                          Pier 2 - Cast First Segment (Pier Segment)
                PC0020    Pier 2 - Cast Second Pier Segment (1 EA)                          5          0         10       100% 02-Feb-18 A    15-Feb-18 A   01-Mar-18   07-Mar-18   02-Feb-18     15-Feb-18                            Pier 2 - Cast Second Pier Segment (1 EA)
                PC0020B   Pier 2 - Recast Segment PS-2D (1 EA)                              4          0          5       100% 24-Aug-18 A    30-Aug-18 A                           24-Aug-18     30-Aug-18                                             Pier 2 - Recast Segment PS-2D (1 EA)
                PC0030    Pier 3 - Cast Pier Segments (2 EA)                                8          0          7       100% 21-Mar-18 A    30-Mar-18 A   26-Mar-18   04-Apr-18   21-Mar-18     30-Mar-18                               Pier 3 - Cast Pier Segments (2 EA)
                PC0040    Pier 4 - Cast Pier Segments (2 EA)                                8          0          7       100% 09-Mar-18 A    20-Mar-18 A   15-Mar-18   26-Mar-18   09-Mar-18     20-Mar-18                              Pier 4 - Cast Pier Segments (2 EA)
                PC0050    Pier 5 - Cast Pier Segments (2 EA)                                8          0          3       100% 05-Apr-18 A    10-Apr-18 A   02-Apr-18   11-Apr-18   05-Apr-18     10-Apr-18                                  Pier 5 - Cast Pier Segments (2 EA)
                PC0060    Pier 6 - Cast Pier Segments (2 EA)                                8          0          4       100% 25-Apr-18 A    01-May-18 A 12-Apr-18     23-Apr-18   25-Apr-18     01-May-18                                   Pier 6 - Cast Pier Segments (2 EA)
                PC0070    Pier 7 - Cast Pier Segments (2 EA)                                8          0          7       100% 02-May-18 A 11-May-18 A      24-Apr-18   03-May-18 02-May-18       11-May-18                                    Pier 7 - Cast Pier Segments (2 EA)
                PC0080    Pier 8 - Cast Pier Segments (2 EA)                                8          0          7       100% 14-May-18 A 23-May-18 A 04-May-18 15-May-18 14-May-18              23-May-18                                     Pier 8 - Cast Pier Segments (2 EA)
                PC0090    Pier 9 - Cast Pier Segments (2 EA)                                8          0          6       100% 24-May-18 A 02-Jun-18 A      16-May-18 25-May-18 24-May-18         02-Jun-18                                      Pier 9 - Cast Pier Segments (2 EA)
                PC0100    Pier 10 - Cast Pier Segments (2 EA)                               8          0         13       100% 19-Feb-18 A    08-Mar-18 A   05-Mar-18   14-Mar-18   19-Feb-18     08-Mar-18                              Pier 10 - Cast Pier Segments (2 EA)
                PC0110    Pier 11 - Cast Pier Segments (2 EA)                               8          0          9       100% 04-Jun-18 A    15-Jun-18 A   29-May-18 07-Jun-18     04-Jun-18     15-Jun-18                                      Pier 11 - Cast Pier Segments (2 EA)
                PC0120    Pier 12 - Cast Pier Segments (2 EA)                               8          0          7       100% 16-Jun-18 A    27-Jun-18 A   08-Jun-18   19-Jun-18   16-Jun-18     27-Jun-18                                       Pier 12 - Cast Pier Segments (2 EA)
                PC0130    Pier 13 - Cast Pier Segments (2 EA)                               8          0          6       100% 28-Jun-18 A    07-Jul-18 A   20-Jun-18   29-Jun-18   28-Jun-18     07-Jul-18                                        Pier 13 - Cast Pier Segments (2 EA)
                PC0140    Pier 14 - Cast Pier Segments (2 EA)                               8          0          7       100% 09-Jul-18 A    17-Jul-18 A   02-Jul-18   12-Jul-18   09-Jul-18     17-Jul-18                                          Pier 14 - Cast Pier Segments (2 EA)
                PC0149    Rework Pier Segment Machine for Tall Segments                    10          0         21       100% 31-Aug-18 A    25-Sep-18 A                           31-Aug-18     25-Sep-18                                               Rework Pier Segment Machine for Tall Segments
                PC0150    Pier 15 - Cast Pier Segments (2 EA)                               8          0          8       100% 26-Sep-18 A    05-Oct-18 A   13-Jul-18   24-Jul-18   26-Sep-18     05-Oct-18                                               Pier 15 - Cast Pier Segments (2 EA)
                PC0160    Pier 16 - Cast Pier Segments (2 EA)                               8          8          0         0% 22-Jan-19      31-Jan-19     25-Jul-18   03-Aug-18                                  73                                              Pier 16 - Cast Pier Segments (2 EA)
                PC0170    Pier 17 - Cast Pier Segments (2 EA)                               8          8          0         0% 01-Feb-19      11-Feb-19     06-Aug-18 15-Aug-18                                    91                                               Pier 17 - Cast Pier Segments (2 EA)
                PC0180    Pier 18 - Cast Pier Segments (2 EA)                               8          4          3        50% 28-Nov-18 A    05-Dec-18     16-Aug-18 27-Aug-18 28-Nov-18                          27                                          Pier 18 - Cast Pier Segments (2 EA)
                PC0190    Pier 19 - Cast Pier Segments (2 EA)                               8          0         10       100% 08-Oct-18 A    19-Oct-18 A   28-Aug-18 07-Sep-18 08-Oct-18         19-Oct-18                                                Pier 19 - Cast Pier Segments (2 EA)
                PC0200    Pier 20 - Cast Pier Segments (2 EA)                               8          0          8       100% 22-Oct-18 A    31-Oct-18 A   10-Sep-18 19-Sep-18 22-Oct-18         31-Oct-18                                                 Pier 20 - Cast Pier Segments (2 EA)
                PC0210    Pier 21 - Cast Pier Segments (2 EA)                               8          0          9       100% 01-Nov-18 A    13-Nov-18 A   20-Sep-18 01-Oct-18     01-Nov-18     13-Nov-18                                                  Pier 21 - Cast Pier Segments (2 EA)
                PC0220    Pier 22 - Cast Pier Segments (2 EA)                               8          0          8       100% 14-Nov-18 A    27-Nov-18 A   02-Oct-18   11-Oct-18   14-Nov-18     27-Nov-18                                                   Pier 22 - Cast Pier Segments (2 EA)
                PC0230    Pier 23 - Cast Pier Segments (2 EA)                               8          8          0         0% 06-Dec-18      15-Dec-18     12-Oct-18   23-Oct-18                                  27                                          Pier 23 - Cast Pier Segments (2 EA)




                                                                                                                                                Page C- 3
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  Print Date/Time: 13-Dec-18 15:48         Data Date: 01-Dec-18                                                      Cline Avenue Bridge - Contract Schedule - December 1, 2018 Data Date                                                                                                                      3 of 15
Activity ID                Activity Name                                                 Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                         2019                        2020            21
                                                                                         Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                           J        J        J J A SO NDJ F          A     J J A SO NDJ F        A     J J A SO NDJ
               PC0240      Pier 24 - Cast Pier Segments (2 EA)                                 8          8          0         0% 17-Dec-18      28-Dec-18     24-Oct-18   02-Nov-18                                  34                                        Pier 24 - Cast Pier Segments (2 EA)
               PC0250      Pier 25 - Cast Pier Segments (2 EA)                                 8          8          0         0% 02-Jan-19      10-Jan-19     05-Nov-18   14-Nov-18                                  42                                         Pier 25 - Cast Pier Segments (2 EA)
               PC0260      Pier 26 - Cast Pier Segments (2 EA)                                 8          8          0         0% 11-Jan-19      21-Jan-19     15-Nov-18   28-Nov-18                                  42                                         Pier 26 - Cast Pier Segments (2 EA)
               PC0270      Pier 27 - Cast Pier Segments (2 EA)                                 8          0         15       100% 18-Jul-18 A    04-Aug-18 A   29-Nov-18   10-Dec-18   18-Jul-18     04-Aug-18                                       Pier 27 - Cast Pier Segments (2 EA)
               PC0280      Pier 28 - Cast Pier Segments (2 EA)                                 8          0          6       100% 06-Aug-18 A    13-Aug-18 A   11-Dec-18   20-Dec-18   06-Aug-18     13-Aug-18                                       Pier 28 - Cast Pier Segments (2 EA)
               PC0290      Pier 29 - Cast Pier Segments (2 EA)                                 8          0          8       100% 14-Aug-18 A    23-Aug-18 A   21-Dec-18   07-Jan-19   14-Aug-18     23-Aug-18                                        Pier 29 - Cast Pier Segments (2 EA)
              Cantileve Segment Casting
              Cantilever
               PC0020D     Pier 2 - Cast Downstation Cantilever Segments (10 EA)              11          0         13       100% 26-Jul-18 A    10-Aug-18 A   25-May-18 11-Jun-18     26-Jul-18     10-Aug-18                                       Pier 2 - Cast Downstation Cantilever Segments (10 EA)
               PC0020E     Pier 2 - Cast End Segments (3 EA)                                   8          8          0         0% 03-Jan-19      11-Jan-19     10-May-18 25-May-18                                    24                                         Pier 2 - Cast End Segments (3 EA)
               PC0020U     Pier 2 - Cast Upstation Cantilever Segments (10 EA)                11          0         17       100% 22-Jun-18 A    16-Jul-18 A   29-May-18 12-Jun-18     22-Jun-18     16-Jul-18                                      Pier 2 - Cast Upstation Cantilever Segments (10 EA)
               PC0030D     Pier 3 - Cast Downstation Cantilever Segments (8 EA)               10          0         15       100% 19-Jun-18 A    10-Jul-18 A   11-May-18 24-May-18 19-Jun-18         10-Jul-18                                  Pier 3 - Cast Downstation Cantilever Segments (8 EA)
               PC0030U     Pier 3 - Cast Upstation Cantilever Segments (8 EA)                  9          0         16       100% 13-Jun-18 A    06-Jul-18 A   18-May-18 31-May-18 13-Jun-18         06-Jul-18                                  Pier 3 - Cast Upstation Cantilever Segments (8 EA)
               PC0040D     Pier 4 - Cast Downstation Cantilever Segments (9 EA)               19          0         36       100% 21-Apr-18 A    13-Jun-18 A   16-Apr-18   10-May-18 21-Apr-18       13-Jun-18                                 Pier 4 - Cast Downstation Cantilever Segments (9 EA)
               PC0040U     Pier 4 - Cast Upstation Cantilever Segments (9 EA)                 19          0         31       100% 01-May-18 A 14-Jun-18 A      23-Apr-18   17-May-18 01-May-18       14-Jun-18                                 Pier 4 - Cast Upstation Cantilever Segments (9 EA)
               PC0050D     Pier 5 - Cast Downstation Cantilever Segments (9 EA)               10          0         13       100% 09-Jul-18 A    24-Jul-18 A   12-Jun-18   25-Jun-18   09-Jul-18     24-Jul-18                                      Pier 5 - Cast Downstation Cantilever Segments (9 EA)
               PC0050U     Pier 5 - Cast Upstation Cantilever Segments (9 EA)                 10          0         13       100% 17-Jul-18 A    01-Aug-18 A   01-Jun-18   14-Jun-18   17-Jul-18     01-Aug-18                                       Pier 5 - Cast Upstation Cantilever Segments (9 EA)
               PC0060D     Pier 6 - Cast Downstation Cantilever Segments (9 EA)               10          0         12       100% 11-Jul-18 A    25-Jul-18 A   15-Jun-18   28-Jun-18   11-Jul-18     25-Jul-18                                      Pier 6 - Cast Downstation Cantilever Segments (9 EA)
               PC0060U     Pier 6 - Cast Upstation Cantilever Segments (9 EA)                 10          0         12       100% 25-Jul-18 A    08-Aug-18 A   13-Jun-18   26-Jun-18   25-Jul-18     08-Aug-18                                       Pier 6 - Cast Upstation Cantilever Segments (9 EA)
               PC0070D     Pier 7 - Cast Downstation Cantilever Segments (10 EA)              11          0         12       100% 10-Aug-18 A    24-Aug-18 A   27-Jun-18   12-Jul-18   10-Aug-18     24-Aug-18                                        Pier 7 - Cast Downstation Cantilever Segments (10 EA)
               PC0070U     Pier 7 - Cast Upstation Cantilever Segments (10 EA)                11          0         15       100% 03-Aug-18 A    21-Aug-18 A   26-Jun-18   11-Jul-18   03-Aug-18     21-Aug-18                                        Pier 7 - Cast Upstation Cantilever Segments (10 EA)
               PC0080D     Pier 8 - Cast Downstation Cantilever Segments (9 EA)               10          0         10       100% 17-Aug-18 A    29-Aug-18 A   12-Jul-18   25-Jul-18   17-Aug-18     29-Aug-18                                         Pier 8 - Cast Downstation Cantilever Segments (9 EA)
               PC0080U     Pier 8 - Cast Upstation Cantilever Segments (9 EA)                 10          0         15       100% 23-Aug-18 A    11-Sep-18 A   29-Jun-18   13-Jul-18   23-Aug-18     11-Sep-18                                          Pier 8 - Cast Upstation Cantilever Segments (9 EA)
               PC0090D     Pier 9 - Cast Downstation Cantilever Segments (7 EA)                8          0         12       100% 30-Aug-18 A    14-Sep-18 A   16-Jul-18   25-Jul-18   30-Aug-18     14-Sep-18                                          Pier 9 - Cast Downstation Cantilever Segments (7 EA)
               PC0090U     Pier 9 - Cast Upstation Cantilever Segments (7 EA)                  8          0         13       100% 28-Aug-18 A    13-Sep-18 A   26-Jul-18   06-Aug-18 28-Aug-18       13-Sep-18                                          Pier 9 - Cast Upstation Cantilever Segments (7 EA)
               PC0100D     Pier 10 - Cast Downstation Cantilever Segments (9 EA)              10          0         11       100% 14-Sep-18 A    27-Sep-18 A   26-Jul-18   08-Aug-18 14-Sep-18       27-Sep-18                                           Pier 10 - Cast Downstation Cantilever Segments (9 EA)
               PC0100U     Pier 10 - Cast Upstation Cantilever Segments (7 EA)                 8          0         11       100% 12-Sep-18 A    25-Sep-18 A   13-Jul-18   01-Aug-18 12-Sep-18       25-Sep-18                                           Pier 10 - Cast Upstation Cantilever Segments (7 EA)
               PC0100UE Pier 10 - Cast Upstation Hinge EJ Segments (3 EA)                      6          6          0         0% 18-Feb-19      25-Feb-19                                                            25                                            Pier 10 - Cast Upstation Hinge EJ Segments (3 EA)
               PC0110D     Pier 11 - Cast Downstation Cantilever Segments (5 EA)               6          0          7       100% 29-Sep-18 A    08-Oct-18 A   02-Aug-18 21-Aug-18 29-Sep-18         08-Oct-18                                            Pier 11 - Cast Downstation Cantilever Segments (5 EA)
               PC0110DE Pier 11 - Cast Downstation Hinge EJ Segments (3 EA) + 2 EA typ         8          8          0         0% 26-Feb-19      06-Mar-19                                                            25                                             Pier 11 - Cast Downstation Hinge EJ Segments (3 E
               PC0110U     Pier 11 - Cast Upstation Cantilever Segments (9 EA)                10          0         15       100% 27-Sep-18 A    15-Oct-18 A   07-Aug-18 20-Aug-18 27-Sep-18         15-Oct-18                                            Pier 11 - Cast Upstation Cantilever Segments (9 EA)
               PC0120D     Pier 12 - Cast Downstation Cantilever Segments (10 EA)             11          0         13       100% 18-Sep-18 A    03-Oct-18 A   09-Aug-18 23-Aug-18 18-Sep-18         03-Oct-18                                           Pier 12 - Cast Downstation Cantilever Segments (10 EA)
               PC0120U     Pier 12 - Cast Upstation Cantilever Segments (10 EA)               11          0         18       100% 16-Oct-18 A    06-Nov-18 A   21-Aug-18 05-Sep-18 16-Oct-18         06-Nov-18                                              Pier 12 - Cast Upstation Cantilever Segments (10 EA)
               PC0130D     Pier 13 - Cast Downstation Cantilever Segments (11 EA)             12          0         19       100% 04-Oct-18 A    26-Oct-18 A   24-Aug-18 11-Sep-18     04-Oct-18     26-Oct-18                                             Pier 13 - Cast Downstation Cantilever Segments (11 EA)
               PC0130U     Pier 13 - Cast Upstation Cantilever Segments (11 EA)               12          0         19       100% 09-Oct-18 A    31-Oct-18 A   22-Aug-18 07-Sep-18 09-Oct-18         31-Oct-18                                             Pier 13 - Cast Upstation Cantilever Segments (11 EA)
               PC0140D     Pier 14 - Cast Downstation Cantilever Segments (10 EA)             11         11          0         0% 03-Dec-18      15-Dec-18     06-Sep-18 20-Sep-18                                    24                                       Pier 14 - Cast Downstation Cantilever Segments (10 EA)
               PC0140U     Pier 14 - Cast Upstation Cantilever Segments (10 EA)               11          1         19     90.91% 05-Nov-18 A    01-Dec-18     10-Sep-18 24-Sep-18 05-Nov-18                          24                                      Pier 14 - Cast Upstation Cantilever Segments (10 EA)
               PC0150D     Pier 15 - Cast Downstation Variable Depth Segments (7 EA)           8          8          0         0% 26-Mar-19      04-Apr-19     12-Sep-18 21-Sep-18                                    18                                                 Pier 15 - Cast Downstation Variable Depth Segm
               PC0150DC Pier 15 - Cast Downstation Constant Depth Segments (5 EA)              6          6          0         0% 05-Apr-19      11-Apr-19     25-Sep-18 02-Oct-18                                    18                                                 Pier 15 - Cast Downstation Constant Depth Segm
               PC0150U     Pier 15 - Cast Upstation Variable Depth Segments (7 EA)             8          8          0         0% 20-Apr-19      30-Apr-19     21-Sep-18 02-Oct-18                                     5                                                  Pier 15 - Cast Upstation Variable Depth Segme
               PC0150UC Pier 15 - Cast Upstation Constant Depth Segments (3 EA)                4          4          0         0% 01-May-19      04-May-19     03-Oct-18   16-Oct-18                                  11                                                   Pier 15 - Cast Upstation Constant Depth Segm
               PC0150UC Pier 15 - Cast Upstation Hinge EJ Segments (3 EA)                      6          6          0         0% 06-May-19      13-May-19                                                            11                                                   Pier 15 - Cast Upstation Hinge EJ Segments (3
               PC0160D     Pier 16 - Cast Downstation Variable Depth Segments (7 EA)           8          8          0         0% 12-Apr-19      22-Apr-19     24-Sep-18 03-Oct-18                                    18                                                  Pier 16 - Cast Downstation Variable Depth Segm
               PC0160DC Pier 16 - Cast Downstation Constant Depth Segments (6 EA)              7          7          0         0% 14-May-19      21-May-19     17-Oct-18   02-Nov-18                                  11                                                    Pier 16 - Cast Downstation Constant Depth Se
               PC0160DC Pier 16 - Cast Downstation Hinge EJ Segments (3 EA)                    6          6          0         0% 22-May-19      30-May-19                                                            11                                                    Pier 16 - Cast Downstation Hinge EJ Segme
               PC0160U     Pier 16 - Cast Upstation Variable Depth Segments (7 EA)             8          8          0         0% 01-May-19      09-May-19     03-Oct-18   12-Oct-18                                   5                                                   Pier 16 - Cast Upstation Variable Depth Segme
               PC0160UC Pier 16 - Cast Upstation Constant Depth Segments (8 EA)                9          9          0         0% 10-May-19      21-May-19     15-Oct-18   25-Oct-18                                   5                                                    Pier 16 - Cast Upstation Constant Depth Segm
               PC0170D     Pier 17 - Cast Downstation Variable Depth Segments (7 EA)           8          8          0         0% 17-May-19      28-May-19     04-Oct-18   15-Oct-18                                  18                                                    Pier 17 - Cast Downstation Variable Depth Se
               PC0170DC Pier 17 - Cast Downstation Constant Depth Segments (9 EA)             10         10          0         0% 29-May-19      10-Jun-19     16-Oct-18   29-Oct-18                                  18                                                     Pier 17 - Cast Downstation Constant Depth S
               PC0170U     Pier 17 - Cast Upstation Variable Depth Segments (7 EA)             8          8          0         0% 03-Jun-19      12-Jun-19     26-Oct-18   06-Nov-18                                   5                                                     Pier 17 - Cast Upstation Variable Depth Seg




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Activity ID                 Activity Name                                               Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                 2018                          2019                        2020            21
                                                                                        Duration   Duration   Duration Complete                                                                                     Float A S O N D F    A
                                                                                                                                                                                                                          J        J          J J A SO NDJ F          A     J J A SO NDJ F         A    J J A SO NDJ
                PC0170UC Pier 17 - Cast Upstation Constant Depth Segments (9 EA)             10         10          0         0% 13-Jun-19      25-Jun-19     07-Nov-18   20-Nov-18                                   5                                                        Pier 17 - Cast Upstation Constant Depth Se
                PC0180D     Pier 18 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 23-Apr-19      02-May-19     30-Oct-18   08-Nov-18                                  18                                                    Pier 18 - Cast Downstation Variable Depth Seg
                PC0180DC Pier 18 - Cast Downstation Constant Depth Segments (10 EA)          11         11          0         0% 03-May-19      16-May-19     09-Nov-18   27-Nov-18                                  18                                                     Pier 18 - Cast Downstation Constant Depth Se
                PC0180U     Pier 18 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 22-May-19      01-Jun-19     09-Nov-18   20-Nov-18                                   5                                                       Pier 18 - Cast Upstation Variable Depth Segm
                PC0180UC Pier 18 - Cast Upstation Constant Depth Segments (10 EA)            11         11          0         0% 03-Jun-19      15-Jun-19     28-Nov-18   12-Dec-18                                   9                                                       Pier 18 - Cast Upstation Constant Depth Seg
                PC0190D     Pier 19 - Cast Downstation Variable Depth Segments (7 EA)        15          0         14       100% 01-Nov-18 A    19-Nov-18 A   21-Nov-18   04-Dec-18   01-Nov-18     19-Nov-18                                                  Pier 19 - Cast Downstation Variable Depth Segments (7 EA
                PC0190DC Pier 19 - Cast Downstation Constant Depth Segments (7 EA)            8          2          7        75% 20-Nov-18 A    03-Dec-18     05-Dec-18   14-Dec-18   20-Nov-18                     389                                         Pier 19 - Cast Downstation Constant Depth Segments (7 E
                PC0190U     Pier 19 - Cast Upstation Variable Depth Segments (7 EA)          15          0         10       100% 12-Nov-18 A    27-Nov-18 A   21-Nov-18   04-Dec-18   12-Nov-18     27-Nov-18                                                  Pier 19 - Cast Upstation Variable Depth Segments (7 EA)
                PC0190UC Pier 19 - Cast Upstation Constant Depth Segments (7 EA)              8          6          3        25% 28-Nov-18 A    07-Dec-18     13-Dec-18   26-Dec-18   28-Nov-18                       5                                         Pier 19 - Cast Upstation Constant Depth Segments (7 EA)
                PC0200D     Pier 20 - Cast Downstation Variable Depth Segments (7 EA)        15         15          0         0% 11-Jun-19      28-Jun-19     17-Dec-18   28-Dec-18                                  18                                                         Pier 20 - Cast Downstation Variable Depth
                PC0200DC Pier 20 - Cast Downstation Constant Depth Segments (9 EA)           10         10          0         0% 01-Jul-19      12-Jul-19     02-Jan-19   15-Jan-19                                 222                                                           Pier 20 - Cast Downstation Constant Dept
                PC0200U     Pier 20 - Cast Upstation Variable Depth Segments (7 EA)          15         15          0         0% 26-Jun-19      16-Jul-19     05-Dec-18   14-Dec-18                                   5                                                           Pier 20 - Cast Upstation Variable Depth S
                PC0200UC Pier 20 - Cast Upstation Constant Depth Segments (9 EA)             10         10          0         0% 17-Jul-19      29-Jul-19     17-Dec-18   03-Jan-19                                   5                                                            Pier 20 - Cast Upstation Constant Depth
                PC0210D     Pier 21 - Cast Downstation Variable Depth Segments (7 EA)        12         12          0         0% 01-Dec-18      15-Dec-18     02-Jan-19   11-Jan-19                                  18                                         Pier 21 - Cast Downstation Variable Depth Segments (7 E
                PC0210DC Pier 21 - Cast Downstation Constant Depth Segments (8 EA)            9          9          0         0% 17-Dec-18      02-Jan-19     14-Jan-19   24-Jan-19                                  24                                           Pier 21 - Cast Downstation Constant Depth Segments (8
                PC0210U     Pier 21 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 10-Dec-18      18-Dec-18     04-Jan-19   15-Jan-19                                   5                                         Pier 21 - Cast Upstation Variable Depth Segments (7 EA)
                PC0210UC Pier 21 - Cast Upstation Constant Depth Segments (8 EA)             12         12          0         0% 19-Dec-18      08-Jan-19     16-Jan-19   28-Jan-19                                   5                                           Pier 21 - Cast Upstation Constant Depth Segments (8 E
                PC0220D     Pier 22 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 17-Dec-18      28-Dec-18     25-Jan-19   05-Feb-19                                  18                                          Pier 22 - Cast Downstation Variable Depth Segments (7
                PC0220DC Pier 22 - Cast Downstation Constant Depth Segments (7 EA)            8          8          0         0% 02-Jan-19      10-Jan-19     06-Feb-19   15-Feb-19                                  18                                           Pier 22 - Cast Downstation Constant Depth Segments (
                PC0220U     Pier 22 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 09-Jan-19      18-Jan-19     16-Jan-19   25-Jan-19                                   5                                            Pier 22 - Cast Upstation Variable Depth Segments (7 E
                PC0220UC Pier 22 - Cast Upstation Constant Depth Segments (5 EA)              6          6          0         0% 19-Jan-19      25-Jan-19     29-Jan-19   13-Feb-19                                  19                                            Pier 22 - Cast Upstation Constant Depth Segments (5
                PC0220UC Pier 22 - Cast Upstation Hinge EJ Segments (3 EA)                    6          6          0         0% 28-Jan-19      02-Feb-19                                                            19                                             Pier 22 - Cast Upstation Hinge EJ Segments (3 EA)
                PC0230D     Pier 23 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 11-Jan-19      21-Jan-19     28-Jan-19   06-Feb-19                                  18                                            Pier 23 - Cast Downstation Variable Depth Segments (
                PC0230DC Pier 23 - Cast Downstation Constant Depth Segments (4 EA)            5          5          0         0% 04-Feb-19      08-Feb-19     14-Feb-19   28-Feb-19                                  23                                             Pier 23 - Cast Downstation Constant Depth Segment
                PC0230DC Pier 23 - Cast Downstation Hinge EJ Segments (3 EA)                  6          6          0         0% 11-Feb-19      16-Feb-19                                                            23                                              Pier 23 - Cast Downstation Hinge EJ Segments (3 EA
                PC0230U     Pier 23 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 19-Jan-19      29-Jan-19     07-Feb-19   18-Feb-19                                   5                                            Pier 23 - Cast Upstation Variable Depth Segments (7 E
                PC0230UC Pier 23 - Cast Upstation Constant Depth Segments (6 EA)              7          7          0         0% 30-Jan-19      06-Feb-19     19-Feb-19   27-Feb-19                                   5                                             Pier 23 - Cast Upstation Constant Depth Segments (6
                PC0240D     Pier 24 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 22-Jan-19      31-Jan-19     18-Feb-19   27-Feb-19                                  18                                             Pier 24 - Cast Downstation Variable Depth Segments
                PC0240DC Pier 24 - Cast Downstation Constant Depth Segments (7 EA)            8          8          0         0% 01-Feb-19      11-Feb-19     01-Mar-19   12-Mar-19                                  18                                              Pier 24 - Cast Downstation Constant Depth Segment
                PC0240U     Pier 24 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 07-Feb-19      16-Feb-19     28-Feb-19   11-Mar-19                                   5                                              Pier 24 - Cast Upstation Variable Depth Segments (7
                PC0240UC Pier 24 - Cast Upstation Constant Depth Segments (7 EA)              8          8          0         0% 18-Feb-19      27-Feb-19     13-Mar-19   22-Mar-19                                   5                                               Pier 24 - Cast Upstation Constant Depth Segments
                PC0250D     Pier 25 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 12-Feb-19      20-Feb-19     28-Feb-19   11-Mar-19                                  18                                              Pier 25 - Cast Downstation Variable Depth Segment
                PC0250DC Pier 25 - Cast Downstation Constant Depth Segments (7 EA)            8          8          0         0% 21-Feb-19      02-Mar-19     12-Mar-19   21-Mar-19                                  18                                               Pier 25 - Cast Downstation Constant Depth Segmen
                PC0250U     Pier 25 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 28-Feb-19      08-Mar-19     12-Mar-19   21-Mar-19                                   5                                               Pier 25 - Cast Upstation Variable Depth Segments
                PC0250UC Pier 25 - Cast Upstation Constant Depth Segments (7 EA)              8          8          0         0% 11-Mar-19      19-Mar-19     25-Mar-19   03-Apr-19                                  23                                                Pier 25 - Cast Upstation Constant Depth Segments
                PC0260D     Pier 26 - Cast Downstation Variable Depth Segments (7 EA)         8          8          0         0% 04-Mar-19      13-Mar-19     22-Mar-19   02-Apr-19                                  18                                               Pier 26 - Cast Downstation Variable Depth Segmen
                PC0260DC Pier 26 - Cast Downstation Constant Depth Segments (6 EA)            7          7          0         0% 20-Mar-19      28-Mar-19     03-Apr-19   11-Apr-19                                  23                                                 Pier 26 - Cast Downstation Constant Depth Segm
                PC0260U     Pier 26 - Cast Upstation Variable Depth Segments (7 EA)           8          8          0         0% 11-Mar-19      19-Mar-19     22-Mar-19   02-Apr-19                                   5                                                Pier 26 - Cast Upstation Variable Depth Segments
                PC0260UC Pier 26 - Cast Upstation Constant Depth Segments (6 EA)              7          7          0         0% 20-Mar-19      28-Mar-19     04-Apr-19   12-Apr-19                                   5                                                 Pier 26 - Cast Upstation Constant Depth Segmen
                PC0270D     Pier 27 - Cast Downstation Cantilever Segments (8 EA)             9          9          0         0% 14-Mar-19      25-Mar-19     12-Apr-19   24-Apr-19                                  18                                                Pier 27 - Cast Downstation Cantilever Segments (
                PC0270U     Pier 27 - Cast Upstation Cantilever Segments (8 EA)               9          9          0         0% 29-Mar-19      09-Apr-19     03-Apr-19   15-Apr-19                                   5                                                   Pier 27 - Cast Upstation Cantilever Segments (8
                PC0280D     Pier 28 - Cast Downstation Cantilever Segments (9 EA)            10         10          0         0% 29-Mar-19      10-Apr-19     15-Apr-19   26-Apr-19                                  23                                                   Pier 28 - Cast Downstation Cantilever Segments
                PC0280U     Pier 28 - Cast Upstation Cantilever Segments (7 EA)               8          8          0         0% 10-Apr-19      19-Apr-19     16-Apr-19   25-Apr-19                                   5                                                   Pier 28 - Cast Upstation Cantilever Segments (7
                PC0290U     Pier 29 - Cast Upstation Cantilever Segments (2 EA)               3          3          0         0% 11-Apr-19      15-Apr-19     25-Apr-19   29-Apr-19                                  23                                                   Pier 29 - Cast Upstation Cantilever Segments (2

        Mainline St
                 Structure West of Canal
              Substruc
              Substructure Mobilization
                A1500       Pile Procurement (West Side)                                     35          0         26       100% 05-Sep-17 A    11-Oct-17 A   01-Sep-17 20-Oct-17     05-Sep-17     11-Oct-17                 Pile Procurement (West Side)
                A2000       Mobilization & Startup (Kenny)                                   15          0         18       100% 05-Sep-17 A    29-Sep-17 A   01-Sep-17 22-Sep-17 05-Sep-17         29-Sep-17                 Mobilization & Startup (Kenny)
                FORM100     Procure Column Stem Forms                                        29          0         31       100% 01-Nov-17 A    15-Dec-17 A   01-Sep-17 12-Oct-17     01-Nov-17     15-Dec-17                      Procure Column Stem Forms




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Activity ID                Activity Name                                  Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                   2018                          2019                     2020           21
                                                                          Duration   Duration   Duration Complete                                                                                     Float A S O N D F     A
                                                                                                                                                                                                            J        J            J J A SO NDJ F           A   J J A SO NDJ F       A   J J A SO NDJ
                FORM200    Procure Column Flare Forms                          48          0         46       100% 01-Nov-17 A    12-Jan-18 A   01-Sep-17 08-Nov-17     01-Nov-17     12-Jan-18                       Procure Column Flare Forms
                REBAR100 Rebar Procurement Footings 2-10                        8          0         33       100% 08-Dec-17 A    31-Jan-18 A   03-Jan-18   12-Jan-18   08-Dec-17     31-Jan-18                           Rebar Procurement Footings 2-10
                REBAR200 Rebar Procurement Columns 2-10                        13          0         33       100% 08-Dec-17 A    31-Jan-18 A   03-Jan-18   22-Jan-18   08-Dec-17     31-Jan-18                           Rebar Procurement Columns 2-10
                REBAR300 Rebar Procurement Footings 11-16                      20          0         33       100% 08-Jan-18 A    26-Feb-18 A   03-Jan-18   31-Jan-18   08-Jan-18     26-Feb-18                            Rebar Procurement Footings 11-16
                REBAR400 Rebar Procurement Columns 11-16                       20          0         79       100% 08-Jan-18 A    01-May-18 A 03-Jan-18     31-Jan-18   08-Jan-18     01-May-18                                   Rebar Procurement Columns 11-16
                REBAR500 Rebar Procurement Footings/Cols 19-23                 20          0         50       100% 19-Mar-18 A    29-May-18 A 05-Mar-18     30-Mar-18   19-Mar-18     29-May-18                                     Rebar Procurement Footings/Cols 19-23
                REBAR600 Rebar Procurement Footings/Cols 24-27                 20          0         53       100% 19-Mar-18 A    01-Jun-18 A   19-Mar-18   13-Apr-18   19-Mar-18     01-Jun-18                                     Rebar Procurement Footings/Cols 24-27
                REBAR700 Rebar Procurement Pier 17-18 Footings/Cols            30          0         28       100% 27-Aug-18 A    05-Oct-18 A   07-May-18 04-Jun-18     27-Aug-18     05-Oct-18                                                 Rebar Procurement Pier 17-18 Footings/Cols
                REBAR800 Rebar Procurement Pier 28-29 Straddle Bents           20         12         44        40% 28-Sep-18 A    18-Dec-18     14-May-18 11-Jun-18     28-Sep-18                      82                                             Rebar Procurement Pier 28-29 Straddle Bents
              Excavatio & Sheeting
              Excavation
                EA1010     Exc & Demo - Abutment 1                             10          0         63       100% 21-Feb-18 A    21-May-18 A 01-Feb-18     14-Feb-18   21-Feb-18     21-May-18                                    Exc & Demo - Abutment 1
                EA1030     Sheet - Pier 3                                       5          0          2       100% 29-Jan-18 A    31-Jan-18 A   12-Jan-18   19-Jan-18   29-Jan-18     31-Jan-18                           Sheet - Pier 3
                EA1130     Excavate & Demo - Pier 3                            10          0         32       100% 01-Feb-18 A    20-Mar-18 A   01-Feb-18   14-Feb-18   01-Feb-18     20-Mar-18                              Excavate & Demo - Pier 3
                EA3000     Dig & Core Footings for Pile                        25          0         93       100% 26-Oct-17 A    16-Mar-18 A   11-Oct-17   14-Nov-17   26-Oct-17     16-Mar-18                              Dig & Core Footings for Pile
              Foundati
              Foundations - Pile Driving
                CN1020     Foundation - Pier 2                                  5          0          7       100% 24-Jan-18 A    02-Feb-18 A   25-Jan-18   31-Jan-18   24-Jan-18     02-Feb-18                           Foundation - Pier 2
                CN1030     Foundation - Pier 3                                  5          0          5       100% 29-Jan-18 A    05-Feb-18 A   01-Feb-18   07-Feb-18   29-Jan-18     05-Feb-18                           Foundation - Pier 3
                CN1040     Foundation - Pier 4                                  5          0          6       100% 04-Jan-18 A    12-Jan-18 A   10-Jan-18   17-Jan-18   04-Jan-18     12-Jan-18                       Foundation - Pier 4
                CN1050     Foundation - Pier 5                                  5          0          4       100% 15-Jan-18 A    19-Jan-18 A   03-Jan-18   09-Jan-18   15-Jan-18     19-Jan-18                        Foundation - Pier 5
                CN1060     Foundation - Pier 6                                  5          0          6       100% 19-Dec-17 A    28-Dec-17 A   04-Jan-18   10-Jan-18   19-Dec-17     28-Dec-17                      Foundation - Pier 6
                CN1070     Foundation - Pier 7                                  5          0          6       100% 15-Dec-17 A    22-Dec-17 A   22-Dec-17   03-Jan-18   15-Dec-17     22-Dec-17                      Foundation - Pier 7
                CN1080     Foundation - Pier 8                                  5          0          6       100% 07-Dec-17 A    14-Dec-17 A   15-Dec-17   21-Dec-17   07-Dec-17     14-Dec-17                     Foundation - Pier 8
                CN1090     Foundation - Pier 9                                  5          0          5       100% 06-Dec-17 A    12-Dec-17 A   08-Dec-17   14-Dec-17   06-Dec-17     12-Dec-17                     Foundation - Pier 9
                CN1100     Foundation - Pier 10                                 5          0          3       100% 06-Dec-17 A    09-Dec-17 A   06-Dec-17   12-Dec-17   06-Dec-17     09-Dec-17                     Foundation - Pier 10
                CN1110     Foundation - Pier 11                                 5          0         15       100% 19-Oct-17 A    09-Nov-17 A   05-Dec-17   11-Dec-17   19-Oct-17     09-Nov-17                   Foundation - Pier 11
                CN1120     Foundation - Pier 12                                 5          0         19       100% 26-Oct-17 A    22-Nov-17 A   07-Dec-17   13-Dec-17   26-Oct-17     22-Nov-17                    Foundation - Pier 12
                CN1130     Foundation - Pier 13                                 5          0         16       100% 27-Oct-17 A    20-Nov-17 A   11-Dec-17   15-Dec-17   27-Oct-17     20-Nov-17                    Foundation - Pier 13
                CN1140     Foundation - Pier 14                                 5          0         13       100% 30-Oct-17 A    16-Nov-17 A   13-Dec-17   19-Dec-17   30-Oct-17     16-Nov-17                   Foundation - Pier 14
                CN1150     Foundation - Pier 15                                 5          0          2       100% 30-Nov-17 A    04-Dec-17 A   15-Dec-17   21-Dec-17   30-Nov-17     04-Dec-17                     Foundation - Pier 15
                CN1160     Foundation - Pier 16                                 9          0          5       100% 10-Apr-18 A    17-Apr-18 A   02-Apr-18   12-Apr-18   10-Apr-18     17-Apr-18                                  Foundation - Pier 16
                MOVE100    Break Down Crane & Move Under OH Power Lines         1          0          0       100% 05-Dec-17 A    05-Dec-17 A   03-Jan-18   03-Jan-18   05-Dec-17     05-Dec-17                     Break Down Crane & Move Under OH Power Lines
              Foundati
              Foundations - Footings
                CN2370     Abutment 1                                          15          0        201       100% 12-Dec-17 A    02-Oct-18 A   16-Apr-18   04-May-18 12-Dec-17       02-Oct-18                                               Abutment 1
                FTG0200    Footing - Pier 2                                     6          0          9       100% 27-Feb-18 A    12-Mar-18 A   21-Feb-18   28-Feb-18   27-Feb-18     12-Mar-18                              Footing - Pier 2
                FTG0300    Footing - Pier 3                                     5          0         11       100% 20-Mar-18 A    04-Apr-18 A   13-Mar-18   19-Mar-18   20-Mar-18     04-Apr-18                                 Footing - Pier 3
                FTG0400    Footing - Pier 4                                     5          0          9       100% 12-Feb-18 A    26-Feb-18 A   07-Feb-18   13-Feb-18   12-Feb-18     26-Feb-18                            Footing - Pier 4
                FTG0500    Footing - Pier 5                                     8          0          6       100% 29-Jan-18 A    06-Feb-18 A   02-Feb-18   13-Feb-18   29-Jan-18     06-Feb-18                           Footing - Pier 5
                FTG0600    Footing - Pier 6                                     7          0          6       100% 24-Jan-18 A    01-Feb-18 A   24-Jan-18   01-Feb-18   24-Jan-18     01-Feb-18                           Footing - Pier 6
                FTG0700    Footing - Pier 7                                     6          0          2       100% 18-Jan-18 A    22-Jan-18 A   16-Jan-18   23-Jan-18   18-Jan-18     22-Jan-18                        Footing - Pier 7
                FTG0800    Footing - Pier 8                                     5          0          4       100% 10-Jan-18 A    17-Jan-18 A   08-Jan-18   12-Jan-18   10-Jan-18     17-Jan-18                        Footing - Pier 8
                FTG0900    Footing - Pier 9                                     5          0          7       100% 22-Dec-17 A    08-Jan-18 A   11-Jan-18   18-Jan-18   22-Dec-17     08-Jan-18                       Footing - Pier 9
                FTG1000    Footing - Pier 10                                    5          0          7       100% 12-Dec-17 A    20-Dec-17 A   04-Jan-18   10-Jan-18   12-Dec-17     20-Dec-17                      Footing - Pier 10
                FTG1100    Footing - Pier 11                                    5          0          7       100% 26-Feb-18 A    07-Mar-18 A   01-Mar-18   07-Mar-18   26-Feb-18     07-Mar-18                             Footing - Pier 11
                FTG1200    Footing - Pier 12                                    5          0          5       100% 02-Mar-18 A    09-Mar-18 A   07-Mar-18   13-Mar-18   02-Mar-18     09-Mar-18                             Footing - Pier 12
                FTG1300    Footing - Pier 13                                    5          0          4       100% 12-Mar-18 A    16-Mar-18 A   13-Mar-18   19-Mar-18   12-Mar-18     16-Mar-18                              Footing - Pier 13
                FTG1400    Footing - Pier 14                                    5          0          4       100% 14-Mar-18 A    20-Mar-18 A   19-Mar-18   23-Mar-18   14-Mar-18     20-Mar-18                              Footing - Pier 14
                FTG1500    Footing - Pier 15                                    6          0          5       100% 16-Mar-18 A    23-Mar-18 A   23-Mar-18   30-Mar-18   16-Mar-18     23-Mar-18                              Footing - Pier 15
                FTG1600    Footing - Pier 16                                    5          0          5       100% 24-Apr-18 A    01-May-18 A 13-Apr-18     19-Apr-18   24-Apr-18     01-May-18                                   Footing - Pier 16
              Columns




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Activity ID                Activity Name                                 Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                   2018                          2019                   2020          21
                                                                         Duration   Duration   Duration Complete                                                                                     Float A S O N D F     A
                                                                                                                                                                                                           J        J            J J A SO NDJ F           A     J J A SO NDJ F   A   J J A SO NDJ
                CN2020     Column - Pier 2                                     1          0          0       100% 07-Mar-18 A    07-Mar-18 A   27-Mar-18   27-Mar-18   07-Mar-18     07-Mar-18                            Column - Pier 2
                CN2030     Column - Pier 3                                     2          0          1       100% 05-Apr-18 A    06-Apr-18 A   05-Apr-18   06-Apr-18   05-Apr-18     06-Apr-18                                 Column - Pier 3
                CN2040     Column - Pier 4                                     5          0          3       100% 12-Mar-18 A    15-Mar-18 A   01-Mar-18   07-Mar-18   12-Mar-18     15-Mar-18                             Column - Pier 4
                CN2050     Column - Pier 5                                     1          0          6       100% 29-Jan-18 A    06-Feb-18 A   14-Feb-18   14-Feb-18   29-Jan-18     06-Feb-18                           Column - Pier 5
                CN2060     Column - Pier 6                                     4          0          3       100% 13-Feb-18 A    16-Feb-18 A   01-Feb-18   06-Feb-18   13-Feb-18     16-Feb-18                           Column - Pier 6
                CN2070     Column - Pier 7                                     5          0         11       100% 31-Jan-18 A    15-Feb-18 A   01-Feb-18   07-Feb-18   31-Jan-18     15-Feb-18                           Column - Pier 7
                CN2080     Column - Pier 8                                     5          0          4       100% 18-Jan-18 A    24-Jan-18 A   16-Jan-18   22-Jan-18   18-Jan-18     24-Jan-18                       Column - Pier 8
                CN2090     Column - Pier 9                                     5          0          4       100% 09-Jan-18 A    15-Jan-18 A   08-Jan-18   12-Jan-18   09-Jan-18     15-Jan-18                       Column - Pier 9
                CN2100     Column - Pier 10                                    5          0          5       100% 21-Dec-17 A    29-Dec-17 A   20-Dec-17   28-Dec-17   21-Dec-17     29-Dec-17                      Column - Pier 10
                CN2110     Column - Pier 11                                    5          0          4       100% 23-Mar-18 A    29-Mar-18 A   28-Mar-18   03-Apr-18   23-Mar-18     29-Mar-18                              Column - Pier 11
                CN2120     Column - Pier 12                                    6          0          6       100% 30-Mar-18 A    09-Apr-18 A   09-Apr-18   16-Apr-18   30-Mar-18     09-Apr-18                                 Column - Pier 12
                CN2130     Column - Pier 13 (Lower)                            5          0          3       100% 09-Apr-18 A    12-Apr-18 A   16-Apr-18   20-Apr-18   09-Apr-18     12-Apr-18                                 Column - Pier 13 (Lower)
                CN2132     Column - Pier 13 (Upper)                            3          0          2       100% 10-Apr-18 A    12-Apr-18 A   30-Apr-18   02-May-18 10-Apr-18       12-Apr-18                                 Column - Pier 13 (Upper)
                CN2140     Column - Pier 14 (Lower)                            5          0          4       100% 13-Apr-18 A    19-Apr-18 A   17-Apr-18   23-Apr-18   13-Apr-18     19-Apr-18                                 Column - Pier 14 (Lower)
                CN2142     Column - Pier 14 (Upper)                            4          0          7       100% 23-Apr-18 A    02-May-18 A 30-Apr-18     03-May-18 23-Apr-18       02-May-18                                   Column - Pier 14 (Upper)
                CN2150     Column - Pier 15 (Lower)                            5          0          2       100% 19-Apr-18 A    23-Apr-18 A   23-Apr-18   27-Apr-18   19-Apr-18     23-Apr-18                                  Column - Pier 15 (Lower)
                CN2152     Column - Pier 15 (Upper)                            4          0          2       100% 30-Apr-18 A    02-May-18 A 03-May-18 08-May-18 30-Apr-18           02-May-18                                   Column - Pier 15 (Upper)
                CN2160     Column - Pier 16 (Lower)                            5          0          5       100% 03-May-18 A 10-May-18 A 09-May-18 15-May-18 03-May-18              10-May-18                                   Column - Pier 16 (Lower)
                CN2162     Column - Pier 16 (Upper)                            4          0          2       100% 14-May-18 A 16-May-18 A 15-May-18 18-May-18 14-May-18              16-May-18                                    Column - Pier 16 (Upper)
              Cap Flares
                  Flare
                CAP1020    Cap Flare - Pier 2                                 12          0          4       100% 30-Apr-18 A    04-May-18 A 02-May-18 17-May-18 30-Apr-18           04-May-18                                   Cap Flare - Pier 2
                CAP1030    Cap Flare - Pier 3                                 10          0          6       100% 12-Apr-18 A    20-Apr-18 A   25-Apr-18   08-May-18 12-Apr-18       20-Apr-18                                  Cap Flare - Pier 3
                CAP1040    Cap Flare - Pier 4                                 10          0          6       100% 29-Mar-18 A    06-Apr-18 A   22-Mar-18   04-Apr-18   29-Mar-18     06-Apr-18                                 Cap Flare - Pier 4
                CAP1050    Cap Flare - Pier 5                                 12          0          5       100% 20-Apr-18 A    27-Apr-18 A   16-Apr-18   01-May-18 20-Apr-18       27-Apr-18                                  Cap Flare - Pier 5
                CAP1060    Cap Flare - Pier 6                                 10          0          6       100% 09-Apr-18 A    17-Apr-18 A   02-Apr-18   13-Apr-18   09-Apr-18     17-Apr-18                                 Cap Flare - Pier 6
                CAP1070    Cap Flare - Pier 7                                 10          0         10       100% 16-Mar-18 A    30-Mar-18 A   08-Mar-18   21-Mar-18   16-Mar-18     30-Mar-18                              Cap Flare - Pier 7
                CAP1080    Cap Flare - Pier 8                                 10          0          7       100% 05-Mar-18 A    14-Mar-18 A   01-Mar-18   14-Mar-18   05-Mar-18     14-Mar-18                             Cap Flare - Pier 8
                CAP1090    Cap Flare - Pier 9                                 10          0          6       100% 20-Feb-18 A    28-Feb-18 A   08-Feb-18   22-Feb-18   20-Feb-18     28-Feb-18                            Cap Flare - Pier 9
                CAP1100    Cap Flare - Pier 10                                10          0         11       100% 05-Feb-18 A    21-Feb-18 A   01-Feb-18   14-Feb-18   05-Feb-18     21-Feb-18                            Cap Flare - Pier 10
                CAP1110    Cap Flare - Pier 11                                10          0          5       100% 10-May-18 A 17-May-18 A 11-May-18 24-May-18 10-May-18              17-May-18                                    Cap Flare - Pier 11
                CAP1120    Cap Flare - Pier 12                                10          0          5       100% 17-May-18 A 24-May-18 A 18-May-18 01-Jun-18          17-May-18     24-May-18                                    Cap Flare - Pier 12
                CAP1130    Cap Flare - Pier 13                                10          0          4       100% 24-May-18 A 31-May-18 A 25-May-18 08-Jun-18          24-May-18     31-May-18                                     Cap Flare - Pier 13
                CAP1140    Cap Flare - Pier 14                                10          0          7       100% 25-May-18 A 06-Jun-18 A      04-Jun-18   15-Jun-18   25-May-18     06-Jun-18                                     Cap Flare - Pier 14
                CAP1150    Cap Flare - Pier 15                                10          0          5       100% 06-Jun-18 A    13-Jun-18 A   11-Jun-18   22-Jun-18   06-Jun-18     13-Jun-18                                      Cap Flare - Pier 15
                CAP1160    Cap Flare - Pier 16                                10          0          4       100% 13-Jun-18 A    19-Jun-18 A   18-Jun-18   29-Jun-18   13-Jun-18     19-Jun-18                                      Cap Flare - Pier 16
              Post Tensioning
                   Tens       (Substructure)
                PT1020     Post Tension - Pier 2                               5          0         32       100% 15-Jun-18 A    01-Aug-18 A   12-Jun-18   18-Jun-18   15-Jun-18     01-Aug-18                                          Post Tension - Pier 2
                PT1030     Post Tension - Pier 3                               5          0          0       100% 01-Aug-18 A    01-Aug-18 A   05-Jun-18   11-Jun-18   01-Aug-18     01-Aug-18                                          Post Tension - Pier 3
                PT1040     Post Tension - Pier 4                               5          0         17       100% 30-Apr-18 A    23-May-18 A 29-May-18 04-Jun-18       30-Apr-18     23-May-18                                    Post Tension - Pier 4
                PT1050     Post Tension - Pier 5                               5          0          3       100% 24-Jul-18 A    26-Jul-18 A   21-May-18 25-May-18 24-Jul-18         26-Jul-18                                         Post Tension - Pier 5
                PT1060     Post Tension - Pier 6                               5          0          3       100% 24-Jul-18 A    26-Jul-18 A   14-May-18 18-May-18 24-Jul-18         26-Jul-18                                         Post Tension - Pier 6
                PT1070     Post Tension - Pier 7                               5          0         17       100% 30-Apr-18 A    23-May-18 A 07-May-18 11-May-18 30-Apr-18           23-May-18                                    Post Tension - Pier 7
                PT1080     Post Tension - Pier 8                               5          0         17       100% 30-Apr-18 A    23-May-18 A 30-Apr-18     04-May-18 30-Apr-18       23-May-18                                    Post Tension - Pier 8
                PT1090     Post Tension - Pier 9                              10          0         20       100% 23-Apr-18 A    21-May-18 A 16-Apr-18     27-Apr-18   23-Apr-18     21-May-18                                    Post Tension - Pier 9
                PT1100     Post Tension - Pier 10                             10          0         20       100% 23-Apr-18 A    21-May-18 A 02-Apr-18     13-Apr-18   23-Apr-18     21-May-18                                    Post Tension - Pier 10
                PT1110     Post Tension - Pier 11                              5          0         32       100% 15-Jun-18 A    01-Aug-18 A   19-Jun-18   25-Jun-18   15-Jun-18     01-Aug-18                                          Post Tension - Pier 11
                PT1120     Post Tension - Pier 12                              5          0         17       100% 09-Jul-18 A    01-Aug-18 A   26-Jun-18   02-Jul-18   09-Jul-18     01-Aug-18                                          Post Tension - Pier 12
                PT1130     Post Tension - Pier 13                              5          0         17       100% 09-Jul-18 A    01-Aug-18 A   03-Jul-18   10-Jul-18   09-Jul-18     01-Aug-18                                          Post Tension - Pier 13
                PT1140     Post Tension - Pier 14                              5          0         17       100% 09-Jul-18 A    01-Aug-18 A   11-Jul-18   17-Jul-18   09-Jul-18     01-Aug-18                                          Post Tension - Pier 14




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Activity ID               Activity Name                                                      Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                        2019                          2020               21
                                                                                             Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                               J        J        J J A SO NDJ F         A     J J A SO NDJ F           A   J J A SO NDJ
               PT1150     Post Tension - Pier 15                                                   5          0         17       100% 09-Jul-18 A    01-Aug-18 A   18-Jul-18   24-Jul-18   09-Jul-18     01-Aug-18                                      Post Tension - Pier 15
               PT1160     Post Tension - Pier 16                                                   5          0         17       100% 09-Jul-18 A    01-Aug-18 A   25-Jul-18   31-Jul-18   09-Jul-18     01-Aug-18                                      Post Tension - Pier 16
              Segment Falsework
               BR2619     Procure/Deliver First Set of Segment Erection Falsework                  5         16        200         0% 15-May-18 A 16-Dec-18                                15-May-18                      60                                      Procure/Deliver First Set of Segment Erection Falsework
               BR2619-2   Erection Moblize/Begin                                                  31         31          0         0% 29-Jan-19      28-Feb-19                                                             0                                           Erection Moblize/Begin
               BR2620     Span 1 - Install End Span Falsework                                      5          5          0         0% 01-Mar-19      08-Mar-19     22-Jun-18   28-Jun-18                                  26                                            Span 1 - Install End Span Falsework
               BR2625     Span 1 - Remove End Span Falsework                                       3          3          0         0% 06-May-19      09-May-19     09-Aug-18 13-Aug-18                                   118                                                  Span 1 - Remove End Span Falsework
               BR5020     Pier 2 - Install Falsework Bracket                                       2          2          0         0% 28-Dec-18      31-Dec-18     19-Jun-18   21-Jun-18                                  32                                       Pier 2 - Install Falsework Bracket
               BR5025     Pier 2 - Remove Falsework Bracket                                        2          2          0         0% 24-Apr-19      25-Apr-19     30-Jul-18   01-Aug-18                                   8                                                 Pier 2 - Remove Falsework Bracket
               BR5030     Pier 3 - Install Falsework Bracket                                       2          2          0         0% 21-Dec-18      27-Dec-18     12-Jun-18   14-Jun-18                                  32                                      Pier 3 - Install Falsework Bracket
               BR5035     Pier 3 - Remove Falsework Bracket                                        2          2          0         0% 11-Apr-19      12-Apr-19     16-Jul-18   17-Jul-18                                  13                                                Pier 3 - Remove Falsework Bracket
               BR5040     Pier 4 - Install Falsework Bracket                                       3          3          0         0% 17-Dec-18      20-Dec-18     05-Jun-18   06-Jun-18                                  32                                      Pier 4 - Install Falsework Bracket
               BR5045     Pier 4 - Remove Falsework Bracket                                        3          3          0         0% 08-Apr-19      10-Apr-19     12-Jul-18   13-Jul-18                                   7                                                Pier 4 - Remove Falsework Bracket
               BR5050     Pier 5 - Install Falsework Bracket                                       1          1          0         0% 11-Apr-19      11-Apr-19     16-Jul-18   16-Jul-18                                   7                                                Pier 5 - Install Falsework Bracket
               BR5055     Pier 5 - Remove Falsework Bracket                                        1          1          0         0% 15-May-19      15-May-19     20-Aug-18 20-Aug-18                                     1                                                  Pier 5 - Remove Falsework Bracket
               BR5060     Pier 6 - Install Falsework Bracket                                       1          1          0         0% 15-Apr-19      15-Apr-19     19-Jul-18   19-Jul-18                                  13                                                Pier 6 - Install Falsework Bracket
               BR5065     Pier 6 - Remove Falsework Bracket                                        1          1          0         0% 23-May-19      23-May-19     27-Aug-18 27-Aug-18                                     2                                                   Pier 6 - Remove Falsework Bracket
               BR5070     Pier 7 - Install Falsework Bracket                                       1          1          0         0% 26-Apr-19      26-Apr-19     02-Aug-18 02-Aug-18                                     8                                                 Pier 7 - Install Falsework Bracket
               BR5075     Pier 7 - Remove Falsework Bracket                                        1          1          0         0% 31-May-19      31-May-19     04-Sep-18 04-Sep-18                                     1                                                     Pier 7 - Remove Falsework Bracket
               BR5080     Pier 8 - Install Falsework Bracket                                       1          1          0         0% 16-May-19      16-May-19     21-Aug-18 21-Aug-18                                     1                                                  Pier 8 - Install Falsework Bracket
               BR5085     Pier 8 - Remove Falsework Bracket                                        1          1          0         0% 07-Jun-19      07-Jun-19     11-Sep-18   11-Sep-18                                   1                                                     Pier 8 - Remove Falsework Bracket
               BR5090     Pier 9 - Install Falsework Bracket                                       1          1          0         0% 24-May-19      24-May-19     28-Aug-18 28-Aug-18                                     2                                                   Pier 9 - Install Falsework Bracket
               BR5095     Pier 9 - Remove Falsework Bracket                                        1          1          0         0% 17-Jun-19      17-Jun-19     19-Sep-18 19-Sep-18                                     0                                                      Pier 9 - Remove Falsework Bracket
               BR5100     Pier 10 - Install Falsework Bracket                                      1          1          0         0% 03-Jun-19      03-Jun-19     05-Sep-18 05-Sep-18                                     1                                                     Pier 10 - Install Falsework Bracket
               BR5105     Pier 10 - Remove Falsework Bracket                                       1          1          0         0% 24-Jun-19      24-Jun-19     27-Sep-18 27-Sep-18                                     5                                                      Pier 10 - Remove Falsework Bracket
               BR5110     Pier 11 - Install Falsework Bracket                                      1          1          0         0% 10-Jun-19      10-Jun-19     13-Sep-18 13-Sep-18                                     1                                                     Pier 11 - Install Falsework Bracket
               BR5115     Pier 11 - Remove Falsework Bracket                                       1          1          0         0% 19-Jul-19      19-Jul-19     24-Oct-18   24-Oct-18                                   2                                                        Pier 11 - Remove Falsework Bracket
               BR5120     Pier 12 - Install Falsework Bracket                                      1          1          0         0% 18-Jun-19      18-Jun-19     20-Sep-18 20-Sep-18                                     0                                                      Pier 12 - Install Falsework Bracket
               BR5125     Pier 12 - Remove Falsework Bracket                                       1          1          0         0% 09-Jul-19      09-Jul-19     12-Oct-18   12-Oct-18                                   0                                                       Pier 12 - Remove Falsework Bracket
               BR5130     Pier 13 - Install Falsework Bracket                                      1          1          0         0% 25-Jun-19      25-Jun-19     05-Sep-18 05-Sep-18                                     5                                                      Pier 13 - Install Falsework Bracket
               BR5135     Pier 13 - Remove Falsework Bracket                                       1          1          0         0% 31-Jul-19      31-Jul-19     01-Nov-18   01-Nov-18                                   0                                                         Pier 13 - Remove Falsework Bracket
               BR5140     Pier 14 - Install Falsework Bracket                                      1          1          0         0% 10-Jul-19      10-Jul-19     28-Sep-18 28-Sep-18                                     0                                                        Pier 14 - Install Falsework Bracket
               BR5145     Pier 14 - Remove Falsework Bracket                                       1          1          0         0% 01-Aug-19      01-Aug-19     02-Nov-18   02-Nov-18                                   4                                                         Pier 14 - Remove Falsework Bracket
               BR5150     Pier 15 - Install Falsework Bracket                                      1          1          0         0% 22-Jul-19      22-Jul-19     25-Oct-18   25-Oct-18                                   2                                                        Pier 15 - Install Falsework Bracket
               BR5155     Pier 15 - Remove Falsework Bracket                                       1          1          0         0% 12-Aug-19      12-Aug-19     19-Mar-19   19-Mar-19                                  54                                                          Pier 15 - Remove Falsework Bracket
               BR5160     Pier 16 - Install Falsework Bracket                                      1          1          0         0% 01-Aug-19      01-Aug-19     15-Oct-18   15-Oct-18                                   0                                                         Pier 16 - Install Falsework Bracket
               BR5165     Pier 16 - Remove Falsework Bracket                                       1          1          0         0% 05-Sep-19      05-Sep-19     25-Apr-19   25-Apr-19                                  38                                                            Pier 16 - Remove Falsework Bracket
              Pier Table Segment Erection
               BR2670     Span 1 - Erect End Span Segments on Falsework (3 EA)                     3          3          0         0% 01-Apr-19      04-Apr-19     06-Jul-18   10-Jul-18                                  12                                                Span 1 - Erect End Span Segments on Falsewo
               BR5286     Pier 2 - Set & Stress Split Pier Segments (2 EA)                         3          3          0         0% 19-Mar-19      22-Mar-19     25-Jun-18   27-Jun-18                                   0                                             Pier 2 - Set & Stress Split Pier Segments (2 EA)
               BR5287     Pier 2 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         5          5          0         0% 25-Mar-19      29-Mar-19     28-Jun-18   05-Jul-18                                   0                                             Pier 2 - Erect First Cantilever Seg Pair & Grout Be
               BR5290     Pier 3 - Set & Stress Split Pier Segments (2 EA)                         2          2          0         0% 11-Mar-19      12-Mar-19     15-Jun-18   18-Jun-18                                   0                                            Pier 3 - Set & Stress Split Pier Segments (2 EA)
               BR5295     Pier 3 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         4          4          0         0% 13-Mar-19      18-Mar-19     19-Jun-18   22-Jun-18                                   0                                            Pier 3 - Erect First Cantilever Seg Pair & Grout Bea
               BR5300     Pier 4 - Set & Stress Split Pier Segments (2 EA)                         2          2          0         0% 01-Mar-19      04-Mar-19     07-Jun-18   08-Jun-18                                   0                                           Pier 4 - Set & Stress Split Pier Segments (2 EA)
               BR5305     Pier 4 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         3          3          0         0% 05-Mar-19      08-Mar-19     11-Jun-18   14-Jun-18                                   0                                            Pier 4 - Erect First Cantilever Seg Pair & Grout Bear
               BR5310     Pier 5 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 12-Apr-19      12-Apr-19     17-Jul-18   17-Jul-18                                   7                                                Pier 5 - Set & Stress Split Pier Segments (2 EA)
               BR5315     Pier 5 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 15-Apr-19      16-Apr-19     19-Jul-18   20-Jul-18                                   7                                                Pier 5 - Erect First Cantilever Seg Pair & Grout B
               BR5320     Pier 6 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 18-Apr-19      18-Apr-19     23-Jul-18   23-Jul-18                                  12                                                Pier 6 - Set & Stress Split Pier Segments (2 EA)
               BR5325     Pier 6 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 19-Apr-19      22-Apr-19     24-Jul-18   25-Jul-18                                  12                                                 Pier 6 - Erect First Cantilever Seg Pair & Grout B




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Activity ID             Activity Name                                                       Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                  2019                         2020             21
                                                                                            Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                              J        J        J J A SO NDJ F   A     J J A SO NDJ F          A    J J A SO NDJ
               BR5330   Pier 7 - Set & Stress Split Pier Segments (2 EA)                          1          1          0         0% 29-Apr-19      29-Apr-19     03-Aug-18 03-Aug-18                                     8                                           Pier 7 - Set & Stress Split Pier Segments (2 EA)
               BR5335   Pier 7 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)          2          2          0         0% 30-Apr-19      01-May-19     06-Aug-18 07-Aug-18                                     8                                           Pier 7 - Erect First Cantilever Seg Pair & Grout B
               BR5340   Pier 8 - Set & Stress Split Pier Segments (2 EA)                          1          1          0         0% 17-May-19      17-May-19     22-Aug-18 22-Aug-18                                     1                                             Pier 8 - Set & Stress Split Pier Segments (2 EA
               BR5345   Pier 8 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)          2          2          0         0% 20-May-19      21-May-19     23-Aug-18 24-Aug-18                                     1                                             Pier 8 - Erect First Cantilever Seg Pair & Grou
               BR5350   Pier 9 - Set & Stress Split Pier Segments (2 EA)                          1          1          0         0% 28-May-19      28-May-19     29-Aug-18 29-Aug-18                                     2                                             Pier 9 - Set & Stress Split Pier Segments (2 E
               BR5355   Pier 9 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)          2          2          0         0% 29-May-19      30-May-19     30-Aug-18 31-Aug-18                                     2                                             Pier 9 - Erect First Cantilever Seg Pair & Grou
               BR5360   Pier 10 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 04-Jun-19      04-Jun-19     06-Sep-18 06-Sep-18                                     1                                              Pier 10 - Set & Stress Split Pier Segments (2
               BR5365   Pier 10 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 05-Jun-19      06-Jun-19     07-Sep-18 10-Sep-18                                     1                                              Pier 10 - Erect First Cantilever Seg Pair & Gro
               BR5370   Pier 11 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 11-Jun-19      11-Jun-19     14-Sep-18 14-Sep-18                                     1                                              Pier 11 - Set & Stress Split Pier Segments (2
               BR5375   Pier 11 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 13-Jun-19      14-Jun-19     17-Sep-18 18-Sep-18                                     1                                               Pier 11 - Erect First Cantilever Seg Pair & Gr
               BR5380   Pier 12 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 19-Jun-19      19-Jun-19     21-Sep-18 21-Sep-18                                     0                                               Pier 12 - Set & Stress Split Pier Segments (
               BR5385   Pier 12 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 20-Jun-19      21-Jun-19     24-Sep-18 25-Sep-18                                     0                                               Pier 12 - Erect First Cantilever Seg Pair & G
               BR5390   Pier 13 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 26-Jun-19      26-Jun-19     27-Sep-18 27-Sep-18                                     5                                               Pier 13 - Set & Stress Split Pier Segments (
               BR5395   Pier 13 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 27-Jun-19      28-Jun-19     28-Sep-18 01-Oct-18                                     5                                                Pier 13 - Erect First Cantilever Seg Pair & G
               BR5400   Pier 14 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 11-Jul-19      11-Jul-19     02-Oct-18   02-Oct-18                                   0                                                  Pier 14 - Set & Stress Split Pier Segments
               BR5405   Pier 14 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 12-Jul-19      15-Jul-19     09-Oct-18   10-Oct-18                                   0                                                  Pier 14 - Erect First Cantilever Seg Pair &
               BR5410   Pier 15 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 23-Jul-19      23-Jul-19     26-Oct-18   26-Oct-18                                   2                                                  Pier 15 - Set & Stress Split Pier Segment
               BR5415   Pier 15 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 24-Jul-19      25-Jul-19     29-Oct-18   30-Oct-18                                   2                                                  Pier 15 - Erect First Cantilever Seg Pair &
               BR5420   Pier 16 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 02-Aug-19      02-Aug-19     01-Mar-19   01-Mar-19                                   0                                                   Pier 16 - Set & Stress Split Pier Segmen
               BR5425   Pier 16 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 05-Aug-19      06-Aug-19     04-Mar-19   05-Mar-19                                   0                                                   Pier 16 - Erect First Cantilever Seg Pair &
              Cantileve Segment Erection
              Cantilever
               BR5288   Pier 2 - Erect Remaining Cantilever Segments - (18 EA)                    8          8          0         0% 01-Apr-19      11-Apr-19     06-Jul-18   17-Jul-18                                   0                                          Pier 2 - Erect Remaining Cantilever Segments -
               BR5296   Pier 3 - Erect Remaining Cantilever Segments - (14 EA)                    6          6          0         0% 19-Mar-19      27-Mar-19     25-Jun-18   02-Jul-18                                   2                                      Pier 3 - Erect Remaining Cantilever Segments - (1
               BR5306   Pier 4 - Erect Remaining Cantilever Segments - (16 EA)                    5          5          0         0% 11-Mar-19      15-Mar-19     15-Jun-18   21-Jun-18                                   3                                      Pier 4 - Erect Remaining Cantilever Segments - (1
               BR5316   Pier 5 - Erect Remaining Cantilever Segments - (16 EA)                    5          5          0         0% 18-Apr-19      24-Apr-19     23-Jul-18   27-Jul-18                                   7                                           Pier 5 - Erect Remaining Cantilever Segments -
               BR5326   Pier 6 - Erect Remaining Cantilever Segments - (16 EA)                    3          3          0         0% 25-Apr-19      29-Apr-19     30-Jul-18   01-Aug-18                                  10                                           Pier 6 - Erect Remaining Cantilever Segments
               BR5336   Pier 7 - Erect Remaining Cantilever Segments - (18 EA)                    5          5          0         0% 02-May-19      09-May-19     08-Aug-18 14-Aug-18                                     8                                            Pier 7 - Erect Remaining Cantilever Segments
               BR5346   Pier 8 - Erect Remaining Cantilever Segments - (16 EA)                    4          4          0         0% 23-May-19      29-May-19     27-Aug-18 30-Aug-18                                     1                                             Pier 8 - Erect Remaining Cantilever Segmen
               BR5356   Pier 9 - Erect Remaining Cantilever Segments - (12 EA)                    3          3          0         0% 31-May-19      04-Jun-19     04-Sep-18 06-Sep-18                                     2                                              Pier 9 - Erect Remaining Cantilever Segmen
               BR5366   Pier 10 - Erect Remaining Cantilever Segments - (17 EA)                   5          5          0         0% 07-Jun-19      14-Jun-19     11-Sep-18   18-Sep-18                                   1                                               Pier 10 - Erect Remaining Cantilever Segm
               BR5376   Pier 11 - Erect Remaining Cantilever Segments - (17 EA)                   4          4          0         0% 17-Jun-19      20-Jun-19     19-Sep-18 24-Sep-18                                     1                                               Pier 11 - Erect Remaining Cantilever Segm
               BR5386   Pier 12 - Erect Remaining Cantilever Segments - (18 EA)                   5          5          0         0% 24-Jun-19      28-Jun-19     27-Sep-18 04-Oct-18                                     0                                                Pier 12 - Erect Remaining Cantilever Segm
               BR5396   Pier 13 - Erect Remaining Cantilever Segments - (20 EA)                   5          5          0         0% 01-Jul-19      08-Jul-19     05-Oct-18   11-Oct-18                                   5                                                Pier 13 - Erect Remaining Cantilever Seg
               BR5406   Pier 14 - Erect Remaining Cantilever Segments - (18 EA)                   5          5          0         0% 16-Jul-19      23-Jul-19     12-Oct-18   19-Oct-18                                   0                                                  Pier 14 - Erect Remaining Cantilever Seg
               BR5416   Pier 15 - Erect Remaining Cantilever Segments - (23 EA)                   6          6          0         0% 26-Jul-19      02-Aug-19     01-Mar-19   11-Mar-19                                   2                                                   Pier 15 - Erect Remaining Cantilever Se
               BR5426   Pier 16 - Erect Remaining Cantilever Segments - (29 EA)                   7          7          0         0% 07-Aug-19      16-Aug-19     12-Mar-19   21-Mar-19                                   0                                                    Pier 16 - Erect Remaining Cantilever S
              Mid-Span Segment Closures
               BR2760   F/P/S Closure Segment + Continuity PT - Span 1                            8          8          0         0% 24-Apr-19      03-May-19     30-Jul-18   08-Aug-18                                   0                                           F/P/S Closure Segment + Continuity PT - Span
               BR2762   F/P/S Closure Segment + Continuity PT - Span 2                            7          7          0         0% 12-Apr-19      23-Apr-19     19-Jul-18   27-Jul-18                                   0                                           F/P/S Closure Segment + Continuity PT - Span
               BR2764   F/P/S Closure Segment + Continuity PT - Span 3                            6          6          0         0% 28-Mar-19      05-Apr-19     03-Jul-18   11-Jul-18                                   4                                          F/P/S Closure Segment + Continuity PT - Span 3
               BR2780   F/P/S Closure Segment + Continuity PT - Span 4                            6          6          0         0% 06-May-19      14-May-19     09-Aug-18 17-Aug-18                                     0                                            F/P/S Closure Segment + Continuity PT - Spa
               BR2800   F/P/S Closure Segment + Continuity PT - Span 5                            5          5          0         0% 15-May-19      21-May-19     20-Aug-18 24-Aug-18                                     0                                             F/P/S Closure Segment + Continuity PT - Spa
               BR2820   F/P/S Closure Segment + Continuity PT - Span 6                            5          5          0         0% 23-May-19      30-May-19     27-Aug-18 31-Aug-18                                     0                                             F/P/S Closure Segment + Continuity PT - Spa
               BR2830   F/P/S Closure Segment + Continuity PT - Span 7                            5          5          0         0% 31-May-19      06-Jun-19     04-Sep-18 10-Sep-18                                     0                                              F/P/S Closure Segment + Continuity PT - Sp
               BR2850   F/P/S Closure Segment + Continuity PT - Span 8                            5          5          0         0% 07-Jun-19      14-Jun-19     11-Sep-18   18-Sep-18                                   0                                               F/P/S Closure Segment + Continuity PT - Sp
               BR2870   F/P/S Closure Segment + Continuity PT - Span 9                            5          5          0         0% 17-Jun-19      21-Jun-19     19-Sep-18 25-Sep-18                                     5                                               F/P/S Closure Segment + Continuity PT - S
               BR2889   Load EJ Beams in Cantilever - Span 10                                     2          2          0         0% 21-Jun-19      24-Jun-19     27-Sep-18 28-Sep-18                                     4                                               Load EJ Beams in Cantilever - Span 10
               BR2890   PT, Install Hinge Beams w/ Bearings - Span 10                             7          7          0         0% 09-Jul-19      18-Jul-19     12-Oct-18   23-Oct-18                                   2                                                  PT, Install Hinge Beams w/ Bearings - Sp
               BR2910   F/P/S Closure Segment + Continuity PT - Span 11                           5          5          0         0% 01-Jul-19      08-Jul-19     05-Oct-18   11-Oct-18                                   0                                                F/P/S Closure Segment + Continuity PT - S




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Activity ID                Activity Name                                                       Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                     2019                         2020             21
                                                                                               Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                                 J        J        J J A SO NDJ F      A     J J A SO NDJ F          A   J J A SO NDJ
                BR2930     F/P/S Closure Segment + Continuity PT - Span 12                           5          5          0         0% 12-Aug-19      19-Aug-19     19-Mar-19   26-Mar-19                                 138                                                       F/P/S Closure Segment + Continuity P
                BR2950     F/P/S Closure Segment + Continuity PT - Span 13                           5          5          0         0% 24-Jul-19      30-Jul-19     24-Oct-18   30-Oct-18                                   0                                                     F/P/S Closure Segment + Continuity PT
                BR2980     F/P/S Closure Segment + Continuity PT - Span 14                           5          5          0         0% 05-Aug-19      09-Aug-19     12-Mar-19   18-Mar-19                                   9                                                      F/P/S Closure Segment + Continuity PT
                BR2981     Load EJ Beams in Cantilever - Span 15                                     2          2          0         0% 05-Aug-19      06-Aug-19     27-Mar-19   28-Mar-19                                 146                                                      Load EJ Beams in Cantilever - Span 15
                BR2982     PT, Install Hinge Beams w/ Bearings - Span 15                             7          7          0         0% 26-Aug-19      04-Sep-19     15-Apr-19   24-Apr-19                                   0                                                        PT, Install Hinge Beams w/ Bearings -
                BR3010     F/P/S Closure Segment + Continuity PT - Span 16                           5          5          0         0% 19-Aug-19      23-Aug-19     08-Apr-19   12-Apr-19                                   0                                                       F/P/S Closure Segment + Continuity P
              Finish W
                     Work
                BR5501     F/P/S Approach Slab - Abut 1                                              7          7          0         0% 06-May-19      15-May-19     07-May-18 15-May-18                                    69                                                F/P/S Approach Slab - Abut 1
                BR5576     Slipform/Place Conc Barrier & Transistions - West (Mob #1)                7          7          0         0% 07-Jun-19      18-Jun-19     11-Jun-19   20-Jun-19                                  48                                                  Slipform/Place Conc Barrier & Transistions
                BR5586     Bridge Lighting - West (Mob #1)                                          20         20          0         0% 19-Jun-19      18-Jul-19     21-Jun-19   22-Jul-19                                  51                                                     Bridge Lighting - West (Mob #1)
                BR5596     Grind and Groove - West (Mob #1)                                         15         15          0         0% 13-Sep-19      04-Oct-19     11-Jul-19   01-Aug-19                                   4                                                          Grind and Groove - West (Mob #1)
                EJ1010     Install/Pourback Modular Exp Joint & Cover Plates - Abut 1                3          3          0         0% 19-Jun-19      21-Jun-19     21-Jun-19   25-Jun-19                                  48                                                  Install/Pourback Modular Exp Joint & Cove
                EJ1020     Install/Pourback Modular Exp Joint & Cover Plates - Span 10               5          5          0         0% 19-Jul-19      25-Jul-19     26-Jun-19   02-Jul-19                                  31                                                     Install/Pourback Modular Exp Joint & Co
                EJ1030     Install/Pourback Modular Exp Joint & Cover Plates - Span 15               5          5          0         0% 05-Sep-19      12-Sep-19     03-Jul-19   10-Jul-19                                   4                                                         Install/Pourback Modular Exp Joint &

        Mainline St
                 Structure Over Canal
              Columns
                CN2170     Column - Pier 17 (Lower)                                                  5          5          0         0% 04-Feb-19      08-Feb-19     05-Jun-18   11-Jun-18                                  58                                       Column - Pier 17 (Lower)
                CN2172     Column - Pier 17 (Upper)                                                  5          5          0         0% 08-Feb-19      14-Feb-19     11-Jun-18   15-Jun-18                                  58                                       Column - Pier 17 (Upper)
                CN2180     Column - Pier 18 (Lower)                                                  5          5          0         0% 05-Mar-19      11-Mar-19     18-Jun-18   22-Jun-18                                  47                                         Column - Pier 18 (Lower)
                CN2182     Column - Pier 18 (Upper)                                                  5          5          0         0% 12-Mar-19      18-Mar-19     22-Jun-18   28-Jun-18                                  47                                         Column - Pier 18 (Upper)
                MW1030     Recast Pier 17 Pedestal                                                  30         30          0         0% 19-Dec-18      01-Feb-19                                                            47                                      Recast Pier 17 Pedestal
                MW1040     Recast Pier 18 Pedestal                                                  30         30          0         0% 18-Jan-19      04-Mar-19                                                            47                                        Recast Pier 18 Pedestal
              Cap Flares
                  Flare
                CAP1170    Cap Flare - Pier 17                                                      10         10          0         0% 15-Feb-19      01-Mar-19     25-Jun-18   09-Jul-18                                  63                                        Cap Flare - Pier 17
                CAP1180    Cap Flare - Pier 18                                                      10         10          0         0% 19-Mar-19      01-Apr-19     23-Aug-18 06-Sep-18                                    47                                             Cap Flare - Pier 18
                CAP1470    Dry Finish Abut & Piers 1-17                                             15         15          0         0% 04-Mar-19      22-Mar-19     10-Jul-18   18-Sep-18                                 286                                         Dry Finish Abut & Piers 1-17
              Post Tensioning
                   Tens       (Substructure)
                PT1170     Post Tension - Pier 17                                                    5          5          0         0% 04-Mar-19      08-Mar-19     01-Aug-18 07-Aug-18                                    73                                         Post Tension - Pier 17
                PT1180     Post Tension - Pier 18                                                    5          5          0         0% 16-Apr-19      22-Apr-19     18-Sep-18 24-Sep-18                                    47                                              Post Tension - Pier 18
              Segment Falsework
                BR5170     Pier 17 - Install Falsework Bracket                                       1          1          0         0% 02-Jul-19      02-Jul-19     05-Nov-18   05-Nov-18                                   9                                                   Pier 17 - Install Falsework Bracket
                BR5175     Pier 17 - Remove Falsework Bracket                                        1          1          0         0% 26-Aug-19      26-Aug-19     15-Apr-19   15-Apr-19                                  45                                                       Pier 17 - Remove Falsework Bracket
                BR5180     Pier 18 - Install Falsework Bracket                                       1          1          0         0% 25-Jun-19      25-Jun-19     21-Mar-19   21-Mar-19                                   3                                                   Pier 18 - Install Falsework Bracket
                BR5185     Pier 18 - Remove Falsework Bracket                                        1          1          0         0% 13-Sep-19      13-Sep-19     21-May-19 21-May-19                                    33                                                         Pier 18 - Remove Falsework Bracke
              Pier Table Segment Erection
                BR5430     Pier 17 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 03-Jul-19      03-Jul-19     07-Mar-19   07-Mar-19                                   9                                                   Pier 17 - Set & Stress Split Pier Segments
                BR5435     Pier 17 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 05-Jul-19      08-Jul-19     08-Mar-19   11-Mar-19                                   9                                                    Pier 17 - Erect First Cantilever Seg Pair & G
                BR5440     Pier 18 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 26-Jun-19      26-Jun-19     22-Mar-19   22-Mar-19                                   3                                                   Pier 18 - Set & Stress Split Pier Segments (
                BR5445     Pier 18 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 27-Jun-19      28-Jun-19     25-Mar-19   26-Mar-19                                   3                                                   Pier 18 - Erect First Cantilever Seg Pair & G
              Cantileve Segment Erection
              Cantilever
                BR5436     Pier 17 - Erect Remaining Cantilever Segments - (30 EA)                  10         10          0         0% 22-Jul-19      02-Aug-19     22-Mar-19   05-Apr-19                                   1                                                      Pier 17 - Erect Remaining Cantilever Se
                BR5446     Pier 18 - Erect Remaining Cantilever Segments - (32 EA)                  11         11          0         0% 03-Jul-19      19-Jul-19     08-Apr-19   23-Apr-19                                   1                                                     Pier 18 - Erect Remaining Cantilever Seg
              Mid-Span Segment Closures
                BR3020     F/P/S Closure Segment + Continuity PT - Span 17                           5          5          0         0% 05-Sep-19      12-Sep-19     04-Jun-19   10-Jun-19                                   0                                                         F/P/S Closure Segment + Continuity

        Mainline St
                 Structure East of Canal
              Excavatio & Sheeting
              Excavation
                EX1260     Excavate & Demo - Pier 26                                                 5          0          3       100% 28-Aug-18 A    31-Aug-18 A   09-Apr-18   04-May-18 28-Aug-18       31-Aug-18                                      Excavate & Demo - Pier 26




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Activity ID                Activity Name                                  Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                 2018                           2019                   2020           21
                                                                          Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                            J        J          J J A SO NDJ F           A    J J A SO NDJ F     A   J J A SO NDJ
                EX1261     Excavate & Demo - Pier 27,28,29                     20          0         29       100% 08-Oct-18 A    16-Nov-18 A   17-May-18 23-May-18 08-Oct-18         16-Nov-18                                                Excavate & Demo - Pier 27,28,29
                EX1265     Core Footings for Pile 26                            5          0          3       100% 28-Aug-18 A    31-Aug-18 A   09-Apr-18   20-Apr-18   28-Aug-18     31-Aug-18                                          Core Footings for Pile 26
                EX1266     Core Footings for Pile 27,28,29                     10          0         11       100% 26-Oct-18 A    12-Nov-18 A   17-May-18 21-May-18 26-Oct-18         12-Nov-18                                               Core Footings for Pile 27,28,29
                SHT1260    Sheet - Pier 26                                      5          0          1       100% 07-Jun-18 A    08-Jun-18 A   02-Apr-18   20-Apr-18   07-Jun-18     08-Jun-18                                   Sheet - Pier 26
                SHT1261    Sheet - Pier 27,28,29                               15          0          4       100% 10-Oct-18 A    16-Oct-18 A   11-May-18 16-May-18 10-Oct-18         16-Oct-18                                             Sheet - Pier 27,28,29
              Foundati
              Foundations - Pile Driving
                CN1190     Foundation - Pier 19                                 5          0         23       100% 26-Feb-18 A    29-Mar-18 A   03-Apr-18   09-Apr-18   26-Feb-18     29-Mar-18                            Foundation - Pier 19
                CN1200     Foundation - Pier 20                                 5          0         19       100% 27-Feb-18 A    26-Mar-18 A   10-Apr-18   16-Apr-18   27-Feb-18     26-Mar-18                            Foundation - Pier 20
                CN1210     Foundation - Pier 21                                 5          0         14       100% 14-Feb-18 A    07-Mar-18 A   17-Apr-18   23-Apr-18   14-Feb-18     07-Mar-18                           Foundation - Pier 21
                CN1220     Foundation - Pier 22                                 5          0         34       100% 15-Feb-18 A    05-Apr-18 A   24-Apr-18   30-Apr-18   15-Feb-18     05-Apr-18                               Foundation - Pier 22
                CN1230     Foundation - Pier 23                                 5          0         41       100% 21-Feb-18 A    19-Apr-18 A   01-May-18 07-May-18 21-Feb-18         19-Apr-18                               Foundation - Pier 23
                CN1240     Foundation - Pier 24                                 5          0         31       100% 12-Mar-18 A    24-Apr-18 A   13-Apr-18   19-Apr-18   12-Mar-18     24-Apr-18                                Foundation - Pier 24
                CN1250     Foundation - Pier 25                                 5          0         32       100% 13-Mar-18 A    26-Apr-18 A   20-Apr-18   26-Apr-18   13-Mar-18     26-Apr-18                                Foundation - Pier 25
                CN1260     Foundation - Pier 26                                 5          0         17       100% 08-Oct-18 A    31-Oct-18 A   30-Apr-18   04-May-18 08-Oct-18       31-Oct-18                                              Foundation - Pier 26
                CN1270     Foundation - Pier 27                                 5          5          8         0% 19-Nov-18 A    20-Dec-18     22-May-18 29-May-18 19-Nov-18                          85                                        Foundation - Pier 27
                CN1280     Foundation - Pier 28                                 5          5         14         0% 09-Nov-18 A    13-Dec-18     07-May-18 11-May-18 09-Nov-18                          75                                        Foundation - Pier 28
                CN1290     Foundation - Pier 29                                 5          4         18        20% 05-Nov-18 A    06-Dec-18     14-May-18 18-May-18 05-Nov-18                          70                                       Foundation - Pier 29
              Foundati
              Foundations - Footings
                FTG1900    Footing - Pier 19                                    7          0          8       100% 23-Jul-18 A    02-Aug-18 A   08-May-18 17-May-18 23-Jul-18         02-Aug-18                                        Footing - Pier 19
                FTG2000    Footing - Pier 20                                    7          0          5       100% 15-May-18 A 22-May-18 A 18-May-18 29-May-18 15-May-18              22-May-18                                  Footing - Pier 20
                FTG2100    Footing - Pier 21                                    7          0          9       100% 18-May-18 A 01-Jun-18 A      30-May-18 07-Jun-18     18-May-18     01-Jun-18                                  Footing - Pier 21
                FTG2200    Footing - Pier 22                                    7          0         12       100% 22-May-18 A 08-Jun-18 A      08-Jun-18   18-Jun-18   22-May-18     08-Jun-18                                   Footing - Pier 22
                FTG2300    Footing - Pier 23                                    7          0          4       100% 11-Jun-18 A    15-Jun-18 A   19-Jun-18   27-Jun-18   11-Jun-18     15-Jun-18                                    Footing - Pier 23
                FTG2400    Footing - Pier 24                                    5          0          8       100% 13-Jun-18 A    25-Jun-18 A   28-Jun-18   05-Jul-18   13-Jun-18     25-Jun-18                                    Footing - Pier 24
                FTG2500    Footing - Pier 25                                    6          0          9       100% 18-Jun-18 A    29-Jun-18 A   06-Jul-18   13-Jul-18   18-Jun-18     29-Jun-18                                     Footing - Pier 25
                FTG2600    Footing - Pier 26                                    5          5          7         0% 20-Nov-18 A    07-Dec-18     16-Jul-18   20-Jul-18   20-Nov-18                      69                                       Footing - Pier 26
                FTG2700    Footing - Pier 27                                    5          5          0         0% 09-Jan-19      15-Jan-19     20-Aug-18 24-Aug-18                                    74                                            Footing - Pier 27
                FTG2800    Footing - Pier 28                                   10         10          0         0% 24-Dec-18      08-Jan-19     23-Jul-18   03-Aug-18                                  69                                            Footing - Pier 28
                FTG2900    Footing - Pier 29                                   10         10          0         0% 10-Dec-18      21-Dec-18     06-Aug-18 17-Aug-18                                    69                                        Footing - Pier 29
              Columns
                CN2190     Column - Pier 19 (Lower)                             5          0          3       100% 07-Aug-18 A    10-Aug-18 A   29-Jun-18   06-Jul-18   07-Aug-18     10-Aug-18                                        Column - Pier 19 (Lower)
                CN2192     Column - Pier 19 (Upper)                             5          0          3       100% 07-Aug-18 A    10-Aug-18 A   06-Jul-18   12-Jul-18   07-Aug-18     10-Aug-18                                        Column - Pier 19 (Upper)
                CN2200     Column - Pier 20 (Lower)                             5          0         10       100% 24-May-18 A 08-Jun-18 A      13-Jul-18   19-Jul-18   24-May-18     08-Jun-18                                   Column - Pier 20 (Lower)
                CN2202     Column - Pier 20 (Upper)                             5          0         10       100% 24-May-18 A 08-Jun-18 A      19-Jul-18   25-Jul-18   24-May-18     08-Jun-18                                   Column - Pier 20 (Upper)
                CN2210     Column - Pier 21                                     5          0         10       100% 13-Jun-18 A    27-Jun-18 A   26-Jul-18   01-Aug-18 13-Jun-18       27-Jun-18                                    Column - Pier 21
                CN2220     Column - Pier 22                                     5          0         15       100% 19-Jun-18 A    11-Jul-18 A   02-Aug-18 08-Aug-18 19-Jun-18         11-Jul-18                                       Column - Pier 22
                CN2230     Column - Pier 23                                     5          0         26       100% 25-Jun-18 A    01-Aug-18 A   09-Aug-18 15-Aug-18 25-Jun-18         01-Aug-18                                        Column - Pier 23
                CN2240     Column - Pier 24                                     5          0          7       100% 27-Jun-18 A    09-Jul-18 A   16-Aug-18 22-Aug-18 27-Jun-18         09-Jul-18                                     Column - Pier 24
                CN2250     Column - Pier 25                                     5          0          5       100% 29-Jun-18 A    09-Jul-18 A   23-Aug-18 29-Aug-18 29-Jun-18         09-Jul-18                                     Column - Pier 25
                CN2260     Column - Pier 26                                     5          5          0         0% 10-Dec-18      14-Dec-18     30-Aug-18 06-Sep-18                                    89                                        Column - Pier 26
                CN2270     Column - Pier 27                                     5          5          0         0% 16-Jan-19      23-Jan-19     07-Sep-18 13-Sep-18                                    74                                             Column - Pier 27
              Cap Flares
                  Flare
                CAP1190    Cap Flare - Pier 19                                 10          0          6       100% 14-Aug-18 A    22-Aug-18 A   30-Aug-18 13-Sep-18 14-Aug-18         22-Aug-18                                         Cap Flare - Pier 19
                CAP1200    Cap Flare - Pier 20                                 10          0          6       100% 29-Jun-18 A    10-Jul-18 A   07-Sep-18 20-Sep-18 29-Jun-18         10-Jul-18                                     Cap Flare - Pier 20
                CAP1210    Cap Flare - Pier 21                                 10          0         11       100% 10-Jul-18 A    25-Jul-18 A   14-Sep-18 27-Sep-18 10-Jul-18         25-Jul-18                                       Cap Flare - Pier 21
                CAP1220    Cap Flare - Pier 22                                 10          0          5       100% 16-Jul-18 A    23-Jul-18 A   21-Sep-18 04-Oct-18     16-Jul-18     23-Jul-18                                       Cap Flare - Pier 22
                CAP1230    Cap Flare - Pier 23                                 10          0          6       100% 08-Aug-18 A    16-Aug-18 A   28-Sep-18 11-Oct-18     08-Aug-18     16-Aug-18                                         Cap Flare - Pier 23
                CAP1240    Cap Flare - Pier 24                                 10          0          6       100% 26-Jul-18 A    03-Aug-18 A   05-Oct-18   18-Oct-18   26-Jul-18     03-Aug-18                                        Cap Flare - Pier 24
                CAP1250    Cap Flare - Pier 25                                 10          0          6       100% 01-Aug-18 A    09-Aug-18 A   12-Oct-18   25-Oct-18   01-Aug-18     09-Aug-18                                        Cap Flare - Pier 25




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Activity ID               Activity Name                                                       Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                       2019                          2020             21
                                                                                              Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                                J        J        J J A SO NDJ F        A     J J A SO NDJ F           A    J J A SO NDJ
                CAP1260   Cap Flare - Pier 26                                                      10         10          0         0% 17-Dec-18      31-Dec-18     19-Oct-18   01-Nov-18                                  89                                      Cap Flare - Pier 26
                CAP1270   Cap Flare - Pier 27                                                      10         10          0         0% 24-Jan-19      06-Feb-19     26-Oct-18   08-Nov-18                                  74                                         Cap Flare - Pier 27
                CAP1280   Straddle - Pier 28                                                       25         25          0         0% 09-Jan-19      13-Feb-19     30-Aug-18 04-Oct-18                                    69                                         Straddle - Pier 28
                CAP1290   Straddle - Pier 29                                                       20         20          0         0% 07-Feb-19      07-Mar-19     28-Sep-18 25-Oct-18                                    69                                           Straddle - Pier 29
                CAP1370   Dry Finish Piers 18-29                                                   15         15          0         0% 02-Apr-19      22-Apr-19     09-Nov-18   24-Dec-18                                  47                                                Dry Finish Piers 18-29
              Post Tensioning
                   Tens       (Substructure)
                PT1190    Post Tension - Pier 19                                                    5          0          1       100% 29-Aug-18 A    30-Aug-18 A   25-Sep-18 01-Oct-18     29-Aug-18     30-Aug-18                                       Post Tension - Pier 19
                PT1200    Post Tension - Pier 20                                                    5          0          1       100% 14-Aug-18 A    15-Aug-18 A   02-Oct-18   08-Oct-18   14-Aug-18     15-Aug-18                                      Post Tension - Pier 20
                PT1210    Post Tension - Pier 21                                                    5          0          1       100% 14-Aug-18 A    15-Aug-18 A   09-Oct-18   15-Oct-18   14-Aug-18     15-Aug-18                                      Post Tension - Pier 21
                PT1220    Post Tension - Pier 22                                                    5          0          1       100% 14-Aug-18 A    15-Aug-18 A   16-Oct-18   22-Oct-18   14-Aug-18     15-Aug-18                                      Post Tension - Pier 22
                PT1230    Post Tension - Pier 23                                                    5          0          1       100% 29-Aug-18 A    30-Aug-18 A   23-Oct-18   29-Oct-18   29-Aug-18     30-Aug-18                                       Post Tension - Pier 23
                PT1240    Post Tension - Pier 24                                                    5          0          1       100% 14-Aug-18 A    15-Aug-18 A   30-Oct-18   05-Nov-18   14-Aug-18     15-Aug-18                                      Post Tension - Pier 24
                PT1250    Post Tension - Pier 25                                                    5          0          1       100% 29-Aug-18 A    30-Aug-18 A   06-Nov-18   12-Nov-18   29-Aug-18     30-Aug-18                                       Post Tension - Pier 25
                PT1260    Post Tension - Pier 26                                                    5          5          0         0% 02-Jan-19      08-Jan-19     13-Nov-18   19-Nov-18                                  89                                      Post Tension - Pier 26
                PT1270    Post Tension - Pier 27                                                    5          5          0         0% 07-Feb-19      13-Feb-19     20-Nov-18   28-Nov-18                                  77                                         Post Tension - Pier 27
                PT1280    Post Tension - Pier 28                                                    5          5          0         0% 14-Feb-19      21-Feb-19     29-Nov-18   05-Dec-18                                  78                                          Post Tension - Pier 28
                PT1290    Post Tension - Pier 29                                                    5          5          0         0% 08-Mar-19      14-Mar-19     06-Dec-18   12-Dec-18                                  69                                           Post Tension - Pier 29
              Segment Falsework
                BR5190    Pier 19 - Install Falsework Bracket                                       3          3          0         0% 12-Jul-19      16-Jul-19     26-Apr-19   26-Apr-19                                  10                                                       Pier 19 - Install Falsework Bracket
                BR5195    Pier 19 - Remove Falsework Bracket                                        3          3          0         0% 04-Sep-19      06-Sep-19     23-May-19 23-May-19                                    37                                                           Pier 19 - Remove Falsework Bracket
                BR5200    Pier 20 - Install Falsework Bracket                                       2          2          0         0% 02-Aug-19      05-Aug-19     16-Apr-19   16-Apr-19                                   4                                                         Pier 20 - Install Falsework Bracket
                BR5205    Pier 20 - Remove Falsework Bracket                                        2          2          0         0% 04-Sep-19      05-Sep-19     04-Jun-19   04-Jun-19                                  38                                                           Pier 20 - Remove Falsework Bracket
                BR5210    Pier 21 - Install Falsework Bracket                                       2          2          0         0% 03-Jan-19      04-Jan-19     23-May-19 23-May-19                                    32                                      Pier 21 - Install Falsework Bracket
                BR5215    Pier 21 - Remove Falsework Bracket                                        2          2          0         0% 05-Apr-19      08-Apr-19     19-Jun-19   19-Jun-19                                   1                                               Pier 21 - Remove Falsework Bracket
                BR5220    Pier 22 - Install Falsework Bracket                                       1          1          0         0% 01-Mar-19      01-Mar-19     24-May-19 24-May-19                                     7                                          Pier 22 - Install Falsework Bracket
                BR5225    Pier 22 - Remove Falsework Bracket                                        1          1          0         0% 14-May-19      14-May-19     27-Jun-19   27-Jun-19                                   1                                                 Pier 22 - Remove Falsework Bracket
                BR5230    Pier 23 - Install Falsework Bracket                                       1          1          0         0% 01-Mar-19      01-Mar-19     05-Jun-19   05-Jun-19                                  19                                          Pier 23 - Install Falsework Bracket
                BR5235    Pier 23 - Remove Falsework Bracket                                        1          1          0         0% 14-May-19      14-May-19     29-Jul-19   29-Jul-19                                  13                                                 Pier 23 - Remove Falsework Bracket
                BR5240    Pier 24 - Install Falsework Bracket                                       1          1          0         0% 09-Apr-19      09-Apr-19     20-Jun-19   20-Jun-19                                   1                                               Pier 24 - Install Falsework Bracket
                BR5245    Pier 24 - Remove Falsework Bracket                                        1          1          0         0% 02-May-19      02-May-19     18-Jul-19   18-Jul-19                                   1                                                Pier 24 - Remove Falsework Bracket
                BR5250    Pier 25 - Install Falsework Bracket                                       1          1          0         0% 03-May-19      03-May-19     28-Jun-19   28-Jun-19                                   1                                                Pier 25 - Install Falsework Bracket
                BR5255    Pier 25 - Remove Falsework Bracket                                        1          1          0         0% 07-Jun-19      07-Jun-19     09-Aug-19 09-Aug-19                                     2                                                     Pier 25 - Remove Falsework Bracket
                BR5260    Pier 26 - Install Falsework Bracket                                       1          1          0         0% 15-May-19      15-May-19     19-Jul-19   19-Jul-19                                   1                                                 Pier 26 - Install Falsework Bracket
                BR5265    Pier 26 - Remove Falsework Bracket                                        1          1          0         0% 07-Jun-19      07-Jun-19     12-Aug-19 12-Aug-19                                     8                                                     Pier 26 - Remove Falsework Bracket
                BR5270    Pier 27 - Install Falsework Bracket                                       1          1          0         0% 15-May-19      15-May-19     30-Jul-19   30-Jul-19                                  13                                                 Pier 27 - Install Falsework Bracket
                BR5275    Pier 27 - Remove Falsework Bracket                                        1          1          0         0% 24-Jun-19      24-Jun-19     26-Aug-19 26-Aug-19                                     3                                                      Pier 27 - Remove Falsework Bracket
                BR5280    Pier 28 - Install Falsework Bracket                                       1          1          0         0% 10-Jun-19      10-Jun-19     12-Aug-19 12-Aug-19                                     2                                                     Pier 28 - Install Falsework Bracket
                BR5285    Pier 28 - Remove Falsework Bracket                                        1          1          0         0% 11-Jul-19      11-Jul-19     13-Sep-19 13-Sep-19                                    10                                                       Pier 28 - Remove Falsework Bracket
                BR5291    Pier 29 - Install Falsework Bracket                                       1          1          0         0% 10-Jun-19      10-Jun-19     13-Aug-19 13-Aug-19                                     8                                                     Pier 29 - Install Falsework Bracket
                BR5292    Pier 29 - Remove Falsework Bracket                                        1          1          0         0% 01-Jul-19      01-Jul-19     03-Sep-19 03-Sep-19                                     9                                                      Pier 29 - Remove Falsework Bracket
              Pier Table Segment Erection
                BR5450    Pier 19 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 18-Jul-19      18-Jul-19     29-Apr-19   29-Apr-19                                  10                                                       Pier 19 - Set & Stress Split Pier Segments
                BR5455    Pier 19 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 19-Jul-19      22-Jul-19     30-Apr-19   01-May-19                                  10                                                        Pier 19 - Erect First Cantilever Seg Pair &
                BR5460    Pier 20 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 06-Aug-19      06-Aug-19     02-May-19 02-May-19                                     4                                                         Pier 20 - Set & Stress Split Pier Segmen
                BR5465    Pier 20 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 07-Aug-19      08-Aug-19     03-May-19 06-May-19                                     4                                                         Pier 20 - Erect First Cantilever Seg Pair
                BR5470    Pier 21 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 01-Mar-19      01-Mar-19     24-May-19 24-May-19                                     1                                          Pier 21 - Set & Stress Split Pier Segments (2 EA)
                BR5475    Pier 21 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 04-Mar-19      05-Mar-19     28-May-19 29-May-19                                     1                                           Pier 21 - Erect First Cantilever Seg Pair & Grout Bea
                BR5480    Pier 22 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 07-Mar-19      07-Mar-19     30-May-19 30-May-19                                     5                                           Pier 22 - Set & Stress Split Pier Segments (2 EA)
                BR5485    Pier 22 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 08-Mar-19      11-Mar-19     31-May-19 03-Jun-19                                     5                                           Pier 22 - Erect First Cantilever Seg Pair & Grout Be




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Activity ID               Activity Name                                                       Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                       2019                        2020             21
                                                                                              Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                                J        J        J J A SO NDJ F       A      J J A SO NDJ F         A    J J A SO NDJ
               BR5490     Pier 23 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 12-Mar-19      12-Mar-19     06-Jun-19   06-Jun-19                                  14                                          Pier 23 - Set & Stress Split Pier Segments (2 EA)
               BR5495     Pier 23 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 13-Mar-19      14-Mar-19     07-Jun-19   10-Jun-19                                  14                                          Pier 23 - Erect First Cantilever Seg Pair & Grout Be
               BR5500     Pier 24 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 10-Apr-19      10-Apr-19     21-Jun-19   21-Jun-19                                   1                                              Pier 24 - Set & Stress Split Pier Segments (2 EA)
               BR5505     Pier 24 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 11-Apr-19      12-Apr-19     24-Jun-19   25-Jun-19                                   1                                              Pier 24 - Erect First Cantilever Seg Pair & Grout B
               BR5510     Pier 25 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 06-May-19      06-May-19     01-Jul-19   01-Jul-19                                   1                                                Pier 25 - Set & Stress Split Pier Segments (2 E
               BR5515     Pier 25 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 07-May-19      09-May-19     02-Jul-19   03-Jul-19                                   1                                                 Pier 25 - Erect First Cantilever Seg Pair & Grou
               BR5520     Pier 26 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 16-May-19      16-May-19     22-Jul-19   22-Jul-19                                   1                                                 Pier 26 - Set & Stress Split Pier Segments (2 E
               BR5525     Pier 26 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 17-May-19      20-May-19     23-Jul-19   24-Jul-19                                   1                                                 Pier 26 - Erect First Cantilever Seg Pair & Gro
               BR5530     Pier 27 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 21-May-19      21-May-19     31-Jul-19   31-Jul-19                                  10                                                 Pier 27 - Set & Stress Split Pier Segments (2 E
               BR5535     Pier 27 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 23-May-19      24-May-19     01-Aug-19 02-Aug-19                                    10                                                  Pier 27 - Erect First Cantilever Seg Pair & Gro
               BR5540     Pier 28 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 11-Jun-19      11-Jun-19     13-Aug-19 13-Aug-19                                     2                                                   Pier 28 - Set & Stress Split Pier Segments (2
               BR5545     Pier 28 - Erect First Cantilever Seg Pair & Grout Bearings (2 EA)         2          2          0         0% 13-Jun-19      14-Jun-19     15-Aug-19 16-Aug-19                                     2                                                   Pier 28 - Erect First Cantilever Seg Pair & Gr
               BR5551     Pier 29 - Set & Stress Split Pier Segments (2 EA)                         1          1          0         0% 17-Jun-19      17-Jun-19     19-Aug-19 19-Aug-19                                     5                                                    Pier 29 - Set & Stress Split Pier Segments (2
              Cantileve Segment Erection
              Cantilever
               BR5456     Pier 19 - Erect Remaining Cantilever Segments - (26 EA)                   7          7          0         0% 05-Aug-19      13-Aug-19     02-May-19 13-May-19                                     1                                                         Pier 19 - Erect Remaining Cantilever S
               BR5466     Pier 20 - Erect Remaining Cantilever Segments - (30 EA)                   8          8          0         0% 15-Aug-19      26-Aug-19     14-May-19 24-May-19                                     1                                                          Pier 20 - Erect Remaining Cantilever S
               BR5476     Pier 21 - Erect Remaining Cantilever Segments - (28 EA)                   7          7          0         0% 07-Mar-19      15-Mar-19     30-May-19 07-Jun-19                                     1                                          Pier 21 - Erect Remaining Cantilever Segments - (
               BR5486     Pier 22 - Erect Remaining Cantilever Segments - (27 EA)                   7          7          0         0% 18-Mar-19      27-Mar-19     10-Jun-19   19-Jun-19                                   1                                           Pier 22 - Erect Remaining Cantilever Segments -
               BR5496     Pier 23 - Erect Remaining Cantilever Segments - (25 EA)                   6          6          0         0% 28-Mar-19      05-Apr-19     20-Jun-19   27-Jun-19                                   6                                              Pier 23 - Erect Remaining Cantilever Segments -
               BR5506     Pier 24 - Erect Remaining Cantilever Segments - (26 EA)                   7          7          0         0% 15-Apr-19      24-Apr-19     28-Jun-19   09-Jul-19
                                                                                                                                                                                                Subcontract Substantial
                                                                                                                                                                                                                 1
                                                                                                                                                                                                                        Completion:                                          Pier 24 - Erect Remaining Cantilever Segments
               BR5516     Pier 25 - Erect Remaining Cantilever Segments - (26 EA)                   7          7          0         0% 10-May-19      20-May-19     10-Jul-19   19-Jul-19
                                                                                                                                                                                                September 19, 2019
                                                                                                                                                                                                                 1                                                            Pier 25 - Erect Remaining Cantilever Segmen
               BR5526     Pier 26 - Erect Remaining Cantilever Segments - (24 EA)                   6          6          0         0% 21-May-19      30-May-19     25-Jul-19   01-Aug-19                                   1                                                  Pier 26 - Erect Remaining Cantilever Segme
               BR5536     Pier 27 - Erect Remaining Cantilever Segments - (14 EA)                   4          4          0         0% 31-May-19      05-Jun-19     05-Aug-19 08-Aug-19                                     7                                                   Pier 27 - Erect Remaining Cantilever Segme
               BR5546     Pier 28 - Erect Remaining Cntlvr Segs except 8D+9D(12 EA)                 4          4          0         0% 17-Jun-19      20-Jun-19     19-Aug-19 22-Aug-19                                     2                                                    Pier 28 - Erect Remaining Cntlvr Segs exce
               BR5556     Pier 29 - Erect Final Two Cantilever Segment Pairs (4 EA)                 2          2          0         0% 01-Jul-19      02-Jul-19     03-Sep-19 04-Sep-19                                     1                                                     Pier 29 - Erect Final Two Cantilever Segme
              Mid-Span Segment Closures
               BR3045     F/P/S Closure Segment + Continuity PT - Span 18                           5          5          0         0% 15-Aug-19      21-Aug-19     14-May-19 20-May-19                                     4                                                         F/P/S Closure Segment + Continuity P
               BR3075     F/P/S Closure Segment + Continuity PT - Span 19                           5          5          0         0% 27-Aug-19      03-Sep-19     28-May-19 03-Jun-19                                     1                                                          F/P/S Closure Segment + Continuity P
               BR3095     F/P/S Closure Segment + Continuity PT - Span 20                           5          5          0         0% 13-Sep-19      19-Sep-19     11-Jun-19   18-Jun-19                                 117                                                           F/P/S Closure Segment + Continuity
               BR3115     F/P/S Closure Segment + Continuity PT - Span 21                           5          5          0         0% 28-Mar-19      04-Apr-19     20-Jun-19   26-Jun-19                                   1                                              F/P/S Closure Segment + Continuity PT - Span 2
               BR3134     Load EJ Beams in Cantilever - Span 22                                     2          2          0         0% 08-Apr-19      09-Apr-19     27-Jun-19   28-Jun-19                                  11                                              Load EJ Beams in Cantilever - Span 22
               BR3135     PT, Install Hinge Beams w/ Bearings - Span 22                             7          7          0         0% 02-May-19      13-May-19     18-Jul-19   26-Jul-19                                   1                                                 PT, Install Hinge Beams w/ Bearings - Span 22
               BR3155     F/P/S Closure Segment + Continuity PT - Span 23                           5          5          0         0% 25-Apr-19      01-May-19     10-Jul-19   16-Jul-19                                   1                                                F/P/S Closure Segment + Continuity PT - Span
               BR3175     F/P/S Closure Segment + Continuity PT - Span 24                           5          5          0         0% 07-Jun-19      14-Jun-19     09-Aug-19 16-Aug-19                                     1                                                   F/P/S Closure Segment + Continuity PT - Sp
               BR3195     F/P/S Closure Segment + Continuity PT - Span 25                           5          5          0         0% 31-May-19      06-Jun-19     02-Aug-19 08-Aug-19                                     1                                                   F/P/S Closure Segment + Continuity PT - Sp
               BR3215     F/P/S Closure Segment + Continuity PT - Span 26                           5          5          0         0% 17-Jun-19      21-Jun-19     19-Aug-19 23-Aug-19                                     1                                                    F/P/S Closure Segment + Continuity PT - S
               BR3300     F/P/S Closure Segment + Continuity PT - Span 27                           5          5          0         0% 03-Jul-19      10-Jul-19     05-Sep-19 12-Sep-19                                    10                                                       F/P/S Closure Segment + Continuity PT -
               BR3310     F/P/S Closure Segment + Continuity PT - Span 28                           5          5          0         0% 24-Jun-19      28-Jun-19     26-Aug-19 30-Aug-19                                     1                                                    F/P/S Closure Segment + Continuity PT - S
              Finish W
                     Work
               BR3610     Slipform/Place Conc Barrier & Transistions - East (Mob #2)                7          7          0         0% 13-Sep-19      23-Sep-19     13-Sep-19 23-Sep-19                                     0                                                            Slipform/Place Conc Barrier & Trans
               BR3620     Bridge Lighting - East (Mob #2)                                          20         20          0         0% 24-Sep-19      24-Oct-19     24-Sep-19 24-Oct-19                                     7                                                              Bridge Lighting - East (Mob #2)
               BR3630     Grind and Groove - East (Mob #2)                                         15         15          0         0% 14-Oct-19      04-Nov-19     15-Oct-19   05-Nov-19                                   0                                                               Grind and Groove - East (Mob #2
               BR5566     Final Striping & Markings                                                 2          2          0         0% 05-Nov-19      07-Nov-19     07-Nov-19   08-Nov-19                                   0                                                               Final Striping & Markings
               EJ1040     Install/Pourback Modular Exp Joint & Cover Plates - Span 22               9          9          0         0% 24-Sep-19      07-Oct-19     24-Sep-19 08-Oct-19                                     0                                                             Install/Pourback Modular Exp Join
               EJ1050     Install/Pourback Modular Exp Joint & Cover Plates - Pier 30               3          3          0         0% 08-Oct-19      11-Oct-19     10-Oct-19   14-Oct-19                                   0                                                             Install/Pourback Modular Exp Join

        Steel Bridg
              Bridge Repairs
              General
               SR-A0010   Notice to Proceed                                                         0          0          0       100% 20-Aug-18 A                                          20-Aug-18                                                    Notice to Proceed




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Activity ID                Activity Name                                     Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                        2019                          2020           21
                                                                             Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                               J        J        J J A SO NDJ F         A     J J A SO NDJ F          A    J J A SO NDJ
               SR-A0020    Substantial Completion                                  0          0          0         0%                05-Jun-19                                                           108                                                    Substantial Completion
               SR-A0030    Review SS EJ shop drawings                             20          0         20       100% 28-Aug-18 A    26-Sep-18 A                           28-Aug-18     26-Sep-18                                        Review SS EJ shop drawings
               SR-A0040    Procure SS EJs                                         40          0         39       100% 26-Sep-18 A    20-Nov-18 A                           26-Sep-18     20-Nov-18                                           Procure SS EJs
               SR-A0050    Mobilize                                                7          0          9       100% 21-Aug-18 A    31-Aug-18 A                           21-Aug-18     31-Aug-18                                      Mobilize
               SR-A0070    First Overlay Poured                                    0          0          0         0%                03-Apr-19                                                           117                                                First Overlay Poured
               SR-A1100    Repair Damages                                          5          5          0         0% 24-May-19      31-May-19                                                           108                                                    Repair Damages
               SR-A1110    Install Anchored Barrier                                1          1          0         0% 03-Jun-19      03-Jun-19                                                           108                                                    Install Anchored Barrier
               SR-A1120    Install Gate                                            1          1          0         0% 04-Jun-19      04-Jun-19                                                           108                                                    Install Gate
               SR-A1130    Install ImpactAttenuator                                1          1          0         0% 05-Jun-19      05-Jun-19                                                           108                                                    Install ImpactAttenuator
               SR-A1140    Receive Direction on Parapet Work                      12         18         33         0% 15-Oct-18 A    28-Dec-18                             15-Oct-18                     165                                       Receive Direction on Parapet Work
              Demolition
              Demolitio
               SR-A2000    Mill Deck                                               5          0          3       100% 29-Aug-18 A    31-Aug-18 A                           29-Aug-18     31-Aug-18                                      Mill Deck
               SR-A2010    ID & Mark Removals                                      2          0         37       100% 10-Sep-18 A    31-Oct-18 A                           10-Sep-18     31-Oct-18                                          ID & Mark Removals
               SR-A2020    Sawcut for Removals                                     2          0          3       100% 14-Sep-18 A    19-Sep-18 A                           14-Sep-18     19-Sep-18                                       Sawcut for Removals
               SR-A2030    Remove ImpactAttenuator                                 1          0          0       100% 20-Aug-18 A    20-Aug-18 A                           20-Aug-18     20-Aug-18                                      Remove ImpactAttenuator
               SR-A2040    Remove Median Barrier                                  12          0         20       100% 28-Aug-18 A    26-Sep-18 A                           28-Aug-18     26-Sep-18                                        Remove Median Barrier
               SR-A2050    Remove Parapet Patches "A"                             11          0         27       100% 05-Sep-18 A    12-Oct-18 A                           05-Sep-18     12-Oct-18                                         Remove Parapet Patches "A"
               SR-A2055    Remove Parapet Patches "B"                              5          5          0         0% 02-Jan-19      08-Jan-19                                                           165                                        Remove Parapet Patches "B"
               SR-A2060    Remove EJ Deck and Barrier P30                          3          0         10       100% 04-Sep-18 A    18-Sep-18 A                           04-Sep-18     18-Sep-18                                       Remove EJ Deck and Barrier P30
               SR-A2070    Remove Expansion Joints                                15         12         23        20% 29-Oct-18 A    18-Dec-18                             29-Oct-18                     122                                    Remove Expansion Joints
               SR-A2080    Remove P30 Joint                                        2          0          0       100% 28-Sep-18 A    28-Sep-18 A                           28-Sep-18     28-Sep-18                                        Remove P30 Joint
               SR-A2090    Remove P25 Joint                                        1          0          0       100% 30-Nov-18 A    30-Nov-18 A                           30-Nov-18     30-Nov-18                                            Remove P25 Joint
               SR-A2100    Install Protective Shield                               3          0          0       100% 21-Sep-18 A    21-Sep-18 A                           21-Sep-18     21-Sep-18                                       Install Protective Shield
               SR-A2110    Remove Median Deck and Drainage                        16          0         40       100% 04-Sep-18 A    30-Oct-18 A                           04-Sep-18     30-Oct-18                                          Remove Median Deck and Drainage
               SR-A2120    Remove Light Poles                                      5          5         64         0% 30-Aug-18 A    07-Dec-18                             30-Aug-18                     183                                   Remove Light Poles
               SR-A2130    Remove Protective Shield                                2          2          0         0% 20-Dec-18      21-Dec-18                                                           221                                    Remove Protective Shield
               SR-A2140    Remove Light Pole Blisters & Deck                      14         14          0         0% 09-Jan-19      28-Jan-19                                                           165                                         Remove Light Pole Blisters & Deck
               SR-A2150    Partial and Full Depth Patch Removals Westbound        10          0          9       100% 18-Sep-18 A    28-Sep-18 A                           18-Sep-18     28-Sep-18                                        Partial and Full Depth Patch Removals Westbound
               SR-A2200    Partial and Full Depth Patch Removals Eastbound        20         15         19        25% 02-Nov-18 A    21-Dec-18                             02-Nov-18                     174                                    Partial and Full Depth Patch Removals Eastbound
              Concrete
               SR-A3000    Install Slide Plate P25                                 1          1          0         0% 03-Dec-18      03-Dec-18                                                           227                                   Install Slide Plate P25
               SR-A3010    F/S Deck & Trench Drain 23 - 15                        32         13         23     59.38% 29-Oct-18 A    19-Dec-18                             29-Oct-18                     208                                    F/S Deck & Trench Drain 23 - 15
               SR-A3060    F/P/S SSEJ Pier 1 WB                                    5          5          0         0% 19-Dec-18      27-Dec-18                                                           122                                    F/P/S SSEJ Pier 1 WB
               SR-A3070    F/P/S SSEJ Pier 1 EB                                    5          5          0         0% 22-Mar-19      28-Mar-19                                                           122                                              F/P/S SSEJ Pier 1 EB
               SR-A3080    F/P/S SSEJ Pier 1 Ramp                                  5          5          0         0% 29-Mar-19      04-Apr-19                                                           122                                                F/P/S SSEJ Pier 1 Ramp
               SR-A3090    F/P/S SSEJ Pier 4 WB                                    3          3          0         0% 28-Dec-18      03-Jan-19                                                           122                                        F/P/S SSEJ Pier 4 WB
               SR-A3100    Drill & Epoxy Barrier Dowles                           20         20          0         0% 03-Dec-18      03-Jan-19                                                           203                                        Drill & Epoxy Barrier Dowles
               SR-A3110    F/P/S SSEJ Pier 5 EB                                    5          5          0         0% 15-Mar-19      21-Mar-19                                                           122                                             F/P/S SSEJ Pier 5 EB
               SR-A3120    Place Barrier Wall Concrete P25-14                      5          5          0         0% 04-Jan-19      10-Jan-19                                                           203                                        Place Barrier Wall Concrete P25-14
               SR-A3130    F/P/S P30 Joint                                         3          3          0         0% 03-Dec-18      05-Dec-18                                                           186                                   F/P/S P30 Joint
               SR-A3140    F/P/S P30 Curb                                          1          1          0         0% 05-Apr-19      05-Apr-19                                                           135                                                F/P/S P30 Curb
               SR-A3150    F/S Parapet Barrier P30                                 6          6          0         0% 08-Apr-19      15-Apr-19                                                           135                                                F/S Parapet Barrier P30
               SR-A3160    Place Parapet Barrier P30                               1          1          0         0% 16-Apr-19      16-Apr-19                                                           135                                                 Place Parapet Barrier P30
               SR-A3170    E/S Overhangs & Edgeforms                              12         12          0         0% 29-Jan-19      13-Feb-19                                                           173                                          E/S Overhangs & Edgeforms
               SR-A3180    F/S Parapet Barrier (27 Locations)                      5          5          0         0% 14-Feb-19      20-Feb-19                                                           173                                           F/S Parapet Barrier (27 Locations)
               SR-A3190    Place Parapet Barier (27 Locations)                     1          1          0         0% 21-Feb-19      21-Feb-19                                                           173                                           Place Parapet Barier (27 Locations)
               SR-A3200    F/P/S SSEJ Pier 7 WB                                    5          5          0         0% 04-Jan-19      10-Jan-19                                                           122                                        F/P/S SSEJ Pier 7 WB
               SR-A3210    F/P/S SSEJ Pier 10 WB                                   5          5          0         0% 11-Jan-19      17-Jan-19                                                           122                                        F/P/S SSEJ Pier 10 WB
               SR-A3220    F/S Overhangs at Light Pole Blisters                    4          4          0         0% 29-Jan-19      01-Feb-19                                                           165                                          F/S Overhangs at Light Pole Blisters




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Activity ID               Activity Name                                  Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                    2019                           2020           21
                                                                         Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                           J        J        J J A SO NDJ F     A     J J A SO NDJ F         A       J J A SO NDJ
               SR-A3230   F/S Light Pole Blisters                             20         20          0         0% 04-Feb-19      01-Mar-19                                                           165                                       F/S Light Pole Blisters
               SR-A3240   Place Light Pole Blisters                            2          2          0         0% 04-Mar-19      05-Mar-19                                                           165                                        Place Light Pole Blisters
               SR-A3250   F/P/S SSEJ Pier 10 EB                                5          5          0         0% 08-Mar-19      14-Mar-19                                                           122                                        F/P/S SSEJ Pier 10 EB
               SR-A3260   F/P/S SSEJ Pier 14 WB                                5          5          0         0% 18-Jan-19      24-Jan-19                                                           122                                  F/P/S SSEJ Pier 14 WB
               SR-A3270   F/P/S SSEJ Pier 14 EB                                5          5          0         0% 01-Mar-19      07-Mar-19                                                           122                                        F/P/S SSEJ Pier 14 EB
               SR-A3280   F/P/S SSEJ Pier 17 WB                                5          5          0         0% 25-Jan-19      31-Jan-19                                                           122                                      F/P/S SSEJ Pier 17 WB
               SR-A3290   F/P/S SSEJ Pier 17 EB                                5          5          0         0% 22-Feb-19      28-Feb-19                                                           122                                       F/P/S SSEJ Pier 17 EB
               SR-A3300   F/P/S SSEJ Pier 21 WB                                5          5          0         0% 01-Feb-19      07-Feb-19                                                           122                                      F/P/S SSEJ Pier 21 WB
               SR-A3310   F/P/S SSEJ Pier 21 EB                                5          5          0         0% 15-Feb-19      21-Feb-19                                                           122                                       F/P/S SSEJ Pier 21 EB
               SR-A3320   F/P/S SSEJ Pier 25 WB                                5          5          0         0% 08-Feb-19      14-Feb-19                                                           122                                      F/P/S SSEJ Pier 25 WB
              Substruc
              Substructure Repairs
               SR-A4000   Remove Drain Pipes for Patching                     22         13         10     40.91% 15-Nov-18 A    19-Dec-18                             15-Nov-18                     176                                Remove Drain Pipes for Patching
               SR-A4020   Remove Unsound Concrete                             60         48         10        20% 15-Nov-18 A    15-Feb-19                             15-Nov-18                     176                                      Remove Unsound Concrete
               SR-A4030   Prep Patches, Sandblast, and Epoxy                  27         27          0         0% 14-Jan-19      19-Feb-19                                                           176                                       Prep Patches, Sandblast, and Epoxy
               SR-A4040   Place Concrete Patches                              27         27          0         0% 16-Jan-19      21-Feb-19                                                           176                                       Place Concrete Patches
               SR-A4060   Install New Drainage                                15         15          0         0% 08-Feb-19      28-Feb-19                                                           176                                       Install New Drainage
               SR-A4070   Fatigue Retrofit                                    15         15          0         0% 03-Dec-18      21-Dec-18                                                           221                                Fatigue Retrofit
              Deck Overlay
                   Ove
               SR-A5010   P1 - Set Up / Dry Run Bidwell                        2          2          0         0% 01-Apr-19      02-Apr-19                                                           108                                            P1 - Set Up / Dry Run Bidwell
               SR-A5020   P1 - Place Microsilica Overlay                       1          1          0         0% 03-Apr-19      03-Apr-19                                                           117                                            P1 - Place Microsilica Overlay
               SR-A5030   P1 - Cure and Protect Overlay                        1          1          0         0% 04-Apr-19      04-Apr-19                                                           117                                            P1 - Cure and Protect Overlay
               SR-A5090   P2 - Set Up / Dry Run Bidwell                        2          2          0         0% 03-Apr-19      04-Apr-19                                                           108                                            P2 - Set Up / Dry Run Bidwell
               SR-A5100   P2 - Place Microsilica Overlay                       1          1          0         0% 05-Apr-19      05-Apr-19                                                           116                                            P2 - Place Microsilica Overlay
               SR-A5110   P2 - Cure and Protect Overlay                        1          1          0         0% 08-Apr-19      08-Apr-19                                                           116                                            P2 - Cure and Protect Overlay
               SR-A5130   P3 - Set Up / Dry Run Bidwell                        2          2          0         0% 05-Apr-19      08-Apr-19                                                           108                                            P3 - Set Up / Dry Run Bidwell
               SR-A5140   P3 - Place Microsilica Overlay                       1          1          0         0% 09-Apr-19      09-Apr-19                                                           115                                            P3 - Place Microsilica Overlay
               SR-A5150   P3 - Cure and Protect Overlay                        1          1          0         0% 10-Apr-19      10-Apr-19                                                           115                                            P3 - Cure and Protect Overlay
               SR-A5170   P4 - Set Up / Dry Run Bidwell                        2          2          0         0% 09-Apr-19      10-Apr-19                                                           108                                            P4 - Set Up / Dry Run Bidwell
               SR-A5180   P4 - Place Microsilica Overlay                       1          1          0         0% 11-Apr-19      11-Apr-19                                                           114                                            P4 - Place Microsilica Overlay
               SR-A5190   P4 - Cure and Protect Overlay                        1          1          0         0% 12-Apr-19      12-Apr-19                                                           114                                            P4 - Cure and Protect Overlay
               SR-A5210   P5 - Set Up / Dry Run Bidwell                        2          2          0         0% 11-Apr-19      12-Apr-19                                                           108                                            P5 - Set Up / Dry Run Bidwell
               SR-A5220   P5 - Place Microsilica Overlay                       1          1          0         0% 15-Apr-19      15-Apr-19                                                           113                                            P5 - Place Microsilica Overlay
               SR-A5230   P5 - Cure and Protect Overlay                        1          1          0         0% 16-Apr-19      16-Apr-19                                                           113                                             P5 - Cure and Protect Overlay
               SR-A5250   P6 - Set Up / Dry Run Bidwell                        2          2          0         0% 15-Apr-19      16-Apr-19                                                           108                                             P6 - Set Up / Dry Run Bidwell
               SR-A5260   P6 - Place Microsilica Overlay                       1          1          0         0% 17-Apr-19      17-Apr-19                                                           112                                             P6 - Place Microsilica Overlay
               SR-A5270   P6 - Cure and Protect Overlay                        1          1          0         0% 18-Apr-19      18-Apr-19                                                           112                                             P6 - Cure and Protect Overlay
               SR-A5290   P7 - Set Up / Dry Run Bidwell                        2          2          0         0% 17-Apr-19      18-Apr-19                                                           108                                             P7 - Set Up / Dry Run Bidwell
               SR-A5300   P7 - Place Microsilica Overlay                       1          1          0         0% 19-Apr-19      19-Apr-19                                                           111                                             P7 - Place Microsilica Overlay
               SR-A5310   P7 - Cure and Protect Overlay                        1          1          0         0% 22-Apr-19      22-Apr-19                                                           111                                             P7 - Cure and Protect Overlay
               SR-A5330   P8 - Set Up / Dry Run Bidwell                        2          2          0         0% 19-Apr-19      22-Apr-19                                                           108                                             P8 - Set Up / Dry Run Bidwell
               SR-A5340   P8 - Place Microsilica Overlay                       1          1          0         0% 23-Apr-19      23-Apr-19                                                           110                                             P8 - Place Microsilica Overlay
               SR-A5350   P8 - Cure and Protect Overlay                        1          1          0         0% 24-Apr-19      24-Apr-19                                                           110                                             P8 - Cure and Protect Overlay
               SR-A5370   P9 - Set Up / Dry Run Bidwell                        2          2          0         0% 23-Apr-19      24-Apr-19                                                           108                                             P9 - Set Up / Dry Run Bidwell
               SR-A5380   P9 - Place Microsilica Overlay                       1          1          0         0% 25-Apr-19      25-Apr-19                                                           109                                             P9 - Place Microsilica Overlay
               SR-A5390   P9 - Cure and Protect Overlay                        1          1          0         0% 26-Apr-19      26-Apr-19                                                           109                                             P9 - Cure and Protect Overlay
               SR-A5410   P10 - Set Up / Dry Run Bidwell                       2          2          0         0% 25-Apr-19      26-Apr-19                                                           108                                             P10 - Set Up / Dry Run Bidwell
               SR-A5420   P10 - Place Microsilica Overlay                      1          1          0         0% 29-Apr-19      29-Apr-19                                                           108                                              P10 - Place Microsilica Overlay
               SR-A5430   P10 - Cure and Protect Overlay                       1          1          0         0% 30-Apr-19      30-Apr-19                                                           108                                              P10 - Cure and Protect Overlay
               SR-A5450   Edge Overlay / Surface Remove                        3          3          0         0% 01-May-19      03-May-19                                                           108                                              Edge Overlay / Surface Remove




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Activity ID                Activity Name                                            Original Remaining      Actual    Activity % Start       Finish        BL1 Start  BL1 Finish Actual Start   Actual Finish   Total 17                2018                 2019                       2020            21
                                                                                    Duration   Duration   Duration Complete                                                                                     Float A S O N D F   A
                                                                                                                                                                                                                      J        J        J J A SO NDJ F   A   J J A SO NDJ F         A    J J A SO NDJ
                SR-A5460   Clean / Prep HMWM                                              8          8          0         0% 06-May-19      15-May-19                                                           108                                          Clean / Prep HMWM
                SR-A5470   Place HMWM                                                     5          5          0         0% 16-May-19      22-May-19                                                           108                                           Place HMWM
                SR-A5480   Surface Seal                                                   1          1          0         0% 23-May-19      23-May-19                                                           108                                           Surface Seal

        Non-EPC Work
                W    Items
              West Approach
                   App      Roadway Modifications
                WA1000     Prep/Submit/Review Work Plans + Mobilize for WestAppr         30         30          0         0% 02-Apr-19      01-May-19     02-Apr-19   01-May-19                                 133                                          Prep/Submit/Review Work Plans + Mobilize fo
                WA1020     Set Up MOT for Riley Road On Ramp                              1          1          0         0% 02-May-19      02-May-19     02-May-19 02-May-19                                    86                                          Set Up MOT for Riley Road On Ramp
                WA1030     Mill Existing Asphalt 1.5" Depth (9,507 SYS)                   2          2          0         0% 03-May-19      06-May-19     03-May-19 06-May-19                                    86                                          Mill Existing Asphalt 1.5" Depth (9,507 SYS)
                WA1040     Remove Existing Median Barrier (Approx 715 LF)                 4          4          0         0% 07-May-19      13-May-19     07-May-19 13-May-19                                    86                                          Remove Existing Median Barrier (Approx 715
                WA1060     Drainage Modifications                                         3          3          0         0% 14-May-19      16-May-19     14-May-19 16-May-19                                    86                                          Drainage Modifications
                WA1080     Prep/Place Full-Depth Concrete Patch 18.5" (1,233 SYS)        10         10          0         0% 17-May-19      03-Jun-19     17-May-19 03-Jun-19                                    86                                            Prep/Place Full-Depth Concrete Patch 18.5"
                WA1100     F/P Concrete Barrier (319 LF)                                  5          5          0         0% 04-Jun-19      10-Jun-19     04-Jun-19   10-Jun-19                                  86                                            F/P Concrete Barrier (319 LF)
                WA1140     Place NewAsphalt Overlay (1,022 TONS)                          3          3          0         0% 11-Jun-19      14-Jun-19     11-Jun-19   14-Jun-19                                  86                                            Place NewAsphalt Overlay (1,022 TONS)
                WA1160     Install ImpactAttenuators (2 EA)                               5          5          0         0% 17-Jun-19      21-Jun-19     17-Jun-19   21-Jun-19                                  86                                             Install ImpactAttenuators (2 EA)
              East Approach
                   App      Roadway Modifications
                EA1000     Prep/Submit/Review Work Plans + Mobilize for EastAppr         30         30          0         0% 10-May-19      08-Jun-19     10-May-19 08-Jun-19                                   135                                            Prep/Submit/Review Work Plans + Mobilize
                EA1020     Mill Existing Asphalt (2,155 SYS)                              2          2          0         0% 10-Jun-19      11-Jun-19     10-Jun-19   11-Jun-19                                  88                                            Mill Existing Asphalt (2,155 SYS)
                EA1040     Place NewAsphalt Overlay (112 TONS)                            2          2          0         0% 13-Jun-19      14-Jun-19     13-Jun-19   14-Jun-19                                  88                                            Place NewAsphalt Overlay (112 TONS)
                EA1060     Prep/Place Full-Depth Concrete Patch 13" (96 SYS)              3          3          0         0% 17-Jun-19      19-Jun-19     17-Jun-19   19-Jun-19                                  88                                             Prep/Place Full-Depth Concrete Patch 13"
              Electroni Toll Collection System
              Electronic
                T1000      Develop ETC                                                  120         46        184     61.67% 31-May-18 A 15-Jan-19        01-Apr-18   29-Jul-18   31-May-18                      11                                  Develop ETC
                T1100      Manufacture ETC Equipment                                    185        185          0         0% 16-Jan-19      19-Jul-19     30-Jul-18   25-May-19                                  11                                                 Manufacture ETC Equipment
                T1200      Install Toll System                                          100        100          0         0% 20-Jul-19      27-Oct-19     26-May-19 02-Sep-19                                    11                                                       Install Toll System
                T1205      Test Toll System                                              31         31          0         0% 08-Nov-19      08-Dec-19     09-Nov-19   09-Dec-19                                   0                                                          Test Toll System
              Access Ramps
                     R     for Cline Ave @ Ind Blvd
                AR1000     Prep/Submit/Review Work Plans for Access Ramps                61         61          0         0% 01-Jan-19      02-Mar-19     26-Oct-18   25-Dec-18                                  10                                      Prep/Submit/Review Work Plans for Access Ramps
                X3         Mobilize + ConstructAccess Ramps (Place Holder)              180        180          0         0% 02-May-19      28-Oct-19     26-Dec-18   23-Jun-19                                  10                                                       Mobilize + ConstructAccess Ram




                                                                                                                                             Page C- 16
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                                   EXHIBIT D

                              SCHEDULE OF VALUES

                                  [See Attached]




                                      D-1
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CLINE AVENUE BRIDGE
MCLEAN CONTRACTING - SEGMENT ERECTION SCHEDULE OF VALUES


Item                                                                    Unit   Quantity          Unit Price           Amount

Payment and Performance Bond                                            LS       1        $     96,500.00     $     96,500.00
Mobilization Payment (Month 1)                                          LS       1        $    360,000.00     $    360,000.00
Mobilization Payment (Month 2)                                          LS       1        $    360,000.00     $    360,000.00
Mobilization Payment (Month 3)                                          LS       1        $    480,000.00     $    480,000.00
Erection Supervision                                                    MO       10       $    260,000.00     $ 2,600,000.00
Start-Up and Single Heading Erection                                    MO       1        $    713,000.00     $    713,000.00
Additional Mobilization, Two Heading Erection, Demobilization           MO       8        $ 1,190,000.00      $ 9,520,000.00
Final Payment Mobilization Adjustment/Credit                            LS       1        $ (1,200,000.00)    $ (1,200,000.00)

                                                                Total                                         $ 12,929,500.00




            NOTES: 1) Invoice for partial months will be prorated using the above schedule of values and the number
                      of days services were provided versus the number of days in that month.

                    2) Change Orders will be issued as needed per Exhibit A.




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                                            EXHIBIT E

                                           INSURANCE

 I.     Subcontractor Insurance

 The insurance set forth below shall be obtained and in effect as of commencement of the
 Subcontract Work. The Contractor and its affiliates as well as the Owner and its affiliates will
 be named as additional insureds.

        •   COMMERCIAL GENERAL LIABILITY INSURANCE - Subcontractor shall provide
            Commercial General Liability insurance using the 2001 ISO Occurrence Form (CG
            00 01 10/01), or an equivalent form. The Commercial General Liability insurance
            must include coverage for premises-operations, Independent contractors, products-
            completed operations, personal injury and contractual liability. The contractual
            liability must include the tort liability of another assumed in a business contract.
            Subcontractor or its agent/broker shall verify that there is no endorsement or
            modification of the CGL limiting the scope of coverage for liability arising from
            explosion, collapse, or underground property damage. Furthermore,
            Subcontractor's policy shall be endorsed to delete any restrictions for work
            performed within 50 feet of a railroad right-of-way. The Commercial General Liability
            insurance shall be maintained throughout the duration of the Project and for a
            minimum of five (5) years after completion of the work. The minimum limits shall be
            as follows;

            Each Occurrence limit

            Bodily Injury/Property Damage Liability                         $1,000,000

            Personal Injury liability                                       $1,000,000

            General Aggregate Limit                                         $2,000,000

            Products/Completed Operations Aggregate Limit                   $2,000,000

            The General Aggregate limit is to be written on a "per project" basis using
            Subcontractor's per project endorsement Amendment-Aggregate Limits of
            Insurance (CG 25 03) or equivalent language. The Products/Completed Operations
            Aggregate Limit must be at least $2,000,000 or written confirmation provided that
            the Commercial Umbrella coverage Includes liability coverage for damage to the
            Insured's completed work equivalent to that provided under the CG 00 01 10/01
            coverage form.

            The Owner and Contractor are to be named as additional insureds in
            Subcontractor's policy with respect to this project using the ISO Additional Insured-
            Owners, Contractors endorsement (CG 20 10) for premises/operations and CG 20
            37 for completed operations, or a substitute providing equivalent coverage.
            Verification of additional insured status shall be furnished to Owner and Contractor



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           by mailing a copy of the endorsement along with the Certificate of Insurance In
           accordance with the General Conditions paragraph below.

           This Insurance shall apply as primary and non-contributory Insurance with respect
           to any other insurance or self-Insurance the Owner or Contractor may have or elect
           to carry with respect to this project or contract.

           The policy shall provide for a waiver of subrogation in favor of the Owner and
           Contractor.

       •   COMPREHENSIVE AUTOMOBILE LIABILITY INSURANCE - Subcontractor must
           provide and maintain business auto liability Insurance for all owned, non-owned and
           hired vehicles on ISO form CA 00 01 12/90 or equivalent coverage form with the
           following limits;

           Combined Single Limit                      $1,000,000 per accident

           If necessary, the policy shall be endorsed to provide contractual liability coverage
           equivalent to that provided in the 1990 and later editions of the ISO CA 00 01 form.

           Subcontractor's auto policy should also be endorsed to Include Pollution Liability-
           Broadened Coverage for Covered Auto (CA 99 48) or equivalent coverage if the
           required Contractors Pollution Liability excludes the pollution liability arising out of
           the transportation, loading, or unloading by a covered auto.

       •   WORKERS COMPENSATION - Subcontractor shall provide and maintain workers
           compensation and employers liability insurance providing coverage in the state (or
           states) in which the project is performed. Limits and coverage shall be as follows:

           Workers Compensation Insurance             Statutory Benefits-Indiana

           Employers liability Insurance              $1,000,000 each accident

                                                      $1,000,000 policy limit

                                                      $1,000,000 each employee

           Because this Project involves work which may be subject to the U.S. Longshore and
           Harborworkers Act (USL&HW), or which may involve watercraft, if Subcontractor
           performs work on the Indiana Harbor Canal, Subcontractor shall attach the
           respective endorsements to provide this coverage as required by the Owner. The
           respective endorsement forms are: USL&HW (WC 00 01 O6 A) and Maritime
           Coverage (WC 00 02 01 A) or equivalent coverage. Subcontractor may maintain or
           cause to be maintained equivalent Maritime Coverage using Protection and
           Indemnity Insurance (P&I) for any vessel owned and/or chartered by Subcontractor
           and used in connection with the construction operation. Subcontractor's Workers
           Compensation policy shall be specifically endorsed to Waive Subrogation against
           Owner and Contractor using WC 00 03 13 or equivalent endorsement.




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       •   UMBRELLA EXCESS LIABILITY - Subcontractor shall provide umbrella excess
           liability Insurance on an "occurrence" basis providing "following form" coverage for
           the underlying coverages outlined above. This insurance can be structured as any
           combination of primary plus supplementary layers and umbrella liability and/or
           excess liability, or primary plus umbrella liability and/or excess liability. The overall
           minimum insurance limits shall be:

           Each Occurrence Limit                      $10,000,000

           Aggregate Limit                            $10,000,000

           Subcontractor or its agent/broker shall confirm that Owner and Contractor are
           additional Insureds on Umbrella Excess in a form equal or equivalent to the
           Additional Insured and Per Project endorsements referenced in the underlying CGL.
           This Insurance shall be maintained throughout the duration of the Project and for a
           minimum of five (5) years after completion of the work.

       •   CONTRACTORS POLLUTION LIABILITY - Subcontractor shall provide Contractors
           Pollution Liability (CPL) insurance with limits of at least $5,000,000 per incident. The
           Contractors Pollution Liability policy shall provide coverage for third-party bodily
           injury, property damage, clean-up costs and defense costs which arise from the
           construction operations performed by or behalf of Subcontractor.

           Owner and Contractor shall be named as Additional insureds on the CPL policy.
           Subcontractor or Subcontractor's Agent/broker should confirm that the CPL policy
           contains a separation of insureds provision ('severability)" and that claims between
           insureds is permitted under the CPL coverage form.

           The Contractors Pollution liability coverage may be written on either an occurrence
           or Claims-made form. If coverage is provided on a claims-made form, the
           retroactive date of such coverage shall not be later than The Effective Date and
           Subcontractor agrees to provide uninterrupted coverage from the retro date
           throughout the duration of this project and for at least five (5) years after Substantial
           Completion of the project. Alternatively, Subcontractor may purchase an extended
           reporting period which shall remain in effect for at least five (5) years after
           Substantial Completion of the work.

       •   MARINE GENERAL LIABILITY – If Subcontractor performs work on the Indiana
           Harbor Canal, Subcontractor shall provide liability coverage for bodily injury and
           property damage claims arising out of the operation and use of watercraft during
           the course of construction with limits of at least $5,000,000 per
           occurrence/aggregate. The Aggregate Limit on the MGL is to be written on a "per
           project" basis using Subcontractor's per project endorsement similar or equivalent
           to the CG 25 03 used with the Commercial General Liability insurance.

           Owner and Contractor shall be named as Additional insureds on the MGL policy in a
           form similar to the Additional Insured requirements as described in the Commercial
           General Liability insurance.




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        •   AVIATION LIABILITY - Should aircraft of any kind be used by Subcontractor or any
            tier of subcontractor, Subcontractor shall maintain or cause the operator of the
            aircraft to maintain aircraft liability Insurance. Such aircraft liability Insurance shall
            provide coverage for bodily Injury and properly damage caused by the operation,
            maintenance or use of such aircraft with minimum limits of $10,000,000 Combined
            Single Limit. Subcontractor shall name or require that Owner and Contractor be
            named as Additional Insureds on the aircraft liability policy.

 II.    Property Insurance

 The Contractor shall purchase and shall maintain, a Builder's Risk Policy upon the entire
 Project for the full cost of replacement at the time of loss. This Insurance shall also name the
 Owner, Contractor, Subcontractor, other subcontractors, Sub-subcontractors, Material
 Suppliers and Engineer as insureds. This insurance shall be written as a Builder's Risk Policy or
 equivalent form to cover all risks of physical loss, and shall insure at least against the perils of
 fire, lightning, explosion, windstorm, hail, smoke, aircraft and vehicles, riot and civil
 commotion, theft, vandalism, malicious mischief, debris removal, flood, earthquake, earth
 movement, water damage, wind damage, testing, and collapse. The Owner and the
 Subcontractor shall be jointly responsible for any deductible amounts relating to the
 Subcontract Work. This policy shall provide for a waiver of subrogation in favor of the Owner,
 Subcontractor, other subcontractors, Sub-subcontractors, Material Suppliers and Engineer.

 III.   General Conditions

 All insurance required by this Agreement shall be purchased and maintained with a company
 or companies lawfully authorized to do business in the State of Indiana. Such insurance shall
 be for limits of liability as specified for the Project or legally required, whichever is greater. All
 required insurance policies shall be endorsed to provide thirty (30) Days prior written notice by
 certified mail, of any material change, cancellation, or non-renewal to Contractor and
 Owner. Owner and Contractor and where applicable, Subcontractor or Subcontractors, shall
 each be named as additional party insured on the policies required to be obtained
 hereunder. Proof of the required insurance and endorsements shall be made by submission of
 certificates of insurance to Owner and Contractor prior to commencement of a Project. All
 insurance policies shall contain a waiver of subrogation provision pursuant to which the insurer
 is prohibited from obtaining subrogation or transfer rights in respect of any claim under such
 policies against Contractor, Owner or where applicable, Subcontractor or Subcontractors and
 their employees, directors or officers.

 Where applicable, Contractor and Owner shall be named as additional insured or loss payee
 on the policies required to be obtained hereunder. The Certificates should be issued to
 Contractor and Owner at the addresses set forth in this Agreement.




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                                    EXHIBIT F

                               BOND PROVISIONS

                                  [See Attached]




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                                   EXHIBIT G

                               PRIME AGREEMENT

                                  [See Attached]




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                         ENGINEERING, PROCUREMENT

                                       AND

                          CONSTRUCTION AGREEMENT

                                        for

                             CLINE AVENUE BRIDGE


                                BY AND BETWEEN

          CLINE AVENUE BRIDGE, LLC, a Delaware limited liability company

                                      (Owner)


                                        and

           FIGG BRIDGE BUILDERS, LLC, a Florida limited liability company

                                  (EPC Contractor)


                                    June 8, 2017




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 EXHIBITS AND SCHEDULES TO THE AGREEMENT

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 Exhibit B            Authorizations and Approvals

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 Exhibit F            Form of Certificate of Substantial Completion

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 Schedule I           Definitions

 Schedule II          Insurance

 Schedule III         Payment Schedule

 Schedule IV          The Work

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 Schedule VI          Project Schedule

 Schedule VII         Initial Payment

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 Schedule IX          Payment and Performance Bond Reduction Terms

 Schedule X           Milestone Schedule




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         ENGINEERING, PROCUREMENT AND CONSTRUCTION AGREEMENT

 This ENGINEERING, PROCUREMENT AND CONSTRUCTION AGREEMENT (this
 “Agreement”) is made and dated as of the 8th day of June, 2017, by and among FIGG BRIDGE
 BUILDERS, LLC, a Florida limited liability company (“EPC Contractor”) and CLINE
 AVENUE BRIDGE, LLC, a Delaware limited liability company (“Owner”).

                                           RECITALS

         A.     Owner has acquired all rights, title and interest in the right of way and/or real
 property (“Site”) required in connection with the construction and operation of the Cline Avenue
 Bridge which will cross over the Indiana Harbor and Ship Canal in East Chicago, Indiana (“Cline
 Avenue Bridge” or “Facility”). The Site is more particularly described on Exhibit A attached
 hereto and by this reference made a part hereof.

        B.     Owner, its subsidiaries and agents have obtained the Authorizations and
 Approvals in connection with the Work described on Exhibit B attached hereto and by this
 reference made a part hereof.

        C.      EPC Contractor has extensive experience in designing, engineering and
 constructing bridges and has agreed to perform the design, engineering and construction of the
 Cline Avenue Bridge upon the terms and conditions set forth in this Agreement.

        D.      Operation and maintenance of the Cline Avenue Bridge will be performed
 pursuant to a separate agreement that may be entered into with an affiliate of EPC Contractor.

 NOW, THEREFORE, for and in consideration of the promises and the mutual covenants and
 agreements hereinafter set forth, the Parties agree as follows:

 ARTICLE 1 DEFINITIONS

   1.1   Definitions.

 Capitalized terms used herein shall have the meanings set forth in Schedule I.

 ARTICLE 2 REPRESENTATIONS, WARRANTIES AND COVENANTS

   2.1   Representations, Warranties and Covenants by EPC Contractor.

 EPC Contractor represents and warrants to and covenants with Owner (which representations,
 warranties and covenants shall survive the expiration or termination of this Agreement) that:

         2.1.1      Organization and qualification. It is a limited liability company duly
                    organized and validly existing under the laws of the State of Florida and is
                    qualified to conduct business, and is in good standing in the State of Indiana,
                    and will remain duly qualified and in good standing throughout the Term and
                    for as long thereafter as any obligations remain outstanding under this
                    Agreement. It has all necessary power and authority to carry on its business as

                                                 1

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                presently conducted, to own or hold its properties, and to enter into and
                perform its obligations under this Agreement.

       2.1.2    Authorization, approval, no defaults. The execution, delivery and performance
                of this Agreement by EPC Contractor (1) has been duly authorized by all
                requisite company action; (2) has not resulted and will not result in a violation
                of any of EPC Contractor’s governing instruments; (3) to its knowledge, will
                not conflict with any provisions of applicable Law; and (4) will not conflict
                with, result in the breach of, constitute a default under, or accelerate
                performance required by, any covenant, agreement, understanding, decree or
                order to which it is a party or by which it or any of its properties or assets is
                bound or affected.

       2.1.3    Enforceability. This Agreement constitutes the legal, valid and binding
                obligation of EPC Contractor enforceable in accordance with its terms, except
                as enforceability may be limited by bankruptcy, insolvency, or similar laws
                affecting creditors’ rights generally.

       2.1.4    Legal proceedings. There is no action, suit or proceeding, at law or in equity,
                or official investigation by or before any Governmental Authority, tribunal or
                any other body pending or, to the knowledge of EPC Contractor, threatened
                against or affecting EPC Contractor or any of its properties, rights or assets,
                which could reasonably be expected to result in a material adverse effect on
                EPC Contractor’s ability to perform its obligations under this Agreement or
                on the validity or enforceability of this Agreement.

       2.1.5    Site Inspection and Conditions. EPC Contractor and EPC Contractor’s agents
                and representatives have visited, inspected and are familiar with the Site, its
                physical condition (including all reported and reasonably discoverable soil
                and groundwater conditions), roads, waterways, access rights, utilities,
                topographical conditions and air quality conditions, and have performed all
                reasonable investigations necessary to determine that the Site is suitable for
                the construction and installation of the Cline Avenue Bridge, and are familiar
                with every reported and reasonably discoverable condition which may be
                material to EPC Contractor’s performance of its obligations under this
                Agreement (including, but not limited to, design requirements, transportation,
                seasons and climates, access, the handling and storage of materials and
                availability and quality of labor and materials).

       2.1.6    Necessary Rights. EPC Contractor owns or will obtain the legal right to use all
                patents, rights to patents, trademarks, copyrights and licenses necessary for
                the performance by EPC Contractor of this Agreement and the transactions
                contemplated hereby, without any material conflict with the rights of others.

       2.1.7    Approvals/Requirements. Prior to entering into this Agreement, EPC
                Contractor has familiarized itself with the requirements of (i) any and all
                applicable Laws; (ii) the data and requirements related to the Facility and the

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                  Work as set forth in Exhibit C, (iii) the Development Agreement, (iv) the
                  Exchange Agreement and (v) the conditions of any required Authorizations
                  and Approvals. EPC Contractor represents and warrants that all
                  Authorizations and Approvals that have been obtained remain in full force and
                  effect, that EPC Contractor and the Work remain in full compliance with such
                  Authorizations and Approvals, and that its design and construction means and
                  methods are and will be consistent and meet the requirements of all
                  Authorizations and Approvals. EPC Contractor shall be responsible for
                  complying with the foregoing at its sole cost and without any additional
                  compensation or time extension on account of such compliance, regardless of
                  whether such compliance would require additional time for performance or
                  additional labor, equipment and/or materials not expressly provided for in the
                  Governing Documents. As of the Effective Date, EPC Contractor has no
                  reason to believe that any Authorization and Approval required to be obtained
                  by EPC Contractor that has not yet been obtained as of the Effective Date will
                  not be granted in due course and thereafter remain in effect so as to enable the
                  Work to proceed in accordance with the Governing Documents.

       2.1.8      Qualification.

       (a)     Professional Qualification and Authority.

                       (i)     EPC Contractor (including where applicable, through
               Subcontractors and Affiliates) possesses the necessary experience, expertise,
               resources, and skill to design, engineer and construct the Cline Avenue Bridge
               and to fulfill EPC Contractor’s obligations under this Agreement.

                       (ii)    All Work furnished by EPC Contractor will be performed by or
               under the supervision of Persons who hold all necessary, valid licenses to practice
               in the State of Indiana, by personnel who are skilled, experienced and competent
               in their respective trades or professions, who are professionally qualified to
               perform the Work in accordance with the Governing Documents and who shall
               assume professional responsibility for the accuracy and completeness within the
               standard of care described herein of any and all documents prepared or checked
               by them.

                      (iii) During all periods necessary for the performance of the Work,
               EPC Contractor (including where applicable, its Subcontractors and Affiliates)
               will maintain all required authority, license status, professional ability, skills and
               capacity to perform the Work in accordance with the requirements contained in
               the Governing Documents.

       (b)     Timing. As of the Effective Date, EPC Contractor has evaluated the feasibility of
               performing the Work in accordance with the Project Schedule and for the Cost of
               the Work, accounting for constraints affecting the Facility and the Site and has
               reasonable grounds for believing and does believe that such performance
               (including achievement of Substantial Completion and Final Completion by the

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                 applicable completion deadline for the Cost of the Work) is feasible and
                 practicable.

         (c)     Means and Methods; Hazardous Substance Handling. EPC Contractor
                 acknowledges and agrees that EPC Contractor, and not Owner, has chosen the
                 design and construction means and methods of the Work and that EPC
                 Contractor, and not Owner, shall be solely responsible for implementing the
                 design and construction means and methods and managing, handling and
                 transporting any Hazardous Substances or other materials that arise from, relate to
                 or emanate from the Site in connection with the Work.

   2.2   Representations by Owner.

 Owner represents and warrants (which representations and warranties shall survive the expiration
 or termination of this Agreement) to EPC Contractor that:

         2.2.1      Organization and qualification. It is a limited liability company duly
                    organized and validly existing under the laws of the State of Delaware. It has
                    all necessary power and authority to carry on its business as presently
                    conducted, to own or hold its properties, and to enter into and perform its
                    obligations under this Agreement.

         2.2.2      Authorization, approvals, no defaults. The execution, delivery and
                    performance of this Agreement by Owner (1) has been duly authorized by all
                    requisite company action; (2) to its knowledge, will not conflict with any
                    provisions of applicable Law; and (3) will not conflict with, result in the
                    breach of, constitute a default under, or accelerate performance required by,
                    any covenant, agreement, understanding, decree or order to which it is a party
                    or by which it or any of its properties or assets is bound or affected.

         2.2.3      Enforceability. This Agreement constitutes the legal, valid and binding
                    obligation of Owner enforceable in accordance with its terms, except as
                    enforceability may be limited by bankruptcy, insolvency, or similar laws
                    affecting creditors’ rights generally.

         2.2.4      Legal proceedings. There is no action, suit or proceeding, at law or in equity,
                    or official investigation by or before any Governmental Authority, tribunal or
                    any other body pending or, to the knowledge of Owner, threatened against or
                    affecting Owner or any of its properties, rights or assets, which could
                    reasonably be expected to result in a material adverse effect on Owner’s
                    ability to perform its obligations under this Agreement or on the validity or
                    enforceability of this Agreement.

         2.2.5      Site, Authorizations and Approvals. Owner has all right, title and interest in
                    and to the Site, and, together with its subsidiaries and agents, as applicable,
                    has obtained the Authorizations and Approvals listed on Exhibit B attached
                    hereto for the construction of the Cline Avenue Bridge.


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         2.2.6     Financing. Owner has obtained valid, binding, and enforceable commitments
                   to fund the full amount necessary to satisfy all of Owner’s obligations under
                   this Agreement (the “Financing Agreements”). Prior to the Construction
                   Commencement Date, Owner shall deliver to EPC Contractor and its surety a
                   comfort letter, in a form satisfactory to EPC Contractor and its surety,
                   describing the funding mechanism for the full amount necessary to satisfy all
                   of Owner’s obligations under this Agreement.


 ARTICLE 3 THE WORK

   3.1   Scope of Work.

 EPC Contractor shall perform the Work as described on Schedule IV, in accordance with the
 terms of the Governing Documents. Without limiting the foregoing, the Work shall include
 conducting, performing, providing or procuring the following when and as necessary to progress
 the Work in accordance with the Project Schedule as described on Schedule VI:

         3.1.1     all design and engineering activities and services necessary to perform the
                   Work and complete the Facility in accordance with this Agreement;

         3.1.2     all design and engineering activities and services necessary to obtain the
                   necessary Authorizations and Approvals for the design and construction of the
                   Facility;

         3.1.3     all construction activities and services necessary to perform the Work and
                   complete the Facility in accordance with the Governing Documents,
                   including, without limitation, utility connection or relocation, and lighting;

         3.1.4     all materials and equipment necessary to perform the Work and complete the
                   Facility in accordance with the Governing Documents;

         3.1.5     all work forces necessary to perform the Work and complete the Facility in
                   accordance with the Governing Documents (including all skilled and unskilled
                   labor, supervisory, quality assurance and support service personnel); and

         3.1.6     all other activities, services and items, whether or not specifically described
                   above, or elsewhere in the Governing Documents, if such performance,
                   provision or procurement is necessary for a complete and operable Facility in
                   accordance with the Governing Documents; provided, that EPC Contractor
                   shall not be responsible for performing, providing or procuring those
                   activities, services and items for which Owner bears express responsibility
                   pursuant to Article 5.




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   3.2   Development Agreement and Exchange Agreement.

 EPC Contractor acknowledges that Owner has provided to EPC Contractor a copy of each of the
 Development Agreement and the Exchange Agreement. EPC Contractor warrants that it has read
 and understood each of the Development Agreement and the Exchange Agreement and is fully
 aware of the obligations, risks and liabilities assumed by Owner thereunder in each case to the
 extent applicable to the Work and the performance by EPC Contractor of its obligations under
 this Agreement and the other Governing Documents.

 Subject to and in accordance with this Agreement, EPC Contractor shall, in its performance of its
 obligations under this Agreement, on a back to back basis, comply with all of Owner’s
 obligations and liabilities set forth in each of the Development Agreement and the Exchange
 Agreement related to the Work, the terms of each of which are incorporated herein and made a
 part of this Agreement for all purposes as if recited verbatim herein. EPC Contractor shall
 perform its obligations and exercise its rights under this Agreement and the other Governing
 Documents in such manner and at such times so that:

         3.2.1      no act, omission or Default by EPC Contractor and no EPC Contractor Event
                    of Default shall cause any breach by Owner of any of its obligations under the
                    Development Agreement, or the Exchange Agreement; and

         3.2.2      the rights or benefits of Owner under the Development Agreement and the
                    Exchange Agreement are not altered, reduced or affected in any material way.

 EPC Contractor shall provide such information and prepare such notices, reports and documents
 (insofar as these relate to the Work) within such time frames as Owner reasonably requires in
 order to satisfy its obligations under the Development Agreement and the Exchange Agreement,
 as the case may be.

 ARTICLE 4 EPC CONTRACTOR’S RIGHTS AND RESPONSIBILITIES

   4.1   Engineering, Procurement and Construction of the Facility; Performance of the Work.

 EPC Contractor, in fulfilling its obligations under this Agreement, shall be solely responsible for
 the engineering, procurement, construction and construction management of the Work,
 including, without limitation, the overall oversight and coordination of construction of the
 Facility in accordance with the Governing Documents.

 Without the prior written consent of Owner, in its sole discretion, EPC Contractor may not
 amend, modify or waive any right, remedy or obligation in the Toll System Installation
 Agreement, except to the extent that such amendment, modification or waiver will not
 (i) increase costs to Owner under such agreement or otherwise, including the Cost of the Work,
 the life cycle costs or the operations and maintenance costs, or (ii) adversely impact the Project
 Schedule or the safety, quality, revenues, insurance, bonding, warranty, repair, capacity, or
 performance of the Facility; provided that the foregoing will not prejudice EPC Contractor’s
 right to seek an EPC Contractor-Initiated Change Order in accordance with the provisions of this
 Agreement.


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 Notwithstanding that the Toll Work will be performed by the Toll System Installer and Integrator
 under the Toll System Installation Agreement and other aspects of the Work will be performed
 by other Subcontractors, EPC Contractor shall be solely responsible for the performance of the
 Work in accordance with the Governing Documents. The appointment of the Toll System
 Installer and Integrator and such other Subcontractors will not relieve EPC Contractor of any
 responsibility, liability or obligation under this Agreement and the other Governing Documents.
 References in this Agreement and the other Governing Documents to any act, omission, default,
 breach, negligence or neglect of EPC Contractor shall include such act, omission, default,
 breach, negligence or neglect of such other Toll System Installer and Integrator and other
 Subcontractors relating to or arising out the Work or the other obligations of such parties under
 this Agreement and the Governing Documents.

   4.2   Retention of Qualified Subcontractors and Suppliers

         4.2.1     Subcontractors; Key Personnel. In addition to the Toll System Installer and
                   Integrator, Major Equipment Suppliers, and Major Subcontractors, each
                   determined in accordance with Section 4.2.4 and 4.2.5, EPC Contractor may
                   contract other portions of the Work to one or more Subcontractors. Owner
                   shall have the right to present to EPC Contractor any objections or concerns
                   Owner has regarding such proposed Subcontractors, which objections and
                   concerns shall be duly considered by EPC Contractor; provided, however, that
                   the final decision and responsibility as to whether to contract with any
                   particular Subcontractor (other than the Toll System Installer and Integrator,
                   Major Equipment Suppliers, and Major Subcontractors) shall reside with EPC
                   Contractor. Owner and EPC Contractor will agree on a list of key positions
                   and personnel from EPC Contractor, the Engineers, and Major Subcontractors
                   listed on Schedule V (“Key Personnel”). Key Personnel will be dedicated to
                   the Project for the duration of the portion of the Work for which they are
                   responsible and will not be replaced without the reasonable prior approval of
                   the Owner.

         4.2.2     Engineers. EPC Contractor shall retain or assume the contracts by which
                   Owner has previously retained the companies (“Engineers”) listed on
                   Schedule V to provide engineering services for the Project (collectively
                   “Engineers Contracts”). Engineers Contracts shall include, among other terms
                   and conditions: (a) the requirement that the Engineers dedicate a competent
                   team of professionals to perform the services required under the Engineers
                   Contracts; and (b) commercially reasonable levels of professional liability
                   insurance protecting against errors and omissions of Engineers’ employees
                   and agents. Engineers shall have the primary design responsibilities with
                   respect to the Facility. The Engineers’ roles and responsibilities shall be more
                   particularly set forth in the Engineers Contracts.

         4.2.3     Project Manager/Construction Manager. EPC Contractor shall provide the
                   project manager/construction manager for the Project (“PM/CM”). At a
                   minimum, the PM/CM will (a) monitor and oversee compliance with the
                   Project Schedule; (b) monitor and oversee the performance of all

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                Subcontractors and Suppliers to keep the Work moving towards completion in
                accordance with the Project Schedule; (c) review and recommend whether to
                pay all invoices submitted by Suppliers and Subcontractors and review the
                Work related thereto and confirm that the Work for which payment is
                requested has been performed; (d) inspect the Work as completed to confirm
                that it was constructed in accordance with the Specifications and performed to
                the required standard of care; and (e) comply with the Safety Plan.

       4.2.4    Major Equipment Suppliers. EPC Contractor’s major equipment supplier for
                the toll collection system (the “Toll System Installer and Integrator”) will be
                determined and approved by Owner, in its sole discretion, no later than nine
                (9) months after the Effective Date. The Toll System Installer and Integrator
                will also be responsible for the installation of the toll collection system
                pursuant to the Toll System Installation Agreement. Contracts with other
                major equipment suppliers (“Major Equipment Suppliers”) executed after the
                Effective Date shall be consistent with the requirements of Article 14.
                Without the prior written consent of Owner, in its sole discretion, EPC
                Contractor shall not amend, modify or waive any right, remedy or obligation
                of any contracts with Major Equipment Suppliers, except to the extent that
                such amendment, modification or waiver will not (i) increase costs to Owner
                under such agreement or otherwise, including the Cost of the Work, the life
                cycle costs or the operations and maintenance costs, or (ii) adversely impact
                the schedule of performance under such agreement or the safety, quality,
                revenues, insurance, bonding, warranty, repair, capacity, or performance of
                the Facility; provided that the foregoing will not prejudice EPC Contractor’s
                right to seek an EPC Contractor-Initiated Change Order in accordance with
                the provisions of this Agreement.

       4.2.5    Major Subcontractors. EPC Contractor shall retain, in addition to the toll
                system installer and integrator approved by Owner in accordance with Section
                4.2.3, the persons listed on Schedule V as the major subcontractors (“Major
                Subcontractors”) for the Project. If applicable, EPC Contractor will select
                additional Major Subcontractors by an evaluation process that evaluates
                potential candidates based upon relevant criteria, including experience,
                reputation and demonstrated success in comparable construction projects,
                such additional Major Subcontractors to be subject to Owner’s approval, not
                to be unreasonably withheld or delayed. The contracts between EPC
                Contractor and the Major Subcontractors (the “Major Subcontractor
                Contracts”) shall provide for payment to the Major Subcontractors on a fixed
                lump sum price basis. To the extent applicable, the Major Subcontractor
                Contracts shall be consistent with the requirements of Article 14 of this
                Agreement. Without the prior written consent of Owner, in its sole discretion,
                EPC Contractor shall not amend, modify or waive any right, remedy or
                obligation of any Major Subcontractor Contract, except to the extent that such
                amendment, modification or waiver will not (i) increase costs to Owner under
                such agreement or otherwise, including the Cost of the Work, the life cycle
                costs or the operations and maintenance costs, or (ii) adversely impact the

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                    Project Schedule, or the safety, quality, revenues, insurance, bonding,
                    warranty, repair, capacity, or performance of the Facility; provided that the
                    foregoing will not prejudice EPC Contractor’s right to seek a EPC Contractor-
                    Initiated Change Order in accordance with the provisions of this Agreement.

         4.2.6      Quality Control/Quality Assurance. EPC Contractor shall retain or cause to be
                    retained a qualified Person or Persons to be responsible for quality control and
                    quality assurance for the completion of the Work. The quality control and the
                    quality assurance person(s) are herein collectively referred to as the “QA/QC
                    Director.” Details of the quality management program of the Project are set
                    forth in Section 5 – Construction Monitoring of Schedule IV of this
                    Agreement. The QA/QC Director shall report to EPC Contractor and Owner
                    on a regular basis as requested by either of them.

         4.2.7      Safety Director. EPC Contractor will retain one safety director to serve as the
                    safety director for the Project (the “Safety Director”). The Safety Director
                    shall be responsible to observe and enforce safe practices at the Site and
                    related support facilities and shall report to the PM/CM on a regular basis as
                    requested by the PM/CM.

 The appointment of any Subcontractor will not relieve EPC Contractor of any responsibility,
 liability or obligation under this Agreement and the other Governing Documents. References in
 this Agreement and the other Governing Documents to any act, omission, default, breach,
 negligence or neglect of EPC Contractor shall include such act, omission, default, breach,
 negligence or neglect of a Subcontractor.

   4.3   Taxes.

 EPC Contractor shall pay as part of the Cost of the Work, all withholding, sales, income, excise,
 consumer, use, gross receipts, and other similar taxes, special assessments, imposts, duties,
 charges, dues and other fees in accordance with applicable Law, including all direct and indirect
 costs and expenses to discharge the same and any and all penalties and fines pertaining to any of
 the above (whether levied on or payable by EPC Contractor or any of its Subcontractors). Owner
 shall be responsible and liable for all real property taxes and assessments imposed on the Facility
 and the Site.

   4.4   Intentionally deleted.

   4.5   Hazardous Substances; Erosion.

         4.5.1      Notwithstanding EPC Contractor’s retention of any Subcontractor, EPC
                    Contractor shall be responsible for taking all actions necessary (including, as
                    applicable, investigation, handling, storage, management, containment,
                    characterization, treatment, remediation, clean-up transport, and disposal)
                    with respect to all Hazardous Substances at, in, on or under the Site (including
                    pre-existing Hazardous Substances migrating or transported to or from the
                    Site) in connection with the Work, the Project and EPC Contractor’s
                    performance of its other obligations under this Agreement. EPC Contractor
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                    shall investigate, handle, store, manage, contain, characterize, treat, remediate,
                    transport, use and dispose of such Hazardous Substances in accordance with
                    the requirements of the Governing Documents. EPC Contractor acknowledges
                    that Owner shall not bear any responsibility for undertaking the foregoing
                    activities; provided, however, that, EPC Contractor shall be eligible for
                    additional time, compensation and other relief to the extent provided for in
                    Article 8, Article 9, or elsewhere in this Agreement.

         4.5.2      EPC Contractor shall be responsible for all waste generated in the
                    performance of the Work under this Agreement and shall ensure that all such
                    waste is transported to or from, moved, used or stored upon the Site in
                    accordance with the requirements of the Governing Documents.

         4.5.3      EPC Contractor shall conduct all sedimentation, erosion control, and siltation
                    within or adjacent to the Site in accordance with the requirements of the
                    Governing Documents.

         4.5.4      EPC Contractor is solely responsible for the selection of the construction
                    means and methods and the handling, transport and disposal of Hazardous
                    Substances and day to day management and control of such Hazardous
                    Substances at the Site.

   4.6   Compliance with Governing Documents.

 In carrying out its duties hereunder, EPC Contractor shall comply with all requirements of the
 Governing Documents, including, without limitation, all Laws relating to health, safety or the
 protection of the environment.

   4.7   Traffic Control Plan.

 EPC Contractor shall develop a comprehensive traffic control plan for the Project (“Traffic
 Control Plan”), to assure all Persons supplying the Work prompt and safe access to the Site.

   4.8   Safety Plan.

 EPC Contractor shall prepare a safety plan (the “Safety Plan”) that shall establish and maintain
 appropriate safety rules and procedures in connection with the performance of the Work. EPC
 Contractor shall observe such Safety Plan, and shall cause any and all Subcontractors to observe
 such Safety Plan or to establish, maintain, observe and enforce their own safety plan which is
 comparable to or exceeds the Safety Plan.

   4.9   Security Plan.

 EPC Contractor shall establish appropriate security measures to maintain the security of the Site
 and to protect the Work in progress (the “Security Plan”), which plan will cover the areas of the
 Site to the extent EPC Contractor has control over such areas, and shall be effective on and after
 the Construction Commencement Date.


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   4.10 Construction and Storage Confined to Site.

 EPC Contractor shall, and shall cause any and all Subcontractors and Suppliers to, confine
 construction activities and storage primarily to the Site. Any offsite storage of materials
 dedicated to the Project require the prior approval of EPC Contractor; provided that such
 materials are clearly marked for the Project and shall be owned by the Owner upon payment for
 such materials, regardless of their location.

   4.11 Construction Office; Records; Audits.

        4.11.1      Construction Office. EPC Contractor shall maintain a temporary construction
                    office at the Site during the construction of the Facility. EPC Contractor shall
                    maintain at such office a copy of the Specifications, together with
                    construction-related drawings that are developed during the course of the
                    Project. EPC Contractor agrees to remove any temporary construction offices
                    from the Site within two (2) years after the Substantial Completion Date.

        4.11.2      Maintenance of Books and Records. EPC Contractor shall keep and maintain
                    books, records and accounts with respect to the Work hereunder in accordance
                    with GAAP and all applicable laws and regulations.

        4.11.3      Filing System. EPC Contractor shall index, file and maintain Work files in
                    accordance with a filing system maintaining an inventory of in-progress Work
                    product and completed Work product and delivery of completed Work
                    product in accordance with EPC Contractor’s usual and customary business
                    practices.

        4.11.4      Work Product. EPC Contractor shall make available to Owner and the
                    Independent Engineer for inspection, audit or reproduction designated in-
                    progress Work product in its possession within forty-eight (48) hours after a
                    written request from Owner for a copy thereof and as soon as reasonably
                    possible after written request for in-progress Work product not in its
                    possession.

        4.11.5      Audit. EPC Contractor agrees that Owner and, if Owner designates the
                    Independent Engineer and/or a third party financial advisor to be its
                    representative for review of books and records, shall have the right, upon
                    forty-eight (48) hours’ prior written notice, to examine, copy, and audit EPC
                    Contractor’s books and records relating to the Work, the Site and/or the
                    Project to determine compliance with the Governing Documents, verification
                    of invoicing, payment and Change Order pricing, or as is necessary to verify
                    progress of the Work.

   4.12 No Liens.

 No equipment or materials incorporated into the Work that are purchased by EPC Contractor or
 by any Subcontractor, shall be subject to any chattel mortgage, conditional sales contract or
 security agreement under which an interest or lien is retained. EPC Contractor shall, and shall

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 cause each applicable Subcontractor to, deliver to Owner, as a condition precedent to any
 payment from Owner, duly executed Lien Waivers in the applicable form set forth on Exhibit D
 for payments made during the preceding Payment Period (except with respect to any disputed
 portion of the Work which was not included in such request for payment) and, as to the Final
 Payment, deliver to Owner Final Lien Waivers duly executed by EPC Contractor and each
 applicable Subcontractor before Final Payment is required to be made by Owner.

   4.13 Patents.

 EPC Contractor shall pay, or shall cause any and all Subcontractors and Suppliers to pay, all
 royalties, license fees or other costs incident to their use in the performance of the Work of any
 invention, design, process, product, or device that is the subject of patent rights or copyrights
 held by others. Payments by EPC Contractor to or by the Toll System Installer and Integrator is
 expressly included in this obligation.

   4.14 Inspections; Defective Work.

 EPC Contractor shall communicate regularly with the Owner and the Independent Engineer
 concerning the completed portions of the Work for conformity with the Specifications, for
 freedom from defects and to provide required tests, inspections and other reports dealing with
 environmental matters, Hazardous Substances and other existing conditions. In the event the
 Owner notifies EPC Contractor of defective work that: (a) has the potential to have a material
 impact on the Cost of the Work or the Project Schedule; or (b) indicates a systemic problem (i.e.,
 a persistent, widespread and/or material problem for the Project) with any piece of equipment,
 any portion of the Work, or the performance of any Major Equipment Supplier or Subcontractor,
 EPC Contractor shall within ten (10) Business Days provide relevant information to Owner and
 the Independent Engineer. Such information shall include the nature and extent of the problem,
 the cost and delay associated with the defective Work (if known), and the steps that EPC
 Contractor is taking to remedy the defective performance, including any remedies that they are
 pursuing under the applicable contract.


   4.15 Transfer of Work.

 EPC Contractor shall be responsible for coordinating the prompt transfer of all of the Work to
 Owner upon Owner’s making the Final Payment.

   4.16 Authorizations and Approvals.

 EPC Contractor shall obtain, renew and maintain and shall ensure that its Subcontractors obtain,
 renew and maintain, where applicable, all Authorizations and Approvals (e.g., without limitation,
 electrical permits, erosion control permits) required for the performance of the Work in
 accordance with the Governing Documents. EPC Contractor shall comply with the terms of all
 Authorizations and Approvals that apply to the Work.




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   4.17 Insurance.

 EPC Contractor, at its sole cost and expense, shall, or shall cause its Subcontractors to (i) obtain
 and maintain at all times insurance as set forth in Schedule II and (ii) ensure that Owner is listed
 as loss payee and/or additional insured with respect to all such insurance at all times and deliver
 insurance certificates and endorsements, as applicable, to that effect.

   4.18 Tangible Net Worth Criteria.

 On the Effective Date, EPC Contractor shall be in compliance with the Tangible Net Worth
 Criteria, as defined in Schedule I.
   4.19 Payment and Performance Security.

        4.19.1       On or before the Construction Commencement Date, EPC Contractor, as part
                     of the Cost of the Work, shall deliver a payment and performance bond in the
                     form attached hereto as Schedule VIII or otherwise in form and substance
                     satisfactory to Owner and having the Required Rating, in a total amount equal
                     to one-hundred percent (100%) of the Cost of the Work (the “Payment and
                     Performance Bond”).

        4.19.2       Subject to any permitted adjustments pursuant to this Section 4.19, EPC
                     Contractor shall ensure that the Payment and Performance Bond remains valid
                     and enforceable until the expiration of the EPC Contractor’s Warranty Period;
                     provided that the amount of the Payment and Performance Bond shall reduce
                     as provided in Schedule IX. Upon the expiration of the EPC Contractor’s
                     Warranty Period, Owner will release its rights as to the Payment and
                     Performance Bond.

        4.19.3       After an EPC Contractor Event of Default which is not cured within any
                     applicable cure period, Owner shall be entitled to exercise its rights under the
                     terms and conditions of the Payment and Performance Bond.

        4.19.4       The terms and conditions of the Bond shall apply to the obligations of Owner,
                     EPC Contractor and EPC Contractor’s surety in the event of an EPC
                     Contractor Event of Default.

        4.19.5       If at any time prior to the expiration of the EPC Contractor’s Warranty Period,
                     the rating of the issuer of the Payment and Performance Bond is downgraded
                     below the Required Rating, then upon demand by Owner, EPC Contractor
                     shall, within ten (10) Business Days, replace such Payment and Performance
                     Bond with a Payment and Performance Bond issued by a surety company
                     having the Required Rating and substantially in the form shown on Schedule
                     VIII.




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   4.20 Toll Collection System.

 EPC Contractor shall fully perform and be responsible and liable for the work and obligations to
 be performed by the Toll System Installer and Integrator under the Toll System Installation
 Agreement in the same manner in which the Toll System Installer and Integrator has obligated
 itself to EPC Contractor under the Toll System Installation Agreement. Each of such obligations
 is expressly incorporated herein by reference and shall be direct obligations of EPC Contractor
 (in addition to EPC Contractor’s obligations to perform as the “EPC Contractor” under the Toll
 System Installation Agreement); provided, however, that in no event shall EPC Contractor have
 any greater rights and remedies against Owner with respect to such work or obligations of the
 Toll System Installer and Integrator than EPC Contractor has with respect to the other Work
 under this Agreement notwithstanding that the Toll System Installer and Integrator may have
 such greater rights and remedies against EPC Contractor under the Toll System Installation
 Agreement.

 ARTICLE 5 OWNER’S RIGHTS AND RESPONSIBILITIES

   5.1   Intentionally Omitted.

   5.2   Transfer of Control Responsibility to Owner.

         5.2.1      On the Substantial Completion Date, Owner through Operator shall assume
                    sole responsibility for the dispatch and control of the Cline Avenue Bridge
                    except that EPC Contractor shall be obligated to (a) provide technical
                    guidance as to which EPC Contractor possesses actual knowledge, (b) provide
                    the Toll Systems Operation Manual, the operations manual and all other
                    manuals set forth in this Agreement and the Toll System Installation
                    Agreement; (c) complete any remaining Punch List items on a schedule that is
                    mutually agreeable to the Parties; and (d) otherwise perform its remaining
                    obligations under this Agreement.

   5.3   Owner’s Responsibilities During the Construction of the Project.

 Owner shall:

         5.3.1      take all actions necessary to obtain the financing needed to enable Owner to
                    satisfy its payment obligations under this Agreement and shall make payments
                    for the Cost of the Work in accordance with Article 10;

         5.3.2      require employees and agents of Owner to abide by all rules applicable to the
                    Site and the Facility, including but not limited to rules pertaining to safety and
                    security procedures or requirements and applicable Law;

         5.3.3      reasonably cooperate with EPC Contractor and provide any other assistance
                    reasonably necessary to enable EPC Contractor to perform the Work as
                    required by this Agreement; provided, however, that such reasonable
                    cooperation and assistance is not intended to include, without limitation, the
                    expenditure of a material amount of funds (and any unbudgeted funds shall be

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                   considered material), assumption of additional liabilities or obligations,
                   waivers of rights and remedies under this Agreement, granting of approvals or
                   consents that are identified as being within the discretion (including the sole
                   discretion) of Owner or modification of the Work;

         5.3.4     at all times promptly respond, including making appropriate representatives
                   available with decision-making authority, to any reasonable requests by EPC
                   Contractor for meetings, for review and comments regarding relevant
                   documents provided to Owner for review and comment;

         5.3.5     at all times, use commercially reasonable efforts to proceed in a manner that
                   supports the Project Schedule; and

         5.3.6     promptly take all actions reasonably requested by EPC Contractor to assist
                   EPC Contractor in obtaining any Authorizations or Approvals for the Facility,
                   including executing applications for Authorizations or Approvals to the extent
                   such actions can only be taken by Owner, in its capacity as owner of the
                   Facility and the Site.

 ARTICLE 6 INTENTIONALLY OMITTED.

 ARTICLE 7 OWNERSHIP OF ASSETS

   7.1   Ownership of the Cline Avenue Bridge; Risk of Loss.

         7.1.1     Ownership of the Work, the Toll Collection System and other Facility items
                   incorporated therein, including all associated Subcontractor and Supplier
                   warranties, the Toll Systems Operation Manual and all other manuals set forth
                   in this Agreement and the Toll System Installation Agreement, shall pass from
                   EPC Contractor to Owner, free and clear from liens or other encumbrances,
                   upon the earlier to occur of (a) incorporation of such items and equipment into
                   the Facility and (b) payment therefor in full by Owner pursuant to Article 10.

         7.1.2     Notwithstanding the transfer of ownership in accordance with Section 7.1.1,
                   the care, custody and control of the Facility and all items of equipment
                   incorporated therein, shall rest with EPC Contractor and EPC Contractor shall
                   bear the risk of loss of the Facility until the Substantial Completion Date. As
                   of the Substantial Completion Date, the care, custody and control of the
                   Facility shall pass to Owner (subject to EPC Contractor’s remaining rights and
                   obligations under this Agreement, including, without limitation, Article 12)
                   and on the Substantial Completion Date and thereafter, Owner shall bear the
                   risk of loss with respect thereto.




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 ARTICLE 8 COST OF THE WORK

   8.1   Cost of the Work.

 Subject to the terms and conditions of this Agreement, Owner shall pay EPC Contractor for
 completion of the Work the fixed sum of $__________ (as such sum may be adjusted from
 time to time in accordance with Article 9, “Cost of the Work”). The Cost of the Work
 includes, without limitation, and shall be the entire compensation payable to EPC Contractor in
 respect of (a) all amounts to be paid to all other Subcontractors and Suppliers; (b) all other
 equipment, labor, materials, transportation, disposal, storage, services, and intellectual property
 rights to be provided hereunder in connection with the Work or any other obligations under this
 Agreement;(c) all taxes, special assessments or other fees for which EPC Contractor is
 responsible pursuant to Section 4.3; (d) any increased cost in connection with the Work or any
 other obligations under this Agreement due to inflation; (e) all costs incurred for
 obtaining and/or maintaining authorizations and approvals from third parties other than Owner
 (except that costs of Owner that are required to be paid or reimbursed by EPC Contractor under
 this Agreement are included in this clause (e)); (f) any legal, technical, financial or other
 advisor costs and fees involved in obtaining agreements with third parties in connection with
 the Work or any other obligations under this Agreement; (g) any Claim for additional
 costs or time extensions from any Subcontractor or Supplier not covered by Section 8.2
 below; and (h) any changes to means and methods required by Law or Governmental
 Authorities which do not constitute Change Orders hereunder. For the avoidance of doubt,
 EPC Contractor has previously completed certain pre-work items as described in the
 Agreement for Early Work Items dated June 6, 2016, Agreement for Early Work Items No. 3
 dated February 8, 2017, and Agreement for Early Work Items No. 4 dated May 19, 2017
 (collectively, the “Pre-Work”). All amounts paid to EPC Contractor under such agreements for
 Pre-Work prior to the Construction Commencement Date is included in the Cost of the Work
 and reduces the lump sum Cost of the Work payable for the Work. The payment for the
 Work shall be made by Owner in the form of monthly progress payments based on the progress
 of the Work actually completed in accordance with the provisions of Article 10.
   8.2 Exclusions from Cost of the Work.

 The following costs (the “Excluded Costs”) are not covered by the Cost of the Work. Any
 increase in the Cost of the Work for the Excluded Costs shall be payable as set forth in Article 9:

         8.2.1      Costs resulting from Change Orders and Change Directives described in
                    Article 9;

         8.2.2      Costs resulting from any breach by Owner of any of its obligations under this
                    Agreement;

         8.2.3      Cost of the toll collection system and all amounts payable under the Toll
                    System Installation Agreement; and

         8.2.4      Cost of the Work described on Exhibit G.




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 ARTICLE 9 CHANGE ORDERS

   9.1   General.

 The Cost of the Work, the scope of Work and the Project Schedule (including the Target
 Substantial Completion Date and the Delay Default Date) may only be adjusted by Change
 Orders or Change Directives as described more fully in this Article 9. Change Orders shall only
 be effective upon execution in writing by both EPC Contractor and Owner.

   9.2   Owner Initiated Change Orders.

         9.2.1      Notice of Proposed Change.

 Owner may at any time and from time to time authorize and require, pursuant to a Change Order,
 changes to the Work or the Project Schedule (including the Target Substantial Completion Date
 and the Delay Default Date, as applicable). If Owner desires to initiate a Change Order or to
 evaluate whether to initiate a Change Order, Owner shall deliver to EPC Contractor a written
 notice of the proposed change (a “Change Proposal”).

         9.2.2      Evaluation of a Change Proposal.

 Within thirty (30) days after receipt of a Change Proposal from Owner (or such longer or shorter
 period as the Parties may mutually agree depending upon the complexity of the proposed change
 in such Change Proposal) EPC Contractor shall deliver to Owner: (i) any applicable plans and
 specifications for the requested change, (ii) a description of the impacts, if any, to the Project
 Schedule as a result of such proposed change and if there is an impact, a revised Project
 Schedule and (iii) a statement and detailed breakdown of the estimated adjustment to the Cost of
 the Work as a result of such proposed change, if any, together with all other information
 reasonably necessary for Owner to evaluate the proposed change.

         9.2.3      Owner Determination.

 Within thirty (30) days after receipt of EPC Contractor’s evaluation as described in
 Section 9.2.2, Owner shall provide written notice to EPC Contractor of Owner’s intent to
 proceed or not to proceed with the Change Proposal. If Owner elects to proceed with the Change
 Proposal and accepts the adjustments to the Cost of Work and/or the Project Schedule (including
 the Target Substantial Completion Date and the Delay Default Date, as applicable), Owner shall
 prepare a Change Order for execution. If Owner elects to proceed with the Change Proposal but
 does not accept the proposed adjustments to the Cost of Work and/or the Project Schedule,
 Owner and EPC Contractor shall negotiate a mutually acceptable Change Order or Owner shall
 issue a Change Directive.

   9.3   Change Directives.

 Owner may issue a Change Directive, including a reductive Change Directive, in the event of a
 dispute (A) in negotiating a mutually acceptable Change Order in accordance with Section 9.2.3,
 (B) regarding the scope of Work, or (C) as to whether EPC Contractor has performed the Work
 in accordance with the requirements of the Governing Documents. The Change Directive will

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 describe the Work in question and will state the basis for determining compensation, if any.
 Subject to Section 9.6.1.3, EPC Contractor shall proceed immediately as directed in the Change
 Directive, and the Parties shall negotiate a Change Order based on such Change Directive in
 accordance with Section 9.6.1.3. If the Parties are unable to reach agreement upon the Change
 Order, such dispute shall be resolved in accordance with Article 13.

   9.4   Notification Process for EPC Contractor-Initiated Change Orders.

         9.4.1     Notice of Change Order.

 EPC Contractor shall within five (5) Business Days after the date on which EPC Contractor
 knows of a Change Event (as defined below), provide written notice to Owner of such Change
 Event and EPC Contractor’s intention to submit an EPC Contractor-Initiated Change Order (as
 defined below) in relation thereto (“Notice of Change Event”). Within 30 days after submitting a
 Notice of Change Event, EPC Contractor shall submit a detailed description and request for
 Change Order (“Notice of Change Order”) EPC Contractor’s Notice of Change Order shall
 provide the following information: (i) a description of the underlying event, act or inaction
 constituting the Change Event; (ii) the contractual basis for entitlement to the EPC Contractor-
 Initiated Change Order; (iii) the estimated delay and impact to the Project Schedule and/or Work
 on the critical path (if applicable); (iv) the estimated cost impact of the Change Event (if
 applicable) and (v) EPC Contractor’s proposed plan for mitigating the impacts of such Change
 Event and the estimated costs of such mitigation. If the Notice of Change Order is not received
 by Owner within 30 days after receiving the Notice of Change Event, Owner will give EPC
 Contractor a written notice allowing an additional fifteen (15) Business Days in which to submit
 the Notice of Change Order and notifying EPC Contractor that failure to submit the detailed
 Notice of Change Order within such time period will result in a waiver of its rights to claim a
 Change Order for the event, condition or act which was the subject of the Notice of Change
 Event.

         9.4.2     Owner Response to Notice of Change Order.

 Owner shall have fifteen (15) Business Days after receipt of EPC Contractor’s Notice of Change
 Order under Section 9.4.1 to either confirm or refute in writing the basis for such EPC
 Contractor-Initiated Change Order. If Owner fails to respond within fifteen (15) Business Days,
 EPC Contractor shall notify Owner in writing that EPC Contractor has not received a response
 and if Owner fails to respond within five (5) Business Days after such additional notice, Owner’s
 failure to respond shall be deemed a denial of EPC Contractor’s entitlement to the EPC
 Contractor-Initiated Change Order. If the Parties dispute EPC Contractor’s entitlement to an EPC
 Contractor-Initiated Change Order, such dispute shall be resolved in accordance with Article 13.

         9.4.3     Proposal for a Change Order.

 Within fifteen (15) Business Days after the end, resolution or completion, as applicable, of the
 Change Event upon which a Notice of Change Order is based and once the actual delay to the
 Project Schedule and/or the actual cost impact on the Cost of Work directly arising from such
 Change Event can be definitively quantified, EPC Contractor shall promptly submit to Owner a
 written proposal for a Change Order setting forth the requested adjustment to the Cost of Work

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 and/or the Project Schedule, as applicable. The proposal for a Change Order shall include: (i) a
 detailed description of the Change Event; (ii) a statement of the actual delay and impact to the
 Project Schedule and/or Work on the critical path (if applicable) and (iii) a detailed breakdown
 of the actual cost impact of the Change Event, including the costs of any mitigation (if
 applicable) consistent with the pricing requirements set forth in Section 9.6. If the Change Event
 giving rise to the Notice of Change Order is ongoing and not reasonably expected to be resolved
 within a reasonable period of time prior to Final Completion, EPC Contractor shall deliver a
 written proposal for a Change Order with a good faith estimate of the time and cost impact
 directly arising out of such Change Event. Such estimate shall indicate EPC Contractor’s
 agreement to accept the time and/or price adjustments proposed in such proposal for a Change
 Order as full compensation for such Change Event, waiving any right to make additional claims
 with respect thereto, but including any reservations from such waiver proposed by EPC
 Contractor.



         9.4.4      Owner’s Response to Proposal for a Change Order.

 Owner shall have thirty (30) days after receipt of EPC Contractor’s proposal for a Change Order
 pursuant to Section 9.4.3 to accept such proposal as submitted or to commence negotiation of the
 adjustment to the Cost of Work and/or the Project Schedule, if and as applicable. If the Parties
 are unable to reach agreement on such adjustments, such dispute shall be resolved in accordance
 with Article 13. Pending final determination, Owner and EPC Contractor shall enter into a
 Change Order covering any change and any corresponding amounts that are not in dispute and
 Owner shall pay EPC Contractor such amounts.

   9.5   Entitlement to EPC Contractor-Initiated Change Orders.

         9.5.1   Entitlement.

 Subject to the terms of Section 9.5 and upon compliance with the notification process set forth in
 Section 9.4, EPC Contractor shall be entitled to a Change Order (an “EPC Contractor-Initiated
 Change Order”) adjusting (i) the Project Schedule (including the Target Substantial Completion
 Date and the Delay Default Date, as applicable), based on critical path analysis for delays to
 items of Work on the critical path in the Project Schedule to the extent of the actual delay caused
 by a Change Event (if applicable) and/or (ii) the Cost of Work to the extent of changes to the
 Cost of Work caused by a Change Event and as provided in Section 9.6 (if applicable). Upon the
 occurrence of a Change Event, EPC Contractor shall use reasonable efforts to mitigate the cost
 and schedule impacts of such Change Event.

         9.5.2      Change Events.

 Each of the following events, conditions or acts shall constitute a “Change Event,” to the extent
 such Change Event (i) is beyond the reasonable control of EPC Contractor and is not due to a
 breach, fault, negligence or violation of the Governing Documents by any EPC Contractor Party;
 (ii) delays and/or increases the cost of EPC Contractor’s performance of the Work; and (iii) (or
 the effects thereof) could not have been avoided or prevented by due diligence and use of


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 reasonable efforts by an EPC Contractor Party, in each case, that could have been conducted
 without incurring unreasonable costs or expenses:

        (a)    Changes to the scope of the Work requested by Owner, including material
               revisions to the design or construction of the Facility that are not based on
               statutory and regulatory non-discretionary standards relating to public health,
               safety and welfare;

        (b)    Force Majeure events as defined in Section 14.5 (in which case, EPC Contractor
               shall only be entitled to an adjustment to the Project Schedule due to delay, in
               accordance with the provisions of Section 14.5);

        (c)    Change Directives, except Change Directives resulting from or issued to correct
               the fault, negligence, failure to perform or breach of obligations by an EPC
               Contractor Party;

        (d)    To the extent not covered by insurance required to be maintained pursuant to
               Schedule II of this Agreement, the presence, release or discharge at the Site of
               Hazardous Substances that were not identified in the Phase I report attached
               hereto as Exhibit E, provided that such presence, release or discharge is not
               caused and does not arise out of or relate to the Work or the performance by any
               EPC Contractor Party of any other obligations of EPC Contractor under this
               Agreement;



        (e)    To the extent not covered by insurance required to be maintained pursuant to
               Schedule II of this Agreement, the presence at the Site of Hazardous Substances
               which exist as of the Effective Date that were not known by EPC Contractor as
               identified in the Phase 1 report attached hereto as Exhibit E or reasonably
               expected by EPC Contractor, or the release or discharge at the Site of Hazardous
               Substances (known or unknown as of the Effective Date) which exist as of the
               Effective Date, provided that in each case such presence, release or discharge as
               described is not caused and does not arise out of or relate to the Work or the
               performance by any EPC Contractor Party of any other obligations of EPC
               Contractor under this Agreement;

        (f)    A Change of Law or change in Governmental Authorization from that in effect on
               the Effective Date, which (1) requires a material modification of the Facility
               design, (2) requires EPC Contractor to obtain a new major Governmental
               Authorization not previously required for the Project, or (3) results in an increase
               in EPC Contractor's costs directly attributable to such change of at least $50,000;

        (g)    Concealed or subterranean conditions at the Site that were not known by EPC
               Contractor as indicated on the reports attached hereto as Exhibit E or reasonably
               expected by EPC Contractor; or



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         (h)     Delays resulting from suspension or delay of Work at Owner’s direction, or a
                 breach by Owner of any of its obligations under this Agreement, and not due to
                 the negligence, breach, failure to perform or fault by an EPC Contractor Party.


   9.6   Change Order Pricing.

         9.6.1      Pricing for Changes in Scope of Work.

 In the event of an additive Change Order, the amount of increase in the Cost of Work to be
 allowed will be the estimated increase in the Cost of the Work occasioned by such change,
 including profit and overhead. In the event of a deductive Change Order, the amount of decrease
 in the Cost of the Work to be allowed will be the estimated reduction in the Cost of the Work
 occasioned by such change including profit and overhead. When both additions and reductions
 are involved in any one Change Order, the adjustment in the Cost of the Work shall be
 determined on the basis of net increase or decrease. Increases or decreases in the Cost of the
 Work resulting from Change Orders changing the scope of Work shall be determined in the order
 of preference set forth below.

             9.6.1.1 For all Change Orders, the Parties shall first attempt to negotiate a
   mutually acceptable lump sum increase or decrease to the Cost of the Work properly itemized
   and supported by sufficient substantiating data to permit evaluation;

              9.6.1.2 If there is no agreement on a lump sum, but the Parties mutually agree that
   the increase or decrease to the Cost of the Work is determinable by unit prices used to develop
   the Cost of the Work or new unit prices mutually agreeable to the Parties can be established,
   then an adjustment to the Cost of the Work shall be negotiated using the unit prices agreed
   upon; and

               9.6.1.3 If the Parties cannot reach agreement using the methods in Sections
   9.6.1.1 and 9.6.1.2 and Owner issues a Change Directive to EPC Contractor to perform the
   changed Work, as the case may be, EPC Contractor shall promptly proceed with the changed
   Work, and the increase or reduction in the Cost of the Work, as applicable, shall be determined
   on the basis of the reasonable cost reimbursable expenditures or savings for the Work
   attributed to such Change Directive plus profit, markup and overhead where applicable. Costs
   for expenditures and savings shall be calculated in accordance with the provisions of this
   Section 9.6.1.3. In such case, EPC Contractor shall keep and present, in such form as Owner
   may reasonably require, an itemized accounting together with appropriate supporting data. Any
   such increase in the Cost of Work directly arising from such Change Directive shall be
   invoiced and paid for, without duplication of sums, based upon the sum of the following actual,
   reasonable costs incurred by EPC Contractor as a result of such changed Work (including
   subcontract expense, material expense, design, travel, relocation, and equipment rental
   expense) and additional profit and overhead at the rates set forth below:

         (a)     For Labor. Owner shall reimburse EPC Contractor for labor and for supervision
                 by foremen dedicated solely to the particular item of Work. The construction
                 labor payment shall be calculated on the basis of the actual wages and benefits

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                 applicable to such labor in effect at the time of the changed Work, plus fifteen
                 percent (15%) to cover profit and overhead; provided that the engineering costs
                 shall have an overhead factor based on the Federal Acquisition Regulations and a
                 profit of ten percent (10%).

        (b)      For Equipment and Materials. Owner shall reimburse the actual, reasonable
                 invoice cost for equipment and materials supplied by EPC Contractor and
                 installed or purchased for spares or inventory, plus fifteen percent (15%) to cover
                 profit and overhead. EPC Contractor shall provide Owner with valid copies of
                 Supplier invoices.

        (c)      For Tools and Construction Equipment. Owner shall reimburse the actual,
                 reasonable invoice cost for tools and construction equipment, plus fifteen percent
                 (15%) to cover profit and overhead. Approval by Owner is required with respect
                 to the selection of machine-powered tools or construction equipment.

        (d)      Subcontractors. Subcontractors shall be allowed their actual, reasonable and
                 documented costs for insurance, business and occupation tax, and bonding.

        (e)      Contractor Markup on Subcontractors: EPC Contractor shall be allowed an
                 additional markup equal to five percent (5%) of the total eligible costs computed
                 for Subcontractors under subsections (a), (b), and (c) above to cover
                 administrative costs.

        (f)      Insurance. EPC Contractor shall be paid its actual, reasonable insurance costs.

              9.6.1.4 Except for Owner initiated changes under Section 9.2 and Change
   Directives under Section 9.3 (in either case, excluding Change Directives resulting from or
   issued to correct the fault, negligence, failure to perform or breach of obligations by an EPC
   Contractor Party or resulting from an inability to agree on the schedule impact or cost of a
   Change Order pending resolution thereof) or changes that arise out of the gross negligence or
   willful misconduct of Owner, delay and disruption costs and damages, other than direct cost
   damages are not compensable by Owner in connection with any Change Order or otherwise.

              9.6.1.5 Agreement on any Change Order shall constitute a final settlement of all
   Claims and matters relating to the change in the Work which is the subject of such Change
   Order, including all direct and indirect costs associated with such change and any and all
   adjustments to the Cost of the Work and/or the Project Schedule (including the Target
   Substantial Completion Date and the Delay Default Date, as applicable) pursuant to such
   Change Order.

 ARTICLE 10 PAYMENT FOR WORK; REPORTING

   10.1 Payment Schedule.

        10.1.1      Initial Payment.



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 Subject to Section 10.1.8, on the Construction Commencement Date, Owner shall make an
 initial payment in the amount of $___________ (“Initial Payment”) to EPC Contractor,
 which Initial Payment shall fully (1) reimburse EPC Contractor (and all Affiliates of EPC
 Contractor) for all amounts incurred prior to and on the Construction Commencement
 Date by EPC Contractor (and all such Affiliates) in connection with the Project; (2) permit
 EPC Contractor to pay amounts due and payable as of the Construction Commencement
 Date on all contracts executed by or on behalf of Owner in connection with the Project; (3)
 provide for the payment to EPC Contractor of all mobilization costs and expenses; (4) payment
 for the work described in the Agreement for Early Work Items No. 4, dated May 19, 2017; and
 (5) reimburse or provide funds for certain miscellaneous costs, such as insurance, incurred by
 EPC Contractor prior to and on the Construction Commencement Date. The details of
 the Initial Payment, including a breakdown of the amounts and costs referred to in the
 immediately preceding sentence are set forth on Schedule VII. The Initial Payment shall be
 credited against the Cost of Work.
         10.1.2     Progress Report, Invoices and Other Monthly Deliverables.

 Without prejudice to any reporting, invoicing, notice or other obligations of EPC Contractor
 under this Agreement, on or about the tenth (10th) day of each calendar month, EPC Contractor
 shall prepare and submit to Owner each of the following items (collectively, the “Monthly
 Deliverables”):

               10.1.2.1 A written progress report (a “Progress Report”) in form and substance
   acceptable to Owner containing a reasonably detailed account of each of the following items
   during the immediately preceding calendar month (the “Payment Period”):

                      (i)    a description of the Work performed during the Payment Period (in
               accordance with the schedule of values set forth in Schedule III);

                      (ii)   the status of performance as against the Project Schedule for the
               Payment Period and a forecast plan (including Milestone Dates) for the
               subsequent calendar month;

                      (iii)   a summary health and safety report itemizing any accidents;

                      (iv)   information with respect to any Force Majeure event or Change
               Event encountered during the Payment Period that has impacted the Work;

                     (v)     the status of any Claims by or against EPC Contractor in relation to
               the Work performed during the Payment Period;

                      (vi)     A discussion of any problems encountered during the Payment
               Period and the remedies effected or planned;

                     (vii)    A Gantt chart reflecting progress of the Work against the Project
               Schedule;

                      (viii) information with respect to (including a discussion of the
               contractual basis for entitlement to) any Excluded Costs which EPC Contractor is

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                 claiming in the Monthly Invoice being submitted with the respective Progress
                 Report; and

                        (ix)    Any other information reasonably requested in writing by Owner.

              10.1.2.2 an invoice (a “Monthly Invoice”), in a form acceptable to Owner,
   containing each of the following items with respect to the Payment Period:

                         (i)    a statement of the total amount due to EPC Contractor for Work
                 performed during the Payment Period, less five percent (5%) thereof to be
                 retained as Retention Money pursuant to Section 10.1.7;

                       (ii)    a statement of all sums paid to EPC Contractor in connection with
                 the Work prior to the date of such Monthly Invoice; and

                         (iii) a financial accounting of the Cost of Work undertaken to date
                 against the amount of the Monthly Invoice and amounts previously paid with
                 respect the Work.

              10.1.2.3 A certification from each of the PM/CM and the QA/QC Director that the
   Work performed during the Payment Period complies in all material respects with the terms
   and conditions of the Governing Documents;

              10.1.2.4 Lien Waivers in the applicable form set forth in Exhibit D, duly executed
   by EPC Contractor and each applicable Subcontractor covering all the Work performed by
   each through the prior Payment Period; and

               10.1.2.5 A certificate from EPC Contractor confirming that all payrolls, invoices
   for material and equipment, and other amounts payable for the Work performed during the
   Payment Period and included in the Monthly Invoice have been paid or will be paid upon EPC
   Contractor’s receipt of payment from Owner, and certifying that such officer does not have
   knowledge of the existence as of the date of such certificate, of any condition or event that
   constitutes a Default or an Event of Default or, if any such condition exists, specifying the
   nature and period of existence thereof.

        10.1.3      Financial Reporting. EPC Contractor shall deliver to Owner commencing on
                    the Effective Date and continuing until the end of the EPC Contractor’s
                    Warranty Period:

               10.1.3.1 Annual Financial Statements: as soon as available and in any event within
   one hundred twenty (120) days after the end of each fiscal year, (a) complete audited financial
   statements of EPC Contractor, including the balance sheet of EPC Contractor as of the end of
   such fiscal year and income statements and statement of cash flows of the EPC Contractor for
   such fiscal year, in each case prepared in reasonable detail and in accordance with GAAP
   consistently applied, certified by the chief financial officer or chief accounting officer of EPC
   Contractor that they fairly present the financial condition of EPC Contractor as of the last day
   of such fiscal year and the results of its operations and cash flows for such fiscal year and (b) a
   report thereon of Warren Averett, LLC (or if EPC Contractor changes its accounting firm, a

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   report thereon of such new accounting firm subject to the reasonable approval of Owner),
   which report shall state that such financial statements fairly present the financial position of
   EPC Contractor as of the last day of such fiscal year and the results of its operations and its
   cash flows for such fiscal year in accordance with GAAP consistently applied and that the
   examination by such accountants in connection with such financial statements has been made
   in accordance with generally accepted auditing standards;

               10.1.3.2 Quarterly Financials: with respect to any fiscal quarter following the
   Effective Date, within forty-five (45) days after the end of the identified fiscal quarter of EPC
   Contractor, unaudited financial statements of EPC Contractor, including a balance sheet of
   EPC Contractor as of the end of such fiscal quarter and income statements and statements of
   cash flows of EPC Contractor for such fiscal quarter and for the elapsed portion of the fiscal
   year, in each case prepared in reasonable detail and in accordance with GAAP consistently
   applied, certified by the chief financial officer or chief accounting officer of EPC Contractor
   that they fairly present the financial condition of EPC Contractor as of the last day of the fiscal
   quarter covered thereby and the results of its operations and cash flows for the periods covered
   thereby in accordance with GAAP consistently applied (subject to changes resulting from audit
   and normal year-end adjustments); and

              10.1.3.3 Officer’s Certificates: together with each delivery of financial statements
   delivered pursuant to Sections 10.1.3.1 and 10.1.3.2, a certificate of the chief financial officer
   or chief accounting officer of EPC Contractor stating the Tangible Net Worth Criteria
   calculation for the accounting period covered by such financial statements, together with
   supporting calculations in reasonable detail as to EPC Contractor and each Major
   Subcontractor included in the calculation of the Tangible Net Worth Criteria.

        10.1.4      Invoicing. Invoices will be prepared following the Payment Schedule as set
                    forth on Schedule III. EPC Contractor shall submit no more than one (1)
                    invoice in each month, unless the Owner agrees otherwise. Payments to EPC
                    Contractor shall only be made on the basis of progress actually achieved,
                    verified by the Owner, and in amounts no greater than those set forth in the
                    applicable schedule of values for the Work in Schedule III and in Change
                    Orders and Change Directives. The schedule of values and the payment
                    schedule in Schedule III is a limit on the amount that may be paid with
                    respect to the Work or a component thereof other than amounts relating to
                    Change Orders or Change Directives, and is not intended to limit the timing of
                    payment (e.g., for completion of Work ahead of schedule), subject to progress
                    actually achieved and verified by the Owner.

        10.1.5      Payment. Owner shall pay the undisputed portion of an outstanding invoice no
                    later than fifteen (15) days after receipt by Owner of the invoice and each
                    Monthly Deliverable related thereto (the “Payment Due Date”).

        10.1.6      Owner’s Failure to Make Payment. If Owner shall fail to make payment of
                    any undisputed amount in excess of $10,000 within fifteen (15) days after the
                    applicable Payment Due Date (as such date may be extended by any grace
                    period expressly stated herein), then if EPC Contractor intends to stop Work,

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                    EPC Contractor shall give Owner written notice of such non-payment and
                    stating EPC Contractor’s intention to stop performing the Work under this
                    Section 10.1.6. If Owner fails to make payment of any undisputed amounts
                    within ten (10) additional Business Days after Owner receives such written
                    notice, EPC Contractor shall have the right to stop performing the Work, and
                    may instruct all Subcontractors to stop performing any such Work until
                    payment of such undisputed amount is made. Except as set out in this Section
                    10.1.6, EPC Contractor shall not suspend its performance of the Work for any
                    reason unless suspended or terminated by Owner pursuant to rights
                    specifically allowed by the terms of this Agreement or pursuant to a Force
                    Majeure event.

         10.1.7     Retention.

               10.1.7.1 Retention Money. Owner shall be entitled to retain an amount equal to
   five percent (5%) of each invoice amount paid by Owner (“Retention Money”). Such Retention
   Money shall be held by Owner in a separate interest bearing account and may be applied by
   Owner from time to time to remedy any breach by EPC Contractor of its obligations under this
   Agreement. Within 5 Business Days after the Substantial Completion Date, Owner shall return
   ninety-five percent (95%) of the Retention Money (including all accrued interest) except for (i)
   the amount of the Punch List Money, if any, retained in accordance with Section 10.1.7.2, (ii)
   the amount of any Liquidated Damages payable to Owner, if any, and (iii) the amount of any
   unresolved dispute pursuant to Section 13.2, if any, which if EPC Contractor loses, would
   result in damages or amounts owed to Owner by EPC Contractor. The balance of the Retention
   Money will be returned to EPC Contractor within 5 Business Days after Final Completion.
   Owner may, in its sole discretion, but subject to the written consent of EPC Contractor’s
   surety, elect to release up to fifty percent (50%) of the Retention Money prior to Substantial
   Completion, taking into account factors such as satisfactory performance of the Work, no
   claims or disputes, and meeting or exceeding the Project Schedule.

           10.1.7.2 Punch List Money. On the Substantial Completion Date, Owner shall be
   entitled to retain out of the balance of the Retention Money (i) an amount equal to two hundred
   percent (200%) of the Punch List items (“Punch List Money”) evaluated in accordance with
   Section 11.2.1, which Punch List Money shall be returned to EPC Contractor within five (5)
   Business Days after all such Punch List items are completed by EPC Contractor in accordance
   with this Agreement.
         10.1.8     Payment and Performance Security. Notwithstanding any provision to the
                    contrary, Owner shall not be obligated to make any payment under this
                    Agreement, unless and until EPC Contractor has delivered the Payment and
                    Performance Bond in accordance with Section 4.19, and the Payment and
                    Performance Bond remains in full force and effect.

   10.2 Final Payment.

  Upon (i) the occurrence of Final Completion and the acceptance of the Work by Owner in
  accordance with Section 11.3, (ii) the submission to Owner by EPC Contractor of the invoice for
  Final Payment, (iii) the delivery to Owner by EPC Contractor of a certificate certifying to Owner

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  that all insurance required by the Governing Documents to be maintained on and after the Final
  Completion Date remains in full force and effect as of the Final Completion Date and covenants
  that EPC Contractor will maintain all such insurance for the duration of the periods of time set
  forth in the Governing Documents, and (iv) the receipt by Owner of all duly executed and
  notarized Final Lien Waivers from EPC Contractor, all Subcontractors and all Suppliers, Owner
  shall pay to EPC Contractor the remainder of the Cost of the Work, including any Retention
  Money, less any amounts authorized under this Agreement to be withheld or offset therefrom
  (the “Final Payment”). Acceptance of the Final Payment by EPC Contractor shall constitute a
  waiver of all Claims by EPC Contractor except those previously made in writing and identified
  by EPC Contractor as unsettled at the time of submission of the invoice for the Final Payment.

  ARTICLE 11 COMMENCEMENT AND PERFORMANCE OF WORK

   11.1 Commencement; Schedule.

  Owner shall issue a notice to proceed to EPC Contractor to commence performance of the Work
  on the thirtieth (30th) day following the Effective Date (the “Construction Commencement
  Date”).

   11.2 Substantial Completion.

         “Substantial Completion” shall mean the occurrence of all of the following: (a) all
         materials and equipment for the Facility have been installed in accordance with the
         Specifications; (b) all systems required to be installed by EPC Contractor, the Toll
         System Installer and Integrator and all other Subcontractors have been installed and all
         required testing described in the Work on Schedule IV with respect thereto has been
         successfully completed consistent with Schedule IV; (c) the Facility is ready to
         commence operations, including, without limitation, tolling and revenue operations;
         (d) the Punch List (including the value attributable to each Punch List item) has been
         established by EPC Contractor and approved by Owner, such approval not to be
         unreasonably withheld or delayed; (e) all Work, other than the Punch List items and other
         minor items of the Work that would not affect the safe performance or operation of the
         Facility, has been completed in accordance with the Governing Documents; (f) the
         Facility is capable of Commercial Operation in accordance with the Governing
         Documents; (g) EPC Contractor has performed its obligations under all other provisions
         of, and delivered all items required by, this Agreement as are then expressly required or
         contemplated by this Agreement to be performed or delivered by, in connection with or
         as of Substantial Completion; (h) EPC Contractor is not in Default and no EPC
         Contractor Event of Default has occurred and is continuing; (i) Owner has received all
         certificates of occupancy required from each applicable Governmental Authority, (j)
         Owner has received Lien Waivers in the applicable form set forth in Exhibit D, duly
         executed by EPC Contractor, all Subcontractors and all Suppliers, with respect to all
         Work performed up to Substantial Completion by each such Person and all amounts paid
         prior to or payable upon the achievement of Substantial Completion; and (k) EPC
         Contractor has removed all of its construction materials, waste material and garbage from
         the Site, except for (A) construction materials required for Work, if any, to be used by
         EPC Contractor in connection with the Punch List items, and (B) all tools and equipment

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        reasonably required by Owner and/or Operator for the operation and maintenance of the
        Facility, and in each case, as certified by EPC Contractor to Owner and reviewed and
        approved by Owner, acting reasonably.

        11.2.2    EPC Contractor shall notify Owner and the Independent Engineer at least ten
                  (10) Business Days in advance of when EPC Contractor believes the
                  Substantial Completion Date will occur. EPC Contractor shall provide ten
                  (10) Business Days’ prior written notice to Owner of any commissioning
                  activities or performance testing that will be conducted relating to Substantial
                  Completion and Owner or if identified to be its representative for testing, the
                  Independent Engineer, may, but will not be obligated to, witness any such
                  commissioning activities or performance testing. On the Substantial
                  Completion Date, EPC Contractor and Owner shall execute and deliver a
                  Certificate of Substantial Completion in the form of Exhibit F.

        11.2.3    All Liquidated Damages and other undisputed amounts owing by EPC
                  Contractor hereunder, if any, shall be paid in full or satisfied within ten (10)
                  Business Days after the Substantial Completion Date.

        11.2.4    Owner shall pay to EPC Contractor the Early Completion Bonus, if any,
                  within ten (10) Business Days after the Substantial Completion Date.


   11.3 Final Completion.

        11.3.1    “Final Completion” shall mean the occurrence of all of the following: (i) all
                  Liquidated Damages and other amounts owing by EPC Contractor hereunder,
                  if any, have been paid in full, (ii) EPC Contractor has performed its
                  obligations under all other provisions of, and delivered all items required or
                  contemplated by, this Agreement to be performed or delivered by, in
                  connection with or as of Final Completion, (iii) each item on the Punch List
                  has been completed, verified by the Independent Engineer and approved by
                  Owner, such approval, in each case, not be unreasonably withheld or delayed,
                  and (iv) EPC Contractor is not in Default hereunder and no EPC Contractor
                  Event of Default has occurred and is continuing, and in each case, as certified
                  by EPC Contractor to Owner and reviewed and approved by Owner, acting
                  reasonably.

        11.3.2    EPC Contractor will notify Owner and the Independent Engineer at least ten
                  (10) Business Days in advance of when EPC Contractor believes the Final
                  Completion Date will occur. EPC Contractor shall provide ten (10) Business
                  Days prior written notice to Owner and the Independent Engineer of any
                  commissioning activities or performance testing that will be conducted
                  relating to Final Completion and Owner, or if identified to be its
                  representative for testing, the Independent Engineer, may, but will not be
                  obligated to, witness any such commissioning activities and performance
                  testing.

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  Notwithstanding any other provisions herein, on and after the Final Completion Date, EPC
  Contractor shall only remain responsible and liable to Owner for (i) any breach of a
  representation or covenant set forth in this Agreement occurring on or before the Final
  Completion Date, except for any representation or covenant that, under the express terms of this
  Agreement, extends beyond or is to be performed after the Final Completion Date, (ii)
  indemnification under Section 14.9 and elsewhere under this Agreement, (iii) any other Default
  by EPC Contractor or EPC Contractor Event of Default that has occurred on or before the Final
  Completion Date and is continuing; (iv) the Warranties as specifically provided in this
  Agreement until the expiration of the EPC Contractor’s Warranty Period applicable thereto; and
  (v) such other obligations, liabilities and responsibilities of a contractor under Law (as it exists as
  of the Final Completion Date), it being the express intent of the Parties that this paragraph shall
  not waive or limit any right of Owner in Law or in equity.

   11.4 Extension.

  With respect to delay in performance by EPC Contractor of the Work, the occurrence of the
  events described in Section 8.2.1, Section 8.2.2 or Section 9.5.2 shall (subject in all events to the
  conditions set forth in Section 9.5.1) excuse such delay in performance for such period as is set
  forth in Section 9.5.1.
   11.5 Recovery Schedule.

         11.5.1      If at any time, (i) a Milestone is not achieved by the date set forth in Schedule
                     X or (ii) the Work is delayed for a period which exceeds the greater of either
                     30 days in the aggregate or that number of days in the aggregate equal to 5%
                     of the days remaining until the Target Substantial Completion Date, then EPC
                     Contractor shall, within 10 Business Days of the date on which either or
                     clause (i) or clause (ii) above occurs, submit to Owner for its review and
                     approval, a Recovery Schedule demonstrating EPC Contractor's proposed plan
                     to regain lost schedule progress and to achieve Milestones in accordance with
                     this Agreement, including Substantial Completion by the Target Substantial
                     Completion Date.


         11.5.2      Owner shall notify EPC Contractor within 14 days after receipt of each such
                     Recovery Schedule whether the Recovery Schedule is accepted (which
                     acceptance shall not be unreasonably withheld or delayed) or rejected. Within
                     7 days after any rejection by Owner of the Recovery Schedule, EPC
                     Contractor will resubmit a revised Recovery Schedule incorporating Owner's
                     comments. When Owner accepts EPC Contractor's Recovery Schedule, EPC
                     Contractor shall, within 5 days after Owner's acceptance, incorporate and fully
                     include such schedule into the Project Schedule, deliver the same to Owner
                     and proceed in accordance with the approved Recovery Schedule.

         11.5.3      All costs incurred by EPC Contractor in preparing, implementing and
                     achieving the Recovery Schedule shall be borne by EPC Contractor and shall



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                  not result in a change to the Cost of Work except as otherwise provided in
                  Section 8.2.

        11.5.4    If EPC Contractor fails to provide an acceptable Recovery Schedule as
                  required herein and in addition to any other rights and remedies in favor of
                  Owner arising out of such failure, EPC Contractor shall have no right to
                  receive progress payments until such time as EPC Contractor has prepared
                  and Owner has approved such Recovery Schedule. Any failure or delay in the
                  submittal or approval of a Recovery Schedule shall not result in any time
                  extension under the Agreement.



  ARTICLE 12 WARRANTIES AND LIQUIDATED DAMAGES

   12.1 EPC Contractor’s Warranties.

  EPC Contractor warrants to and covenants with Owner as follows (collectively, the
  “Warranties”):

        12.1.1    EPC Contractor shall perform the design and engineering services hereunder
                  in conformance with all professional engineering principles generally
                  accepted as standards of the industry in the state or province where the Project
                  is located for projects of similar size, type and complexity, and shall, subject
                  to that standard, be sufficient for construction of the Project and conform to all
                  standards relating to design contained in the Governing Documents.

        12.1.2    EPC Contractor shall perform its construction and construction management
                  services and procurement of all materials hereunder in accordance with good
                  business practices associated with constructing facilities similar to the
                  Facility. EPC Contractor shall have no obligation for breach of warranty under
                  this Section 12.1 to the extent any deficiencies are the result of Force Majeure
                  which results after the Substantial Completion Date, normal wear and tear,
                  misuse or negligence by Owner or Operator or any other Person acting on
                  Owner’s behalf, including the Independent Engineer.

        12.1.3    All materials and equipment procured or furnished by EPC Contractor
                  hereunder shall be new (unless otherwise agreed by Owner in writing), of
                  good quality and in accordance with the Governing Documents.

        12.1.4    The Work shall be free from construction defects and from design defects
                  within the applicable standard of care.

        12.1.5    The Work shall be fit for use for the intended function.

        12.1.6    The Work shall meet the requirements of the Governing Documents.



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         12.1.7     EPC Contractor’s Warranty Period.

               12.1.7.1 EPC Contractor’s Warranties under this Agreement shall, subject to all
   limitations set forth in this Agreement and any re-warranty or extension as set forth in this
   Section 12.1.7, be valid for a period of two (2) years after the Final Completion Date (“EPC
   Contractor’s Warranty Period”), provided, that, in the event that any Defective Work is
   discovered, repaired, replaced, reperformed or otherwise remedied during the EPC
   Contractor’s Warranty Period (a “Remedied Item”), such Remedied Item shall be re-warranted
   (on the basis of the same Warranties in Section 12.1) for an additional two (2) years from the
   date of completion of such repair, replacement, reperformance and/or remedy and the EPC
   Contractor’s Warranty Period shall be extended accordingly (but only in respect of such
   Remedied Item), and this Section 12.1.7 shall continue to apply in full in respect of such
   Remedied Item.

              12.1.7.2 Should the Facility or any part thereof be shut down following the
   Substantial Completion Date as a result of a Defect, the EPC Contractor’s Warranty Period
   shall be extended for a time equal to the duration of such shut-down, except in the event of
   Force Majeure.

         12.1.8     EPC Contractor’s Warranties do not include remedies for Defects or damages
                    caused by Force Majeure which occurs after the Substantial Completion Date,
                    normal wear and tear during normal usage, improper or insufficient
                    maintenance, modifications performed by Owner or other parties (other than
                    any EPC Contractor Party) or from abuse.

         12.1.9     The Warranties and Subcontractor warranties are in addition to all rights and
                    remedies available under the Governing Documents or applicable Law or in
                    equity, and shall not limit EPC Contractor's liability or responsibility imposed
                    by the Governing Documents or applicable Law or in equity with respect to
                    the Work, including, if applicable, liability for design defects, latent
                    construction defects, strict liability, breach, negligence, intentional
                    misconduct or fraud.


   12.2 Repair and Replacement of Defective Work.

  If any breach arises under EPC Contractor’s Warranties in Section 12.1, EPC Contractor shall, at
  its sole cost and expense, promptly correct, replace or repair any Defect in design, engineering,
  materials, workmanship or operability in the Facility or the Work discovered during the EPC
  Contractor’s Warranty Period. EPC Contractor’s correction, replacement, or repair shall be made
  with due regard to Owner’s operational requirements. If EPC Contractor fails to remedy or
  commence and continue to pursue remedying any Defect as required under this Section 12.2
  during the EPC Contractor’s Warranty Period within the period agreed by the Parties or, within
  ten (10) Business Days from Owner’s written instruction to remedy such Defect, if the Parties
  fail to agree on such period, or within two (2) Business Days in the event of an emergency repair
  which impacts public safety, Owner may, but shall not be obligated to, remedy that Defect
  through a third party, at EPC Contractor’s cost and expense; provided, further, that EPC

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  Contractor shall be liable in connection with any such remedial work by such third party as
  though EPC Contractor had carried out such remedial work, so long as such remedial work was
  carried out with reasonable care and skill and pursuant to a written contract. Owner shall use
  commercially reasonable efforts to obtain a warranty from such third party for the remedial
  work. Owner shall assign to EPC Contractor such written contract, including all warranties it
  receives from the third party engaged to remedy a Defect in accordance with this Section 12.2.

  Subcontractor Warranties.

  EPC Contractor shall in its negotiations with all Subcontractors for the Work, require that such
  Subcontractors provide the remedies, including warranties, performance guarantees, and, where
  appropriate, liquidated damages, bonds, and insurance coverages required by this Agreement for
  the portion of the Work to be performed by such Subcontractors; provided that EPC Contractor
  may, in its reasonable discretion, waive such requirements for Subcontractors (other than Major
  Subcontractors) whose scope of work may not necessitate such requirements. EPC Contractor
  shall enforce contractual remedies and enforce any other remedies against the Subcontractors,
  including, without limitation, those arising from Subcontractors’ negligent acts or omissions.
  EPC Contractor agrees to assign to Owner on and as of the Final Completion Date any
  warranties, performance guarantees and related liquidated damages provisions contained in any
  contracts between EPC Contractor and Subcontractors with respect to the Work.

   12.3 Liquidated Damages and Early Completion Bonus

         12.3.1     If Substantial Completion is not achieved by EPC Contractor by the Target
                    Substantial Completion Date, EPC Contractor shall pay to Owner, promptly
                    upon (but in no event later than ten (10) Business Days after) Owner’s
                    demand as liquidated damages (“Liquidated Damages”) and not as a penalty,
                    an amount equal to $18,575 per day for each day after the Target Substantial
                    Completion Date up to the Substantial Completion Date.

  Such Liquidated Damages shall constitute Owner’s sole right to damages for such delay,
  provided that: (a) such delay does not delay Substantial Completion beyond the Delay Default
  Date and (b) EPC Contractor continues to diligently perform the Work. If Substantial
  Completion does not occur by the Delay Default Date, Owner shall have the right to: (a)
  terminate this Agreement; (b) continue to assess Liquidated Damages; and/or (c) exercise any
  other right or remedy under this Agreement, at Law or in equity.

         12.3.2     EPC Contractor acknowledges that such Liquidated Damages are reasonable
                    in order to compensate Owner for damages it will incur as a result of late
                    Substantial Completion. Such damages include loss of potential revenue for
                    Owner due to late Substantial Completion, loss of use, enjoyment and benefit
                    of the Facility by the general public, injury to Owner’s credibility and
                    reputation with the general public who depend on and expect availability of
                    service by the Target Substantial Completion Date, which injury to credibility
                    and reputation may directly result in loss of ridership on the Facility and
                    further loss of Owner’s toll revenues, and additional costs of administering
                    this Agreement (including engineering, legal, accounting, overhead and other

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                     administrative costs). EPC Contractor further acknowledges that these
                     damages are incapable of accurate measurement because of, among other
                     things, the unique nature of the Facility and the unavailability of a substitute
                     for it. EPC Contractor hereby waives any and all defenses it might have that
                     liquidated damages constitute a penalty or that they do not bear a reasonable
                     relation to the actual damages.

         12.3.3      If Substantial Completion is achieved by EPC Contractor prior to the Target
                     Substantial Completion Date, Owner shall pay to EPC Contractor 10 Business
                     Days after the Substantial Completion Date an amount equal to $_____
                     for each day between the day that Substantial Completion is achieved and
                     the Target Substantial Completion Date.


   12.4 Rights and Remedies Available Under Law

  Owner shall have the benefit of all rights and remedies available under Law or in equity,
  including, without limitation, the remedies provided under Indiana’s statutes of repose with
  respect to construction work.


  ARTICLE 13 DISPUTE MITIGATION AND RESOLUTION

   13.1 Payment of Undisputed Amounts.

  Subject to the express provisions of this Agreement, where there is any dispute as to the amount
  of monies owing by any party to any other Party hereunder, the portion of the amount owing that
  is not in dispute or otherwise contested or challenged, if any, shall be paid within the time
  required herein or if the required time has elapsed, shall be paid immediately, without deduction
  or abatement, but without prejudice to the rights of the Parties to contest, challenge or otherwise
  dispute the appropriate disposition of the remaining portion of the monies claimed hereunder.

   13.2 Arbitration Procedure.

  Any dispute, claim or controversy arising out of or in connection with this Agreement, including
  any dispute regarding the existence, validity or termination of this Agreement (the “Dispute”),
  shall be resolved in accordance with the following procedures:

         (a)      Direct Negotiations. The Parties shall consult in good faith in an attempt to reach
                  an amicable settlement in relation to the Dispute. The Party alleging the existence
                  of a Dispute shall give to the other Party written notice setting out the particulars
                  of the Dispute (the “Notice of Dispute”). If the Dispute is not settled amicably
                  between the Parties within thirty (30) calendar days from the receipt of the Notice
                  of Dispute (or within such longer period of time as the Parties may mutually agree
                  in writing), such Dispute shall be finally settled by arbitration as set out in
                  Section 13.2(b).


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         (b)     Arbitration. (i) Any Dispute that is not amicably settled under Section 13.2(a)
                 shall be finally resolved through arbitration under the Construction Industry
                 Arbitration Rules of the American Arbitration Association (the “AAA”) then in
                 effect, including the Procedures for Large, Complex Construction Disputes, as
                 applicable, except for Rule L-5(d), which shall have no application (the
                 “Arbitration Rules”).

                        (ii)    The Dispute shall be resolved by three (3) arbitrators (the “Arbitral
                 Tribunal”) selected in accordance with the Arbitration Rules.

                        (iii) The Arbitral Tribunal shall resolve the Dispute in accordance with
                 the laws of the State of Indiana.

                         (iv)   The place or seat of arbitration shall be Indianapolis, Indiana. The
                 Parties may agree to hold hearings in another location. The arbitration shall be
                 conducted in the English language.

                         (v)    The award issued by the Arbitral Tribunal (the “Award”) shall be
                 final and binding upon the Parties and shall not be subject to appeal.

                         (vi)   The Parties irrevocably submit to the jurisdiction of any court with
                 jurisdiction over the Parties or their assets for purposes of recognizing and
                 enforcing the Award.

                         (vii) The Parties shall have the right to seek the consolidation of
                 arbitration proceedings and the joinder of parties to an arbitration proceeding

   13.3 Qualified to Act.

  The arbitrators selected as the Arbitral Tribunal shall have at least fifteen (15) years’ experience
  in complex construction, engineering or toll facility disputes.

   13.4 Confidentiality.

  Save and except as may be necessary in the course of the enforcement of arbitration awards, the
  Arbitral Tribunal and all Persons participating therein shall be responsible for ensuring the
  confidentiality of each Party’s proprietary and confidential information.

   13.5 Provisional Remedies

  No Party shall be precluded from initiating a proceeding in a court of competent jurisdiction for
  the purpose of obtaining any emergency, equitable or provisional remedy to protect its rights
  which may be necessary and which is not otherwise available under this Agreement, including
  temporary and preliminary injunctive relief and restraining orders. Venue for any provisional
  remedies action arising out of the Governing Documents shall lie in U.S. District Court for the
  Northern District of Indiana or the United States Court of Appeals for the Seventh Circuit.



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   13.6 Continuing Performance.

  At all times during the Term, notwithstanding the existence of any Dispute, EPC Contractor and
  Owner shall continue to perform their respective obligations in a diligent manner and without
  delay in accordance with the provisions of this Agreement without prejudice to the right to
  contest, dispute and challenge the relevant matter in accordance with the provisions of this
  Agreement.

   13.7 Participation in Other Proceedings.

  EPC Contractor agrees that at Owner’s request, EPC Contractor will allow itself to be joined as a
  participant in any arbitration or other proceeding that involves Owner, any of its officers,
  directors, employees or agents and any other participant in the Work. This provision is for the
  benefit of Owner and its officers, directors, employees and agents and not for the benefit of any
  other Party. Agreements between EPC Contractor and the other EPC Contractor Parties shall
  ensure that such other EPC Contractor Parties shall be bound by any binding arbitration
  hereunder.

   13.8 Claims Following Termination.

  Notwithstanding anything contained in this Agreement, the dispute resolution procedure set forth
  in this Article 13 shall no longer apply to disputes between the Parties after the expiration of the
  EPC Contractor’s Warranty Period or other termination of this Agreement which have not been
  resolved on a final and binding basis pursuant to Section 13.2 prior to such expiration or other
  termination and save as aforesaid, the Parties shall be entitled after the expiration of the EPC
  Contractor’s Warranty Period or other termination of this Agreement to commence legal
  proceedings seeking any recourse available to it or them at law or in equity.

   13.9 Waiver of Lien Rights.

  So long as Owner is not in default under the terms of this Agreement, except to the extent
  prohibited by Law, EPC Contractor hereby waives and relinquishes the right and ability to
  impose, file, attach or enact a lien against the Site, the Project or the Work.

  ARTICLE 14 DEFAULTS; REMEDIES; TERM; TERMINATION

   14.1 EPC Contractor Default.

  The occurrence of any of the events set forth below shall constitute an EPC Contractor Default
  under this Agreement:

         14.1.1      Bankruptcy. EPC Contractor becomes insolvent, or become the subject of any
                     bankruptcy, insolvency or similar proceeding, which, in the case of any such
                     proceeding that a third party brings against EPC Contractor, has not been
                     terminated, stayed, or dismissed within sixty (60) days after it was
                     commenced, unless EPC Contractor provides evidence satisfactory to Owner,
                     in its sole discretion, of EPC Contractor’s ability to perform all of its
                     obligations under this Agreement despite such proceeding;

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        14.1.2    Representation False. Any representation made by EPC Contractor herein
                  shall have been false or misleading in any material respect when made;

        14.1.3    Failure to Provide and Maintain Insurance or Payment and Performance
                  Security. EPC Contractor fails to provide and maintain the insurance
                  coverages or Payment and Performance Bond as and when required under this
                  Agreement, or fails to comply with any requirement of this Agreement
                  pertaining to the amount, terms or coverage of the same;

        14.1.4    Failure to Perform. EPC Contractor (i) fails to perform the Work in
                  accordance with the Governing Documents, including conforming to
                  applicable standards set forth therein in design and construction of the Project,
                  or refuses to correct remove and replace rejected materials or Non-conforming
                  Work; or (ii) materially fails to timely observe or perform or cause to be
                  observed or performed any other material covenant, agreement, obligation,
                  term or condition required to be observed or performed by EPC Contractor
                  under the Governing Documents (other than as referred to in this
                  Section 14.1, in which case such specific reference shall apply to such failure
                  to perform or breach);

        14.1.5    Failure to Achieve Substantial Completion. Substantial Completion is not
                  achieved by the Delay Default Date;

        14.1.6    Improper Assignment. EPC Contractor makes or attempts to make (which
                  attempt is not terminated before becoming an assignment or transfer or having
                  any legal effect) or suffers a voluntary or involuntary assignment or transfer of
                  all or any portion of this Agreement except as allowed under Section 17.12;

        14.1.7    Failure to Commence Construction. EPC Contractor fails to commence
                  construction on the Construction Commencement Date;

        14.1.8    Suspension of Work. EPC Contractor suspends, ceases, stops or abandons the
                  Work or fails to continuously and diligently prosecute the Work (exclusive of
                  work stoppage due to (i) termination of this Agreement or a portion thereof by
                  Owner, (ii) Force Majeure, (iii) suspension of the Work by Owner, or
                  (iv) nonpayment of undisputed amounts by Owner to the extent permitted
                  under Section 10.1.6);

        14.1.9    Failure to Resume Performance. EPC Contractor fails to resume performance
                  of Work which has been suspended or stopped, within a reasonable time after
                  receipt of notice to do so from Owner (which time shall not exceed two (2)
                  Business Days for suspensions or stoppages equal to or shorter than five (5)
                  Business Days and five (5) Business Days for suspensions or stoppages that
                  exceed five (5) Business Days) or (if applicable) after cessation of the event
                  preventing performance;

        14.1.10   Failure to Pay. EPC Contractor fails, absent a good faith dispute, to make
                  payment when due for labor, equipment or materials in accordance with
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                     applicable Law and its agreements with Subcontractors and Suppliers, subject
                     to the terms of Section 10.1.6; provided, however, that EPC Contractor shall
                     not be considered to be in default under this Section 14.1.10 if (i) (x) Owner
                     has failed to pay undisputed amounts owing to EPC Contractor with respect to
                     the Work and (y) as a result of Owner's failure to pay, EPC Contractor does
                     not have sufficient available funds to make such payment for labor, equipment
                     or materials (funds other than those that are restricted and not permitted to be
                     used for such payments under binding contract shall be considered "available"
                     for purposes of this clause (y); or (ii) in the event of a dispute as to payment
                     of labor, equipment or material, EPC Contractor has provided a bond or other
                     form of security reasonably acceptable to Owner in the amount of one
                     hundred fifty percent (150%) of such amount in dispute;

         14.1.11     Failure to Replace Payment and Performance Bond. EPC Contractor fails to
                     replace the Payment and Performance Bond as required by Section 4.19.5;

         14.1.12     Reports, Invoices or Certifications. EPC Contractor makes a misrepresentation
                     or omission of material information in any written report, financial statement,
                     invoice or certification submitted to Owner.


  With respect to the EPC Contractor Default set forth in Sections 14.1.2, 14.4.3, 14.1.4, 14.1.7
  through 14.1.10 (inclusive of both) and Section 14.1.12, EPC Contractor shall have seven (7)
  days following delivery to EPC Contractor of a notice from Owner to cure such EPC Contractor
  Default, or if a cure can be commenced but cannot be completed within such seven (7) day
  period, such period shall extend for a reasonable period of time, but not to exceed a total of thirty
  (30) days, so long as EPC Contractor is proceeding diligently to cure such default throughout
  such period. Notwithstanding the foregoing, if Owner believes a condition affecting the Project
  or the Work poses an immediate and imminent danger to public health or safety, Owner may (but
  shall not be obligated to), without notice and without awaiting lapse of any cure period, rectify
  the condition at EPC Contractor’s sole cost and expense, and so long as Owner undertakes such
  action in good faith, such action shall not expose Owner to liability to EPC Contractor and shall
  not entitle EPC Contractor to any other remedy, it being acknowledged that Owner has a
  paramount public interest in providing and maintaining safe public use of and access to the
  Project. Owner shall be deemed to have acted in good faith regarding the existence of such
  danger in the absence of clear and convincing evidence that the danger did not exist. A Default
  set forth in Section 14.1.5 through Section 14.1.7 (inclusive of both), or Section 14.1.11, or a
  Default set forth in other parts of this Section 14.1 shall constitute an “EPC Contractor Event of
  Default” if the Default is continuing after the expiration of all applicable cure periods.

   14.2 Owner’s Default Remedies Against EPC Contractor.

         14.2.1      Owner’s Remedies and EPC Contractor’s Obligations for an EPC Contractor
                     Event of Default

  If an EPC Contractor Event of Default shall have occurred and be continuing, in addition to all
  other rights and remedies provided by Law or in equity or available under this Agreement or

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  otherwise, including the rights to recover Liquidated Damages and to seek recourse against the
  Payment and Performance Bond. Owner shall have the following rights and remedies, without
  further notice, and without prejudice to any of its other rights or remedies and without waiving or
  releasing EPC Contractor from any obligations, and EPC Contractor shall have the following
  obligations (as applicable):

         (a)     Owner may order EPC Contractor to suspend or discontinue the Work or any
                 portion thereof;

         (b)     Owner may terminate this Agreement or the portion thereof relating to the Work,
                 in which case, the provisions of Section 14.7 shall apply;

         (c)     If and as directed by Owner, EPC Contractor shall withdraw from the Site and
                 shall remove such materials, equipment, tools and instruments used by, and any
                 debris or waste materials generated by, EPC Contractor or any Subcontractor in
                 the performance of the Work;

         (d)     If and as directed by Owner, EPC Contractor shall deliver to Owner possession of
                 any or all facilities of EPC Contractor located on the Site, as well as any or all
                 designs, drawings, and all other documents that Owner deems necessary for
                 completion of the Work, including partially completed drawings, plans,
                 elevations, sections, details and diagrams, specifications, records, information,
                 schedules, samples, and shop drawings;

         (e)     If and as directed by Owner, EPC Contractor shall assign to Owner (without
                 future recourse to EPC Contractor relating to the period from and after the
                 assignment) such contracts of Subcontractors and Suppliers as Owner may request
                 and shall confirm the assignment to Owner of such contracts requested by Owner
                 and shall terminate, at its sole cost and expense, all other contracts with
                 Subcontractors and Suppliers;

         (f)     Owner may deduct from any amounts payable by Owner to EPC Contractor such
                 amounts payable by EPC Contractor to Owner, including reimbursements owing,
                 Liquidated Damages, amounts reasonably necessary to cover any existing or
                 threatened claims, liens and stop notices of Subcontractors, laborers or other
                 Persons, amounts of any losses that have accrued, the cost to complete or
                 remediate uncompleted Work, Defective Work or Nonconforming Work or other
                 damages or amounts that Owner has determined are or may be payable to Owner
                 under the Governing Documents;

         (g)     Owner, without incurring any liability to EPC Contractor, and subject to the rights
                 and remedies of the EPC Contractor’s surety under the Payment and Performance
                 Bond, shall have the rights (i) to take the performance of all or a portion of the
                 Work from EPC Contractor (either with or without the use of EPC Contractor’s
                 materials, equipment, tools and instruments) and enter into an agreement with
                 another Person for the completion of such Work; or (ii) to use such other



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                  methods, as in the opinion of Owner, will be required for the completion of the
                  Project;

         (h)      To the extent any specific items of the Work is partially complete at the time of
                  termination, Owner shall pay EPC Contractor for any Work completed by EPC
                  Contractor less any damages, losses, costs, charges, expenses, fines, penalties, and
                  other amounts payable by EPC Contractor under this Agreement. Owner may, at
                  its sole option, complete any partially completed Work, or may require EPC
                  Contractor to complete such Work. If EPC Contractor completes any partially
                  completed Work, Owner shall pay EPC Contractor for the completion of the
                  Work, less any damages, losses, costs, charges, expenses, fines, penalties,
                  Liquidated Damages and other amounts payable by EPC Contractor to Owner
                  under this Agreement; and/or

         (i)      Owner shall have the right, but not the obligation, to perform any obligations of
                  EPC Contractor, including: (i) perform or attempt to perform, or cause to be
                  performed, all or a portion of the Work, (ii) spend such sums as Owner deems
                  necessary and reasonable to employ and pay such architects, engineers,
                  consultants and contractors and obtain materials and equipment as may be
                  required for the purpose of completing the Work, (iii) execute all applications,
                  certificates and other documents as may be required for completing the Work, (iv)
                  modify or terminate any contractual arrangements, (v) take any and all other
                  actions which it may in its sole discretion consider necessary to complete the
                  Work; and (vi) prosecute and defend any action or proceeding incident to the
                  Work.

         14.2.2      Liability of EPC Contractor for Completion of Work

  If an Event of Default has occurred, EPC Contractor shall be liable to Owner (in addition to any
  other damages, losses, costs, charges, expenses, fines, and penalties under this Agreement other
  than those costs intended to be covered by Liquidated Damages payable hereunder) for all costs
  reasonably incurred by Owner or any party acting on its behalf in completing the Work or having
  the Work completed by another Person. Such costs of completing the Work may include, without
  limitation, the costs of procuring and negotiating new contracts and subcontracts, any throwaway
  costs for unused portions of the completed Work, increased financing costs, and actual costs for
  administering any subcontract and for legal fees associated with the foregoing. Such costs and
  fees for which EPC Contractor is liable may be deducted by Owner in such order as Owner may
  determine, in its sole discretion, out of monies due, or that may at any time thereafter become
  due, to EPC Contractor pursuant to the terms of this Agreement (up to the remaining portion of
  the Cost of the Work including any Excluded Costs to which EPC Contractor may be entitled),
  from any Retention Money held by Owner or from the Payment and Performance Bond. If such
  costs to complete the Work exceed such remaining portion of the Cost of the Work, then EPC
  Contractor shall be liable for, and shall promptly, but in any event not more than thirty (30) days
  after notice from Owner, pay to Owner, the amount of such excess, excluding changes in the
  Work approved by Owner following such EPC Contractor Event of Default (other than changes
  in the Work caused by or relating to the EPC Contractor Event of Default).


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         14.2.3     Notwithstanding the availability and/or exercise of the foregoing remedies, no
                    single or partial exercise of any right or remedy under this Agreement by
                    Owner shall preclude any other or further exercise of that right or remedy or
                    the exercise of any other right or remedy by Owner under this Agreement and,
                    other than Liquidated Damages which shall be the only remedy for failure to
                    achieve Substantial Completion by the Target Substantial Completion Date,
                    the rights and remedies of Owner under this Agreement shall be cumulative
                    and not exclusive of any rights, remedies, powers and privileges provided by
                    or available under Law or in equity, including the right to specific
                    performance, injunctive relief and/or direct monetary damages.

         14.2.4     In exercising any remedies, Owner shall use reasonable efforts to mitigate its
                    damages.

         14.2.5     Limitation on Remedies. EPC Contractor shall not be liable for punitive
                    damages or any indirect, incidental or consequential damages, whether arising
                    out of breach of this Agreement, tort (including negligence) or any other
                    theory of liability, and Owner hereby releases EPC Contractor from any such
                    liability. The foregoing limitation on EPC Contractor’s liability shall not
                    apply to or limit any right of recovery Owner may have with respect to the
                    (a) Liquidated Damages; (b) losses arising out of fraud, criminal conduct,
                    intentional misconduct (which does not include any intentional EPC
                    Contractor Event of Default), recklessness, bad faith or gross negligence on
                    the part of any EPC Contractor Party, (c) EPC Contractor’s indemnities under
                    Section 14.9 , and (d) any amounts EPC Contractor may owe or be obligated
                    to reimburse under the express provisions of this Agreement, including
                    interest.

         14.2.6      Cap on Liability. Notwithstanding any other provision of this Agreement, in
                    no event will EPC Contractor’s liability relating to the Cline Avenue Bridge
                    and the Work exceed the Cost of the Work; provided however, such limitation
                    shall not apply to losses arising out of fraud or criminal conduct of EPC
                    Contractor.

   14.3 Owner Event of Default.

  Each of the following shall constitute an “Owner Event of Default”:

         14.3.1     Failure to Make a Payment to EPC Contractor When Due. Owner fails to
                    make payment to EPC Contractor of any outstanding and undisputed amount
                    on the Payment Due Date, which failure is not remedied within applicable
                    cure periods set forth in Section 10.1.6;

         14.3.2     Bankruptcy. Owner becomes insolvent, or becomes the subject of any
                    bankruptcy, insolvency or similar proceeding, which, in the case of any such
                    proceeding that a third party brings against Owner has not been terminated,
                    stayed, or dismissed within sixty (60) days after it was commenced, unless

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                  Owner provides evidence satisfactory to EPC Contractor, in its reasonable
                  discretion, of Owner’s ability to perform all of its obligations under this
                  Agreement despite such proceeding;

        14.3.3    Representation False. Any representation made by Owner herein was false or
                  misleading in any material respect when made and such representation has a
                  material adverse effect on Owner’s ability to perform its financial obligations
                  under this Agreement, which representation is not cured within sixty (60)
                  days, provided, that, such period shall extend for up to a total of one hundred
                  twenty (120) days so long as Owner is proceeding diligently to cure such
                  breach throughout such period; or

        14.3.4    Failure to Perform. Owner’s failure to perform any of its material non-
                  payment obligations under this Agreement, and such failure is not cured
                  within thirty (30) days after receipt of written notice thereof from EPC
                  Contractor, provided, that, if a cure cannot be effected within such thirty (30)
                  day period, such period shall extend for up to a total of one hundred twenty
                  (120) days, so long as Owner is proceeding diligently to cure such default
                  throughout such period.

   14.4 EPC Contractor Remedies for Owner Event of Default.

        14.4.1    Termination. Upon the occurrence of an Owner Event of Default set forth in
                  Section 14.3.1 or 14.3.2 (and the expiration of all cure periods applicable
                  thereto), EPC Contractor shall have the right to terminate this Agreement, to
                  order all Subcontractors to stop Work and remove all their tools and
                  equipment from the Site, and/or pursue all such remedies as may be allowed
                  under this Agreement, at Law or in equity. In addition, and without limiting
                  the foregoing remedies, Owner shall pay to EPC Contractor the amounts
                  payable upon termination under Section 14.7.

        14.4.2    Damages. Upon the occurrence of an Owner Event of Default set forth in
                  Section 14.3.3 or 14.3.4 (and the expiration of all cure periods applicable
                  thereto), EPC Contractor shall be entitled to recover any and all damages
                  available at Law, including all attorneys’ fees and costs (subject to the
                  obligation to mitigate damages) directly arising out of such Owner Event of
                  Default. In no event shall EPC Contractor be entitled to terminate this
                  Agreement upon the occurrence of an Owner Event of Default set forth in
                  Section 14.3.3 or 14.3.4.

        14.4.3    Limitation on Remedies. Owner shall not be liable for punitive damages or
                  any indirect, incidental or consequential damages, whether arising out of
                  breach of this Agreement, tort (including negligence) or any other theory of
                  liability, and EPC Contractor hereby releases Owner from any such liability.
                  The foregoing limitation on Owner’s liability shall not apply to or limit any
                  right of recovery EPC Contractor may have respecting the (a) losses arising
                  out of fraud, criminal conduct, intentional misconduct (which does not include

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                    any intentional Owner Event of Default), recklessness, bad faith or gross
                    negligence on the part of Owner or the Independent Engineer, (b) Owner’s
                    Indemnity under Section 14.9.4, and (c) any amounts Owner may owe or be
                    obligated to reimburse under the express provisions of this Agreement,
                    including interest.

   14.5 Force Majeure.

        14.5.1      Notice of Occurrence and Impact.

               14.5.1.1 Any Party claiming that it is delayed in performing its obligations under
   this Agreement due to the occurrence of a Force Majeure event (as defined in Section 14.5.3)
   shall promptly after such affected Party becomes aware of such event, use commercially
   reasonable efforts to notify the other Party of the same by expedient means, such as by
   telephone or email. If the affected Party is EPC Contractor, within five (5) Business Days of
   the Force Majeure event, EPC Contractor shall provide written notice of the Force Majeure
   event, and within thirty (30) days of the Force Majeure event, EPC Contractor shall also
   provide the following information to Owner: (i) the nature of such Force Majeure event, (ii) an
   estimate of the extent such event will delay Substantial Completion or Final Completion, and
   (iii) the date and time the Force Majeure event commenced and how long EPC Contractor
   estimates the impact of the event will continue.

              14.5.1.2 The Party receiving the notice of Force Majeure pursuant to Section
   14.5.1.1 shall have the right to object to the declaration of a Force Majeure event. If the
   existence of a Force Majeure event is disputed, either Party may initiate dispute resolution
   proceedings pursuant to Article 13.

                14.5.1.3 Each affected Party shall (i) act diligently to overcome, remove and/or
   mitigate the effects of a Force Majeure event, (ii) notify the other Party on a continuing basis
   of its efforts to overcome, remove and/or mitigate the effects of the Force Majeure event, (iii)
   notify the other Party promptly after becoming aware that such Force Majeure event has
   ceased, and (iv) resume performance of its obligations affected by such Force Majeure event as
   soon as reasonably practicable.

        14.5.2      Effect of Force Majeure.

               14.5.2.1 Any delays in or failure of performance by a Party, other than the
   obligation to pay monies hereunder, shall not constitute a default hereunder if and to the extent
   such delays or failures of performance are caused by Force Majeure events (subject to the
   limitations set forth in this Agreement).

               14.5.2.2 The occurrence of a Force Majeure event shall excuse the affected Party’s
   delay in performing its obligations under this Agreement on a day-for-day basis for a period of
   time equal to the duration of the Force Majeure event plus the time needed to remedy its
   effects, and in each case, only to the extent (i) affected Party’s performance is delayed thereby
   and (ii) a corresponding extension has been granted under the Development Agreement and the
   Exchange Agreement in respect of such Force Majeure event, if the granting of an extension is
   necessary under such agreements. No such delay in performance caused by a Force Majeure
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   event shall constitute a Default, Owner Event of Default or EPC Contractor Event of Default,
   as applicable.

              14.5.2.3 Termination for Force Majeure. In the event that a Force Majeure event
   continues for more than 180 days after notice of the event of Force Majeure is given under
   Section 14.5.2, then either party may terminate this Agreement, in its sole discretion, within
   sixty (60) days after the expiration of such 180-day period, by giving at least twenty (20)
   Business Days' prior written notice to the other party.


         14.5.3      Definition of Force Majeure.

  (a) The term “Force Majeure” shall mean the occurrence of any of the following events that
  materially and adversely affects performance of EPC Contractor's or Owner’s obligations,
  provided that such events (or the effects of such events) could not have been avoided by the
  exercise of caution, due diligence, or reasonable efforts by any EPC Contractor Party or Owner,
  as the case may be, and do not result from or arise out of the acts, omissions, negligence, fault,
  willful misconduct, breach or violation of any Governing Document by any EPC Contractor
  Party or by Owner:

     i. war (including civil war and revolution), invasion, armed conflict, violent act of foreign
        enemy, military or armed blockade, or military or armed takeover of the Facility, in each
        case occurring within the State of Indiana;

     ii. any act of terrorism or sabotage that causes direct physical damage to the Facility or the
         Project or that constitutes a specific and material threat to the Facility or the Project, as
         determined by applicable Governmental Authorities;

     iii. nuclear explosion or contamination, in each case occurring within one hundred fifty (150)
          miles of the Facility or in the State of Indiana;

     iv. riot and civil commotion on or in the immediate vicinity of the Facility;

     v. any kind of local or national emergency declared by an applicable Governmental
        Authority;

     vi. fire, flood, hurricane, storm, earthquake, tornado, or other natural disaster that causes
         direct and material physical damage to the Facility or the Project, or that results in the
         issuance of a hurricane or evacuation warning by an applicable Governmental Authority,
         provided that relief shall only be provided for floods and storms that meet or exceed the
         criteria set out in the builder’s risk policy of insurance identified on Schedule II to this
         Agreement;

     vii. epidemic in the vicinity of the Facility;

     viii. explosion (other than explosions of ordinances on or at the Site), sabotage, act of God, to
          the extent such occurrence causes direct physical damage to the Facility or the Project,


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     ix. failure of the Subcontractors or Suppliers to perform or deliver on a timely basis, to the
         extent such failure is due to a force majeure condition affecting the Subcontractor or
         Supplier (where such force majeure condition is one of those enumerated in this Section
         and not limited below),

     x.   condemnation or confiscation of the Facility or the Site;

     xi. any national or regional strike, labor dispute, work slowdown, work stoppage, secondary
         boycott, walkout or other similar occurrence; and

     xii. issuance of a temporary restraining order or other form of injunction by a court that
          prohibits prosecution of a material portion of the Work or material work stoppage or
          delay directly resulting from action of a Governmental Authority;

  provided however, that no event or circumstance shall constitute Force Majeure under this
  Agreement if (and to the same extent) such event is limited by Section 14.5. The term "Force
  Majeure Event" shall be limited to the matters listed above and specifically excludes from its
  definition the following matters which might otherwise be considered a force majeure event:

          (i)     any fire or other physical destruction or damage, or delays to the Project which
                  occur by action of the elements, including lightning, explosion, drought, rain,
                  flood, snow, storm, except as specified in clause (vi) or clause viii) above;

          (ii)    malicious or other acts intended to cause loss or damage or other similar
                  occurrence, including vandalism or theft, to the Facility;

          (iii)   any strike, labor dispute, work slowdown, work stoppage, secondary boycott,
                  walkout or other similar occurrence that targets the Project or any EPC
                  Contractor Party or relates to or arises from the acts or omissions of any EPC
                  Contractor Party.

   14.6 Right to Termination.

  No Party shall have the right to terminate this Agreement for cause or otherwise except as
  described in Section 14.2, Section 14.4 or Section 14.5.2.3.

   14.7 Effect of Termination Under Section 14.2 or Section 14.4 or Section 14.5.2.3.

  In the event that this Agreement is terminated by either EPC Contractor or Owner pursuant to
  Sections 14.2, 14.4 or 14.5.2.3, Owner shall pay to EPC Contractor an amount equal to the sum
  of (1) the Cost of the Work incurred by EPC Contractor, Subcontractors and Suppliers as of the
  date of termination, plus (2) to the extent not already reflected in clause (1), any termination
  charges imposed by Subcontractors or Suppliers as a result of the termination and any other costs
  reasonably incurred by EPC Contractor solely as a result of the termination. To the extent that a
  default triggers coverage and reimbursement pursuant to insurance policies maintained by EPC
  Contractor pursuant to Schedule II, the defaulting party shall be responsible for the payment of
  the deductible amounts under any said insurance policies and in the event the termination is
  pursuant to Section 14.5.2.3 the Owner shall be responsible for the payment of one-half of the

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  deductible amounts under said insurance policies. In the case of termination under Section 14.2,
  Owner shall not be obligated to pay any termination charges imposed by Subcontractors or
  Suppliers or any termination costs incurred by EPC Contractor as a result of the termination, and
  may deduct from any amounts payable by Owner to EPC Contractor such amounts payable by
  EPC Contractor to Owner, if any, including Liquidated Damages, amounts reasonably necessary
  to cover any existing or threatened Claims, liens and stop notices of Subcontractors, Suppliers,
  laborers or other Persons, the cost to complete or remediate uncompleted Work, Defective Work
  or Nonconforming Work or other damages or amounts payable to Owner under the Governing
  Documents. Upon payment by Owner to EPC Contractor in accordance with this Section 14.7,
  Owner shall have exclusive ownership of the Facility and the Work and EPC Contractor shall
  have no further obligations with respect thereto.

  Notwithstanding the termination of this Agreement pursuant to Sections 14.2, 14.4, or 14.4.2.3
  EPC Contractor shall remain liable to Owner for any breach or EPC Contractor Event of Default
  hereunder on, as a result of, or prior to such termination and Owner shall remain liable to EPC
  Contractor for any breach or Owner Event of Default hereunder on, as a result of, or prior to such
  termination.

   14.8 Completion; Survival.

  Unless earlier terminated pursuant to the terms of this Article 14, this Agreement shall be
  deemed to be completed when both of the following events have occurred: (a) the Final
  Completion Date has occurred and (b) Owner has paid the Cost of the Work in full pursuant to
  Article 10 and any other provision. Notwithstanding the foregoing, EPC Contractor’s obligations
  under Article 12 shall continue until the expiration of the EPC Contractor’s Warranty Period as
  set forth in Article 12. Notwithstanding anything in this Agreement to the contrary, all indemnity
  provisions, the provisions of Section 12.3 and Article 13 and any other provision that expressly
  states that it shall survive the completion or termination of this Agreement shall survive the
  completion or termination of this Agreement and the termination of this Agreement shall not
  limit or otherwise affect the respective rights and obligations of the Parties which accrued prior
  to the date of termination.

   14.9 Indemnity.

         14.9.1      SUBJECT TO SECTION 14.9.3, EPC CONTRACTOR SHALL
                     INDEMNIFY, DEFEND AND HOLD HARMLESS EACH OF THE
                     OWNER INDEMNITEES AND THEIR RESPECTIVE SUCCESSORS
                     AND ASSIGNS FROM AND AGAINST ANY AND ALL SUITS,
                     ACTIONS, LIENS, CLAIMS, INJURIES, DAMAGESAND LOSSES,
                     INCLUDING WITHOUT LIMITATION, PERSONAL OR BODILY
                     INJURY OR DEATH, BROUGHT ON ACCOUNT OF OR RECEIVED
                     OR SUSTAINED BY ANY THIRD PARTIES (INCLUDING MEMBERS
                     OF THE PUBLIC) OR ASSESSED BY GOVERNMENTAL
                     AUTHORITIES, AND ARISING OUT OF, RELATING TO OR
                     RESULTING FROM:



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        (a)   THE BREACH OR ALLEGED BREACH OF ANY OBLIGATIONS
              UNDER, OR FAILURE TO PERFORM THE WORK PURSUANT TO,
              THE TERMS OF THE GOVERNING DOCUMENTS BY ANY EPC
              CONTRACTOR PARTY;

        (b)   THE FAILURE OR ALLEGED FAILURE BY ANY EPC CONTRACTOR
              PARTY TO COMPLY WITH GOVERNING LAWS (INCLUDING LAWS
              REGARDING    HAZARDOUS     SUBSTANCES    MANAGEMENT);
              PROVIDED, THAT TO THE EXTENT FAILURE TO COMPY IS DUE TO
              AN ERROR IN DESIGN, THIS INDEMNITY WILL APPLY ONLY IF
              SUCH DESIGN ERROR       DOES NOT COMPLY WITH THE
              APPLICABLE STANDARD OF CARE;

        (c)   ANY ALLEGED PATENT OR COPYRIGHT INFRINGEMENT OR
              OTHER ALLEGEDLY IMPROPER APPROPRIATION OR USE OF
              TRADE SECRETS, PATENTS, PROPRIETARY INFORMATION,
              KNOW-HOW, COPYRIGHT RIGHTS TRADEMARKED OR SERVICE
              MARKED MATERIALS, EQUIPMENT, DEVICES OR PROCESSES
              (INCLUDING INTELLECTUAL PROPERTY) OR INVENTIONS IN
              PERFORMANCE OF THE WORK, OR ARISING OUT OF ANY USE IN
              CONNECTION WITH THE PROJECT OF METHODS, PROCESSES,
              DESIGNS, INFORMATION, OR OTHER ITEMS FURNISHED OR
              COMMUNICATED TO OWNER PURSUANT TO THIS AGREEMENT;
              OR USE OF WORK PRODUCT FOR ANY PURPOSE OTHER THAN
              THE WO RK; PROVIDED THAT THIS INDEMNITY SHALL NOT
              APPLY TO ANY INFRINGEMENT OR ALLEGED INFRINGEMENT
              RESULTING FROM AN ADDITION TO OR CHANGE IN SUCH
              MATERIALS, EQUIPMENT, DEVICES OR PROCESSES MADE
              INDEPENDENTLY BY OWNER WITHOUT THE PRIOR WRITTEN
              CONSENT OF EPC CONTRACTOR;

        (d)   THE ACTUAL OR ALLEGED CULPABLE ACT, ERROR, OR
              OMISSION, NEGLIGENCE, BREACH OR MISCONDUCT OF ANY EPC
              CONTRACTOR PARTY IN OR ASSOCIATED WITH PERFORMANCE
              OF THE WORK AND/OR THE SITE THAT DOES NOT COMPLY WITH
              THE APPLICABLE STANDARD OF CARE; OR

        (e)   THE ACTUAL OR THREATENED RELEASE, SPILL OR DISCHARGE
              OF HAZARDOUS SUBSTANCES BY ANY EPC CONTRACTOR PARTY.

  OWNER SHALL BE ENTITLED TO ALL REASONABLE COSTS, EXPENSES,
  EXPERT FEES AND ATTORNEYS’ FEES INCURRED OR PAID BY OWNER IN
  CONNECTION WITH ANY CLAIM FOR WHICH EPC CONTRACTOR IS
  OBLIGATED TO PROVIDE INDEMNIFICATION PURSUANT TO THIS SECTION
  14.9.1.



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  All terms used in this Section 14.9 that are defined in Schedule I shall have the meanings set
  forth in Schedule I.

         14.9.2     Indemnification in Other Agreements

  EPC Contractor shall use reasonable efforts to include the Owner Indemnitees in any indemnities
  EPC Contractor obtains from its Major Subcontractors.

         14.9.3     LIMITATIONS ON INDEMNITY BY EPC CONTRACTOR

  NOTWITHSTANDING SECTION 14.9.1 OR ANY OTHER PROVISION OF THIS
  AGREEMENT TO THE CONTRARY, BUT IN NO WAY LIMITING THE INSURANCE
  COVERAGE REQUIRED TO BE OBTAINED AND MAINTAINED BY EPC
  CONTRACTOR UNDER SECTION 4.17, EPC CONTRACTOR SHALL HAVE NO
  OBLIGATION TO PROVIDE INDEMNIFICATION IN RESPECT OF CLAIMS AND
  LOSSES TO THE EXTENT THE SAME RELATE TO A BREACH OF THIS
  AGREEMENT BY OWNER, THE INDEPENDENT ENGINEER OR THEIR
  RESPECTIVE REPRESENTATIVES OR THE NEGLIGENCE OR WILLFUL ACT OR
  OMISSION OF OWNER, THE INDEPENDENT ENGINEER OR THEIR RESPECTIVE
  REPRESENTATIVES.

         14.9.4     OWNER’S INDEMNITY

  SUBJECT TO SECTION 14.9.5, OWNER SHALL INDEMNIFY, DEFEND AND HOLD
  HARMLESS EPC CONTRACTOR, AND ITS DIRECTORS, EMPLOYEES, OFFICERS,
  MANAGERS, MEMBERS, SHAREHOLDERS, AGENTS, CONTRACTORS AND
  AFFILIATES, FROM AND AGAINST ANY AND ALL SUITS, ACTIONS, LIENS,
  CLAIMS, INJURIES, DAMAGES AND LOSSES,         INCLUDING WITHOUT
  LIMITATION, PERSONAL OR BODILY INJURY OR DEATH, BROUGHT ON
  ACCOUNT OF OR RECEIVED OR SUSTAINED BY ANY THIRD PARTIES
  (INCLUDING MEMBERS OF THE PUBLIC) OR ASSESSED BY GOVERNMENTAL
  AUTHORITIES, AND ARISING OUT OF, RESULTING FROM OR RELATING TO:

         (a)      ANY ACTUAL OR ALLEGED BREACH, VIOLATION OR NON-
                  PERFORMANCE BY OWNER OF ANY COVENANT, OBLIGATION OR
                  AGREEMENT OF OWNER CONTAINED IN OR REQUIRED TO BE
                  PERFORMED PURSUANT TO THIS AGREEMENT OR ANY
                  GOVERNING DOCUMENTS;

         (b)      THE FAILURE OR ALLEGED FAILURE BY OWNER TO COMPLY
                  WITH GOVERNING LAWS;

         (c)      THE ACTUAL OR ALLEGED CULPABLE ACT, ERROR OR
                  OMISSION,  NEGLIGENCE,  RECKLESS  OR   INTENTIONAL
                  MISCONDUCT, BAD FAITH OR FRAUD BY OR ON BEHALF OF
                  OWNER; AND



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         (d)      ANY MATERIAL INACCURACY IN OR BREACH OF ANY OF THE
                  REPRESENTATIONS OR WARRANTIES OF OWNER CONTAINED IN
                  THIS AGREEMENT WHEN SUCH REPRESENTATION HAS A
                  MATERIAL ADVERSE EFFECT ON OWNER’S ABILITY TO PERFORM
                  ITS FINANCIAL OBLIGATIONS UNDER THIS AGREEMENT.

         (e)      THE ACTUAL OR THREATENED RELEASE, SPILL OR DISCHARGE
                  OF HAZARDOUS SUBSTANCES BY THE OWNER.



         EPC CONTRACTOR SHALL BE ENTITLED TO ALL REASONABLE COSTS,
         EXPENSES, EXPERT FEES AND ATTORNEYS’ FEES INCURRED OR PAID
         BY EPC CONTRACTOR IN CONNECTION WITH ANY CLAIM FOR WHICH
         OWNER IS OBLIGATED TO PROVIDE INDEMNIFICATION PURSUANT TO
         THIS SECTION 14.9.4.

         14.9.5      Intentionally Omitted.

         14.9.6      LIMITATIONS ON INDEMNITY OF OWNER

  NOTWITHSTANDING ANYTHING TO THE CONTRARY CONTAINED IN THIS
  AGREEMENT, BUT SUBJECT TO SECTION 14.9.3, EPC CONTRACTOR SHALL BE
  LIABLE FOR AND OWNER SHALL HAVE NO OBLIGATION TO INDEMNIFY EPC
  CONTRACTOR IN RESPECT OF CLAIMS AND LOSSES TO THE EXTENT THE
  SAME ARISE AS A RESULT OF A BREACH OF THIS AGREEMENT BY OR ON
  BEHALF OF ANY EPC CONTRACTOR PARTY (AND WHICH IS NOT CAUSED BY
  THE GROSSLY NEGLIGENT OR WILLFUL ACT OR OMISSION OF OWNER) OR
  THE NEGLIGENCE OR WILLFUL ACT OR OMISSION OF ANY EPC
  CONTRACTOR PARTY.



         14.9.7      Notice of Claim; Tender of Claim to Insurers.

  If either Party receives notice of a Claim or otherwise becomes aware of a Claim, it shall by
  writing as soon as practicable tender the Claim to the insurers under all potentially applicable
  insurance policies. If such Party seeks indemnification under this Section 14.9.7 or under any
  other indemnity provision of this Agreement respecting such Claim, it also shall by writing as
  soon as practicable (and in no event more than ten (10) Business Days after becoming aware of
  such Claim): (i) inform the indemnifying Party of such Claim, (ii) specify whether the Claim
  arises as a result of a Claim by a Person against the indemnified Party, (iii) specify with
  reasonable particularity (to the extent that the information is available) the factual basis for the
  Claim and the amount of the Claim, if known, and (iv) send to the indemnifying Party a copy of
  all written materials it has received asserting such Claim and (A) notify the indemnifying Party
  that should no insurer accept defense of the Claim either (1) the defense of such Claim is being
  tendered to the indemnifying Party or (2) the indemnified Party has elected to conduct its own
  defense.

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               14.9.7.2 Acceptance of Claim

  If the insurer under any applicable insurance policy accepts the tender of defense, EPC
  Contractor and Owner shall cooperate in the defense as required by the insurance policy. If no
  defense is provided by insurers under potentially applicable insurance policies, then Section
  14.9.7.3 shall apply.

               14.9.7.3 Insurer Rejects Tender of Defense

         (a)    If the defense is tendered to the indemnifying Party, it shall, within thirty (30)
                days of tender, deliver to the Party tendering the Claim a written notice stating
                that the indemnifying Party (i) accepts the tender and confirms that the Claim is
                subject to full indemnification hereunder without any “reservation of rights” to
                deny or disclaim full indemnification thereafter, (ii) accepts the tender but with a
                “reservation of rights” in whole or in part or (iii) rejects the tender if it determines
                it is not required to indemnify against the Claim under this Section 14.9.7. If
                notice is not delivered within such thirty (30) days, the tender of defense shall be
                deemed rejected.

         (b)    If the indemnifying Party gives notice under clause (i) of Subsection (a), the
                indemnifying Party shall have the right to select legal counsel for the indemnified
                Party, subject to reasonable approval of the indemnified Party, and the
                indemnifying Party shall otherwise control the defense of such Claim, excluding
                settlement which shall require the indemnified Party’s approval (not to be
                unreasonably withheld or delayed), and bear the fees and costs of defending and
                settling such Claim. During such defense: (i) the indemnifying Party shall fully
                and regularly inform the indemnified Party of the progress of the defense and of
                any settlement discussions; and (ii) the indemnified Party shall cooperate in said
                defense, provide to the indemnifying Party all materials and access to personnel it
                requests which or who are under the control of or reasonably available to the
                indemnified Party, as reasonably necessary for defense, preparation, settlement
                and trial, and maintain the confidentiality of all communications between it and
                the indemnifying Party concerning such defense.

         (c)    The indemnified Party shall be entitled to select its own legal counsel and
                otherwise control the defense of such Claim if: (i) the defense is tendered to the
                indemnifying Party and it refuses the tender, or fails to accept such tender within
                thirty (30) days, or reserves any right to deny or disclaim such full
                indemnification thereafter; or (ii) the indemnified Party, at the time it gives notice
                of the Claim or at any time thereafter, reasonably determines that (A) a conflict
                exists between it and the indemnifying Party which prevents or potentially
                prevents the indemnifying Party from presenting a full and effective defense,
                (B) the indemnifying Party is otherwise not providing an effective defense in
                connection with the Claim or (C) the indemnifying Party lacks the financial
                capacity to satisfy potential liability or to provide an effective defense. An
                indemnified Party may assume its own defense by delivering to the indemnifying
                Party written notice of such election and the reasons therefor. A refusal of, or

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                 failure to accept, a tender of defense, as well as any dispute over whether an
                 indemnified Party which has assumed control of defense is entitled to do so under
                 this Section 14.9.7, may be treated by either Party as a Claim, subject to
                 resolution pursuant to the provisions of Article 13.

         (d)     If the indemnified Party is entitled and elects to conduct its own defense pursuant
                 hereto, all reasonable costs and expenses it incurs in investigating and defending a
                 Claim for which it is entitled to indemnification hereunder shall be reimbursed by
                 the indemnifying Party on a current basis to the extent not so reimbursed by
                 insurance, except during the pendency of any good faith dispute concerning the
                 indemnified Party’s election to conduct its own defense under Subsection (c). In
                 the event the indemnified Party is entitled to and elects to conduct its own
                 defense, then it shall have the right to settle or compromise the Claim with the
                 indemnifying Party’s prior written consent, which shall not be unreasonably
                 withheld or delayed, or with approval of the court or arbitrator, and with the full
                 benefit of the indemnifying Party’s indemnity.

               14.9.7.4 Cooperation.

  The indemnified Party and the indemnifying Party shall cooperate fully with each other with
  respect to Claims, and shall keep each other fully advised with respect thereto (including
  supplying copies of all relevant documentation promptly as it becomes available and notifying
  promptly of any and all relevant benefits, recoveries and deductions).

               14.9.7.5 Survival of Indemnities

  The provisions of Section 14.9 and any other indemnity provision under this Agreement shall
  survive the expiration or earlier termination of this Agreement for any reason as to Claims
  arising with respect to events occurring or circumstances existing prior to any such expiration or
  termination.

               14.9.7.6 Not a Reimbursable Cost

  Notwithstanding any provision of this Agreement to the contrary, any cost or expense incurred
  by EPC Contractor pursuant to its indemnity obligations under this Section 14.9 or under any
  other indemnity provision under this Agreement shall be for EPC Contractor’s own account and
  shall not constitute a reimbursable cost or other reimbursable amount under this Agreement.

  ARTICLE 15 NONDISCRIMINATION/AFFIRMATIVE ACTION

   15.1 In General.

  In connection with the performance of the Work under this Agreement, EPC Contractor agrees
  not to discriminate against any employee or applicant for employment because of age, race,
  religion, color, handicap, sex, physical condition, sexual orientation, national origin, or any other
  basis prohibited by Law.



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   15.2 Posting of Notices.

  EPC Contractor agrees to post in conspicuous places, available for employees and applicants for
  employment, a notice of its non-discrimination policy.

  ARTICLE 16 INTENTIONALLY OMITTED.

  ARTICLE 17         MISCELLANEOUS.

   17.1 Governing Law and Venue.

  This Agreement shall be construed in accordance with the laws of the State of Indiana without
  regard to its conflict of Law principles.

   17.2 Interpretation.

         17.2.1       Exhibits and Schedules are Part of Agreement. This Agreement includes the
                      following attached Exhibits and Schedules:

         Exhibit A              Description of Site

         Exhibit B              Authorizations and Approvals

         Exhibit C              Due Diligence Documents

         Exhibit D              Forms of Lien Waiver

         Exhibit F              Form of Certificate of Substantial Completion

         Exhibit G              Excluded Cost

         Schedule I             Definitions

         Schedule II            Insurance

         Schedule III           Payment Schedule

         Schedule IV            The Work

         Schedule V             Key Personnel, Engineers, and Major Subcontractors

         Schedule VI            Project Schedule

         Schedule VII           Initial Payment

         Schedule VIII          Form of Payment and Performance Bond

         Schedule IX            Payment and Performance Bond Reduction Terms


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        Schedule X           Milestone Schedule



        17.2.2    Entire Agreement. This Agreement, together with the Exhibits and Schedules
                  attached hereto, constitutes the entire agreement and complete understanding
                  between EPC Contractor and Owner with respect to the subject matter
                  described herein and supersedes all other understandings and agreements
                  between the Parties with respect to such subject matter.

        17.2.3    Order of Interpretation. In the event of any inconsistencies between the terms
                  and conditions of the body of this Agreement and the Exhibits and Schedules,
                  the provision of the body of this Agreement shall prevail over the terms of any
                  Exhibit or Schedule, with the exception of the Payment and Performance
                  Bond at Schedule VIII, which terms and conditions thereof shall take
                  precedence over this Agreement in the event of any inconsistency.

        17.2.4    Captions. Captions or headings to Articles, Sections or paragraphs of this
                  Agreement are inserted for convenience of reference only and shall not affect
                  the interpretation or construction hereof.

        17.2.5    Singular and Plural. Words denoting the singular include the plural and vice
                  versa and words denoting any gender include all genders.

        17.2.6    Including. The word “including” shall mean “including without limitation”.

        17.2.7    Statutory References. Any reference to a statute shall mean the statute in force
                  as at the date hereof, together with all regulations promulgated thereunder, as
                  the same may be amended, re-enacted, restated, consolidated and/or replaced,
                  from time to time, and any successor statute thereto, unless otherwise
                  expressly provided.

        17.2.8    Day. The words “day” shall mean a calendar day.

        17.2.9    Calculation of Days. When calculating the period of time within which or
                  following which any act is to be done or step taken, the date which is the
                  reference day in calculating such period shall be excluded. If the last day of
                  such period is not a Business Day, the period shall end on the next Business
                  Day.

        17.2.10   Dollar Amounts. All dollar amounts are expressed in U.S. Dollars.

        17.2.11   Word Meanings. Save and except as otherwise expressly defined in this
                  Agreement, words or abbreviations which have well known or trade meanings
                  are used herein and in the Governing Documents in accordance with their
                  recognized meanings.



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         17.2.12     GAAP. All calculations of dollar amounts, financial reporting and financial
                     statements shall be made or prepared in accordance with GAAP.

         17.2.13     Sum/Aggregate. The phrase “the aggregate of”, “the total of”, “the sum of’ or
                     a phrase of similar meaning means “the aggregate (or total or sum), without
                     duplication of”.

   17.3 Drafting Ambiguities.

  Each Party to this Agreement and its counsel has reviewed this Agreement. The rule of
  construction that any ambiguities are to be resolved against the drafting parties shall not be
  employed in the interpretation of this Agreement, or any amendment thereto.

   17.4 Third Party Beneficiaries.

  Except with respect to the provisions of this Agreement pertaining to assignment, this Agreement
  is not intended to and shall not create rights of any character whatsoever in favor of any person
  other than the Parties to this Agreement, and the obligation assumed herein are solely for the use
  and benefit of the Parties.

   17.5 Good Faith and Fair Dealing.

  Whenever this Agreement grants to any Party the right to take action, exercise discretion, or
  determine whether to approve a proposal of any other Party, the Party possessing the right shall
  act in good faith and shall deal fairly with the other Party. In the event of a Dispute, the Parties
  shall be obligated to make a reasonable and diligent effort to resolve the Dispute at the
  appropriate level before invoking the dispute resolution procedures in Article 13. Each of the
  Parties further expressly agrees that at all times it will exercise its good faith in the
  administration of this Agreement, and all actions of the Parties shall be designed to facilitate the
  successful completion of the Work by EPC Contractor and to promote the effective and efficient
  administration of this Agreement.

   17.6 Severability.

  Every part, term or provision of this Agreement is severable from others. Notwithstanding any
  possible future finding by a duly constituted authority that a particular part, term or provision is
  invalid, void or unenforceable, this Agreement has been made with the clear intention that the
  validity and enforceability of the remaining parts, terms and provisions shall not be affected
  thereby.

   17.7 Intentionally Omitted.

   17.8 Technical or Trade Usage.

  When words that have a well-known technical or trade meaning are used to describe materials,
  equipment or services, such words will be interpreted in accordance with such meaning.
  Reference to such standard specifications, manuals, or codes of any technical society,
  organization or association, or to the code of any Governmental Authority, whether such

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  references be specific or by implication, shall mean the latest standard specification, manual or
  code.

   17.9 Amendments and Waivers.

  This Agreement may be amended only by a written instrument signed by a duly authorized
  representative of each Party. The failure of any Party to insist on one or more occasions upon
  strict performance of the obligations owed it by the other parties shall not waive or release such
  party’s right to insist on strict performance of such obligation or any other obligation in the
  future.

   17.10         Notices.

  Except as otherwise expressly provided in this Agreement, all notices given to any of the Parties
  pursuant to or in connection with this Agreement shall be in writing, and shall be delivered by
  hand, by certified or registered mail, return receipt requested, or by Federal Express, Express
  Mail, or other nationally recognized overnight carrier, or via e-mail as provided below. Notices
  are effective when hand-delivered or via e-mail, on the date shown on the return receipt when
  sent by certified or registered mail, or one Business Day after deposit with Federal Express,
  Express Mail, or other nationally recognized overnight carrier. Notice addresses are as follows:

  If to EPC Contractor:

                 Figg Bridge Builders, LLC
                 Attention: Linda Figg, Manager, President/CEO
                 424 North Calhoun Street
                 Tallahassee, FL 32301
                 Phone Number: (850) 224-7400


  With copy to: Figg Bridge Builders, LLC
                Attention: Nancy Duessel, General Counsel
                10000 North Central Expressway, Suite 1300
                Dallas, Texas 75231
                Phone Number: (214) 363-3444

  If to Owner:   United Bridge Operating, LLC
                 Attention: Edward O. Diffendal
                 7800 E. Union Ave., Suite 525
                 Denver, CO 80237
                 Phone Number: (720) 893-7502
                 E-mail: ediffendal@unitedbridgepartners.com


  With a copy to:

                 United Bridge Partners
                 7800 E. Union Ave., Suite 525

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                 Denver, CO 80237
                 Attention: G. Melody Pickett
                 Phone Number: (303) 324-5361
                 E-mail: mpickett@unitedbridgepartners.com

                 And

                 Vinson & Elkins, LLP
                 666 Fifth Avenue, 26th Floor
                 New York, NY 10103-0040
                 Attention: Carolyn Blitzer, Esq.
                 Phone Number: (212) 237-0000


  If notice is required to be provided to Owner and the Independent Engineer, delivery of notice to
  Owner at the address shown above and ie@unitedbridgepartners.com shall constitute satisfaction
  of EPC Contractor’s obligation hereunder and any failure to provide notice to the Independent
  Engineer shall not constitute a Default.

   17.11         Change of Address.

  Any Party may, by written notice to the other Parties given in accordance with the foregoing,
  change its address for notices.

   17.12         Successors; Assignment.

  This Agreement shall be binding upon the parties and their respective successors and permitted
  assigns. With the exception of any assignment to EPC Contractor’s surety required in
  consideration for the Payment and Performance Bonds required under this Agreement, EPC
  Contractor shall not make any sale, assignment, mortgage, pledge or other transfer of all or any
  portion of its rights or obligations under this Agreement, whether voluntarily or involuntarily, by
  operation of law or otherwise, without the prior written consent of Owner, in its sole discretion.
  EPC Contractor shall also not cause or suffer a change in management control of EPC Contractor
  until after the expiration of all Warranties under this Agreement, without the prior written
  consent of Owner, in its sole discretion. Except in the case where Owner conveys or sells its
  interest in and to the Cline Avenue Bridge, Owner shall not make any sale, assignment,
  mortgage, pledge or other transfer of all or any portion of its rights or obligations under this
  Agreement, whether voluntarily or involuntarily, by operation of law or otherwise, without the
  prior written consent of EPC Contractor in its reasonable discretion; provided, however, that the
  foregoing limitation shall not apply to (i) any assignment, sale or transfer in connection with the
  sale of Owner’s rights in the Facility or (ii) any sale, transfer or assignment of any equitable
  interest in and to Owner. Any successor to EPC Contractor’s or Owner’s respective interests
  under this Agreement shall assume in writing all responsibilities of EPC Contractor or Owner, as
  the case may be, under this Agreement.




                                                    55

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                                                             EXECUTION COPY


   17.13        Counterparts.

  This Agreement may be signed in counterparts, each of which when so executed and delivered
  shall be an original, but all such counterparts shall together constitute the same instrument.

   17.14        Further Assurances.

  Each Party agrees to execute and deliver any such instruments and to perform any such acts as
  may be necessary or reasonably requested by any other Party in order to give full effect to the
  terms of this Agreement.

   17.15        Interest.

  Past due payments hereunder that are not being contested in good faith shall bear interest from
  the due date until paid at the Late Payment Rate.

   17.16        No Partnership.

  The Parties hereby expressly disclaim any intention to create a joint venture or partnership
  relation between any of the Parties.

   17.17        Further Assurances; Cooperating with Financing Activities of Owner.

  Each Party shall promptly execute and deliver such further documents and assurances for, and
  take such further actions reasonably required by, the other Party, as may be reasonably necessary
  to carry out the intent and purpose of this Agreement. EPC Contractor acknowledges that Owner
  may obtain equity or debt financing to finance the development, construction and operation of
  the Facility and the Project, EPC Contractor agrees to reasonably cooperate with Owner, by
  executing and delivering to Owner documents and taking such other actions as are reasonably
  necessary to accommodate such financing of the Facility or the Project; provided that such
  documents and actions are consistent with the terms of this Agreement and do not increase the
  EPC Contractor’s obligations hereunder and that the EPC Contractor receives its costs and
  expenses associated with such assistance.

                                [SIGNATURES ON NEXT PAGE]




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                                              EXHIBIT B

                               AUTHORIZATIONS AND APPROVALS

  The Authorizations and Approvals listed below constitute all of the authorizations and
  approvals provided or obtained in advance of this Agreement, unless otherwise indicated (in
  which case, EPC Contractor shall secure them in a manner consistent with the Project
  Schedule). Any other authorization and approvals to be granted during the construction
  process are the sole responsibility of the EPC Contractor.

  1.    City of East Chicago, Indiana, Development Agreement, May 15, 2012;
  2.    Indiana Department of Transportation, Letter of Intent, Proposed Exchange of Property
        for New Cline Avenue Bridge, May 15, 2012;
  3.    Indiana Department of Transportation, Amended and Restated Exchange Agreement,
        December 31, 2012;
  4.    United States Department of Homeland Security, United States Coast Guard (Lead
        Federal Agency) Bridge Permit, January 27, 2015;
  5.    Section 106 Coordination (State Historic Preservation Officer), September 23, 2014;
  6.    United States Army Corp of Engineers, December 11, 2014;
  7.    Indiana Department of Environmental Management Section 401 Water Quality
        Certification, October 9, 2014 (renewal in process);
  8.    Indiana Department of Natural Resources Construction in a Floodway, February 21, 2017;
  9.    Coastal Zone Management Federal Consistency Determination, October 17, 2014;
  10.   Indiana Department of Transportation Right of Way Permit, Submitted February 28, 2017;
  11.   Indiana Department of Homeland Security, Division of Fire & Building Safety, Plan Review
        Division, Construction Design Releases, January 7, May 25, August 10, and December
        22, 2016 (for Facility Office Building);
  12.   Indiana Department of Environmental Management, Notice of Sufficiency, June 24, 2016
        (Facility Office Building construction);
  13.   City of East Chicago Building Permits for Facility Office Building, Building (July 21, 2016),
        Electrical (February 9, 2017), Plumbing (April 10, 2017) and HVAC (April 17, 2017);
  14.   Various routine approvals and authorizations that will be obtained during the course of
        construction (to be applied for)




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                                            EXHIBIT C

                             LIST OF DUE DILIGENCE DOCUMENTS


  Certain aspects of the Cline Avenue Bridge project have evolved during project development.
  The description of The Work in Schedule IV provides the scope intended under this EPC
  Agreement. In the event of any conflict between the documents listed below and Schedule IV,
  Schedule IV will govern.

  1.    City of East Chicago, Indiana, Development Agreement, May 15, 2012;
  2.    Indiana Department of Transportation, Letter of Intent, Proposed Exchange of Property
        for New Cline Avenue Bridge, May 15, 2012;
  3.    Indiana Department of Transportation, Amended and Restated Exchange Agreement,
        December 31, 2012;
  4.    Purchase Agreement between Skip Spenst, Sandra Spenst, John Zaiger and Virginia
        Zaiger and Cline Avenue Bridge, LLC, dated February 28, 2013;
  5.    City of East Chicago, Indiana, Redevelopment Commission Resolution No. 2014-RED-
        1476, May 7, 2014;
  6.    Environmental Report identified on Exhibit E;
  7.    Attached Bridge Renderings (Note: Ramp A is Excluded from The Work);
  8.    Cline Avenue Bridge Financial Model, prepared by United Bridge Partners, August 22,
        2014;
  9.    Cline Avenue Traffic and Revenue Study Presentation, prepared by Steer Davies Gleave,
        August 4, 2014;
  10.   Cline Avenue Bridge Traffic and Revenue Study – Draft Report, prepared by Steer Davies
        Gleave, August 2014;
  11.   Preliminary Bridge Plans prepared by Figg Bridge Engineers, Inc., September 26, 2016
        (Note: Ramp A is Excluded from The Work);
  12.   General Assembly of the State of Indiana, House Enrolled Act No. 1397, effective July 1,
        2015;
  13.   Draft Geotechnical Exploration Report, Cline Avenue Bridge, prepared by Professional
        Service Industries, Inc., March 14, 2017.




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                                            EXHIBIT D

                                    FORMS OF LIEN WAIVER


  Two forms of Lien Waiver are included in this Exhibit on the following pages:

     1. Partial Release of Lien (to be used for monthly invoicing or other interim invoices)
     2. Final Release of Lien (to be used for final payment at Final Completion)




                                           Exhibit G - 73
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                                     PARTIAL RELEASE OF LIEN

 (This release is null and void if Cline Avenue Bridge, LLC does not pay the funds referenced below.)

       The undersigned (“Contractor”), in consideration of $__________, does hereby, upon receipt of
such amount, release and waive any and all liens, claim of liens, bond rights, suits, accounts, debts,
demands, claims, torts, charges, and causes of actions against Cline Avenue Bridge, LLC (“Owner”),
any sureties of Owner, and their respective officers, directors, employees, agents, servants, attorneys,
parent, and subsidiary companies, the Project and all real and personal property associated with the
Project arising out of labor, services, work, materials or equipment performed, furnished or utilized on
the Cline Avenue Bridge (“Project”) by, for or on behalf of the undersigned or otherwise in connection
with or arising out of the Project through Contractor’s Requisition #______, except as follows: (invoice
#’s, amounts, etc.) (_____________________)

      The undersigned hereby warrants and represents that all labor, services, work, materials and
equipment performed, furnished or utilized in connection with the Project through all prior Contractor’s
Requisitions have been paid or upon receipt of the amount set forth above will pay in full including all
applicable duties and taxes, including sales, use and payroll taxes, if any, applicable to the labor,
services, work, materials, equipment performed, furnished or utilized by or for undersigned, except as
follows: (subcontractor/materialmen/supplier invoice #’s, amounts, etc.)

(________________________________________)



      The undersigned further represents and warrants that Contractor has good title to all materials
and equipment furnished or utilized in connection with the Project through the above referenced
Contractor’s Requisition #______, and that there are no liens, encumbrances or security interest
against such materials or equipment.

IN WITNESS WHEREOF, I have hereunto set my hand and seal this ____day of _______, 201__.

                                            Contractor:       Figg Bridge Builders, LLC


                                                              By:
                                                                Linda Figg
                                                                Title: Manager



State of
City/County of
      Before me this day came                      who is either known by me or produced
as identification and acknowledged that he/she executed this release and acknowledged he/she fully
understood its contents and freely executed the same for the sole consideration therein expressed.
      Subscribed and sworn to before me this               day of                       , 20  .



                                                              NOTARY PUBLIC
My Commission Expires

                                             Exhibit G - 74
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                                      FINAL RELEASE OF LIEN

 (This release is null and void if Cline Avenue Bridge, LLC does not pay the funds referenced below.)

       The undersigned (“Contractor”), in consideration of $_____________, does hereby, upon receipt
of such amount, release and waive any and all liens, claim of liens, bond rights, suits, accounts, debts,
demands, claims, torts, charges, and causes of actions against Cline Avenue Bridge, LLC (“Owner”),
any sureties of Owner, and their respective officers, directors, employees, agents, servants, attorneys,
parent, and subsidiary companies, the Project and all real and personal property associated with the
Project arising out of labor, services, work, materials or equipment performed, furnished or utilized on
the Cline Avenue Bridge (“Project”) by, for or on behalf of the undersigned or otherwise in connection
with or arising out of the Project through Contractor’s Final Requisition #_____, except as follows:
(invoice #’s, amounts, etc.) (_______________________)

      The undersigned hereby warrants and represents that all labor, services, work, materials and
equipment performed, furnished or utilized in connection with the Project through all prior Contractor’s
Requisitions have been paid or upon receipt of the amount set forth above will pay in full including all
applicable duties and taxes, including sales, use and payroll taxes, if any, applicable to the labor,
services, work, materials, equipment performed, furnished or utilized by or for undersigned, except as
follows: (subcontractor/materialmen/supplier invoice #’s, amounts, etc.)

(______________________________)



      The undersigned further represents and warrants that Contractor has good title to all materials
and equipment furnished or utilized in connection with the Project through the above referenced
Contractor’s Final Requisition #______, and that there are no liens, encumbrances or security interest
against such materials or equipment.

IN WITNESS WHEREOF, I have hereunto set my hand and seal this ____ day of ________, 20___.

                                             Contractor:      Figg Bridge Builders, LLC


                                                              By:
                                                                Linda Figg
                                                                Title: Manager



State of
City/County of
      Before me this day came                      who is either known by me or produced
as identification and acknowledged that he/she executed this release and acknowledged he/she fully
understood its contents and freely executed the same for the sole consideration therein expressed.
      Subscribed and sworn to before me this               day of                       , 20  .



                                                              NOTARY PUBLIC
My Commission Expires

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                               Exhibit E – Environmental Report


  This Exhibit includes the key portions of the Categorical Exclusion Document (490 pages)
  dated January 19, 2011, which was produced by the Office of Environmental Services of the
  Indiana Department of Transportation. This document was created to evaluate the
  environmental effects related to demolition of the previous Cline Avenue Bridge carrying SR
  912 and subsequent rerouting of traffic over Riley Road and Dickey Road. The excerpts include
  discussion of the potential for hazardous materials near the project site, the environmental
  commitments for the project, wetland inventory and the Red Flag and Environmental Site
  Assessment performed. The full Categorical Exclusion Document is included by reference in
  this Exhibit E.

  The Safety Plan referenced in EPC Agreement Section 4.8 will incorporate recommendations
  included in the Phase II Hazardous Materials Environmental Site Assessment report as
  applicable to the Work as described in Schedule IV.




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           Designation Number 0501116 et. al.
                       SR 912 Re-Connectivity Project
                           Lake County, Indiana




  INDOT-Central Office
  Office of Environmental Services
  January 19, 2011




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 Relocation of People, Businesses or Farms:                                                                  Yes       No
 Will the proposed action result in the relocation people, businesses or farms?                                        X
 Is a business needs survey required?                                                                                  X

 Number of relocations:            Residences:     0       Businesses:     0      Farms:      0           Other:

If a business information survey or Conceptual Stage Report is required, discuss the results in the Remarks section.
  Remarks:
               No relocations of people, businesses, or farms will take place as a result of this project.



 SECTION H – HAZARDOUS MATERIALS & REGULATED SUBSTANCES
                                                                                   Documentation
                                                                                   Yes      No
 Red Flag Investigation                                                             X
 Hazardous Materials Site Assessment Form                                                    X
 Phase I Initial Site Assessment (ISA)                                              X
 Phase II Preliminary Site Investigation(PSI)                                       X
 Design/Specifications for Remediation required?                                             X

                                          No       Yes/ Date
 OES Review of Investigations                      Yes / January 4, 2011

Include a summary of findings for each investigation.
  Remarks:
               A red flag survey was completed on September 7, 2008 by Loni Hrynk – INDOT, Office
               of Environmental Services. At the time, the project was a bridge rehabilitation project.
               Since that time the project has been redesigned and a larger footprint has emerged. Upon
               consultation with Ken McMullen, INDOT, OES, Hazardous Materials Section on June 28,
               2010, a new red flag was not warranted. However due to several potentially hazardous
               sites located in the project vicinity, a Phase 1 was recommended by INDOT-OES,
               Hazardous Materials Section.

               The Phase 1: Environmental Site Assessment Report was completed July 21, 2010 by Ken
               Gill and Ken McMullen, INDOT-OES, Hazardous Materials Section. The phase 1 was
               conducted to provide an assessment of the environmental condition of the project area.
               The assessment included a site reconnaissance and desktop research. INDOT-OES,
               Hazardous Materials section stated “In our professional opinion it is recommended that a
               Phase II Environmental Assessment be performed on the subject property to evaluate the
               subsurface conditions. This investigation should include the collection and analysis of soil
               and groundwater samples. Investigation is to be prepared by contractor prior to
               excavation.”

               A Phase II, Hazardous Materials Environmental Site Assessment was conducted in the fall
               of 2010 by ATC Associates Inc. (ATC). A report was prepared by ATC and sent to
               INDOT- OES, Hazardous Materials Section on January 4, 2011. The report conclusions




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      and recommendations are as follows:

      Adsorbed Contaminants of Concern (COC) were detected at concentrations above the
      IDEM Risk Integrated System of Closure (RISC) Residual Default Closure Levels
      (RDCLs) and/or Industrial Default Closure Levels (IDCLs) from the soil samples collected
      from SB-6 and SB-8 which were advanced at Site A, Arcelor Mittal. However, the
      concentrations were reported below the IDEM Construction Worker Exposure values.
      Dissolved COCs were detected at concentrations above the IDEM RISC RDCLs and/or
      IDCLs in the groundwater sample collected from soil boring SB-1, SB-3, SB-4, SB-6, SB-
      7, SB-11, SB-15, SB-16, SB-19 and SB-20. It should be noted that groundwater was
      encountered at depths ranging from 3 to 7 ft-bgs. Based on the analytical results, COC
      concentrations above the IDEM RISC RDCLs were present in the subsurface and a release
      appears to have occurred at Site A. ATC recommends that the INDOT report the findings
      to IDEM. However, for construction worker safety purposes, the concentrations did not
      exceed the IDEM established Construction Worker Exposure Levels. The exposure
      pathways associated with construction activities are through direct skin contact, ingestion,
      and inhalation of soil vapors or particles. Based on the results of this investigation, ATC
      recommends that a Site Specific Health and Safety Plan be written and implemented prior
      to construction activities. Additionally, standard Personal Protective Equipment (PPE)
      suitable for construction activities be donned for the completion of the improvement
      project. Direct contact with soil should be kept to a minimum with proper PPE being
      utilized if soil contact cannot be avoided as the soil does contain detectable concentrations
      of COCs. If excessive dust is observed, control measures should be implemented with air
      monitoring for COCs which may warrant the use of a respirator or dust mask. Based on
      the depth of groundwater encountered during this investigation (3 to 7ft-bgs), groundwater
      is likely to be encountered during the intersection improvement activities. If groundwater
      is encountered direct contact should be kept to a minimum, be handled as contaminated,
      and provisions for proper disposal should be arranged. No mitigation site is anticipated to
      be needed for this project.

      Additional hazardous material information: The U.S. Army Corps of Engineers is in the
      process of dredging contaminated sediments from the Indiana Harbor Canal to allow its
      continued use as a navigable waterway. Some of these sediments are contaminated by
      polycyclic aromatic hydrocarbons (PAHs), polychlorinated biphenyls (PCBs), and heavy
      metals. The main source of the sediment contamination is due to combined sewer
      overflows, industrial discharge, and urban runoff. The sediments will be dredged into a
      confined disposal facility. The U.S. Army Corps of Engineers will need to be contacted if
      any work is to take place in the Indiana Harbor Canal and all appropriate permits will need
      to be secured before construction activities occur.

      Further investigation for hazardous materials is not required at this time.




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SECTION I – PERMITS CHECKLIST

                                                        Required      Not Required
Army Corps of Engineers (404/Section10 Permit)
       Individual Permit (IP)                                               X
       Nationwide Permit (NWP)                             X
       Regional General Permit (RGP)                                        X
       Pre-Construction Notification (PCN)                 X
       Other: Section 10                                   X
       Wetland Mitigation required                                          X
IDEM
       Section 401 WQC                                     X
       Isolated Wetlands determination                                      X
       Rule 5                                              X
       Other                                                                X
       Wetland Mitigation required                                          X
       Stream Mitigation required                                           X
IDNR
       Construction in a Floodway                          X
       Navigable Waterway Permit                           X
       Lake Preservation Permit                                             X
       Other                                                                X
       Mitigation Required                                                  X
US Coast Guard Section 9 Bridge Permit                                      X
Others (Please discuss in the Remarks section below)                        X

Remarks:
            Permits may be required for this project. It will be the responsibility of the designer to
            submit plans to OES to process permits. If more than 1 acre of ground disturbance occurs
            an IDEM Rule 5 permit will be needed. If the project will construct, excavate, or fill in or
            on the floodway of the Indiana Harbor Canal, formal approval of IDNR pursuant to the
            Flood Control Act (IC 14-28-1). Detailed plans would need to be sent to the IDNR,
            Division of Water, Technical Services Section for a determination if a permit will be
            required. Please contact, INDOT-OES, Ecology and Permits Section for any questions
            related to permits. The Army Corps of Engineers (ACOE) – Chicago District has
            jurisdiction over the Indiana Harbor Canal. The demolition of the SR 912 (Cline Avenue)
            Bridge along with the modifications to the Dickey Road drawbridge may warrant ACOE,
            IDNR and IDEM permits if the waterway will be impacted by construction activities. The
            U.S. Coast Guard will also need to be contacted to determine what permits may be
            required for impacts to the SR 912 (Cline Avenue) Bridge and the Dickey Road
            drawbridge.




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 SECTION J- ENVIRONMENTAL COMMITMENTS

Information below must be included on Commitments Summary Form. List all commitments, indicating which are firm and
which are optional.
  Remarks:     Appropriately designed measures for controlling erosion and sediment must be
              implemented to prevent sediment from entering the stream or leaving the construction site;
              maintain these measures until construction is complete and all disturber areas are
              stabilized. (IDNR) for further consideration

              Do not deposit or allow demolition materials or debris to fall or otherwise enter the
              waterway. (IDNR) firm

              All excavated material must be properly spread or completely removed from the project
              site such that erosion and off-site sedimentation of the material is prevented. (IDNR) firm

              Do not construct any temporary runarounds or causeways. (IDNR) for further
              consideration

              Use minimum average 6 inch graded riprap stone extended below the normal water level to
              provide habitat for aquatic organisms in the voids. (IDNR) for further consideration

              Do not cut any trees suitable for Indiana bat roosting (greater than 3 inches dbh, living or
              dead, with loose hanging bark) from April 1 through September 30. (IDNR) for further
              consideration

              Do not excavate in the low flow area except for the placement of piers, foundations, and
              riprap, or removal of the old structure. (IDNR) firm

              Do not work in the waterway from April 1 through June 30 without the prior written
              approval of the Division of Fish and Wildlife. (IDNR) firm

              Minimize and contain within the project limits inchannel disturbance and the clearing of
              trees and brush. (IDNR) firm

              Revegetate all bare and disturbed areas with a mixture of grasses (excluding all varieties of
              tall fescue), legumes, and native shrub and hardwood species as soon as possible upon
              completion. (IDNR) for further consideration

              If permanent or temporary right-of-way amounts change, the appropriate INDOT
              Environmental Office (District or Central Office) will be contacted immediately. firm

              Any work in a wetland area within INDOT’s right-of-way or in borrow/waste areas is
              prohibited unless specifically allowed in the US Army Corps of Engineers in IDEM
              permit. firm




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      If any archaeological artifacts or human remains are uncovered during construction, federal
      law and regulations (16 USC 470, et seq.; 36 CFR 800.11, et al.) and State Law (IC 14-21-
      1) require that work must stop immediately and that the discovery must be reported to the
      Division of Historic Preservation and Archaeology in the Indiana Department of Natural
      Resources within 2 business days. firm

      If any potentially hazardous materials are discovered during construction the IDEM Spill
      Line should be notified with details of the discovery within 24 hours. INDOT Office of
      Environmental Services, Hazardous Materials Unit should then be contacted to organize
      the proper handling of the material to be in accordance with the IDEM guidelines. firm

      All solid wastes generated by the project, or removed from the project site, need to be
      taken to a properly permitted solid waste processing or disposal facility. firm

      If Polychlorinated Biphenyls (PCBs) are found at this site, please contact the Industrial
      Waste Section of OLQ at 317-308-3103. firm

      All facilities slated for renovation or demolition must be inspected by an Indiana-licensed
      asbestos inspector prior to renovation or demolition activities. If regulated asbestos-
      containing material (RACM) that may become airborne is found, demolition, renovation,
      or asbestos removal activities must be performed in accordance with notification and
      emission control requirements. firm

      In all cases where demolition activity will occur (even if no asbestos is found), the owner
      or operator must notify IDEM 10 working days prior to demolition. firm

      For projects involving construction activity (which includes clearing, grading, excavation,
      and other land disturbing activities) that result in the disturbance of one (1), or more , acres
      of total land area, contact the Office of Water Quality – Watershed Planning Branch (317-
      233-1864) regarding the need for a Rule 5 Storm Water Runoff Permit. firm

      The Office of Environmental Services – Ecology Unit will check to ensure that no
      Peregrine falcons are present at site(s) under the SR 912 (Cline Avenue) Bridge for
      further consideration

      All demolition work to the SR 912 bridge will not take place during the Peregrine falcon
      nesting season (March 1 through July 15), without permission from the Office of
      Environmental Services. firm

      The Gary/Chicago Regional Airport is a public use airport that is located approximately
      11,307 feet south east of the proposed project site. If any permanent structures or
      equipment utilized for this project penetrate a 100:1 slope from the airport FAA form 7460
      (Notice of proposed construction or alteration) must be filed. For assistance contact
      Marcus Dial, INDOT Office of Aviation, 317-232-1494. firm




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      The project will need to avoid two potential wetlands directly under the SR 912 (Cline
      Avenue) bridge within the Indiana Harbor Canal during the demolition and removal of the
      bridge. firm

      Historical Commitment: Period lighting style of an antique clover leaf pole with a globe
      light will be used on the sides of Riley and Dickey Roads directly adjacent to Marktown.
      They will be spaced 60 feet apart. Per INDOT safety standards, taller light poles with arm-
      extensions and down-lighting will be installed on those sides of Riley (south) and Dickey
      (east) roads not directly adjacent to Marktown. firm




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                                             Appendices

  A. Graphics
     A1             Location Map
     A2             Topographic Map
     A3             Aerial Map
     A4             Project Area Map
     A5             National Bridge Inventory Map
     A6             National Wetland Inventory Map
     A7             Wetlands within Indiana Harbor Canal
     A8-A9          Floodplain Maps
     A10-A12        Project Pictures
     A13-A38        Preliminary Design Plans


  B. General Project Information
     B1-B2          Northwest Indiana 2009-2013 Transportation Improvement Program
     B3-B4          INSTIP FY 2010-2013
     B5-B6          INDOT-FHWA Correspondence - PM 2.5 Hot Spot Analysis
     B7-B9          EPA response to PM 2.5 Hot Spot Analysis
     B10-B12        Environmental Justice Analysis
     B13-B14        Utilities Contact List


  C. Early Coordination
     C1-C4         Early Coordination Letter
     C5-C6         List of Early Coordination Recipients
     C7-C19        Alternative List and Illustrations
     C20-C21       US Department of Agriculture, NRCS Response
     C22           IDEM – Wellhead Protection Determination
     C23-C26       US Fish & Wildlife Service Responses
     C27           Indiana Geological Survey Response
     C28           U.S. Coast Guard, Ninth District
     C29           Army Corps of Engineers-Detroit District Response
     C30           U.S. Coast Guard, Eighth District
     C31-C33       Lake County Commissioners – Frances DuPey Response
     C34-C50       Indiana Dept. of Natural Resources Response
     C51-C55       Indiana Dept. of Environmental Management Electronic Response
     C56           Office of Aviation Response
     C57-C59       USFWS, DNR and INDOT correspondence for Peregrine falcons
     C60           DNR- Division of Outdoor Recreation Response




                                          Exhibit G - 84
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 154 of 243




                                  Appendices Continued….
  D. Historical and Archaeological Studies

     D1-D11          FHWA “No Adverse Affect” Documentation
     D12-D13         FHWA Area of Potential Effect Eligibility Determinations
     D14             Section 106 Consulting Parties
     D15-D18         Project Location Maps and Areas of Potential Effect
     D19-D42         Photographs of Historical Properties & Project Area
     D43-D44         Early Coordination Letter – July 27, 2010
     D45-D47         SHPO Response, August 24, 2010
     D48-D49         Indiana Landmarks Response, August 26, 2010
     D50-D51         Marktown Preservation Society Response Email, September 14, 2010
     D52-D53         Consulting Parties Meeting Announcement and Agenda
     D54-D59         Consulting Parties Meeting Summary
     D60-D69         Marktown Preservation Society remarks – Paul Myers
     D70-D101        Slideshow Presentation presented by INDOT to Consulting Parties 10/7/2010
     D102-D103       Paul Myers Handout presented at Consulting Parties Meeting
     D104-D105       SHPO Response, November 10, 2010
     D106-D130       INDOT Response to Consulting Parties (Additional Attachments)
     D131-D132       SHPO Response, December 3, 2010
     D133            Archaeological Short Report – Recommendation
     D134-D135       Historic Properties Short Report – Conclusions
     D136-D139       Final Design Street Lighting

  E. Red Flag and Environmental Site Assessment
     E1-E8         Red Flag Survey
     E9-E17        Environmental Site Assessment- Phase 1
     E18-E20       Environmental Site Assessment- Phase 2


  F. Public Involvement
     F1             INDOT Press Release Nov. 13, 2009
     F2-F3          INDOT Press Release Dec. 28, 2009
     F4-F14         Public Hearing held by NW Indiana Legislators Jan. 9, 2010
     F15-F26        Public comments received concerning SR 912 closure
     F27-F31        INDOT Press Releases Feb. 8/9, 2010
     F32-F54        Public Information Meeting Feb. 9, 2010
     F55-F60        Public Information Sign-In Sheets for Feb. 9, 2010
     F61-F62        Public comments received for Public Information meeting
     F63-F94        April 15, 2010 Presentation to media and legislators
     F95-F97        Notice of Survey Letter and Distribution list
     F98-F104       Public Information Meeting Notices
     F105-F112      Public Information Sign-In Sheets for Aug.10, 2010
     F113           Written Comment: Sacred Heart Church
     F114-F118      Public Information Meeting Packet


  G. Noise Analysis
     G1-G44         Noise Analysis Study
     G45            Noise Study Approval 01/21/2011
                                          Exhibit G - 85
                                          Site Location
          USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 155 of 243

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Orthophotography - Obtained from Indiana Map Framework Data
(www.indianamap.org)                                                                                                                                                     Local Road                                                                                                         US Route
 Map Projection: UTM Zone 16 N Map Datum: NAD83                                                            Exhibit G - 86
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           USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 156 of 243



                                                                                                                                    Des. No. 0501116



                                                                                                                                               Oct 6, 2010




                                            Project Area




                                              This map is for general reference only. The US Fish and Wildlife Service is not
                                              responsible for the accuracy or currentness of the base data shown on this map. All
                                              wetlands related data should be used in accordance with the layer metadata found on
                                              the Wetlands Mapper web site.
User Remarks:




                                              Exhibit G - 87
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                                                                 Cline Ave./912
            USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 157 of 243

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Orthophotography - Obtained from Indiana Map Framework Data                                      NWI Wetlands
(www.indianamap.org)
 Map Projection: UTM Zone 16 N Map Datum: NAD83
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This map is intended to serve as an aid in graphic                                                                             Local Road
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representation only. This information is not warranted                     Exhibit G - 88
for accuracy or other purposes.                                                  A-7
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 158 of 243




  Appendix E: Red Flag and Environmental Site Assessment

  E1-E8            Red Flag Survey
  E9-E17           Environmental Site Assessment- Phase 1
  E18-E20          Environmental Site Assessment- Phase 2




                                   Exhibit G - 89
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 159 of 243




                                   Exhibit G - 90
                                                                                    E-1
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 160 of 243




                                   Exhibit G - 91
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 161 of 243




                                   Exhibit G - 92
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 162 of 243




                                   Exhibit G - 93
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 163 of 243




                                   Exhibit G - 94
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 164 of 243




                                   Exhibit G - 95
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 165 of 243




                                   Exhibit G - 96
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 166 of 243




                                   Exhibit G - 97
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 167 of 243




                                   Exhibit G - 98
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 168 of 243




                                   Exhibit G - 99

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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 169 of 243




                                  Exhibit G - 100
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USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 170 of 243




                                  Exhibit G - 101
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                                            Phase I Investigation - Water Resources Map
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          \                       Wetland Points                                                                     Impaired Rivers and Streams
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                                   Wetland Lines                                                                         Wetland Areas                                                                                                                                                                                                                          Local Road

Sources: Non Orthophotography
Data - Obtained from the State of Indiana Geographical                                                                                                                                                                                                                Miles                                                 This map is intended to serve as an aid in graphic
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(www.indianamap.org)                                                                                                                                                                Scale 1:28,898
 Map Projection: UTM Zone 16 N Map Datum: NAD83

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Sources: Non Orthophotography
Data - Obtained from the State of Indiana Geographical                                                                                                                                                                                                         Miles                             This map is intended to serve as an aid in graphic
 Information Office Library
Orthophotography - Obtained from Indiana Map Framework Data                                                                   0.5                        0.25                                              0                                                 0.5                              representation only. This information is not warranted

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(www.indianamap.org)                                                                                                                                                     Scale 1:28,898
 Map Projection: UTM Zone 16 N Map Datum: NAD83

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                                      Phase I Investigation - Physiography and Soil Associations Map
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                                    USDC 912, case
                                              from2:20-cv-00439-JVB-JEM
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Sources: Non Orthophotography
Data - Obtained from the State of Indiana Geographical                                                                                                                                                                                                            Miles                                          This map is intended to serve as an aid in graphic
 Information Office Library
Orthophotography - Obtained from Indiana Map Framework Data                                                                   0.5                 0.25                                            0                                                             0.5                                           representation only. This information is not warranted

                                                                                                                                                                Exhibit   G - 104
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(www.indianamap.org)                                                                                                                                               Scale 1:28,898
 Map Projection: UTM Zone 16 N Map Datum: NAD83

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                                         Phase I Investigation - Mining and Mineral Exploration Map
                                     SR IN/ND
                                    USDC 912, case
                                              from2:20-cv-00439-JVB-JEM
                                                   Cline Ave E on Riley    Rd, S4-1
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                                       0501116 , Restoration of connectivity of SR 912 to NW Indiana
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Sources: Non Orthophotography
Data - Obtained from the State of Indiana Geographical                                                                                                                                                                                                                Miles                                          This map is intended to serve as an aid in graphic
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Orthophotography - Obtained from Indiana Map Framework Data                                                                   0.5                         0.25                                        0                                                             0.5                                           representation only. This information is not warranted

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(www.indianamap.org)                                                                                                                                                   Scale 1:28,898
 Map Projection: UTM Zone 16 N Map Datum: NAD83

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                Phase I Investigation - Hazardous Materials Concerns Map
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        Data - Obtained from the State of Indiana Geographical                                                                                                                                                                       Miles                                         This map is intended to serve as an aid in graphic
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                                                                                                                                                                  Exhibit   G - 106
                                                                                                                                                                                                                                                                                                       for accuracy or other purposes.
        (www.indianamap.org)                                                                                                                                         Scale 1:28,898
         Map Projection: UTM Zone 16 N Map Datum: NAD83

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                     PHASE II – PRELIMINARY SITE INVESTIGATION
                                RE-ROUTING OF SR 912
                         INDOT DESIGNATION NO. 0501116

                           SR 912 (DICKEY RD & RILEY RD)
                        EAST CHICAGO, LAKE COUNTY, INDIANA



                           ATC PROJECT NO. 86.30801.0184

                                  JANUARY 4, 2011




                                  PREPARED FOR:

                       INDIANA DEPARTMENT OF TRANSPORTATION
                             HAZARDOUS MATERIALS UNIT
                       100 NORTH SENATE AVENUE, ROOM N642
                         INDIANAPOLIS, INDIANA 46204-2216

                           ATTN: MR. KENNETH MCMULLEN

                                   Exhibit G - 107
                                                                                    E-18
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                         PHASE II – PRELIMINARY SITE INVESTIGATION REPORT
                                    RE-ROUTING OF STATE ROAD 912
                                   INDOT DESIGNATION NO. 0501116

                                STATE ROAD 912 (DICKEY RD & RILEY RD)
                                 EAST CHICAGO, LAKE COUNTY, INDIANA
                                    ATC PROJECT NO. 86.30801.0184



                                        EXECUTIVE SUMMARY

     ATC Associates Inc. (ATC) is pleased to provide the Indiana Department of Transportation
     (INDOT) with this Phase II – Preliminary Site Investigation Report documenting the
     subsurface investigation conducted along the intersection right-of-way (ROW) along Dickey
     Road, Riley Road and near State Road 912 at Dickey Road in East Chicago, Indiana (site). A
     total of three “properties” were identified for the investigation. Soil borings were advanced
     on Site A – Arcelor Mittal near Dickey Road and SR 912 overpass, Site B – Dickey Road
     and Riley Road Intersection and Riley Road, Site C – SR 912/Riley Road Intersection. The
     investigation was performed per INDOT’s request to assess the soil and groundwater
     conditions beneath the surface of the ROW of a planned re-routing of State Road 912. The
     scope of this project was based on a Request for Estimate from the INDOT dated
     August 26, 2010.

     ATC advanced a total of 22 soil borings as part of subsurface investigation activities
     conducted at site A (SB-1 through SB-9), site B (SB-10 through SB-18), and site C (SB-19
     through SB-22).          Soil borings (SB-10 through SB-22) were advanced on
     October 21-22, 2010 and soil borings SB-1 through SB-9 were advanced on December 1-2,
     2010 to assess the soil and groundwater conditions in the ROW of the planned re-routing of
     SR 912 roadway project. A soil sample was obtained from each boring and submitted for
     laboratory analysis. Additionally, representative groundwater samples were collected from
     each site and submitted for laboratory analysis. According to the analytical results, adsorbed
     and dissolved contaminants of concern (COC) were present in the subsurface of the ROW.
     The results and findings from the subsurface activities are summarized in the following
     sections of this report.




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     January 4, 2011
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                                                                                                      E-19
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                                                             Phase II – Preliminary Site Investigation Report
                                                                               Re-Routing of State Road 912
                                                                      State Road 912 (Dickey Rd & Riley Rd)
                                                                         East Chicago, Lake County, Indiana

                              4.0 CONCLUSIONS AND RECOMMENDATIONS

             Adsorbed COCs were detected at concentrations above the IDEM RISC RDCLs and/or
             IDCLs from the soil samples collected from SB-6 and SB-8 which were advanced at
             Site A, Arcelor Mittal. However, the concentrations were reported below the IDEM
             Construction Worker Exposure values.

             Dissolved COCs were detected at concentrations above the IDEM RISC RDCLs
             and/or IDCLs in the groundwater sample collected from soil boring SB-1, SB-3, SB-
             4, SB-6, SB-7, SB-11, SB-15, SB-16, SB-19 and SB-20. It should be noted that
             groundwater was encountered at depths ranging from 3 to 7 ft-bgs.

             Based on the analytical results, COC concentrations above the IDEM RISC RDCLs
             were present in the subsurface and a release appears to have occurred at Site A. ATC
             recommends that the INDOT report the findings to IDEM. However, for construction
             worker safety purposes, the concentrations did not exceed the IDEM established
             Construction Worker Exposure Levels.

             The exposure pathways associated with construction activities are through direct skin
             contact, ingestion, and inhalation of soil vapors or particles. Based on the results of
             this investigation, ATC recommends that a Site Specific Health and Safety Plan be
             written implemented prior to the construction activities. Additionally, standard PPE
             suitable for construction activities be donned for the completion of the improvement
             project. Direct contact with soil should be kept to a minimum with proper PPE being
             utilized if soil contact can not be avoided as the soil does contain detectable
             concentrations of COCs. If excessive dust is observed, control measures should be
             implemented with air monitoring for COCs which may warrant the use of a respirator
             or dust mask.

             Based on the depth of groundwater encountered during this investigation (3 to 7
             ft-bgs), groundwater is likely to be encountered during the intersection improvement
             activities. If groundwater is encountered direct contact should be kept to a minimum,
             be handled as contaminated, and provisions for proper disposal should be arranged.




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     January 4, 2011
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                                             EXHIBIT F

                      FORM OF CERTIFICATE OF SUBSTANTIAL COMPLETION

  Date: __________________

     1. Figg Bridge Builders, LLC (“Contractor”) delivers this Substantial Completion Certificate
        of the Cline Avenue Bridge Project (the “Substantial Completion Certificate”) to Cline
        Avenue Bridge, LLC (“Owner”) pursuant to Section 11.2.2 of the Engineering,
        Procurement, and Construction Agreement for Cline Avenue Bridge, dated May ___,
        2017, by and between Contractor and Owner (the “Contract”). Capitalized terms used
        herein that are not defined herein have the meaning set forth in the Contract.

     2. Contractor certifies and represents as of the date set forth above:

        (i)     Contractor has performed all of the Work, other than the Punch List items listed
                on Exhibit A (attached hereto and incorporated herein) and other minor items of
                Work that would not affect the safe performance or operation of the Facility,
                required by the Governing Documents; and
        (ii)    The Facility is capable of Commercial Operation in accordance with the
                Governing Documents.

     3. This Certificate of Substantial Completion will establish as of the date set forth above:

        (i)     Owner has represented that it has received all certificates of occupancy required
                from each applicable Governmental Authority;
        (ii)    The care, custody and control of the Facility passed to Owner and Owner shall
                bear the risk of loss with respect thereto, including without limitation all
                responsibilities for items such as security, maintenance, utilities, insurance, and
                damages to the Cline Avenue Project;
        (iii)   Warranties required by the Contract commenced; and
        (iv)    Owner shall be obligated to pay to Contractor any remaining amounts for all
                Work described in the Certificate of Substantial Completion, plus the Early
                Completion Bonus, if any, pursuant to Section 11.2.1, plus, the Retention Money
                pursuant to Section 10.1.7.1, less amounts as detailed in Section 10.1.7.2 of the
                Contract for the Punch List items.

     4. The person signing below is duly authorized to submit this Certificate of Substantial
        Completion.



                                   [SIGNATURE PAGE FOLLOWS]




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  FIGG BRIDGE BUILDERS, LLC


  By: ______________________

  Name: ______________________

  Title: ______________________

  Date: ______________________


  Owner agrees that Substantial Completion of the Project has been achieved in accordance with
  the Contract.



  CLINE AVENUE BRIDGE, LLC


  By: ______________________

  Name: ______________________

  Title: ______________________

  Date: ______________________




                                         Exhibit G - 111
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                                     Exhibit A

                                    Punch List




                                  Exhibit G - 112
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                                             EXHIBIT G

                                         EXCLUDED COSTS


This EPC Agreement specifically excludes the following work items, which will be added to the Project
by a written supplement to this Agreement. A description and estimated budget is included below.

   1. Rehabilitation of the existing 2,397 foot long steel viaduct on the east end of the project
      carrying Cline Avenue. This includes modifications to transition from the two lanes of the new
      bridge to six lanes with ramp at the existing east abutment, deck rehabilitation, resurfacing,
      concrete repair, and other upgrades. A preliminary estimate of the rehabilitation cost for the
      existing steel viaduct is $___ million.
   2. Approach roadway modifications on SR 912 for approximately 1,000 feet on the west end
      of the project to transition from the two lanes of the new bridge with existing westbound on-
      ramp at the east abutment to six lanes typical section. This includes modifications to the barrier
      rails, pavement rehabilitation, drainage system updates and modifications to signing and
      striping. A preliminary estimate of these costs is $___ million.
   3. Approach roadway improvements on SR 912 on the east end as needed to satisfy the
      “Repaving Obligation” of the Amended and Restated Exchange Agreement between INDOT
      and CAB dated December 31, 2012. This obligation is for $3.0 million in rehabilitation costs,
      and references plans provided by INDOT for Road Rehabilitation dated July 1, 2014.
   4. An Electronic Toll Collection (ETC) system, including overhead gantries, gantry foundations,
      transponder sensors and related cameras (gantry, pavement or any other locations), related
      power supply, conduits and cabling, any toll equipment shelter other than the area provided in
      the facility office building, backup generator and fuel storage facility, facility signage
      (wayfinding, facility identification, rate schedule, variable message signs, etc.), and toll
      collection electronic equipment/software. This includes any enhancements to existing Ramp D
      (Riley Road to westbound Cline Avenue). A preliminary estimate of the cost of an ETC system is
      $___ million.
   5. Access ramps for Cline Avenue at Indianapolis Boulevard (US 20), including engineering,
      right-of-way, and any construction or modification of existing SR 912 west of Cline Avenue
      Bridge. Also excluded is construction of an access road for the BP Refinery underneath the
      Cline Avenue Bridge near the west abutment. A preliminary estimate of the cost of an exit ramp
      from westbound Cline Avenue to US 20 and an on-ramp from US 20 to Cline Avenue
      eastbound is $___ million
   6. Any work not included in the Scope of Work as given in Schedule IV of this Agreement,
      including but not limited to items such as removal of existing remnants of Ramp A (previous
      ramp from westbound Cline Avenue to Riley Road), construction of a new Ramp A, variable
      message signs and supporting structures, investigation and mitigation of any unforeseen
      hazardous materials as defined in Section 9.5.2 (d) and (e) of the EPC Agreement, etc.




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                                              Schedule I

                                             Definitions



   “Affiliate” shall mean (i) any Person that directly or indirectly, through one or more
  intermediaries, controls, is controlled by, or is under common control with a Party, and (ii) any
  Person that, directly or indirectly, is the beneficial owner of fifty percent (50%) or more of any
  class of equity securities of, or other Ownership interests in, a Party or of which the Party is
  directly or indirectly the owner of fifty percent (50%) or more of any class of equity securities or
  other Ownership interests.

  “Agreement” shall have the meaning assigned to it in the first paragraph of this Agreement.

  “Authorization,” “Approval” or “Authorizations and Approvals” shall mean any license,
  permit, approval, filing, consent, registration, notarization, waiver, exemption, variance,
  clearance, entitlement, allowance, franchise, special lease, or other requirement or authorization,
  whether from any Governmental Authority, corporate or otherwise, including Governmental
  Authorizations and the authorizations and approvals set forth in Exhibit B.

   “Business Day(s)” shall mean any day other than a Saturday, Sunday or a day on which either
  the state or national banks in the State of Indiana are not open for the conduct of normal banking
  business.

  “Change Directive” shall mean a written direction signed by Owner directing a change in the
  Work that complies with the requirements of Section 9.3.

  “Change Event” shall have the meaning assigned to it in Section 9.5.2.

  “Change of Law” shall mean the adoption, promulgation or repeal of any promulgated
  applicable Law, any reinterpretation of applicable Law, or any change in the application of any
  Applicable Law by any Government Authority that occurs after the Effective Date.
   “Change Order” shall mean a written order signed by Owner and EPC Contractor identified as
  a “Change Order” and authorizing a change in the Work, the Project Schedule (including the
  Target Substantial Completion Date and the Delay Default Date, as applicable) or an adjustment
  in any portion of the Cost of the Work as described in Article 9.

  “Change Proposal” shall have the meaning assigned to it in Section 9.2.1.

  “City” shall mean the City of East Chicago, Indiana, a municipal corporation.

  “Claim” shall mean any claim, demand, suit, proceeding, liability, damage, loss, action or cause
  of action, assessment, reassessment, proposed assessment or proposed reassessment, judgment,
  investigation, legal or administrative proceeding, and liability of any kind and all costs and
  expenses relating thereto arising out of this Agreement or the performance of the Work.




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  “Commercial Operation” shall mean the opening of the Cline Avenue Bridge to the public for
  vehicular traffic and includes the commencement of full tolling operations.

  “Construction Commencement Date” shall have the meaning assigned to it in Section 11.1.

  “Cost of the Work” shall have the meaning assigned to it in Section 8.1.

  “Default” shall mean a condition or event which, after notice or lapse of time or both, would
  constitute an EPC Contractor Event of Default or Owner Event of Default, as the case may be.

  “Defect” shall mean any non-compliance of the Work or the Facility (or any portion thereof)
  with any of the Warranties set forth in Section 12.1, and “Defective” shall be construed
  accordingly.

  “Delay Default Date” shall mean the date falling 6 calendar months after the Target Substantial
  Completion Date, as may be amended in accordance with this Agreement.

  “Development Agreement” shall mean the Development Agreement entered into between the
  City and Owner dated as of May 15, 2012 (as amended from time to time) pursuant to which
  Owner has acquired the Access and Support Rights (as defined in the Development Agreement)
  in order to facilitate the construction of the Facility.

  “Dispute” shall have the meaning assigned to it in Section 13.2.

  “Due Diligence Documents” shall mean the documents identified in Exhibit C.

  “Effective Date” shall mean the date on which this Agreement is signed by each of EPC
  Contractor and Owner and delivered to the other Party.

  “Engineers” shall have the meaning assigned to it in Section 4.2.2.

  “Engineers’ Contracts” shall have the meaning assigned to it in Section 4.2.2.

  “Environmental Laws” mean: any Laws and Regulations applicable to the Facility, the Project
  or the Work regulating or imposing liability or standards of conduct that pertains to the
  environment, Hazardous Substances, contamination of any type whatsoever, or environmental
  health and safety matters, and any lawful requirements and standards that pertain to the
  environment, Hazardous Substances, contamination of any type whatsoever, or environmental
  health and safety matters, set forth in any permits, licenses, approvals, plans, rules, regulations or
  ordinances adopted, or other criteria and guidelines promulgated, pursuant to Laws and
  Regulations applicable to the Facility, the Project or the Work, as such have been or are
  amended, modified, or supplemented from time to time (including any present and future
  amendments thereto and reauthorizations thereof) including those relating to (a) the manufacture,
  processing, use, distribution, existence, treatment, storage, disposal, generation, and
  transportation of Hazardous Substances; (b) air, soil, surface and subsurface strata, stream
  sediments, surface water, and groundwater; (c) releases of Hazardous Substances; (d) protection
  of wildlife, threatened or endangered species, sensitive species, wetlands, water courses and
  water bodies, historical, archeological, and paleontological resources, and natural resources;



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  (e) the operation and closure of underground storage tanks; (f) and safety of employees and other
  persons; and (g) notification, documentation, and record keeping requirements relating to the
  foregoing. Without limiting the above, the term “Environmental Laws” shall also include the
  following:

         (i)       The National Environmental Policy Act (42 U.S.C. §§ 4321 et seq.), as
                   amended;

         (ii)      The Comprehensive Environmental Response, Compensation, and Liability Act
                   (42 U.S.C. §§ 9601 et seq.), as amended;

         (iii)     The Solid Waste Disposal Act, as amended by the Resource Conservation and
                   Recovery Act (42 U.S.C. §§ 6901 et seq.);

         (iv)      The Emergency Planning and Community Right to Know Act of 1986 (42
                   U.S.C. §§ 11001 et seq.), as amended;

         (v)       The Clean Air Act (42 U.S.C. §§ 7401 et seq.), as amended;

         (vi)      The Federal Water Pollution Control Act, as amended by the Clean Water Act
                   (33 U.S.C. §§ 1251 et seq.);

         (vii)     The Resource Conservation and Recovery Act (42 U.S.C. §§ 6901, et seq.), as
                   amended;

         (viii)    The Toxic Substances Control Act (15 U.S.C. §§ 2601 et seq.), as amended;

         (ix)      The Hazardous Materials Transportation Act (49 U.S.C. §§ 1801 et seq.), as
                   amended;

         (x)       The Oil Pollution Act (33 U.S.C. §§ 2701, et seq.), as amended;

         (xi)      The Federal Insecticide, Fungicide and Rodenticide Act (7 U.S.C. §§ 136
                   et seq.), as amended;

         (xii)     The Federal Safe Drinking Water Act (42 U.S.C. §§ 300 et seq.), as amended;

         (xiii)    The Federal Radon and Indoor Air Quality Research Act (42 U.S.C. §§ 7401
                   et seq.), as amended;

         (xiv)     The Occupational Safety and Health Act (29 U.S.C. §§ 651 et seq.);

         (xv)      The Endangered Species Act (16 U.S.C. §§ 1531 et seq.), as amended;

         (xvi)     The Fish and Wildlife Coordination Act (16 U.S.C. §§ 661 et seq.), as amended;

         (xvii)    The National Historic Preservation Act (16 U.S.C. §§ 470 et seq.), as amended;

         (xviii)   The Coastal Zone Management Act (33 U.S.C. §§ 1451 et seq.), as amended;



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         (xix)    all directives or requirements issued by any Governmental Authority in
                  connection therewith, including any EPA Order; and

         (xx)     any other Laws relating to environmental matters.

  “EPA” shall mean the United States Environmental Protection Agency.

   “EPC Contractor” shall mean Figg Bridge Builders, LLC, a Florida limited liability company,
  qualified to conduct business in the State of Indiana.

  “EPC Contractor Event of Default” shall have the meaning assigned to it in Section 14.1.

  “EPC Contractor-Initiated Change Order” shall have the meaning assigned to it in Section
  9.5.1.

  “EPC Contractor Party” shall mean: (a) EPC Contractor, (b) Subcontractors (including
  Suppliers), (c) any other Persons performing any of the Work, (d) any other Persons for whom
  EPC Contractor may be legally or contractually responsible arising out of or in connection with
  any portion of the Work, the Project or any other obligations under this Agreement, and (e) the
  joint venture members and/or members, partners, employees, agents, officers, directors,
  shareholders, representatives, consultants, successors and assigns of any of the foregoing.

  “EPC Contractor’s Warranty Period” shall have the meaning assigned to it in Section 12.1.7.

  “Exchange Agreement” shall mean the Amended and Restated Exchange Agreement entered
  into between Owner and the Indiana Department of Transportation, duly created and existing
  under and by virtue of Indiana Code 8-23, as amended, as an administrative department of the
  State of Indiana, pursuant to which Owner acquired certain real property constituting the Site.

  “Facility” shall mean the Cline Avenue Bridge.

  “Final Completion” shall have the meaning assigned to it in Section 11.3.

  “Final Completion Date” shall mean the date Final Completion occurs.

  “Final Lien Waiver” shall mean (a) with respect to EPC Contractor, a lien waiver in the form
  set forth in Exhibit D, titled “EPC Contractor’s Final Lien and Claim Waiver” and (b) with
  respect to Subcontractors, a lien waiver in the form set forth in Exhibit D, titled
  “Subcontractor’s Final Lien and Claim Waiver”.

  “Final Payment” shall have the meaning assigned to it in Section 10.2.

  “Force Majeure” shall have the meaning assigned to it in Section 14.5.3.

  “GAAP” shall mean United States generally accepted accounting principles as in effect from
  time to time.




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  “Governing Documents” 1 shall mean: (a) this Agreement; (b) the Specifications; (c) the Project
  Schedule; (d) all Change Orders and Change Directives authorized in accordance with Article 8
  or Article 9 of this Agreement, as applicable; (e) the Authorizations and Approvals; (f) the
  Traffic Control Plan, the Safety Plan and the Security Plan; (g) the Development Agreement and
  (h) the Exchange Agreement.

  “Governmental Authority” shall mean the federal government of the United States, and any
  state, county or local government or regulatory department, body, political subdivision,
  commission, agency, instrumentality, ministry, court, judicial or administrative body, taxing
  authority, or other authority thereof (including any corporation or other entity owned or
  controlled by any of the foregoing) having jurisdiction over either Party, the Facility or the Site,
  whether acting under actual or assumed authority.

  “Governmental Authorizations” shall mean the Authorizations and Approvals issued by the
  applicable Governmental Authority as of the Effective Date and all additional Authorizations and
  Approvals issued after said date, which authorize or pertain to the Facility or the Work.

  “Hazardous Substances” shall mean any solid, liquid, gas, odor, heat, sound, vibration,
  radiation or other substance or emission which is a contaminant, pollutant, dangerous substance,
  liquid waste, industrial waste, hazardous material or hazardous substance which is or becomes
  regulated by Environmental Laws or which is classified as hazardous or toxic under
  Environmental Laws.

  “Independent Engineer” shall mean such engineer as Owner may engage to perform the duties
  and have the rights of the Independent Engineer under this Agreement. Owner shall contract with
  and pay the cost of the Independent Engineer, and such cost shall not be included in the Cost of
  the Work. Selection of the Independent Engineer shall be subject to EPC Contractor’s prior
  written approval which shall not be unreasonably withheld. For avoidance of doubt, the
  Independent Engineer shall not be deemed a Subcontractor.

  “Initial Payment” shall have the meaning assigned to it in Section 10.1.1.

  “Key Personnel” shall have the meaning assigned to it in Section 4.2 and evidenced by
  Schedule V, as amended from time to time by agreement of the parties.

  “Late Payment Rate” shall mean, for any period, the lesser of (i) twelve percent (12%) per
  annum simple interest, non-compounded, and (ii) the maximum rate permitted by applicable
  Law.

  “Law” shall mean (i) any law, legislation, statute, act, rule, ordinance, decree, treaty, regulation,
  order, judgment, or other similar legal requirement, (ii) Environmental Laws, and (iii) any
  legally binding announcement, directive or published practice or interpretation thereof, enacted,
  issued or promulgated by any Governmental Authority.

  “Lien Waivers” shall mean, collectively, the Interim Lien Waivers and the Final Lien Waivers.




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  “Liquidated Damages” shall have the meaning assigning to it in Section 12.3.1.

  “Major Equipment Suppliers” shall have the meaning assigned to it in Section 4.2.4.

  “Major Subcontractor” shall have the meaning assigned to it in Section 4.2.5.

  “Major Subcontractor Contracts” shall have the meaning assigned to it in Section 4.2.5.

  “Milestone” shall mean each of the major key tasks and associated timing of the Work as set
  forth in Schedule X.

  “Milestone Date” shall mean the date by which EPC Contractor shall achieve a Milestone in
  accordance with this Agreement and the Project Schedule, in each case as verified and confirmed
  by the Independent Engineer.

  “Monthly Deliverables” shall have the meaning assigned to it in Section 10.1.2.

  “Nonconforming Work” shall mean Work that does not conform to the requirements of the
  Governing Documents.

  “Notice of Change Order” shall have the meaning assigned to it in Section 9.4.1.

  “Operator” shall mean the entity selected by Owner to operate and maintain the Cline Avenue
  Bridge commencing on Substantial Completion.
  “Owner” shall mean Cline Avenue Bridge, LLC, a Delaware limited liability company, qualified
  to conduct business in the State of Indiana.

  “Owner Event of Default” shall have the meaning assigned to it in Section 14.3.

  “Owner Indemnitees” shall mean, collectively, Owner and any of its the board members,
  shareholders, managers, partners, members, officers, employees, agents and representatives.

  “Parties” shall mean EPC Contractor and Owner, when referred to collectively and “Party”
  shall mean either of the Parties referred to singly.

  “Payment Due Date” shall have the meaning assigned to it in Section 10.1.5.

  “Payment Period” shall have the meaning assigned to it in Section 10.1.2.1.

  “Payment and Performance Bond” shall have the meaning assigned to it in Section 4.19.1.

  “Person” shall mean any individual, firm, company, association, general partnership, limited
  partnership, limited liability company, trust, business trust, corporation, public body, or other
  legal entity.

  “PM/CM” shall have the meaning assigned to it in Section 4.2.3.

  “Progress Report” shall have the meaning assigned to it in Section 10.1.2.1.




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  “Project” shall mean the development of the Cline Avenue Bridge at the Site, and shall include
  the Work.

  “Project Schedule” shall mean the schedule of activities during the construction of the Project
  set forth in Schedule VI that coordinates all aspects of the Project, including without limitation,
  permitting, engineering, procurement of equipment and materials, construction, Substantial
  Completion and completion of the Punch List (including all amendments or supplements thereto
  following the Effective Date).

  “Punch List” shall mean the list of items of the Work that remain to be completed by EPC
  Contractor, to be established by EPC Contractor subject to the approval of Owner, not to be
  unreasonably withheld or delayed, in accordance with Section 11.2.

  “QA/QC Director” shall have the meaning assigned to it in Section 4.2.6.

  “Recovery Schedule” shall mean the schedule EPC Contractor is required to submit under
  Section 11.5 of the Agreement.

  “Required Rating” shall mean that the Payment and Performance Bond has been issued by a
  surety company having a minimum credit rating of “A” from A.M. Best Company, Inc.
  “Safety Director” shall have the meaning assigned to it in Section 4.2.7.

  “Safety Plan” shall have the meaning assigned to it in Section 4.8.

  “Security Plan” shall have the meaning assigned to it in Section 4.9.

  “Site” shall have the meaning assigned to it in Recital A of this Agreement.

  “Specifications” shall mean the specifications and standards as set forth in Schedule IV, which
  are incorporated into this Agreement by this reference, and any supplements or amendments
  thereto that may be agreed to by the Parties after the Effective Date. The Specifications shall
  further include any Change Orders, Change Directives and other changes to the Work authorized
  in accordance with Article 8 or Article 9 of this Agreement.

  “Substantial Completion” shall have the meaning set forth in Section 11.2.

  “Substantial Completion Date” shall mean the date Owner confirms in writing that Substantial
  Completion of the Facility has occurred.

  “Subcontractor” shall mean every Person (other than employees of EPC Contractor) employed
  or engaged by EPC Contractor or any Person (other than Owner) directly or indirectly in privity
  with EPC Contractor (including every sub-subcontractor of whatever tier) to perform any portion
  of the Work, whether the furnishing of labor, materials, equipment, services or otherwise, and
  shall include, without limitation, the Engineers, the PM/CM, the Major Equipment Suppliers, the
  QA/QC Director and the Safety Director.




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   “Suppliers” shall mean a manufacturer, fabricator, supplier, distributor, materialman or vendor
  having a direct contract with EPC Contractor or with any Subcontractor to furnish materials or
  equipment to be incorporated in the Work by EPC Contractor or any Subcontractor.

  “Tangible Net Worth Criteria” shall mean that the total net worth of EPC Contractor and its
  Subcontractors, collectively, is equal to or greater than fifty percent (50%) of the amount that is
  the Cost of Work; provided, that this percentage may be reduced by EPC Contractor as necessary
  to involve specialized local Subcontractors with prior approval by Owner whose expertise will
  allow for an overall lower construction price or benefit the Project Schedule, as long as such
  Subcontractor obtains a payment and performance bond for the portion of the Work they will
  perform.

  “Target Substantial Completion Date” shall mean the date falling thirty (30) calendar months
  after the Construction Commencement Date, as may be extended in accordance with this
  Agreement.

  “Term” shall mean the duration of this Agreement, from the Effective Date until the expiration
  of the latest applicable EPC Contractor’s Warranty Period.

   “Toll System Installation Agreement” shall mean the Toll System Installation Agreement to
  be made and entered into by and between EPC Contractor and the Toll System Installer and
  Integrator.

  “Toll System Installer and Integrator” shall mean EPC Contractor’s major equipment supplier
  for the toll collection system selected as provided in Section 4.2.4.
  “Toll Systems Operation Manual” shall mean the manual or manuals provided by EPC
  Contractor to Owner pursuant to Section 7.1.1, including operation requirements, guidelines and
  manuals established by the manufacturers of the toll collection system for the Cline Avenue
  Bridge.
  “Toll Work” shall mean the work to be performed under the Toll System Installation
  Agreement, as defined therein.

  “Traffic Control Plan” shall have the meaning set forth in Section 4.7.

  “Warranties” shall have the meaning set forth in Section 12.1.

  “Work” shall mean the Work described on Schedule IV, including all design, engineering,
  procurement, construction, erection, installation and systems testing and commissioning to
  achieve a complete and fully operable Facility in accordance with the terms of this Agreement.




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                                            Schedule II

                                             Insurance

  The insurance set forth below shall be obtained and in effect as of the Construction
  Commencement Date. The Parties acknowledge that such insurance shall also act as
  insurance for all of EPC Contractor's obligations under the Agreement and shall run to the
  benefit of Owner.

  I.     Construction Insurance for Major Subcontractors

  EPC Contractor shall cause Major Subcontractors responsible for construction work to
  maintain the insurance for the term and with limits provided below. The EPC Contractor and its
  affiliates as well as the Owner and its affiliates will be named as additional insureds.

         •   COMMERCIAL GENERAL LIABILITY INSURANCE - Major Subcontractors shall
             provide Commercial General Liability insurance using the 2001 ISO Occurrence
             Form (CG 00 01 10/01), or an equivalent form. The Commercial General Liability
             insurance must include coverage for premises-operations, Independent contractors,
             products-completed operations, personal injury and contractual liability. The
             contractual liability must include the tort liability of another assumed in a business
             contract. Subcontractor or its agent/broker shall verify that there is no endorsement
             or modification of the CGL limiting the scope of coverage for liability arising from
             explosion, collapse, or underground property damage. Furthermore,
             Subcontractor's policy shall be endorsed to delete any restrictions for work
             performed within 50 feet of a railroad right-of-way. The Commercial General Liability
             insurance shall be maintained throughout the duration of the Project and for a
             minimum of five (5) years after completion of the work. The minimum limits shall be
             as follows;

             Each Occurrence limit

             Bodily Injury/Property Damage Liability                        $1,000,000

             Personal Injury liability                                      $1,000,000

             General Aggregate Limit                                        $2,000,000

             Products/Completed Operations Aggregate Limit                  $2,000,000

             The General Aggregate limit is to be written on a "per project" basis using
             Subcontractor's per project endorsement Amendment-Aggregate Limits of
             Insurance (CG 25 03) or equivalent language. The Products/Completed Operations
             Aggregate Limit must be at least $2,000,000 or written confirmation provided that
             the Commercial Umbrella coverage Includes liability coverage for damage to the
             Insured's completed work equivalent to that provided under the CG 00 01 10/01
             coverage form.




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            The Owner and EPC Contractor are to be named as an additional insureds in
            Subcontractor's policy with respect to this project using the ISO Additional Insured-
            Owners, Contractors endorsement (CG 20 10) for premises/operations and CG 20
            37 for completed operations, or a substitute providing equivalent coverage.
            Verification of additional insured status shall be furnished to Owner and EPC
            Contractor by mailing a copy of the endorsement along with the Certificate of
            Insurance In accordance with Article III of this Schedule.

            This Insurance shall apply as primary and non-contributory Insurance with respect
            to any other insurance or self-Insurance the Owner or EPC Contractor may have or
            elect to carry with respect to this project or contract.

            The policy shall provide for a waiver of subrogation in favor of the Owner and EPC
            Contractor.

        •   COMPREHENSIVE AUTOMOBILE LIABILITY INSURANCE - Major Subcontractors
            must provide and maintain business auto liability Insurance for all owned, non-
            owned and hired vehicles on ISO form CA 00 01 12/90 or equivalent coverage form
            with the following limits;

            Combined Single Limit                      $1,000,000 per accident

            If necessary, the policy shall be endorsed to provide contractual liability coverage
            equivalent to that provided in the 1990 and later editions of the ISO CA 00 01 form.

            Subcontractor's auto policy should also be endorsed to Include Pollution Liability-
            Broadened Coverage for Covered Auto (CA 99 48) or equivalent coverage if the
            required Contractors Pollution Liability excludes the pollution liability arising out of
            the transportation, loading, or unloading by a covered auto.

        •   WORKERS COMPENSATION - Major Subcontractors shall provide and maintain
            workers compensation and employers liability insurance providing coverage in the
            state (or states) in which the project is performed. Limits and coverage shall be as
            follows:

            Workers Compensation Insurance             Statutory Benefits-Indiana

            Employers liability Insurance              $1,000,000 each accident

                                                       $1,000,000 policy limit

                                                       $1,000,000 each employee

            Because this Project involves work which may be subject to the U.S. Longshore and
            Harborworkers Act (USL&HW), or which may involve watercraft, Major
            Subcontractors whose scope includes work on the Indiana Harbor Canal will attach
            the respective endorsements to provide this coverage as required by the Owner.
            The respective endorsement forms are: USL&HW (WC 00 01 O6 A) and Maritime
            Coverage (WC 00 02 01 A) or equivalent coverage. Subcontractors may maintain or
            cause to be maintained equivalent Maritime Coverage using Protection and



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            Indemnity Insurance (P&I) for any vessel owned and/or chartered by Subcontractor
            and used in connection with the construction operation. Subcontractor's Workers
            Compensation policy shall be specifically endorsed to Waive Subrogation against
            Owner and EPC Contractor using WC 00 03 13 or equivalent endorsement.

        •   UMBRELLA EXCESS LIABILITY - Major Subcontractors shall provide umbrella
            excess liability Insurance on an "occurrence" basis providing "following form"
            coverage for the underlying coverages outlined above. This insurance can be
            structured as any combination of primary plus supplementary layers and umbrella
            liability and/or excess liability, or primary plus umbrella liability and/or excess
            liability. The overall minimum insurance limits shall be:

            Each Occurrence Limit                     $10,000,000

            Aggregate Limit                           $10,000,000

            Subcontractor or its agent/broker shall confirm that Owner and EPC Contractor are
            additional Insureds on Umbrella Excess in a form equal or equivalent to the
            Additional Insured and Per Project endorsements referenced in the underlying CGL.
            This Insurance shall be maintained throughout the duration of the Project and for a
            minimum of five (5) years after completion of the work.

        •   CONTRACTORS POLLUTION LIABILITY - Major Subcontractors shall provide
            Contractors Pollution Liability (CPL) insurance with limits of at least $5,000,000 per
            incident. The Contractors Pollution Liability policy shall provide coverage for third-
            party bodily injury, property damage, clean-up costs and defense costs which arise
            from the construction operations performed by or behalf of Subcontractor.

            Owner and EPC Contractor shall be named as Additional insureds on the CPL
            policy. Subcontractor or Subcontractor's Agent/broker should confirm that the CPL
            policy contains a separation of insureds provision ('severability)" and that claims
            between insureds is permitted under the CPL coverage form.

            The Contractors Pollution liability coverage may be written on either an occurrence
            or Claims-made form. If coverage is provided on a claims-made form, the
            retroactive date of such coverage shall not be later than The Effective Date and
            Subcontractor agrees to provide uninterrupted coverage from the retro date
            throughout the duration of this project and for at least five (5) years after Substantial
            Completion of the project. Alternatively, Subcontractors may purchase an extended
            reporting period which shall remain In effect for at least five (5) years after
            Substantial Completion of the work.

        •   MARINE GENERAL LIABILITY - Major Subcontractors whose scope includes work
            on the Indiana Harbor Canal shall provide liability coverage for bodily injury and
            property damage claims arising out of the operation and use of watercraft during
            the course of construction with limits of at least $5,000,000 per
            occurrence/aggregate. The Aggregate Limit on the MGL is to be written on a "per
            project" basis using Subcontractor's per project endorsement similar or equivalent
            to the CG 25 03 used with the Commercial General Liability insurance.




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             Owner and EPC Contractor shall be named as Additional insureds on the MGL
             policy in a form similar to the Additional Insured requirements as described in the
             Commercial General Liability insurance.

         •   AVIATION LIABILITY - Should aircraft of any kind be used by Major Subcontractors
             or any tier of subcontractor, Subcontractor shall maintain or cause the operator of
             the aircraft to maintain aircraft liability Insurance. Such aircraft liability Insurance
             shall provide coverage for bodily Injury and properly damage caused by the
             operation, maintenance or use of such aircraft with minimum limits of $10,000,000
             Combined Single Limit. Major Subcontractors shall name or require that Owner and
             EPC Contractor be named as Additional Insureds on the aircraft liability policy.

  II.    EPC Contractor shall maintain insurance during construction as follows:

  EPC Contractor shall purchase and maintain the following types and amounts of insurance.
  The Owner and its affiliates shall be named as additional insureds.

         •   COMMERCIAL GENERAL LIABILITY INSURANCE – EPC Contractor shall provide
             Commercial General Liability insurance using the 2001 ISO Occurrence Form (CG
             00 01 10/01), or an equivalent form. The Commercial General Liability insurance
             must include coverage for premises-operations, Independent contractors, products-
             completed operations, personal injury and contractual liability. The contractual
             liability must include the tort liability of another assumed in a business contract.
             EPC Contractor or his agent/broker shall verify that there is no endorsement or
             modification of the CGL limiting the scope of coverage for liability arising from
             explosion, collapse, or underground property damage. Furthermore, EPC
             Contractor's policy shall be endorsed to delete any restrictions for work performed
             within 50 feet of a railroad right-of-way. The Commercial General Liability insurance
             shall be maintained throughout the duration of the Project and for a minimum of five
             (5) years after completion of the work. The minimum limits shall be as follows;

             Each Occurrence limit

             Bodily Injury/Property Damage Liability                          $2,000,000

             Personal Injury liability                                        $2,000,000

             General Aggregate Limit                                          $2,000,000

             Products/Completed Operations Aggregate Limit                    $2,000,000

             The General Aggregate limit is to be written on a "per project" basis using
             Contractor's per project endorsement Amendment-Aggregate Limits of Insurance
             (CG 25 03) or equivalent language. The Products/Completed Operations Aggregate
             Limit must be at least $2,000,000 or written confirmation provided that the
             Commercial Umbrella coverage Includes liability coverage for damage to the
             Insured's completed work equivalent to that provided under the CG 00 01 10/01
             coverage form.




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            The Owner is to be named as an additional insured in the EPC Contractor's policy
            with respect to this project using the ISO Additional Insured-Owners, EPC
            Contractor's endorsement (CG 20 10) for premises/operations and CG 20 37 for
            completed operations, or a substitute providing equivalent coverage. Verification of
            additional insured status shall be furnished to Owner by mailing a copy of the
            endorsement along with the Certificate of Insurance In accordance with Article III of
            this Schedule.

            This Insurance shall apply as primary and non-contributory Insurance with respect
            to any other insurance or self-Insurance the Owner may have or elect to carry with
            respect to this project or contract.

            The policy shall provide for a waiver of subrogation in favor of the Owner.

        •   COMPREHENSIVE AUTOMOBILE LIABILITY INSURANCE – EPC Contractor must
            provide and maintain business auto liability Insurance for all owned, non-owned and
            hired vehicles on ISO form CA 00 01 12/90 or equivalent coverage form with the
            following limits;

            Combined Single Limit                      $1,000,000 per accident

            If necessary, the policy shall be endorsed to provide contractual liability coverage
            equivalent to that provided in the 1990 and later editions of the ISO CA 00 01 form.

        •   WORKERS COMPENSATION – EPC Contractor shall provide and maintain workers
            compensation and employers liability insurance providing coverage in the state (or
            states) in which the project is performed. Limits and coverage shall be as follows:

            Workers Compensation Insurance             Statutory Benefits-Indiana

            Employers liability Insurance              $1,000,000 each accident

                                                       $1,000,000 policy limit

                                                       $1,000,000 each employee

            EPC Contractor's Workers Compensation policy shall be specifically endorsed to
            Waive Subrogation against Owner using WC 00 03 13 or equivalent endorsement.

        •   UMBRELLA or EXCESS LIABILITY – umbrella or excess liability Insurance on an
            "occurrence" basis providing "following form" coverage for the underlying
            Commercial General Liability insurance coverage outlined above. This insurance
            can be structured as any combination of primary plus supplementary layers and
            umbrella liability and/or excess liability, or primary plus umbrella liability and/or
            excess liability. The overall minimum insurance limits shall be:

            Each Occurrence Limit                      $10,000,000

            Aggregate Limit                            $10,000,000




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             EPC Contractor or his agent/broker shall confirm that Owner is an additional Insured
             on Umbrella or Excess in a form equal or equivalent to the Additional Insured and
             Per Project endorsements referenced in the underlying CGL. This Insurance shall be
             maintained throughout the duration of the Project and for a minimum of five (5)
             years after completion of the Work.

         •   PROPERTY INSURANCE - The EPC Contractor shall purchase and shall maintain, a
             Builder's Risk Policy upon the entire Project for the full cost of replacement at the
             time of loss. This Insurance shall also name the Owner, EPC Contractor, Major
             Subcontractors, Subcontractors, Sub-subcontractors, Material Suppliers and
             Engineer as insureds. This insurance shall be written as a Builder's Risk Policy or
             equivalent form to cover all risks of physical loss, and shall insure at least against
             the perils of fire, lightning, explosion, windstorm, hail, smoke, aircraft and vehicles,
             riot and civil commotion, theft, vandalism, malicious mischief, debris removal, flood,
             earthquake, earth movement, water damage, wind damage, testing, and collapse.
             The Owner and the Major Subcontractors shall be jointly responsible for any
             deductible amounts. This policy shall provide for a waiver of subrogation in favor of
             the Owner, Major Subcontractors, Subcontractors, Sub-subcontractors, Material
             Suppliers and Engineer. Partial occupancy or use of the Work shall not commence
             until the EPC Contractor has secured the consent of the Insurance Company or
             companies providing the coverage required in this Section.

         •   PROFESSIONAL LIABILITY INSURANCE - EPC Contractor shall purchase and
             maintain a project specific professional liability insurance policy providing coverage
             for claims arising out of errors and omissions during the performance of
             professional design engineering services. The limit of such project specific
             professional liability coverage shall be $5,000,000 per claim/aggregate and shall
             maintain a 5-year extended reporting period. All subconsultants to EPC Contractor
             shall be named as additional insureds on the policy.

  III.   General Conditions

  All insurance required by this Agreement shall be purchased and maintained with a company
  or companies lawfully authorized to do business in the State of Indiana. Such insurance shall
  be for limits of liability as specified for the Project or legally required, whichever is greater. All
  required insurance policies shall be endorsed to provide thirty (30) Days prior written notice by
  certified mail, of any material change, cancellation, or non-renewal to EPC Contractor and
  Owner. Owner and EPC Contractor and where applicable, Major Subcontractors or
  Subcontractors, shall each be named as additional party insured on the policies required to be
  obtained hereunder. Proof of the required insurance and endorsements shall be made by
  submission of certificates of insurance to Owner and EPC Contractor prior to commencement
  of a Project. All insurance policies shall contain a waiver of subrogation provision pursuant to
  which the insurer is prohibited from obtaining subrogation or transfer rights in respect of any
  claim under such policies against EPC Contractor, Owner or where applicable, Major
  Subcontractors or Subcontractors and their employees, directors or officers.

  Where applicable, EPC Contractor and Owner shall be named as additional insured or loss
  payee on the policies required to be obtained hereunder. The Certificates should be issued to
  EPC Contractor and Owner at the addresses set forth in this Agreement.




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                                      Schedule IV- The Work


  GENERAL STATEMENT OF SCOPE

  Figg Bridge Builders, LLC (EPC Contractor) will design and build a new two-lane, fixed span,
  precast concrete segmental toll bridge In East Chicago, Indiana (Figure 1). The new facility, the
  Cline Avenue Bridge (CAB), will carry State Road 912 (SR 912) over Riley Road, the Indiana
  Harbor Canal, several railroad tracks and Dickey Road along the same alignment as the
  previous structure, which was demolished in 2012.




                                     Figure 1 – Location Map

  Figure 2 illustrates the overall project limits which extend from the existing west abutment of
  the previous bridge (approximately 1,440 feet east of the Cline Avenue / Indianapolis Boulevard
  intersection) to the east abutment of the existing steel viaduct (near the intersection of Watling
  Street and Guthrie Street). Some roadway work will be required beyond the abutments to tie
  the new two-lane facility into the existing six-lane approaches and to satisfy the obligations for
  approach roadway improvements under the land swap agreement with the Indiana Department
  of Transportation (INDOT). This scope of work provides for construction of the new segmental
  bridge and the facility office building. The major elements of the project scope are:

     A. New two-lane precast concrete segmental bridge 6,236 feet long (engineering and
        construction)
     B. Rehabilitation of the existing 2,397 foot long steel viaduct on the east end of the project
        (engineering only)
     C. Approach roadway modifications on SR 912 for approximately 1,000 feet on the west
        end (engineering only)
     D. A facility office building located adjacent to Cline Avenue south and east of Riley Road
        (design and construction)


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                                 Figure 2 – Bridge Project Limits

  Other elements of the project that are currently excluded but are anticipated to be added as a
  supplement to the Scope are:

     1. Rehabilitation of the existing 2,397 foot long steel viaduct on the east end of the project
        (construction)
     2. Approach roadway modifications on SR 912 for approximately 1,000 feet on the west
        end (construction)
     3. Approach roadway improvements on SR 912 for up to 1.6 miles on the east end as
        needed to satisfy the obligations to INDOT
     4. Electronic Toll Collection (ETC) system
     5. Access ramps for Cline Avenue at Indianapolis Boulevard (US 20).

  EPC Contractor will furnish design and construction services, quality control / quality
  assurance, materials, equipment, labor, transportation and incidentals required to complete the
  work in accordance with the requirements of the Engineer, Procure and Construct (EPC)
  Agreement. This includes work required for:

     a. Design and construction of the new concrete segmental bridge as noted above,
        including bridge foundation work, substructure work, earthwork and support of
        excavation
     b. Design for rehabilitation of the existing steel viaduct
     c. Design for adjustments and improvements to the west end approach roadway on Cline
        Avenue
     d. Partial removal of existing structures
     e. Obtaining and complying with required permits
     f. Maintenance of traffic, including traffic control devices and measures
     g. Surveying
     h. Limited landscaping


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       i.    Quality assurance and quality control for design and construction
       j.    Overall project management

  The design and construction will be in accordance with the American Association of State
  Highway and Transportation Officials (AASHTO) standards, INDOT standards, the project
  special provisions and the project permits. The construction quality will be verified,
  documented, and assured through the use of a Quality Management Plan for the project.


  SECTION 1 - PROGRAM SCOPE COMPONENTS

  A.        New two-lane precast concrete segmental bridge 6,236 feet long

            The new bridge will consist of two 12 foot wide traffic lanes and two 9 foot wide
            shoulders built on the north side of the Cline Avenue alignment as shown in Figures 3 and
            4. Span lengths vary from 103 feet to 316 feet, with clearances over the Indiana Harbor
            Canal of 230 foot horizontal and 100 foot vertical. The existing west abutment will be
            modified for use with the new bridge, and the existing piles from the previous bridge will
            be incorporated into the new bridge. The existing concrete footings under the alignment
            of the new bridge will be removed, additional piling installed as needed for capacity, and
            new footings, piers and pier caps constructed. A transition pier will be constructed at the
            east end of the new bridge where it ties into the existing steel bridge. The bridge surface
            will be lit with LED lighting fixtures on light poles mounted to the edges of the bridge
            deck. The main span over the canal will include a required navigation lighting system.

            The bridge will be designed and constructed to allow future construction of a two-lane
            parallel bridge immediately south to create a four-lane facility.

            Reconstruction of the exit ramp from westbound Cline Avenue to Riley Road (Ramp A) is
            not included with this scope. The existing ramp fill, abutment and pier foundations will
            remain in place.




                                  Figure 3 – New Bridge Typical Section

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                         Figure 4 – New Bridge Key Plan and Elevation

  B.   Design for rehabilitation of the existing 2,397 foot long steel viaduct on the east end of
       the project

       The existing steel bridge carrying Cline Avenue on the east end of the project will be
       designed for modification and rehabilitation to transition from the two lanes of the new
       bridge at the transition pier to six lanes with ramp at the existing east abutment. Design
       elements will include the following:

       •   Remove and reconstruct portions of the barrier rails as needed for the new lane
           configuration and alignment
       •   Remove surface overlay and replace with new overlay within the limits of the new lane
           configuration only
       •   Rehabilitate any unsound areas of the bridge deck within the limits of the new lane
           configuration
       •   Remove areas of unsound concrete and repair columns and pier caps supporting the
           portions of the steel bridge that will be carrying traffic
       •   Replace any elastomeric bearings that are no longer functioning as intended
       •   Replace expansion joints in the portions of the deck that will accommodate traffic
       •   Modify the deck drainage system to accommodate the new lane and traffic barrier
           configuration
       •   Paint the outside surface of the exterior girders along both edges of the steel bridge
       •   Update the signing and striping for the revised traffic configuration

  C.   Design of approach roadway modifications on SR 912 for approximately 1,000 feet on
       the west end


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       The existing approach roadway carrying Cline Avenue on the west end of the project will
       be designed for modification and rehabilitation to transition from the two lanes of the new
       bridge with existing westbound on-ramp at the east abutment to six lanes typical section
       approximately 1,000 feet west of the Cline Avenue Bridge west abutment. Design
       elements will include the following:

       •    Remove and reconstruct portions of the barrier rails as needed for the new lane
            configuration and alignment
       •    Rehabilitate any unsound areas of the pavement within the limits of the new lane
            configuration
       •    Modify the drainage system to accommodate the new lane and traffic barrier
            configuration
       •    Update the signing and striping for the revised traffic configuration

  D.   A facility office building located adjacent to Cline Avenue south and east of Riley Road

       A facility office building will be designed and built turn-key by EPC Contractor to house
       operations personnel. The building will be located adjacent to the Cline Avenue Bridge as
       shown in Figure 5. Plan area of the facility will be approximately 90 feet by 40 feet,
       encompassing 2,840 square feet of finished office and 1,560 square feet of storage
       space. Included in the building will be a lobby, conference room, restrooms, breakroom
       and offices for reception, marketing, collections, general manager, facility manager and
       visitor. The storage area will provide space for a facility management vehicle and toll
       collection equipment.




                             Figure 5 – Facility Office Building Key Plan

           The facility office building will be constructed as a pre-fabricated metal building on a
           concrete slab with masonry and steel exterior. The roof will be standing seam metal.
           Plumbing, mechanical and electrical, as well as interior finishes and furnishings will be
           included. EPC Contractor will utilize the building during construction for office space
           and turn it over to CAB for operations at the end of construction. Figure 6 is a rendering
           of the completed facility office building.


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                         Figure 6 – Rendering of Facility Office Building

  Exclusions

  This scope specifically excludes the following work items, which may be added to this scope
  by supplemental agreement:
     •   Rehabilitation of the existing 2,397 foot long steel viaduct on the east end of the project
         carrying Cline Avenue. This includes modifications to transition from the two lanes of
         the new bridge to six lanes with ramp at the existing east abutment, deck rehabilitation,
         resurfacing, concrete repair, and other upgrades.
     •   Approach roadway modifications on SR 912 for approximately 1,000 feet on the west
         end of the project to transition from the two lanes of the new bridge with existing
         westbound on-ramp at the east abutment to six lanes typical section. This includes
         modifications to the barrier rails, pavement rehabilitation, drainage system updates and
         modifications to signing and striping.
     •   Approach roadway improvements on SR 912 on the east end as needed to satisfy the
         “Repaving Obligation” of the Amended and Restated Exchange Agreement between
         INDOT and CAB dated December 31, 2012. This obligation is for $3.0 million in
         rehabilitation costs, and references plans provided by INDOT for Road Rehabilitation
         dated July 1, 2014.
     •   An Electronic Toll Collection (ETC) system, including overhead gantries, gantry
         foundations, transponder sensors and related cameras (gantry, pavement or any other
         locations), related power supply, conduits and cabling, any toll equipment shelter other
         than the area provided in the facility office building, backup generator and fuel storage
         facility, facility signage (wayfinding, facility identification, rate schedule, variable
         message signs, etc.), and toll collection electronic equipment/software. This includes
         any enhancements to existing Ramp D (Riley Road to westbound Cline Avenue).
     •   Access ramps for Cline Avenue at Indianapolis Boulevard (US 20), including
         engineering, right-of-way, and any construction or modification of existing SR 912 west


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           of Cline Avenue Bridge other than as noted in (C) above. Also excluded is construction
           of an access road for the BP Refinery underneath the Cline Avenue Bridge near the
           west abutment.
       •   Investigation and mitigation of any unforeseen hazardous materials as defined in
           Section 9.5.2 (d) and (e) of the EPC Agreement as present at that specific location.

  Key Personnel

  EPC Contractor will provide a Project Manager on-site that will be the final authority on design
  and construction issues. All subcontractors will have a lead point of contact that will report to
  the Project Manager. Each subcontractor will have the responsibility of managing its staff and
  related subcontractors. EPC Contractor's Design Project Manager will have the responsibility
  of managing all the design consultants. EPC Contractor will also provide a Design and
  Construction Quality Manager that will report to the Project Manager and manage the quality
  control and quality assurance (QA) team that performs the checks in accordance with the
  Quality Management Plan.


  SECTION 2 - DESIGN REQUIREMENTS

  The plans and specifications will be signed and sealed by a professional engineer registered in
  the State of Indiana. The following design engineering tasks will be performed by the EPC
  Contractor:

       •   Permitting
       •   Bridge Design for the new concrete segmental structure
       •   Bridge Rehabilitation Design for the existing steel approach bridge
       •   Geotechnical Design
       •   Roadway and Civil Design
       •   Architectural design of the facility office building
       •   Lighting and Electrical Design

  1.       Design Management and Coordination

  The Design Manager will be responsible for the coordination of all design tasks, as well as
  coordination with the Project Manager. This will include coordination of subconsultant designs
  and coordination between the designers and the construction subcontractors during
  construction. He will schedule weekly design coordination meetings while design work is
  ongoing to review progress and coordinate design with construction activities. EPC Contractor
  will prepare monthly progress reports that outline the status of completed design and
  construction coordination activities for submittal to Owner along with the monthly invoices.

  2.       Quality Management

  EPC Contractor will create and implement the Quality Management Plan (QMP) for the project.
  For design activities, the QMP program will utilize individuals that are independent of the
  original design team to perform a Quality Control review of the design, plans and special
  provisions to ensure they meet the design criteria and standards. These individuals will report
  directly to the QA/QC Manager.



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  The QA Engineer will audit the project files to verify that the design documents have been
  properly reviewed and coordinated, with findings documented in accordance with the QMP.
  After the QA Engineer certifies the QA/QC process is complete, the drawings will be stamped
  “Released for Construction” and provided to the Project Manager for distribution.

  3.       Permitting

  EPC Contractor will coordinate with Federal and Local agencies to obtain the following
  permits:

       •   United States Coast Guard (Lead Federal agency)
       •   Section 106 Coordination (State Historic Preservation Officer)
       •   United States Army Corp of Engineers
       •   IDEM Section 401 Water Quality Certification
       •   IN-DNR Construction in a Floodway
       •   Coastal Zone Management Federal Consistency Determination
       •   INDOT Right of Way Permit
       •   IDEM Rule 5 (Stormwater Runoff During Construction)
       •   FAA Form 7460-1 Notice of Proposed Construction of Alternation and Notification to
           Gary Airport

  Note that the United States Coast Guard (USCG), as lead agency, determined that no NEPA
  analysis document is needed for this project. The USCG permit was issued under a Categorical
  Exclusion.

  EPC Contractor will provide a bulleted list of key permit compliance requirements to
  subcontractors prior to construction beginning and submit pre-construction notifications as
  required by permits. EPC Contractor will also provide on-call assistance to the contractor for
  questions or issues with permit compliance and provide compliance reviews throughout
  construction for items related to environmental permits. All necessary environmental permits
  are obtained through this scope of services to build the bridge.

  4.       Bridge Design

  EPC Contractor will design the bridge in accordance with the AASHTO LRFD Bridge Design
  Specifications, project specific design criteria, and applicable INDOT design standards. The
  design will include the following items:

  New concrete segmental bridge

       •   Steel piling design
       •   Footing design
       •   Abutment design
       •   Pier design, including special piers (straddle, transition) and railroad protection walls
       •   Precast segmental superstructure design including diaphragms
       •   Bearing design
       •   Expansion joint design
       •   Miscellaneous bridge element design (drainage, barriers, access hatches, etc.)
       •   Fender rehabilitation as needed
       •   Development of special provisions for bridge elements


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       •   As-built plans
       •   Owner’s Manual

  The contract drawings will be completed as construction drawings. The drawings will include
  the typical details required to precast the segments and will include the dimensions for all
  embedded items. These drawings will include embedded PT pipes, drains and electrical
  openings. The drawings will also include bar bend details, including variable rebar lengths for
  pie-shaped segments, barrier lengths and PT pipe bend information.

  A casting manual will be provided that includes the procedures and geometry required for
  casting the precast segments and an erection manual that includes the engineering information
  for erecting and stressing the segments.

  The Owner’s Manual will include procedures for performing future inspections and
  maintenance of all permanent structures, roadways and tolling equipment. The manual will
  outline a schedule for periodic inspections on the facility, outline the key elements to be
  inspected and have maintenance procedures.

  Bridge rehabilitation design

       •   Field review of existing structure
       •   Integrate roadway alignment and lane distribution requirements with rehabilitation
       •   Analyze capacity of superstructure to confirm adequacy
       •   Pier rehabilitation design, including columns, caps and railroad protection walls
       •   Deck rehabilitation design for the areas of the deck that will carry traffic
       •   Miscellaneous bridge element rehabilitation design (drainage, barriers, bearings, joints,
           lighting, etc.)
       •   As-built plans

  5.       Roadway and Civil Design

  The roadways will be designed in accordance with AASHTO’s Policy on Geometric Design of
  Highways and Streets and applicable portions of the INDOT design manual. Any design
  exceptions required will be documented. The roadway and civil design will include the
  following items:

       •   Control and Route Surveying - establish horizontal and vertical control points
       •   ALTA (American Land Title Association) land title survey - establish the existing right of
           way line as it abuts the parcels along the project route
       •   Topographic survey
       •   Project Baseline - establish the geometry and stationing of a project baseline.
       •   Determine the location of existing utilities
       •   Prepare base mapping
       •   Photogrammetry - perform a Photogrammetric Survey of the project limits to provide
           additional data beyond the field run survey area
       •   Roadway Design – Determine typical roadway sections. Develop horizontal alignments
           and vertical profiles, including transitions from 6-lane roadways to 2-lane roadways.
       •   Pavement design
       •   Construction phase traffic and access management
       •   Storm drainage design for surface roadways and runoff from bridge drains/scuppers


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       •   Erosion and sediment control design, including Stormwater Pollution Prevention Plan
           (SWPPP)
       •   Signage and pavement marking


  6.       Lighting and Electrical Design

  EPC Contractor will provide electrical design, plans and construction specifications for the
  following items:

       •   Roadway lighting design and plans based on INDOT lighting level standards. For the
           new bridge, LED lighting fixtures will be utilized and pole mounted on the barriers.
           Lighting on the existing steel viaduct will utilize the existing lighting system.
       •   Aesthetic lighting design and plans for select piers of the new bridge.
       •   Provide design and plans for power and controls for navigational lighting for the USCG
           navigable channel in accordance with the USCG regulations. These lights will be LED
           lights.
       •   Provide design and plans for power, communications and controls for ITS Camera
           system.
       •   Provide design and plans for power for overhead toll equipment gantries located on the
           existing steel viaduct at the east end of the project, and at the entrance to Ramp B on
           the west end of the project.
       •   Provide design and plans for bonding for metal toll gantry.
       •   Provide research and recommendations for all needed electrical equipment, and
           interface with equipment vendors for necessary electrical design.
       •   Provide construction specifications for all electrical, data, communication and conduit
           construction packages.

  7.       Geotechnical Design

  EPC Contractor will provide the geotechnical design for the new bridge including the following
  items:

       •   Perform the subsurface boring exploration and soil testing program
       •   Perform a load test of the existing piling to determine capacity of existing piles to be
           incorporated into the new bridge as well as the capacity of new piles to be installed.
       •   Develop the Geotechnical Foundation Design
       •   Prepare the Geotechnical Report, including boring logs
       •   Prepare Specifications for construction
  The geotechnical exploration, testing and design recommendations will be reviewed by an
  independent geotechnical firm that did not produce the original geotechnical design. The
  review will consist of reviewing and commenting on the exploratory borings, engineering and
  design recommendations from the geotechnical report, foundation plans and specifications,
  foundation installation plans and methodology, field load testing data, pile installation
  operations and QA/QC procedures.




  8.       Facility Office Building

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  Design for the new office building will be provided by EPC Contractor. This includes site layout,
  grading, drainage, access, parking, sidewalks, landscaping, utilities, building foundation,
  structure, interior and exterior finishes, plumbing, electrical and HVAC. The building will comply
  with applicable building codes.


  SECTION 3 - CONSTRUCTION COMPONENTS

  EPC Contractor will construct the items included in the project scope of work as described
  herein. The construction will be performed in accordance with the project documents including
  plans, specifications, project special provisions, the Construction Quality Control Plan, and
  applicable portions of the INDOT Standard Construction Specifications. This includes overall
  management and coordination of the project, material procurement and management of
  subcontractors. The construction of the project will be performed by construction
  subcontractors, who may have second tier subcontractors for some portions of the work.

  A Construction Quality Control Plan will be prepared that outlines the required QC/QA
  procedures for construction. EPC Contractor will monitor construction quality control for the
  project (see Section 4 below). Prior to starting work, a job-specific Health and Safety Manual
  will be in place, which will contain a list of safety procedures and a Hazard Analysis Plan
  detailing existing hazards and accident prevention measures. A Safety Manager will be
  assigned to the project and will be responsible for implementation of the Health and Safety
  Manual.

  EPC Contractor with construction subcontractors will be responsible for the following items:

     • Safety on the project construction site in accordance with the Site Access Control Plan
     • Maintenance of traffic for streets crossing under the Cline Avenue Bridge
     • Equipment required for the construction of the project
     • Construction of the Facility Office Building, including furnishings. The building and
       furnishing will be utilized by the EPC Contractor during construction as a project office.
    • Precasting of the superstructure segments
    • Removal of existing pile caps at locations where new footings will be built for the new
       segmental bridge
    • Installation of additional piles as needed to support the new concrete bridge
    • Installation of new pier footings for the segmental bridge
    • Reconstruction of the west abutment
    • Construction of piers and pier caps for the new segmental bridge
    • Erection of the precast segments for the new segmental superstructure including
       stressing and grouting of post-tensioning
    • Installation of bridge railing on the new segmental bridge
    • Grinding and grooving of the segmental bridge deck
    • Installation of all electrical and lighting work on the new segmental bridge
    • Environmental compliance during construction
    • Traffic Management
    • Quality control and materials testing
    • Landscaping at the facility entrances
    • Relocation of utilities as required
  SECTION 4 - CONSTRUCTION MONITORING


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  The construction quality control and quality assurance (QC/QA) during construction of the
  project will be performed by EPC Contractor. EPC Contractor will provide an on-site
  Construction Quality Manager who will monitor the construction subcontractor’s QC inspection
  team and assure that the work conforms to the contract documents and Construction Quality
  Control Plan (CQCP). The CQCP will detail the project requirements including testing
  frequency, nature of testing, and acceptance criteria of testing, and will be based on INDOT
  standards.

  The construction QC team, led by the Quality Control Manager, will have the primary
  responsibility for documenting the quality, including all work and products of subcontractors,
  fabricators, suppliers, and vendors both on-site and off-site. The QC program will verify that
  procurement, shipping, handling, fabrication, installation, cleaning, inspection, certification,
  construction, testing, storage, examination, repair, maintenance, and required modifications of
  all materials, equipment, and elements of the work comply with the requirements of the
  contract documents and that all materials and equipment incorporated in the work will perform
  satisfactorily for the purpose intended.

  The construction QC inspectors will inspect the workmanship during construction as per the
  observations, measurements, and documentation specified in the CQCP. Inspection
  observations, measurements, results, non-conformances, and corrective actions will be
  documented on forms as part of the CQCP. Materials will be subject to inspection, sampling,
  and testing at any time before final acceptance of the work. References in the CQCP to a test
  method or test designation will mean the latest revision of that test method or specification for
  that item in effect on the date of notice-to-proceed.

  Materials will be sampled and tested by the construction QC inspection team. Copies of all test
  results will be furnished to the Project Manager and the Construction Quality Manager. The
  construction QC inspection team will perform sampling and testing for process control and for
  acceptance of materials to be used on the project in accordance with the CQCP. Reports of
  each test will be recorded on the form prescribed for that test. Any tests that do not pass
  specified requirements will be handled in accordance with the CQCP for non-conformance
  resolution.

  The minimum frequency of CQC sampling and testing will be consistent with the CQCP and
  project specifications. The Construction Quality Manager will utilize an electronic system to
  document and track material and field test results. Laboratory CQC testing will be conducted
  by different testing laboratories for QC and for QA under separate subcontracts that comply
  with the requirements for INDOT certification for applicable tests. Laboratories will be
  accredited by the AASHTO Material Reference Laboratory (AMRL), the Concrete Cement
  Reference Laboratory (CCRL), the National Precast Concrete Association (NPCA) for
  precasters, or the Prestressed Concrete Institute (PCI), as appropriate, for the work to be
  constructed. Field laboratories may be used where appropriate for the tests being conducted.
  The equipment in the field laboratories will be certified at the start of Work and annually
  thereafter. Certification will be issued by an independent party.

  The Quality Control Manager will be responsible for compiling all required Quality Control
  inspection and testing documentation developed during construction, including testing results
  and inspector logs, and will have them available for review at all times during construction.
  The Quality Assurance (QA) team will be completely independent of the construction
  subcontractor QC team and will report directly to the Construction Quality Manager. The

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  Construction Quality Manager will have the authority to stop work and to require changes if any
  defective work is found that does not meet the quality standards for the project. The
  Construction Quality Manager will periodically audit the CQC documentation throughout
  construction to verify it complies with the requirements of the CQCP.

  SECTION 5 - PROJECT SCHEDULE

  The project schedule (EPC Schedule VI) shows the tasks required to design and build the
  Facility, including durations and interrelationships, with Substantial Completion within 30
  months after the Construction Commencement Date.

  SECTION 6 - PROJECT COMPLETION

  Deliverables - Deliverables to Owner at project completion will be as follows:

  1.        New two-lane precast concrete segmental bridge approximately 6,236 feet long
            crossing the Indiana Harbor Canal, carrying two 12’ lanes with 9’ shoulders.
  2.        Design plans for rehabilitation of the 2,397 foot long existing steel viaduct on the east
            end of the project
  3.        Design plans for the approach roadway modifications on SR 912 for approximately
            1,000 feet on the west end of the project to transition from the two lanes of the new
            bridge with existing westbound on-ramp at the east abutment to six lanes typical
            section.
  4.        Main span navigation clearances of 100’ (vertical) and 230’ (horizontal)
  5.        Functional vessel fender system in front of the two main piers
  6.        LED roadway lighting system on the new bridge
  7.        Navigation lighting system
  8.        Landscaping at the project entrances
  9.        Owner’s manual for inspection and maintenance of the segmental bridge
  10.       Completed Facility Office Building with furnishings
  11.       As-built plans for the segmental bridge
  12.       Documentation of the construction Quality Management program, including materials
            test results

  Substantial Completion – The project will be deemed to be substantially complete upon the
  following conditions and in accordance with the contract requirements:

        •   Contractor has completed all work necessary to open the new segmental bridge to
            revenue traffic (note - the Toll System and Approach Roadways must be complete and
            functional for the facility to open to revenue traffic). Completion of items such as punch
            list items, maintenance, final cleanup, turf establishment, and other items only included
            in the requirements for Final Completion are not necessary for Substantial Completion.

  Final Completion – Final Completion of the project will occur upon the following conditions
  and in accordance with the contract requirements:

        •   Requirements for Substantial Completion have been satisfied.
        •   Cline Avenue Bridge, LLC has received all deliverables listed above.
        •   Contractor’s and subcontractor’s personnel, supplies, equipment, waste materials, and
            temporary facilities have been removed from the site.


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     •   The punch list items have been completed.
     •   Any other Contractor’s obligations under this Agreement (other than obligations by their
         nature are required to be performed after Final Acceptance) have been satisfied.




                                          Exhibit G - 141
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                                            Schedule V

                     Key Personnel, Engineers and Major Subcontractors


  KEY PERSONNEL

  FIGG Bridge Builders, LLC:
      Project Manager – Ray Schmahl
      Construction Manager – Tom Jenkins
      QA/QC Director – Bill Shealy
      Safety Director – Tom Jenkins
  Engineering Leads:
      Design Manager – John Dvorak (FIGG)
      Roadway/Civil – Chris Murphy (American Structure Point, Inc.)
      Geotechnical – Chris Carson (Professional Services Industries, Inc.)
      Independent Geotechnical – Dan Brown (Dan Brown and Associates)
      Electrical Design – Chris Bailey (Highground Services)
      Lighting – Ron Kurtz (Randy Burkett Lighting Design, Inc.)
  Subcontractor Leads:
      Kenny Construction Company – Lead position will be identified prior to notice-to-proceed
      for Subcontractor and will be subject to Owner’s prior written approval which shall not be
      unreasonably withheld
      Structural Technologies, LLC (VSL) – Lead position will be identified prior to notice-to-
      proceed for Subcontractor and will be subject to Owner’s prior written approval which
      shall not be unreasonably withheld

  ENGINEERS

  Design and Design Office Support During Construction:
      Figg Bridge Engineers, Inc – Design Management and New Segmental Bridge Design
      American Structure Point, Inc. – Roadway, Civil, Surveying and Steel Bridge Rehabilitation
      Professional Services Industries, Inc. (PSI) - Geotechnical Investigation and Analysis
      Dan Brown and Associates - Independent Geotechnical Engineer
      Highground Services - Electrical Design
      Randy Burkett Lighting Design, Inc. – Lighting




                                           Exhibit G - 142
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  Owners Quality Control / Quality Assurance:
      Figg Bridge Inspection, Inc. - Bridge and Roadway Construction Engineering and
      Inspection

  MAJOR SUBCONTRACTORS

      Kenny Construction Company –Substructure Construction
      Structural Technologies, LLC (VSL) - Superstructure Erection and Post-Tensioning
      Steel Bridge Rehabilitation – Subcontractor subject to Owner’s prior written approval
      which shall not be unreasonably withheld
      Approach Roadways and Ramps - Subcontractor subject to Owner’s prior written
      approval which shall not be unreasonably withheld
      Toll Collection System Installation - Toll system installer and integrator approved by
      Owner, in its sole discretion

  OTHER SUBCONTRACTORS

      Cline Precast, LLC – Bridge Superstructure Precasting
      The Ross Group – Facility Office Building (design/build)




                                          Exhibit G - 143
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                                   Schedule VI

                                 Project Schedule

                                  [See Attached]




                                  Exhibit G - 144
                                                                                                          USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 214 of 243
Activity Name                                                                                                                                                                                                          Month
                                                                         1     2      3       4      5     6       7      8       9       10     11       12    13     14     15     16     17    18      19     20   21   22   23   24    25    26    27    28      29    30    31     32     33        34   35     36     37      38     39    40   41   42
     Project Wide
       Project Initiation
          Notice to Proceed                                             Notice to Proceed

          Finalize Bridge Design Drawings                                                          Finalize Bridge Design Drawings

          Mobilize Key Bridge Site Staff / Equipment                                        Mobilize Key Bridge Site Staff / Equipment

       Temporary Access
          Prep/Submit Trestle Design and Access Permit                                      Prep/Submit Trestle Design and Access Permit

          Review/Approve Trestle Design and Access Per mit                                         Review/Approve Trestle Design and Access Per mit

          Procure Bulkhead/Trestle Material                                                                         Procure Bulkhead/Trestle Material

          Build Temporary Marine Access Bulkheads                                                                             Build Temporary Marine Access Bulkheads

          Install Temp Sheetpile Walls / Trestle Access / Haul Road @                                                                 Install Temp Sheetpile Walls / Trestle Access / Haul Road @ Pier 17
          Pier 17
          Install Temp Sheetpile Walls / Trestle Access / Haul Road @                                                                      Install Temp Sheetpile Walls / Trestle Access / Haul Road @ Pier 18
          Pier 18
       Toll System
          Develop ETS                                                                                                                                                        Develop ETS

          Manfacture ETS Equipment                                                                                                                                                                                                        Manfacture ETS Equipment

          Install/Test Toll System                                                                                                                                                                                                                                               Install/Test Toll System

       Finish Work
          Grind and Groove / Exp Jts                                                                                                                                                                                                                              Grind and Groove / Exp Jts

          Slipform Type FC Conc Barrier                                                                                                                                                                                                                               Slipform Type FC Conc Barrier

          Lighting and Striping                                                                                                                                                                                                                                                  Lighting and Striping

       Project Completion
          Open Bridge to Traffic                                                                                                                                                                                                                                                 Open Bridge to Traffic

          Final Punchlist / Demobilization                                                                                                                                                                                                                                                                    Final Punchlist / Demobilization

          Project Completion Milestone                                                                                                                                                                                                                                                                        Project Completion Milestone

     Precast Yard
       Segment Casting
          Mobilize Precast Yard Staff                                               Mobilize Precast Yard Staff

          Order / Fab / Deliver Segment Forms                                                                   Order / Fab / Deliver Segment Forms

          Set Up Precast Yard                                                                                  Set Up Precast Yard

          Assemble Casting Bed #1 (Pier Segments)                                                                      Assemble Casting Bed #1 (Pier Segments)

          Assemble Casting Bed #2 (Typical/Exp Segments)                                                                 Assemble Casting Bed #2 (Typical/Exp Segments)

          Cast Initial Pier Segs - Learning Curve (2 ea) - Bed #1                                                        Cast Initial Pier Segs - Learning Curve (2 ea) - Bed #1

          Assemble Casting Bed #3 (Typical/Exp Segments)                                                                   Assemble Casting Bed #3 (Typical/Exp Segments)

          Cast Remaining Pier Segs (52 Ea)                                                                                                                             Cast Remaining Pier Segs (52 Ea)

          Cast Initial Typ/Exp Segs Learning Curve (5 ea) - Bed #2                                                            Cast Initial Typ/Exp Segs Learning Curve (5 ea) - Bed #2

          Cast Initial Typ/Exp Segs Learning Curve (5 ea) - Bed #3                                                              Cast Initial Typ/Exp Segs Learning Curve (5 ea) - Bed #3

          Cast Remaining Typ/Exp Segs (312 ea) - Bed #2                                                                                                                                                                                         Cast Remaining Typ/Exp Segs (312 ea) - Bed #2

          Cast Remaining Typ/Exp Segs (309 ea) - Bed #3                                                                                                                                                                                         Cast Remaining Typ/Exp Segs (309 ea) - Bed #3

          Demob Precast Yard Operation                                                                                                                                                                                                                            Demob Precast Yard Operation

     Mainline Structure West of Canal
       Demolition / Excavation
          Excavate Footings - Piers 2 thru 16                                                                             Excavate Footings - Piers 2 thru 16

          Demolish Footings - Abutment 1 thru Pier 16                                                                                       Demolish Footings - Abutment 1 thru Pier 16

       Foundation / Footings
          Foundation / Footing Construction - Abutment 1 thru Pier 16                                                                                 Foundation / Footing Construction - Abutment 1 thru Pier 16




                                                                                                                                                                                    Exhibit G - 145
                                                                                     USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 215 of 243
Activity Name                                                                                                                                                                                 Month
                                                                 1   2   3   4   5   6   7   8   9   10      11       12      13      14       15       16     17      18     19     20      21   22       23    24      25     26    27     28    29      30   31     32     33   34   35   36   37   38   39   40   41   42
       Columns
          Construct Columns - Piers 2 thru 16                                                                                        Construct Columns - Piers 2 thru 16

       Superstructure
          Install Temp Stability Tower (Pier 2)                                                           Install Temp Stability Tower (Pier 2)

          Install End Bent Falsework - Span 1                                                              Install End Bent Falsework - Span 1

          Erect Pier Segments Pier 2 (2 Ea)                                                                Erect Pier Segments Pier 2 (2 Ea)

          Erect Starter Segments Pier 2 (2 Ea)                                                             Erect Starter Segments Pier 2 (2 Ea)

          Erect Span 1 End Bent Segments from Falsework (3 Ea)                                              Erect Span 1 End Bent Segments from Falsework (3 Ea)

          Erect Remaining Segments Pier 2 (18 Ea)                                                             Erect Remaining Segments Pier 2 (18 Ea)

          Pier 3 - Cantilever Span Complete - (18 Segments)                                                       Pier 3 - Cantilever Span Complete - (18 Segments)

          Pier 4 - Cantilever Span Complete - (20 Segments)                                                         Pier 4 - Cantilever Span Complete - (20 Segments)

          CIP Closures - Spans 2 thru 16                                                                                                         CIP Closures - Spans 2 thru 16

          Pier 5 - Cantilever Span Complete - (20 Segments)                                                           Pier 5 - Cantilever Span Complete - (20 Segments)

          Pier 6 - Cantilever Span Complete - (20 Segments)                                                             Pier 6 - Cantilever Span Complete - (20 Segments)

          Pier 7 - Cantilever Span Complete - (22 Segments)                                                                Pier 7 - Cantilever Span Complete - (22 Segments)

          Pier 8 - Cantilever Span Complete - (20 Segments)                                                                 Pier 8 - Cantilever Span Complete - (20 Segments)

          Pier 9 - Cantilever Span Complete - (16 Segments)                                                                  Pier 9 - Cantilever Span Complete - (16 Segments)

          Pier 10 - Cantilever Span Complete - (21 Segments)                                                                   Pier 10 - Cantilever Span Complete - (21 Segments)

          Pier 11 - Cantilever Span Complete - (21 Segments)                                                                       Pier 11 - Cantilever Span Complete - (21 Segments)

          Pier 12 - Cantilever Span Complete - (22 Segments)                                                                        Pier 12 - Cantilever Span Complete - (22 Segments)

          Pier 13 - Cantilever Span Complete - (24 Segments)                                                                          Pier 13 - Cantilever Span Complete - (24 Segments)

          Pier 14 - Cantilever Span Complete - (22 Segments)                                                                               Pier 14 - Cantilever Span Complete - (22 Segments)

          Pier 15 - Cantilever Span Complete - (27 Segments)                                                                                 Pier 15 - Cantilever Span Complete - (27 Segments)

          Pier 16 - Cantilever Span Complete - (33 Segments)                                                                                   Pier 16 - Cantilever Span Complete - (33 Segments)

     Mainline Structure Over Canal
       Columns
          F/P/S Column - Pier 17 (86' - 3 Lifts)                                                                                            F/P/S Column - Pier 17 (86' - 3 Lifts)

          F/P/S Column - Pier 18 (85' - 3 Lifts)                                                                                                    F/P/S Column - Pier 18 (85' - 3 Lifts)

       Superstructure
          Pier 17 - Cantilever Span Complete - (34 Segments)                                                                                                                                          Pier 17 - Cantilever Span Complete - (34 Segments)

          Pier 18 - Cantilever Span Complete - (36 Segments)                                                                                                                                               Pier 18 - Cantilever Span Complete - (36 Segments)

          CIP Closure Segment - Span 16                                                                                                                                                               CIP Closure Segment - Span 16

          CIP Closure Segment - Span 17                                                                                                                                                                     CIP Closure Segment - Span 17

     Mainline Structure East of Canal
       Demolition / Excavation
          Excavate Footings - Piers 19 thru 28                                                                    Excavate Footings - Piers 19 thru 28

          Demolish Footings - Piers 19 thru 28                                                                                Demolish Footings - Piers 19 thru 28

       Foundation / Footings
          Install Pipe Piles - Piers 19 thru 28                                                                                    Install Pipe Piles - Piers 19 thru 28

       Columns
          Construct Columns - Piers 19 thru 28                                                                                                                  Construct Columns - Piers 19 thru 28

       Superstructure
          Pier 19 - Cantilever Span Complete - (30 Segments)                                                                                                                                                     Pier 19 - Cantilever Span Complete - (30 Segments)

          Pier 20 - Cantilever Span Complete - (34 Segments)                                                                                                                                                          Pier 20 - Cantilever Span Complete - (34 Segments)

          CIP Closures - Spans 18 thru 28                                                                                                                                                                                                   CIP Closures - Spans 18 thru 28




                                                                                                                                                       Exhibit G - 146
                                                                                   USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 216 of 243
Activity Name                                                                                                                                                           Month
                                                               1   2   3   4   5   6   7   8   9   10   11    12     13    14    15      16   17   18    19    20     21     22    23       24     25     26     27     28     29    30     31     32     33     34   35     36   37   38   39   40   41   42
          Pier 21 - Cantilever Span Complete - (32 Segments)                                                                                                                                      Pier 21 - Cantilever Span Complete - (32 Segments)

          Pier 22 - Cantilever Span Complete - (32 Segments)                                                                                                                                         Pier 22 - Cantilever Span Complete - (32 Segments)

          Pier 23 - Cantilever Span Complete - (26 Segments)                                                                                                                                            Pier 23 - Cantilever Span Complete - (26 Segments)

          Pier 24 - Cantilever Span Complete - (31 Segments)                                                                                                                                              Pier 24 - Cantilever Span Complete - (31 Segments)

          Pier 25 - Cantilever Span Complete - (29 Segments)                                                                                                                                                Pier 25 - Cantilever Span Complete - (29 Segments)

          Pier 26 - Cantilever Span Complete - (30 Segments)                                                                                                                                                   Pier 26 - Cantilever Span Complete - (30 Segments)

          Pier 27 - Cantilever Span Complete - (16 Segments)                                                                                                                                                     Pier 27 - Cantilever Span Complete - (16 Segments)

          Install End Bent Falsework - Pier 29                                                                                                                                                                   Install End Bent Falsework - Pier 29

          Install Temp Stability Tower - Pier 28                                                                                                                                                                 Install Temp Stability Tower - Pier 28

          Erect Pier Segments - Pier 28 (2 Ea)                                                                                                                                                                    Erect Pier Segments - Pier 28 (2 Ea)

          Erect Segments on Falsework - Span 28 (1 Ea)                                                                                                                                                            Erect Segments on Falsework - Span 28 (1 Ea)

          Erect Starter Segments - Pier 28 (2 Ea)                                                                                                                                                                  Erect Starter Segments - Pier 28 (2 Ea)

          Erect Remaining Segments - Pier 28 (17 Ea)                                                                                                                                                                  Erect Remaining Segments - Pier 28 (17 Ea)

     Existing Steel Bridge
       Rehabilitation
          Remove and Patch Barriers                                                                          Remove and Patch Barriers

          Demolish Existing WB Deck (137,000 sf)                                                                                                   Demolish Existing WB Deck (137,000 sf)

          Steel Beam Rehab and Painting                                                                                                                                    Steel Beam Rehab and Painting

          Patch Substructure                                                                                                                                                                     Patch Substructure

          Construct New Deck / Replace Expansion Joints                                                                                                                                                                      Construct New Deck / Replace Expansion Joints




                                                                                                                                         Exhibit G - 147
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                                  Exhibit G - 148
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                                  Exhibit G - 149
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                                  Exhibit G - 150
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                                  Exhibit G - 151
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 221 of 243




                                  Exhibit G - 152
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 222 of 243




                                  Exhibit G - 153
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                                  Exhibit G - 154
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 224 of 243




                                  Exhibit G - 155
USDC IN/ND case 2:20-cv-00439-JVB-JEM document 4-1 filed 11/02/20 page 225 of 243




                                  Exhibit G - 156
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                                         Schedule IX

                      Payment and Performance Bond Reduction Terms


  In accordance with the EPC Agreement Section 4.19, EPC Contractor will provide a payment
  and performance bond satisfactory to Owner in a total amount equal to one-hundred percent
  (100%) of the Cost of the Work (the “Payment and Performance Bond”). EPC Contractor shall
  ensure that the Payment and Performance Bond remains valid and enforceable until the
  expiration of the EPC Contractor’s Warranty Period. The amount of the Payment and
  Performance Bond shall be as follows:

  Period                                           Amount

  From Construction Commencement Date              One-hundred percent (100%) of the Cost
  to one year following Final Completion           of the Work

  From one year following Final Completion         Twenty-five percent (25%) of the Cost
  to two years following Final Completion          of the Work

  From two years following Final Completion        Ten percent (10%) of the Cost
  to expiration of the EPC Contractor’s            of the Work
  Warranty Period (for any re-warranty)

  Upon expiration of the EPC Contractor’s          Owner will release its rights as to the
  Warranty Period                                  Payment and Performance Bond




                                        Exhibit G - 157
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                                               Schedule X

                                         Milestone Schedule


     Milestone Number                      Title / Definition               Proposed Date *
               1             Start pier construction / First lift of pier
                             concrete poured
               2             Cast first precast superstructure segment
               3             Start superstructure erection / First pier
                             segments set on top of pier column
               4             Complete casting 50% of pier columns
               5             Completion of foundations / All pier
                             footings cast
               6             Complete precasting 50% of
                             superstructure segments
               7             Begin new overlay on steel bridge deck /
                             First overlay section placed
               8             Pier construction complete / All pier
                             columns and caps cast
               9             Start approach roadway rehabilitation /
                             First 10% of pavement removal complete
               10            Superstructure erection complete / All
                             precast superstructure segments erected
                             into the bridge, all closure pours made
                             and all longitudinal post-tensioning
                             stressed


           *       Proposed dates will be established within 30 days of Construction
                   Commencement




                                             Exhibit G - 158
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                                             EXHIBIT H

                                             PERMITS


   Permit                                         Status

   United States Coast Guard                      Approved 1/27/15. Expires 1/16/20;
   (Lead Federal agency)                          Subcontractor to provide information
                                                  regarding any work done in navigable
                                                  waterways.

   Section 106 Coordination                       Approved 9/23/14
   (State Historic Preservation Office)

   United States Army Corp of Engineers           Approved 12/11/14 and Re-issued on
                                                  1/22/18. Expires 1/22/21.

   IDEM Section 401 Water Quality Certification   Approved 10/9/14 and Extended on 2/23/18.
                                                  Expires 1/22/21 (required before beginning
                                                  work in the Indiana Harbor Canal).

   IN-DNR Construction in a Floodway              Renewed 2/21/17. Expires 2/27/19 (New
                                                  application in process).

   Coastal Zone Management Federal                Approved 10/17/14
   Consistency Determination

   INDOT Right of Way Permit                      Approved 6/29/17. Extension granted 5/2/18.
                                                  Expires 6/29/19.

   IDEM Rule 5 Notice of Sufficiency              Issued 7/28/17. Expires 7/21/22.
   (Stormwater Runoff During Construction)

   FAA Form 7460-1 Notice of Proposed             Submittals and coordination continuing as
   Construction of Alternation and Notification   necessary during construction. FAA Form
   to Gary Airport                                7460-1 is needed for EACH roadway lighting
                                                  at the elevation above ground.


   Access/Right of Way Permits                    Status

   Anunnaki Access Agreement                      In place; provides access to the right-of-way
                                                  on the east side.

   ArcelorMittal Access Agreement                 In place

   Indiana Harbor Belt RR ROE                     In place




                                           Exhibit H - 1
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  Any additional permits and approvals needed for Subcontractor’s means and methods not
  covered by the above permits and access/right of way permits shall be obtained by
  Subcontractor.




                                        Exhibit H - 2
                              45D04-2011-PL-000758                                     Filed: 11/2/2020 1:57 PM
                                                                                                           Clerk
USDC IN/ND case 2:20-cv-00439-JVB-JEM        document
                             Lake Superior Court,            4-14 filed 11/02/20 page 230 Lake
                                                  Civil Division                           of 243County, Indiana




                                                                                 EXHIBIT C
                              45D04-2011-PL-000758                                      Filed: 11/2/2020 1:57 PM
                                                                                                            Clerk
USDC IN/ND case 2:20-cv-00439-JVB-JEM        document
                             Lake Superior Court,            4-14 filed 11/02/20 page 231 of
                                                  Civil Division                               243
                                                                                            Lake  County, Indiana




  April 8, 2020

  Mr. William J. (Jay) Rohleder, Jr., P.E., S.E.
  Figg Bridge Builders, LLC
  219 Riley Road
  East Chicago, IN 46312

  RE:     Cline Avenue Bridge Project, East Chicago, Indiana

  Subj: Notice of Impact – Cline Avenue Bridge Work Suspension

  Dear Mr. Rohleder;

  McLean Contracting Company is in receipt of your letter dated April 7, 2020 advising
  that McLean and our subcontractors are not authorized to come to the site or take any
  further action until further written notice from Figg Bridge Builders, LLC.

  This letter serves as our written notice of intent to file claim as may be required in
  Subcontract Articles 4.3, 9.3, 9.4, 9.6 or 9.8 and as our written notice of a change in
  Scope of Work as contemplated in Subcontract Article 1.1.6: Contractor-directed
  suspensions of work.

  Be advised that McLean has the following outstanding payments due to us for work
  performed. The payment expectation dates listed are as advised by FBB on April 2nd:
      Payment Requisition #13 for the period ending 1/31/2020 in the amount of
        $1,026,032.21, payment expected 4/8/2020.
      Payment Requisition #14 for the period ending 2/29/2020 in the amount of
        $1,050,010.51, payment expected 4/21/2020.
      Payment Requisition #15 for the period ending 3/31/2020 in the amount of
        $1,478,620.64, payment expected between 5/6/2020 and 5/21/2020.
      Retainage Held in the amount of $830,817.76.
      Offsetting credit for mobilization payments is ($1,200,000.00)

  Additionally, McLean will prepare a payment requisition for work completed between
  Requisition #15 and the notice of suspension.

  Additionally, McLean and our subcontractors have the following daily standby costs that
  will continue throughout the work suspension at your expense:
       McLean Supervision: $8,700.00 / calendar day
       600 Ton Crawler Crane: $1,810.00 / calendar day
       330 Ton Crawler Crane #1: $1,410.00 / calendar day
       330 Ton Crawler Crane #2: $1,410.00 / calendar day
       Omega Beam Trestle Sections: $355.00 / calendar day
       Triple Beam Falsework Sections: $135.00 / calendar day
       Material Barge: $495.00 / calendar day



                                                                                   EXHIBIT D
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  If directed to demobilize, we anticipate up to four weeks of time required to disassemble
  and remove the Omega sections off the top of the trestle (piles would be left behind),
  disassemble and demobilize three cranes and return the barge. This work would be
  performed on a T&M basis including McLean Supervision, Ironworkers and Crane
  Operators/Oilers as required, plus the following known lumpsum demobilization costs:
       600 Ton Crawler Crane: $50,000.00
       330 Ton Crawler Crane #1: $46,000.00
       330 Ton Crawler Crane #2: $46,000.00
       Material Barge: $2,000.00

  Today, McLean has left the site as required. The site was secured as much as possible
  prior to leaving. McLean will not be responsible for issues that arise on site between the
  time of this work suspension and when we return to work, or return to demobilize.

  As always, McLean strives to resolve this matter in a fair and equitable manner. We will
  work together with you to resolve the item and minimize costs and impacts to the project
  to the greatest extent possible.

  Please call me should you have any questions on this matter. My phone number is
  443-270-5907 and my email address is jhoffmann@mcleancontracting.com.

  Best Regards,
  McLean Contracting Company




  Joseph W. Hoffmann, P.E.
  Vice President - Projects


  CC:   Great American Insurance Company
        301 East Fourth Street
        Cincinnati, OH 45202
        Ref: Bond # 1517337
                              45D04-2011-PL-000758                                      Filed: 11/2/2020 1:57 PM
                                                                                                            Clerk
USDC IN/ND case 2:20-cv-00439-JVB-JEM        document
                             Lake Superior Court,            4-14 filed 11/02/20 page 233 of
                                                  Civil Division                               243
                                                                                            Lake  County, Indiana




                                                                                  EXHIBIT E
                              45D04-2011-PL-000758                                      Filed: 11/2/2020 1:57 PM
                                                                                                            Clerk
USDC IN/ND case 2:20-cv-00439-JVB-JEM        document
                             Lake Superior Court,            4-14 filed 11/02/20 page 234 of
                                                  Civil Division                               243
                                                                                            Lake  County, Indiana




  April 28, 2020

  BY CERTIFIED MAIL – RETURN RECEIPT

  Great American Insurance Company
  301 East Fourth St.
  Cincinnati, OH 45202
  Attn: Tim Martin, Divisional Vice President of Bond Claims

  RE:       Cline Avenue Bridge Project, East Chicago, Indiana

  Subj:     CLAIM ON PAYMENT BOND NO. 1517337

  Gentlemen:

  In accordance with the provisions of Payment Bond No. 1517337, McLean Contracting
  Company (“McLean”) submits this Claim for payment to Great American Insurance
  Company. McLean was a direct subcontractor to Great American’s principal, Figg
  Bridge Builders, LLC (“Figg”). We submit the following information in accordance with
  section 16.1 of the Bond:

   Name of Claimant                McLean Contracting Company
                                   6700 McLean Way, Glen Burnie, MD 21060
   Name of the Person to           Figg Bridge Builders, LLC
   Whom Services Furnished:        424 Calhoun St., Tallahassee, FL 32301
   Copy of the Subcontract:        See Attachment 1
   Brief description of McLean’s   Provide supervision, subcontract labor and equipment to erect
   Work:                           precast bridge segments.
   Date of Last Work:              April 7, 2020
   Total Amount Earned by          $16,195,746.86
   Claimant as of Date of
   Claim:
   Total Amount of Previous        $13,256,906.34
   Payments received by
   Claimant:
   Total Amount Due and            $2,938,840.52
   Unpaid as of the Date of the
   Claim:




                                                                                  EXHIBIT F
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  McLean is owed the following amounts by Figg Bridge Builders as of the date of this
  Claim:

   Retainage:                                                                 $752,995.62
   Unpaid Invoice No. 23852, dated Mar. 6, 2020                              $1,050,010.51
   Unpaid Invoice No. 23928, dated Apr. 7, 2020                              $1,556,442.78
   Projected Invoice No. 23958, dated Apr. 28, 2020                           $403,766.34
   (portion for work completed April 1 – 7, 2020)
   Projected Invoice No. 23958, dated Apr. 28, 2020                            $375,625.27
   (for accrued standby costs April 8 – 30, 2020)
   Credit for mobilization payment                                          ($1,200,000.00)
   TOTAL DUE                                                                  $2,938,840.52


  The above is a statement of McLean’s damages as of April 30th, but damages are
  continuing to accrue every day. In attachment 2, Figg advised McLean that the Owner
  had “suspended” its work and that Figg was essentially on “standby” on the Project.
  However, we have been told verbally that the Owner has terminated Figg’s EPC
  Contract for this Project and have requested clarification on this point. See Attachment
  5. There have been discussions with McLean about continuing work on the Project, but
  we do not know either the Owner’s or Figg’s intentions as to this point. Meanwhile, we
  have accrued over $375,000 in standby damages since April 7, 2020, and these will
  continue to accrue at $14,315 per day or approximately $435,000 per month.

  We will soon have to make a decision whether to incur an additional $630,000 in
  equipment and material demobilization costs to mitigate some of these continuing daily
  damages. If McLean were to restart its work on this Project at a later date, then it will
  cost a similar amount to remobilize this equipment and material. The passage of time
  without action or further direction by Figg or Great American is rapidly increasing
  McLean’s damages accruing on this Project, and for which we will be sending a
  supplement to this Claim each month.
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  It is therefore imperative that the status of this project and McLean’s participation in it be
  resolved as quickly as possible. Please contact me at 410-982-4162, or by email at
  jhoffmann@mcleancontracting.com.


  Best Regards,
  McLean Contracting Company




  Joseph W. Hoffmann, P.E.
  Vice President - Projects


  Cc:    William J. Rohleder, Jr. P.E., S.E. (by email to: jrohleder@figgbridge.com)
         Tim Martin, GAIC Bond Claims (by email to: tdmartin@gaic.com)


  Attachments:

   1.   Subcontract Agreement between Figg and McLean, via Electronic Download
        Link
   2.   Figg Bridge Builders letter of April 7, “Cline Avenue Bridge Work Suspension”
   3.   McLean letter of April 8, 2020, “Notice of Impact – Work Suspension”
   4.   McLean letter of April 20, 2020; “Request for Retainage Release”
   5.   McLean Letter of April 28, 2020; “Cline Avenue Bridge Termination”
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                                  Attachment #1

                          Subcontract Agreement between
             Figg Bridge Builders, LLC and McLean Contracting Company
                                dated January 4, 2019

                                 Available for download:
                                https://mcleancontracting-
  my.sharepoint.com/:b:/p/jhoffmann/ESc_Iu95nkdEn8FgSyccIhsB7yToUOUgc97XLIcX0
                                   sJPZg?e=mC0A4W
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  April 8, 2020

  Mr. William J. (Jay) Rohleder, Jr., P.E., S.E.
  Figg Bridge Builders, LLC
  219 Riley Road
  East Chicago, IN 46312

  RE:    Cline Avenue Bridge Project, East Chicago, Indiana

  Subj: Notice of Impact – Cline Avenue Bridge Work Suspension

  Dear Mr. Rohleder;

  McLean Contracting Company is in receipt of your letter dated April 7, 2020 advising
  that McLean and our subcontractors are not authorized to come to the site or take any
  further action until further written notice from Figg Bridge Builders, LLC.

  This letter serves as our written notice of intent to file claim as may be required in
  Subcontract Articles 4.3, 9.3, 9.4, 9.6 or 9.8 and as our written notice of a change in
  Scope of Work as contemplated in Subcontract Article 1.1.6: Contractor-directed
  suspensions of work.

  Be advised that McLean has the following outstanding payments due to us for work
  performed. The payment expectation dates listed are as advised by FBB on April 2nd:
      Payment Requisition #13 for the period ending 1/31/2020 in the amount of
        $1,026,032.21, payment expected 4/8/2020.
      Payment Requisition #14 for the period ending 2/29/2020 in the amount of
        $1,050,010.51, payment expected 4/21/2020.
      Payment Requisition #15 for the period ending 3/31/2020 in the amount of
        $1,478,620.64, payment expected between 5/6/2020 and 5/21/2020.
      Retainage Held in the amount of $830,817.76.
      Offsetting credit for mobilization payments is ($1,200,000.00)

  Additionally, McLean will prepare a payment requisition for work completed between
  Requisition #15 and the notice of suspension.

  Additionally, McLean and our subcontractors have the following daily standby costs that
  will continue throughout the work suspension at your expense:
       McLean Supervision: $8,700.00 / calendar day
       600 Ton Crawler Crane: $1,810.00 / calendar day
       330 Ton Crawler Crane #1: $1,410.00 / calendar day
       330 Ton Crawler Crane #2: $1,410.00 / calendar day
       Omega Beam Trestle Sections: $355.00 / calendar day
       Triple Beam Falsework Sections: $135.00 / calendar day
       Material Barge: $495.00 / calendar day
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  If directed to demobilize, we anticipate up to four weeks of time required to disassemble
  and remove the Omega sections off the top of the trestle (piles would be left behind),
  disassemble and demobilize three cranes and return the barge. This work would be
  performed on a T&M basis including McLean Supervision, Ironworkers and Crane
  Operators/Oilers as required, plus the following known lumpsum demobilization costs:
       600 Ton Crawler Crane: $50,000.00
       330 Ton Crawler Crane #1: $46,000.00
       330 Ton Crawler Crane #2: $46,000.00
       Material Barge: $2,000.00

  Today, McLean has left the site as required. The site was secured as much as possible
  prior to leaving. McLean will not be responsible for issues that arise on site between the
  time of this work suspension and when we return to work, or return to demobilize.

  As always, McLean strives to resolve this matter in a fair and equitable manner. We will
  work together with you to resolve the item and minimize costs and impacts to the project
  to the greatest extent possible.

  Please call me should you have any questions on this matter. My phone number is
  443-270-5907 and my email address is jhoffmann@mcleancontracting.com.

  Best Regards,
  McLean Contracting Company




  Joseph W. Hoffmann, P.E.
  Vice President - Projects


  CC:   Great American Insurance Company
        301 East Fourth Street
        Cincinnati, OH 45202
        Ref: Bond # 1517337
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  April 20, 2020

  Mr. William J. (Jay) Rohleder, Jr., P.E., S.E.
  Figg Bridge Builders, LLC
  219 Riley Road
  East Chicago, IN 46312

  RE:    Cline Avenue Bridge Project, East Chicago, Indiana

  Subj: Request for Retainage Release

  Dear Mr. Rohleder;

  As you are aware, McLean has completed the full value and duration of our original
  contract work and completion of the superstructure, perhaps to be performed under a
  change order, is on hold due to a work suspension.

  As of today, you have not paid us for work performed in January, February, March or
  April and, in addition, are holding approximately $752,995.62 in retention.

  In accordance with Subcontract Section 7.2.2 we hereby request that you release all
  retainage currently held on McLean’s billings.

  Please call me should you have any questions on this matter. My phone number is
  443-270-5907 and my email address is jhoffmann@mcleancontracting.com.

  Best Regards,
  McLean Contracting Company




  Joseph W. Hoffmann, P.E.
  Vice President - Projects


  CC:    Great American Insurance Company
         301 East Fourth Street
         Cincinnati, OH 45202
         Ref: Bond # 1517337
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  April 28, 2020

  Mr. William J. (Jay) Rohleder, Jr., P.E., S.E.
  Figg Bridge Builders, LLC
  219 Riley Road
  East Chicago, IN 46312

  RE:    Cline Avenue Bridge Project, East Chicago, Indiana

  Subj: Cline Avenue Bridge Termination

  Dear Mr. Rohleder;

  McLean Contracting Company is in receipt of your letter dated April 7, 2020, advising
  that McLean and our subcontractors are not authorized to come to the site or take any
  further action until further written notice from Figg Bridge Builders, LLC (FBB). This
  letter was entitled “Cline Avenue Bridge Work Suspension,” and the letter noted it was
  “… because of action of the Owner …”, both seeming to characterize this work-
  stoppage directive as a “Suspension By Owner for Convenience” under Sec. 9.3 of our
  Subcontract with FBB. However, in a prior telephone conversation you had with me,
  and in a conversation Linda Figg had with Michael Filipczak, you and Ms. Figg both
  conceded that the Owner, Cline Avenue Bridge LLC (CAB) had in fact terminated Figg
  Bridge Builders, LLC as the EPC Contractor on this Project.

  If that is the case, then this is not an Owner suspension of work, but rather a
  Termination by Owner covered under Sec. 9.4 of the Subcontract. McLean’s rights and
  remedies are different under Sections 9.3 and 9.4, and therefore this is not just a matter
  of semantics. Furthermore, if the Owner has terminated FBB, FBB was obligated under
  Sec. 9.4 to provide McLean written notice of such termination within 3 business days.
  We have received no such notification.

  We therefore request:

  1.    A copy of any correspondence or directive from the Owner, either suspending
  FBB’s work or terminating FBB’s contract, as referenced in your April 7th letter.

  2.    If this was a termination by the Owner, proper written notice of same as required
  under Sec. 9.4 of the Subcontract.

  3.    The name and other contact information of the individual at your surety, Great
  American Insurance Company, to whom we should direct any correspondence
  concerning a payment bond claim for the amounts due to McLean.

  It is imperative that the status of this project and McLean’s participation in it be resolved
  as quickly as possible. As detailed in our letter to you of April 8th, FBB owes McLean
  over $2.5 million in unpaid invoices for work done in February through March.
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  Furthermore, we have accrued approximately $780,000 in billings and suspension of
  work damages in April, and the suspension of work damages continue to accrue at
  $14,315 per day.

  We will soon have to make a decision to incur an additional $630,000 in demobilization
  costs to mitigate some of these continuing daily damages. If McLean should restart its
  work on this Project at a later date, then it will cost a similar amount to remobilize this
  equipment and material. The passage of time without action or further direction by FBB
  is rapidly increasing McLean’s damages accruing on this Project, and for which we will
  be submitting a claim to FBB and its surety.

  Please call me should you have any questions on this matter. My phone number is
  443-270-5907 and my email address is jhoffmann@mcleancontracting.com.

  Best Regards,
  McLean Contracting Company




  Joseph W. Hoffmann, P.E.
  Vice President - Projects


  CC:    Great American Insurance Company
         301 East Fourth Street
         Cincinnati, OH 45202
         Ref: Bond # 1517337
